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                             UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION


      OHIO A. PHILIP RANDOLPH INSTITUTE          )
      et al.,                                    )         No. 1:18-cv-357
                                                 )
             Plaintiffs,                         )         OPINION AND ORDER
                                                 )
      v.                                         )
                                                 )
      LARRY HOUSEHOLDER et al.,                  )
                                                 )
             Defendants.                         )


     Before: Moore, Circuit Judge; Black and Watson, District Judges.

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     APPENDICES OF MAPS


            Plaintiffs have brought this action alleging that H.B. 369, the redistricting plan enacted by

     the Ohio General Assembly and signed into law by the Governor in 2011, constitutes an

     unconstitutional partisan gerrymander under the First and Fourteenth Amendments and exceeds

     the powers granted to the states under Article I, § 4 of the United States Constitution. As to the

     First and Fourteenth Amendment district-specific claims, we find that Districts 1–16 were intended

     to burden Plaintiffs’ constitutional rights, had that effect, and the effect is not explained by other

     legitimate justifications. Moreover, we find that that the plan as a whole burdens Plaintiffs’

     associational rights and that burden is not outweighed by any other legitimate justification.

     Finally, we find that the plan exceeds the State’s powers under Article I. Therefore, H.B. 369 is

     an unconstitutional partisan gerrymander. This opinion constitutes our findings of fact and

     conclusions of law pursuant to Federal Rule of Civil Procedure 52(a)(1).

            Due to the length of this opinion, we provide the reader with the following, more concise

     summary:

            “Partisan gerrymandering” occurs when the dominant party in government draws district

     lines to entrench itself in power and to disadvantage the disfavored party’s voters. Plaintiffs in

     this action are individual Democratic voters from each of Ohio’s sixteen congressional districts,

     two non-partisan pro-democracy organizations, and three Democratic-aligned organizations. They

     challenge the constitutionality of Ohio’s 2012 redistricting map. Defendants are Ohio officials,

     and Intervenors are Ohio Republican Congressmen; Defendants and Intervenors both argue that

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     the Plaintiffs’ claims are not properly before this Court and defend the map’s constitutionality on

     the merits.

            In 2011, when Ohio’s redistricting process began, Republican dominance in the Ohio State

     government meant that Republican state legislators could push through a remarkably pro-

     Republican redistricting bill without meaningful input from their Democratic colleagues. Ohio

     Republicans took advantage of that opportunity, and invidious partisan intent—the intent to

     disadvantage Democratic voters and entrench Republican representatives in power—dominated

     the map-drawing process. They designed the 2012 map using software that allowed them to predict

     the partisan outcomes that would result from the lines they drew based on various partisan indices

     that they created from historical Ohio election data. The Ohio map drawers did not work alone,

     but rather national Republican operatives located in Washington, D.C. collaborated with them

     throughout the process. These national Republicans generated some of the key strategic ideas for

     the map, maximizing its likely pro-Republican performance, and had the authority to approve

     changes to the map before their Ohio counterparts implemented them. Throughout the process,

     the Ohio and national map drawers made decisions based on their likely partisan effects.

            The map drawers focused on several key areas of the Ohio map where careful map design

     could eke out additional safe Republican seats. They split Hamilton County and the City of

     Cincinnati in a strange, squiggly, curving shape, dividing its Democratic voters and preventing

     them from forming a coherent voting bloc, which ensured the election of Republican

     representatives in Districts 1 and 2. They drew a new District 3 in Franklin County, efficiently

     concentrating Democratic voters together in an area sometimes referred to as the “Franklin County

     Sinkhole.” This strategy allowed them to secure healthy Republican majorities in neighboring

     Districts 12 and 15. They paired Democratic incumbent Representatives Kaptur and Kucinich to



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     create the infamous “Snake on the Lake”—a bizarre, elongated sliver of a district that severed

     numerous counties. They drew a District 11 that departed from its traditional territory to snatch

     up additional African-American Democratic voters in Summit County, allowing for the creation

     of a new District 16 in which a Republican incumbent representative could defeat a Democratic

     incumbent representative. They designed these districts with one overarching goal in mind—the

     creation of an Ohio congressional map that would reliably elect twelve Republican representatives

     and four Democratic representatives.

            Ohio Republican legislators enacted the first iteration of the 2012 map, H.B. 319, in

     September 2011. Ohio voters then challenged the map, seeking to subject it to a voter referendum,

     but their efforts failed. As a result, Ohio Republicans passed a slightly different version of the

     map, H.B. 369, in December 2011. The changes they made did not materially alter the strong pro-

     Republican partisan leaning of the map’s first iteration. Four cycles of congressional elections

     have occurred under the map embodied in H.B. 369. Each resulted in the election of twelve

     Republican representatives and four Democratic representatives. No district has been represented

     by representatives from different parties during the life of the map.

            During a two-week trial, experts testified to the extremity of the gerrymander. They

     demonstrated that levels of voter support for Democrats can and have changed, but the map’s

     partisan output remains stubbornly undisturbed.          The experts used various metrics and

     methodologies to measure their findings, but several takeaways were universal: (1) the Ohio map

     sacrifices respect for traditional districting principles in order to maximize pro-Republican partisan

     advantage, (2) the Ohio map’s pro-Republican partisan bias is extreme, compared both to historical

     plans across the United States and to other possible configurations that could have been adopted




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     in Ohio, and (3) the Ohio map minimizes responsiveness and competition, rendering one consistent

     result no matter the particularities of the election cycle.

             We join the other federal courts that have held partisan gerrymandering unconstitutional

     and developed substantially similar standards for adjudicating such claims. We are convinced by

     the evidence that this partisan gerrymander was intentional and effective and that no legitimate

     justification accounts for its extremity. Performing our analysis district by district, we conclude

     that the 2012 map dilutes the votes of Democratic voters by packing and cracking them into

     districts that are so skewed toward one party that the electoral outcome is predetermined. We

     conclude that the map unconstitutionally burdens associational rights by making it more difficult

     for voters and certain organizations to advance their aims, be they pro-Democratic or pro-

     democracy. We conclude that by creating such a map, the State exceeded its powers under Article

     I of the Constitution. Accordingly, we declare Ohio’s 2012 map an unconstitutional partisan

     gerrymander, enjoin its use in the 2020 election, and order the enactment of a constitutionally

     viable replacement.

                                             I.      BACKGROUND

         A. General Overview of the Facts

             1. The redistricting process begins

             Every ten years, the United States government conducts a census. The census results

     dictate the size of each state’s delegation to the United States House of Representatives because

     House seats are based on population. Following the release of the census results, state legislatures

     redraw their United States congressional districts in order to reflect population changes. In Ohio,

     the 2010 census revealed that the State’s comparative population stagnation required reducing the




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     State’s previous congressional delegation from eighteen to sixteen.1 In that same year, Ohioans

     elected a Republican Governor, elected a Republican majority in the State Senate, and flipped the

     Ohio House of Representatives to be majority Republican as well.2 In the State of Ohio, the Ohio

     General Assembly is responsible for enacting legislation that delineates the federal congressional

     districts.3 Both the State Senate and the State House of Representatives must pass such a bill by a

     simple majority and the Governor must then sign the bill into law.4 Therefore, when map-drawing

     activities commenced in 2011, the Republican Party had effective control of all bodies necessary

     to pass a redistricting bill.

             In Ohio, redistricting is facilitated by the Joint Legislative Task Force on Redistricting,

     Reapportionment, and Demographic Research (“Task Force”). The Task Force is a six-person

     bipartisan committee.5 The Task Force does not actually draw the maps. Rather “it is the entity

     to which the state legislature appropriates money” so that the Task Force can then contract with

     other entities and individuals to assist in the redistricting process.6 Prior to the 2011 redistricting,

     the Task Force requisitioned from Cleveland State University (“CSU”) a dataset containing

     demographic and political data that map drawers of both parties could use in the redistricting

     process.7 The practice of the Ohio General Assembly has been to allow the Task Force to allocate

     separate funds in equal amounts to the Ohio Democratic Caucus and the Ohio Republican Caucus




             1
               Trial Ex. P090 (Cooper Decl. at 10).
             2
                      OHIO        SEC’Y       OF       STATE,        2010       ELECTION      RESULTS,
     https://www.sos.state.oh.us/elections/election-results-and-data/2010-elections-results/. The Court
     takes judicial notice of all the 2010 election results. FED. R. EVID. 201.
             3
               Dkt. 234 (Final Pretrial Order at App. A., 1) (Joint Uncontroverted Facts).
             4
               Id.
             5
               Id. at App. A., 1–2.
             6
               Dkt. 243 (DiRossi Trial Test. at 147–49).
             7
               Dkt. 230-14 (Glassburn Dep. at 37); Dkt. 230-5 (Mann Dep. at 94–95, 103, 105).
                                                        6
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     and to allow the parties to conduct much of their redistricting work separately. 8 This is precisely

     what occurred during the 2011 map-drawing process.9 Eventually, maps are produced that are

     then sent for the General Assembly to enact in a bill, which is then sent to the Governor. The Ohio

     Senate and House of Representatives also established committees on redistricting, chaired by

     Republicans State Senator Keith Faber and Representative Matthew Huffman, respectively.

            2. Logistics of the Republican map drawing

            Republican map-drawing planning occurred at both the State and federal levels, and the

     two levels worked together, collaborated, and consulted one another throughout the process.10 At

     the State level, Ray DiRossi and Heather Mann11 served as the principal on-the-ground map

     drawers.12 DiRossi had previously been employed as a staffer for Republican members of the

     General Assembly and as a fundraiser for the Ohio Republican Senate Campaign Committee. 13

     He was also deeply involved in the 2001 redistricting process following the 2000 census.14 Mann

     had been working for the Ohio House Republican Caucus since 2004, most recently as Deputy

     Legal Counsel and Redistricting Director, reporting to Speaker of the Ohio House of

     Representatives William Batchelder (“Speaker Batchelder”).15 It was decided that both DiRossi

     and Mann should formally cease their employment with the Ohio House Republican Caucus and

     instead conduct their map-drawing work as independent consultants.16 As a consultant, Mann



            8
              Dkt. 243 (DiRossi Trial Test. at 148–50).
            9
              Id. at 149–50.
            10
               Dkt. 230–28 (Kincaid Dep. at 313).
            11
               Heather Mann is now Heather Blessing, but this opinion refers to her by the last name
     “Mann” because that was her name at the relevant time and to be consistent with how her name
     appears in documents and emails.
            12
               Dkt. 230-5 (Mann Dep. at 48).
            13
               Dkt. 243 (DiRossi Trial Test. at 206–07).
            14
               Id. at 147.
            15
               Dkt. 230-5 (Mann Dep. at 27–28).
            16
               Dkt 243 (DiRossi Trial Test. at 207–10); Dkt. 230-5 (Mann Dep. at 28).
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     reported to Speaker Batchelder,17 and DiRossi reported to State Senate President Tom Niehaus.18

     Troy Judy, Chief of Staff for Speaker Batchelder, was also deeply involved in the map drawing.19

             DiRossi secured a room at the DoubleTree Hotel in Columbus beginning in July 2011 to

     serve as the base for the map-drawing operations.20 DiRossi had the hotel move the usual

     furnishings out of the hotel room and instead had desks and three computers installed.21 Various

     Republican legislators, staff members, and operatives visited the DoubleTree room during the

     map-drawing process. They included Mann, DiRossi, Judy, Speaker Batchelder,22 President of the

     Ohio Senate Tom Niehaus, Representative Matt Huffman, State Senator Keith Faber, Chief of

     Staff in the Ohio State Senate Mike Schuler, Chief Legal Counsel to the majority in the Ohio

     House of Representatives Mike Lenzo,23 map-drawing expert John Morgan,24 head of Team

     Boehner Tom Whatman, and legal counsel Mark Braden. No Democratic legislator or staffer ever

     visited.25

             Mann, DiRossi, and Judy each used a computer equipped with a software package called

     “Maptitude.”26   Various types of demographic data as well as historical election data and

     compilations of that data can be uploaded into Maptitude. The software then allows map drawers

     to draw district lines over a map of a state. Map drawers can view and work on maps in very fine




             17
                Dkt. 230-5 (Mann Dep. at 35, 39, 41, 53, 56).
             18
                Id. at 53; Dkt. 230–12 (DiRossi Dep. at 136, 138).
             19
                Dkt. 230-5 (Mann Dep. at 48).
             20
                Trial Ex. P109 (DoubleTree Invoice at LWVOH_00018254); Dkt. 230-12 (DiRossi Dep.
     at 144–45).
             21
                Dkt. 243 (DiRossi Trial Test. at 212–13).
             22
                Dkt. 230-5 (Mann Dep. at 63).
             23
                Id. at 33.
             24
                John Morgan instructed Mann, in person in Columbus, on how to use Maptitude. Id. at
     42, 58.
             25
                Dkt. 230-12 (DiRossi Dep. at 149).
             26
                Dkt. 230-5 (Mann Dep. at 41).
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     detail—down to the census block unit.27 As the map drawer draws or alters lines, the program will

     calculate, recalculate, and display the corresponding demographic and historical election data for

     the newly drawn districts in real time.28 Map drawers can save their draft maps both as visual

     depictions and as data files that contain the assignments of each geographical unit to a particular

     district.29 Maptitude will also export into Excel spreadsheets the political data that corresponds to

     the draft maps.

            As mentioned above, much of the data that the map drawers used had been furnished to

     them through a contract that the Ohio General Assembly entered into with CSU. CSU created and

     provided the Task Force with the Ohio Common Unified Redistricting Database (“Database” or

     “OCURD”).30 The Database included many types of geographic, demographic, and historical

     partisan election data for the State of Ohio, broken down to the split census block level. 31 The

     Task Force provided this information to both the Democratic and Republican Caucuses.32 Mark

     Braden, who was retained by the Ohio Attorney General to represent and advise the General

     Assembly during the 2011 redistricting process,33 hired Clark Bensen from the company Polidata

     to do some additional work with the data sets to make the data more workable and to provide

     additional historical election data for the Republican map drawers.34




            27
               Id. at 45–46.
            28
               Id. at 42–45.
            29
               A block equivalency or block assignment file “is a data set that shows which census
     blocks are assigned to which districts in a redistricting plan” and is “generated by Maptitude.” Id.
     at 64. A shape file is another file that Maptitude generates. Id. at 64–65.
            30
               Id. at 46.
            31
               Dkt. 230-14 (Glassburn Dep. at 71–73).
            32
               Id. at 22–24, 38.
            33
               Dkt. 230-7 (Braden Dep. at 17).
            34
               Dkt. 230-5 (Mann Dep. at 46, 139–41).
                                                      9
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         Mann, DiRossi, and Judy were tasked by the Republican Caucuses with drawing maps that

  were favorable to Republicans. Many Republican leaders indicated their preference for a 12-4

  map.35 In order to gauge whether their draft maps would achieve this goal, they used partisan

  indices, created by compiling the historical partisan voting data from certain chosen elections. The

  indices were then uploaded into Maptitude so that the map drawers could predict how their draft

  districts would likely perform politically in future elections.

         Various indices were used because individuals involved in the map-drawing process

  preferred different indices. At times they used an index that they created and termed the “Unified

  Index.”36 The Unified Index averaged the results of five races, overall reflecting a partisan

  landscape more favorable to the Democratic Party than an index that would have included a fuller

  set of elections from the decade preceding the redistricting.37 The map drawers also used the “‘08

  McCain Index,” which also reflected a strong Democratic performance. 38 The map drawers used

  Maptitude to create spreadsheets by “output[ting] the numbers to show what various indexes, as

  well as other data, were for all the districts.”39 They sometimes created comparison spreadsheets




         35
              Dkt. 230-3 (Batchelder Dep. at 71) (commenting that “Mann would . . . be looking at
  past election results” because it was “her assignment, to try to come to districts that were
  friendly”); id. at 130–31 (agreeing that “a map that would have given the Democrats a shot at five
  districts wasn’t under consideration”); see also Dkt. 230-46 (Stiver Dep. at 33) (discussing a “12
  to 4 redistricting scenario that [Husted] said we would like”); Trial Ex. P551 (Mar. 22, 2011 email
  at STIVERS_004042); Trial Ex. P407 (Sept. 9, 2011 email chain at LWVOH_00524131) (email
  from Whatman to President Niehaus stating that the Republicans were “trying to lock down 12
  Republican seats”). Defendants object to the admissibility of Trial Ex. P407 on hearsay grounds.
  This objection is overruled. The Court finds that this statement falls under the hearsay exception
  for then-existing mental state because it is a “statement of the declarant’s then-existing state of
  mind (such as motive, intent, or plan).” See FED. R. EVID. 803(3).
           36
              Dkt. 230-5 (Mann Dep. at 44, 75, 88, 91, 119); Dkt. 230-12 (DiRossi Dep. at 113).
           37
              Dkt. 247 (Hood Trial Test. at 222–24).
           38
              Trial Ex. P127 (Sept. 12, 2011 email at LWVOH_00018320) (relating partisan scores
  using the “08 Pres” index); Dkt. 230-12 (DiRossi Dep. at 243).
           39
              Dkt. 230-5 (Mann Dep. at 122).
                                                    10
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  to allow them to compare the political index scores of different draft maps to one another.

  Individuals involved in the map-drawing process also used the Partisan Voter Index (“PVI”),

  which is used in the well-known Cook Political Report. PVI scores classify districts as either

  Republican leaning (R+) or Democratic leaning (D+). These classifications are accompanied by

  a score quantifying the strength of such a leaning.

         Individuals not involved in the day-to-day map drawing were sometimes shown the draft

  districts’ predicted partisan proclivities as assessed with various indices.40 The map drawers would

  also print out spreadsheets that contained the draft districts’ predicted partisan leanings using

  various indices and share them with Republican Party leaders at redistricting meetings.41 Judy

  regularly checked in on DiRossi and Mann as they worked, received updates, reviewed draft maps,

  and relayed information between Batchelder, DiRossi, and Mann.42 DiRossi and Mann regularly

  reported developments to and received feedback from Speaker Batchelder and President Niehaus.

  They also kept Senator Faber and Republican Chief of Staff in the Ohio State Senate Matt Schuler

  informed as changes were made.

         3. National Republican involvement

         National Republican operatives supported the State-level map drawers in their work from

  beginning to end. This collaboration started prior to the map drawing itself, when Ohio Republican

  staffers such as DiRossi, Mann, Judy, Schuler, and Chief Legal Counsel for the Ohio House

  Republican Caucus Michael Lenzo, as well as Representative Huffman attended a redistricting



         40
             Dkt. 230-3 (Batchelder Dep. at 22–25).
         41
             Dkt. 230-5 (Mann Dep. at 84) (“We created a lot of spreadsheets with different data like
  set on population deviations, on absolute population, on indexes, on racial data, on voting data.”);
  id. at 85 (stating that the map drawers’ principals “wanted to know what the districts look like.
  They wanted to know how they changed from the prior redistricting.”).
          42
             Id. at 49–51 (stating that Mann was in regular contact with Judy about the maps and that
  she knew that Judy communicated her updates to Speaker Batchelder).
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  conference hosted by the National Conference of State Legislatures (“NCSL”) in Washington,

  D.C.43    Lenzo had also attended a Redistricting and Election Law Seminar hosted by the

  Republican National Committee (“RNC”) in Washington, D.C., in Spring 2010.                At these

  meetings, the Ohio Republican staffers made contact with national Republican operatives such as

  Mark Braden, Tom Hofeller, and John Morgan, who later advised them and collaborated with them

  during the map-drawing process.

           At the Spring 2010 seminar, Morgan gave a presentation on map drawing, advising map

  drawers to keep the process secret and to score the maps to determine the likely partisan outcome.44

  In 2011, Morgan conducted a follow-up visit to Ohio, where he presented on map-drawing tactics

  to DiRossi, Mann, and Judy.45       Speaker Batchelder and President Niehaus also attended a

  redistricting meeting in Washington, D.C. in the spring of 2011 with Whatman and Republican

  members of the U.S. congressional delegation.46

           At the time of the census and redistricting, Congressman John Boehner of Ohio was the

  Speaker of the United States House of Representatives. Ohio Republicans understood that Speaker

  Boehner would have considerable input in the 2012 map and were committed to enacting a map

  that he supported.47 Batchelder spoke with Boehner about once each month during the creation of

  the 2012 map and met with Boehner twice.48 Boehner employed Tom Whatman as the head of his




           43
             Id. at 155–56.
           44
              Dkt. 230-34 (Morgan Dep. at 132); Trial Ex. P346 (Morgan 2010 Presentation at
  LENZO_0002550–75); Dkt. 230-29 (Lenzo Dep. at 99–106).
          45
             Dkt. 230-29 (Lenzo Dep. at 73, 76, 99).
          46
             Dkt. 230-52 (Whatman Dep. at 41–42).
          47
             Dkt. 230-12 (DiRossi Dep. at 271); Dkt. 230-52 (Whatman Dep. at 131); Trial Ex. P584
  (Sept. 11, 2011 “Redistricting ‘tweaks’” email at LWVOH_00018297) (President Niehaus stating
  that he was “still committed to ending up with a map that Speaker Boehner fully supports, with or
  without votes from two members of leadership”).
          48
             Dkt. 230-3 (Batchelder Dep. at 27, 46–47).
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  “Team Boehner.” Boehner tasked Whatman with liaising between Republican members of the

  congressional delegation and the Ohio map drawers;49 Whatman began working on the

  redistricting process at the federal level in December 2010 or January 2011.50

         Whatman employed Adam Kincaid, the Redistricting Coordinator of the National

  Republican Congressional Committee (“NRCC”), to assist in the redistricting efforts. Kincaid

  drafted proposed maps and district lines that incorporated Whatman’s requests and sent them to

  DiRossi and Mann and, on occasion, Braden.51 Kincaid also met repeatedly with members of

  Ohio’s congressional delegation throughout the redistricting process to hear their concerns and

  keep them abreast of developments.52 As the districts were drawn, Kincaid updated Whatman and

  the Republican congressmen about the political leanings of their new districts based on the

  historical election data, producing spreadsheets with partisan index information for the various

  draft districts.53 In the final days of the drafting, state and national Republicans tweaked the map,

  mindful of the partisan consequences of very minor tweaks.54 In some cases, it was clear that



         49
             Dkt. 230–52 (Whatman Dep. at 29–30).
         50
             Id. at 31.
          51
             Id. at 30–31; Trial Ex. P128 (Sept. 12, 2011 email at LWVOH_00018322) (Kincaid
  sending last-minute changes in the map design to DiRossi, Mann, and Whatman); Dkt. 230-28
  (Kincaid Dep. at 276–77).
          52
             Dkt. 230-28 (Kincaid Dep. at 273–74) (“As the redistricting coordinator in 2010 and
  2011, my job was to facilitate the development of proposed maps with members of Congress,
  specifically in Ohio, so that they would have a proposal that they could bring back to the state
  legislators for their consideration.”); Dkt. 230-27 (Kincaid Dep. at 89–92, 94–97, 103–05).
          53
             Dkt. 230-52 (Whatman Dep. at 55–56).
          54
             See Trial Ex. P124 (Sept. 10, 2011 email at LWVOH_00018310) (DiRossi implementing
  a last-minute change requested by Senator Faber, including its impact on partisan index scores,
  and stating that “DC is increasingly pushing to put the lid on this”); Trial Ex. P125 (Sept. 11, 2011
  email at LWVOH_0001829) (Whatman apologizing to DiRossi for having to deal with a last-
  minute “tweak” request from Senators Faber and Widener); Trial Ex. P581 (Sept. 11, 2011 email
  at LWVOH_00018311) (DiRossi informing Whatman of the partisan index impact of
  accommodating Senator Widener’s requested changes to the map and Whatman asking DiRossi if
  there was “some other change you guys wanted to run by me” because he “[g]ot that impression
  from [M]att’s [voicemail]”); Trial Ex. P126 (Sept. 12, 2011 emails at LWVOH_00018298–301)
                                                   13
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  national Republican operatives had the authority to “sign off” on changes before they were

  implemented by the State-level team.55

         4. Major features of H.B. 319

         Because of the stagnation in Ohio’s population compared to other states, two districts had

  to be eliminated. This meant that if all incumbents were to run for office, at least two sets of

  incumbents would have to be paired.          The Republicans decided to pair two Republican

  representatives and two Democratic representatives.56       Whatman made the decision to pair

  Republican Congressmen Turner and Austria; Speaker Boehner approved the pairing.57 Whatman

  also spoke to both Austria and Turner about the decision.58 Speaker Batchelder was not involved

  in the decision to pair those two Republican congressmen.59




  (updating various map drawers of the impact that changes to the map had on the partisan index
  score of Representative Latta’s district and noting that “a good part of Lucas [County] he is picking
  up is [R]epublican territory”); Trial Ex. P127 (Sept. 12, 2011 email at LWVOH_00018320)
  (DiRossi updating Whatman on the partisan impact of a map change on Representative Stivers’s
  district as measured by two different partisan indices); Trial Ex. P128 (Sept. 12, 2011 email at
  LWVOH_00018322) (Kincaid sending last-minute changes in the map design to DiRossi, Mann,
  and Whatman); Dkt. 243 (DiRossi Trial Test. at 260).
           55
              Trial Ex. P126 (Sept. 12, 2011 email at LWVOH_00018298) (Senate President Niehaus
  asking DiRossi: “Did Whatman sign off?” after changes were proposed and DiRossi confirming
  that Whatman signed off on them). Heather Mann testified that Whatman “never needed to
  approve of any maps” that she had drawn because “[h]e wasn’t [her] principal.” Dkt. 230-5 (Mann
  Dep. at 59). However, the email correspondence between the Ohio map drawers reveals that
  although Mann may not have technically been required to secure Whatman’s approval of changes
  to the map, such approval and input was regularly sought, particularly when such changes involved
  hot spots on the map that were especially important to the map’s partisan outcome. See also Trial
  Ex. P581 (Sept. 11, 2011 email at LWVOH_00018311) (Whatman asking DiRossi if there was
  “some other change you guys wanted to run by me”).
           56
              Speaker Batchelder testified that that decision was made “early on as we negotiated
  between the two caucuses.” Dkt. 246 (Batchelder Trial Test. at 47).
           57
              Dkt. 230-52 (Whatman Dep. at 35, 37–39).
           58
              Id. at 35–36.
           59
              Dkt. 246 (Batchelder Trial Test. at 48–49).
                                                   14
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         As for the Democratic pairing, the map drawers paired Representative Marcy Kaptur of

  former District 9 and Representative Dennis Kucinich of former District 10; Kaptur won the

  Democratic primary that ensued. Kaptur testified that she did not want to be paired with

  Kucinich,60 but she was not consulted by the Republican map drawers on the matter.61 She saw

  the map embodied in H.B. 319 for the first time in media reports around the time of the bill’s

  introduction. Kaptur was “astonish[ed],” upset, and offended by the map, which she understood

  to break up communities of interest and involve unnatural groupings of communities with

  diverging interests.62

         The map drawers also paired Republican Representative Jim Renacci of the former District

  16 and Democratic Representative Betty Sutton of the former District 13 to run against each other




         60
             Dkt. 249 (Kaptur Trial Test. at 76). DiRossi testified that Representatives Kucinich and
  Kaptur were paired because “[t]here was a lot of—a lot of conversations that were happening, but
  it was very clear that the Democrats wanted Dennis Kucinich to be the one that was out . . . I was
  getting feedback from a number of mechanisms, a number of people that were having
  conversations with the Democrats or with other party leaders. . . . I was talking to a number of
  people. I was talking to Bob Bennett, the former chairman of the Ohio Republican Party, who had
  been the chairman twice and had some incredible relationships with former Democratic chairs and
  also some of the county chairs and individual members.” Dkt. 243 (DiRossi Trial Test. at 159–
  60). DiRossi stated that Bob Bennett “then discuss[ed] these things with [him] personally” and
  “Bennett’s conversations that he was relaying to [DiRossi] impact[ed] how [DiRossi] drew the
  lines.” Id. at 160. Plaintiffs object to DiRossi’s testimony regarding out-of-court statements, but
  the Court considers those statements only for the effect DiRossi claims they had on his map-
  drawing decisions and not for the purported truth of the assertions (i.e., which incumbents
  Democrats actually wanted paired).
          61
             Dkt. 249 (Kaptur Trial Test. at 69–70). Kincaid, however, testified that “Ms. Kaptur and
  Mr. Kucinich who had been drawn together in a district were interested in the makeup of their
  parts of those districts, specifically the DMA’s which are the designated market areas of Toledo
  and Cleveland and how much of each was inside their districts—their district.” Dkt. 230-27
  (Kincaid Dep. at 99). He testified that this information came from Congressman LaTourette’s
  communications with Democratic representatives during the map-drawing process. Id. at 98.
  Again, the Court considers Kincaid’s testimony only for the effect that Congresswoman Kaptur’s
  and Congressman Kucinich’s out-of-court statements had on the map drawers and not for the
  purported truth of the assertions.
          62
             Dkt. 249 (Kaptur Trial Test. at 70–71).
                                                  15
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  in the new District 16. DiRossi testified that the third pairing was necessitated by: drawing District

  11 to include portions of Akron, population loss in Northeast Ohio, “two congresspeople who were

  living very close together,” and the creation of the new District 3 in Franklin County.63

         The map drawers drew District 11 to include some portions of the City of Cleveland in

  Cuyahoga County and a thin strip dropping southward into Summit County where it incorporated

  sections of the City of Akron. Representative Marcia Fudge, who had represented District 11

  under the previous map prior to the 2011 redistricting, was not consulted by Republican map

  drawers and did not learn of District 11’s new boundaries until around the time that H.B. 319 was

  introduced in the legislature.64 She was displeased with the new shape of the district, particularly

  the extension of the district into Summit County and Akron, areas with which she was not familiar

  and that she had not previously represented.65 District 11 had historically been a majority-minority

  district that elected African-American congressional representatives by large margins. Some map

  drawers expressed that it “was a consideration for us in a proposed map to make sure it remained

  a majority-minority district.”66



         63
              Dkt. 243 (DiRossi Trial Test. at 176–77).
         64
              Dkt. 239 (Fudge Trial Test. at 83) (testifying that she “didn’t have a role” in the 2011
  redistricting). Kincaid testified, however, that “I know Congresswoman Fudge was interested in
  the precincts and communities that were included in her district . . . . Ms. Fudge wanted a district
  that ran from Cleveland to Akron.” Dkt. 230-27 (Kincaid Dep. at 99). Kincaid testified that his
  “understanding [was] that [Fudge’s desire for such a district] was communicated multiple ways
  through multiple avenues” both “to the state legislature as well as to Mr. LaTourette.” Id. at 100.
  He went on: “I recall that she probably stated she was thrilled by the district that was passed out
  of the Ohio legislature. She may not have used the word thrilled but that she was pleased with the
  district that she was drawn into.” Id. at 100–01. Plaintiffs object to this testimony of the ground
  that it is inadmissible hearsay. Defendants contend that it is only being offered as evidence of
  Kincaid’s understanding and belief. The Court sustains Plaintiffs’ objection and finds that this
  testimony is being offered for the truth—to prove that Congresswoman Fudge was pleased with
  the district—and therefore is inadmissible hearsay. See FED. R. EVID. 801(c)(2).
           65
              Dkt. 239 (Fudge Trial Test. at 84–85).
           66
              Dkt. 230-52 (Whatman Dep. at 62); see also Trial Ex. P394 (discussing BVAP goals for
  District 11).
                                                   16
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         The map drawers created a new district, District 3, in Franklin County, where the City of

  Columbus is located. Columbus had been experiencing population growth while metropolitan

  areas in northern Ohio had been losing population.67 It is an urban center that is the home of The

  Ohio State University, and it contains many Democratic voters. Whatman and Kincaid had the

  idea to create the new District 3 in Columbus that would concentrate many of Columbus’s

  Democratic voters into one district.68 One spreadsheet sent among those involved in the map-

  drawing process referred to the new District 3 as the “Franklin County Sinkhole,” but it is unclear

  who exactly included that term.69 The draft map creating the new District 3 allowed for safe

  quantities of Columbus’s Democratic voter bloc to be absorbed by the neighboring Districts 12

  and 15 such that those districts could maintain or achieve safe Republican majorities.70



         67
             Trial Ex. P090 (Cooper Decl. at 7, fig. 2).
         68
             Dkt. 230-52 (Whatman Dep. at 51); Dkt. 230-28 (Kincaid Dep. at 333–37).
          69
             Dkt. 230-28 (Kincaid Dep. at 121–22); id. at 420; Trial Ex. P077 (Ohio Changes
  Spreadsheet at BRADEN001387) (bearing the legend “Franklin County Sinkhole”). Defendants
  object to the admissibility of Trial Ex. P077 on authentication, foundation, and hearsay grounds.
  Each objection is overruled. First, the exhibit was produced by Braden in response to Plaintiffs’
  document subpoena, so it is presumptively authentic. Second, Plaintiffs have properly
  demonstrated foundation as Kincaid testified that he was the author of the spreadsheet and
  explained the spreadsheet in detail. Dkt. 230-27 (Kincaid Dep. at 153); see also Dkt. 230-28
  (Kincaid Dep. at 363) (testifying that he “would have created the original version” of the
  spreadsheet, but he was unsure whether he had written the header reading “Franklin County
  Sinkhole”). Metadata further confirms that Kincaid was the last person to modify Trial Ex. P077.
  Third, the Court finds that Plaintiffs cite this document to demonstrate the map drawers’ partisan
  intent, not for the truth that Franklin County was a “sinkhole.” See FED. R. EVID. 801(c)(2).
          Kincaid sent the spreadsheet to DiRossi, Mann, and Whatman on September 2, 2011. Dkt.
  230-28 (Kincaid Dep. at 366–67); Trial Ex. P119 (at LWVOH_00018302). Mann forwarded the
  spreadsheet to Braden and Bensen on September 3, 2011. Trial Ex. P119 (at LWVOH_00018308).
  On September 6, 2011, Braden sent the spreadsheet to Hofeller in an email that stated: “please
  keep this secret but would like your and Dale’s views.” Trial Ex. P393 at REV_00023176–79.
  Dale Oldham worked as the redistricting counsel for the RNC. Dkt. 230-27 (Kincaid Dep. at 55).
          Kincaid testified that he had a memory of the term “Franklin County Sinkhole” “being used
  in a conversation with Mr. Whatman” prior to the introduction of H.B. 319, but he did not recall
  who was present or who used the phrase. Dkt. 230-28 (Kincaid Dep. at 370–71).
          70
             Trial Ex. P499 (Ohio Changes Spreadsheet at REV_00023431) (reflecting a changed
  PVI score in District 12 from D+1 to R+8); Dkt. 230-28 (Kincaid Dep. at 353–54).
                                                  17
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         State-level and national Republican operatives emailed back and forth sharing and

  consulting on plans for this new district. Kincaid created a proposed map that included such a

  district, which scored as D+15 using his PVI metric, and shared the draft map with DiRossi and

  Mann.71 Braden asked Hofeller to consult on one draft of the map created by Kincaid, including

  the new district. Hofeller approved it after removing from District 15 some territory that Kincaid

  had allocated to it. Hofeller noted that this “‘downtown’ area” was “‘dog meat’ voting territory”

  and “awful” in explaining why it should not be included in the Republican-assigned District 15.72

  Kincaid followed up with minor tweaks of the Columbus area division, but the general contours,

  as tweaked by Hofeller, remained the same. The 2012 map, which placed downtown Columbus

  in District 3, uses irregular lines to divide Franklin County and Columbus into three districts—3,

  12, and 15. In every election under the 2012 map, the Democratic candidate has won District 3

  while Districts 12 and 15 have elected Republican representatives.73



         71
               Trial Ex. P313 (Ohio Changes Spreadsheet at NRCC000012) (listing the newly created
  district termed “10-open” with a PVI of D+15); Dkt. 230-27 (Kincaid Dep. at 135–36); id. at 145;
  Trial Ex. P119 (Sept. 3, 2011 email at LWOV_00018302).
           72
               Trial Ex. P394 (Sept. 8, 2011 email at REV_00023234). Defendants object to Trial Ex.
  P394 as containing inadmissible hearsay. This objection is overruled. The Court finds that
  Plaintiffs have offered this document to show the map drawers’ state of mind and partisan intent,
  not for the truth that these territories were “dog meat.” See FED. R. EVID. 801(c)(2).
           73
                     OHIO       SEC’Y        OF      STATE,      2012      ELECTION        RESULTS,
  https://www.sos.state.oh.us/elections/election-results-and-data/2012-elections-results/
  (Democratic Representative Beatty winning District 3 with 68.29% of the vote and Republican
  Representatives Tiberi and Stivers winning Districts 12 and 15 with 63.47% and 61.56% of the
  vote,       respectively);    OHIO       SEC’Y    OF    STATE,     2014     ELECTION     RESULTS,
  https://www.sos.state.oh.us/elections/election-results-and-data/2014-elections-results/
  (Democratic Representative Beatty winning District 3 with 64.06% of the vote and Republican
  Representatives Tiberi and Stivers winning Districts 12 and 15 with 68.11% and 66.02% of the
  vote,      respectively);        OHIO SEC’Y OF STATE, 2016 ELECTION RESULTS,
  https://www.sos.state.oh.us/elections/election-results-and-data/2016-official-elections-results/
  (Democratic Representative Beatty winning District 3 with 68.57% of the vote and Republican
  Representatives Tiberi and Stivers winning Districts 12 and 15 with 66.55% and 66.16% of the
  vote,      respectively);        OHIO SEC’Y OF STATE, 2018 ELECTION RESULTS,
  https://www.sos.state.oh.us/elections/election-results-and-data/2018-official-elections-results/
                                                 18
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          For a time, the Republicans considered drawing a map that would include “13 ‘safe’ seats”

  for their party rather than twelve.74 In order to accomplish this, Franklin County and the City of

  Columbus would be split into four different districts rather than the three they were split into under

  the 2012 map.75 Kincaid developed such a map and calculated the PVI scores of the resulting

  districts.   Although such a map could have secured the election of thirteen Republican

  representatives, the map drawers believed that the margins of victory would have been tighter, as

  evidenced by lower R+ PVI scores.76 The Republicans eventually opted for the map that promised

  one less Republican seat, but in which those twelve Republican seats were safer.

          The map drawers sometimes rejected specific requests from Republican members of the

  Ohio General Assembly, instead prioritizing maintaining the partisan balance of the draft map.

  For example, State Senator Christopher Widener requested that the map keep Clark County




  (Democratic Representative Beatty winning District 3 with 73.61% of the vote and Republican
  Representatives Balderson and Stivers winning Districts 12 and 15 with 51.42% and 58.33% of
  the vote, respectively). The Court takes judicial notice of all the 2012-2018 election results. FED.
  R. EVID. 201.
           74
              Trial Ex. P385 (Congressional Redistricting Talking Points at LWVOH_0052438)
  (“Given the fact that the overall index for the State of Ohio is 49.5% on a measure of five recent
  races, it is a tall order to draw 13 ‘safe’ seats. Speaker’s [sic] Boehner’s team worked on several
  concepts but this map is the one they felt put the most number of seats in the safety zone.”).
           75
              Dkt. 230-28 (Kincaid Dep. at 421).
           76
               Trial Ex. P078 (PVI Scores for the “4-Way Split as of September 6” map at
  OHCF0001438). Defendants object to the admissibility of Trial Ex. P078 on authentication,
  foundation, and hearsay grounds. Each objection is overruled. First, the exhibit was produced by
  Braden in response to Plaintiffs’ document subpoena, so it is presumptively authentic. Second,
  Plaintiffs have properly demonstrated foundation as Kincaid testified that he likely authored the
  spreadsheet and explained the spreadsheet, including the meaning of “4-Way Split[,]” in detail.
  Dkt. 230-28 (Kincaid Dep. at 381–82). Third, the Court finds that to the extent this evidence is
  offered to prove the intent and beliefs of the map drawers, it is not offered for the truth of the PVI
  scores. See FED. R. EVID. 801(c)(2). To the extent that it is offered to prove the truth of the partisan
  leanings of the contemplated districts created by the four-way split, it is admissible as the
  admission of the agent of a party-opponent. See FED. R. EVID. 801(d)(2)(D).
                                                    19
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  whole.77 DiRossi and the other map drawers rejected Widener’s request in part because unifying

  Clark County would have negative consequences for the partisan scores of District 15—making

  the Republican seat there less secure.78

         The resulting map featured twelve districts likely to elect a Republican representative

  (Districts 1, 2, 4, 5, 6, 7, 8, 10, 12, 14, 15, and 16) and four districts likely to elect a Democratic

  Representative (Districts 3, 9, 11, and 13).

         5. Secrecy surrounding the map

         The Republican map drawers did not share plans for the map with either the public or

  Democratic legislators or staffers prior to introducing it in the Ohio House of Representatives.79

  Although the State Senate’s and State House’s committees on redistricting, chaired by Senator

  Faber and Representative Huffman, respectively, held five public hearings in different locations

  across Ohio in July and August of 2011 while the maps were being drafted, their members did not

  share drafts of the maps or political indices at the hearings.80 The Republican map drawers shared

  the map with Representative Armond Budish, the Democratic Minority Leader in the Ohio State




         77
             Dkt. 243 (DiRossi Trial Test. at 246); Trial Ex. P581 (Sept. 11, 2011 email at
  LWVOH_00018311) (discussing the partisan consequences of Senator Widener’s request); Dkt.
  243 (DiRossi Trial Test. at 244–45).
          78
             Trial Ex. P581 (Sept. 11, 2011 email at LWVOH_00018311); Dkt. 243 (DiRossi Trial
  Test. at 247–48).
          79
             Kincaid, however, testified that Republican Congressman LaTourette “would meet with
  Democrat members of the Ohio [congressional] delegation and get their input on the Ohio
  congressional map and would communicate information back to them as well.” Dkt. 230-27
  (Kincaid Dep. at 98). Kincaid’s testimony is unclear as to when Congressman LaTourette’s
  discussions with Democratic members of Congress occurred. Congresswoman Fudge testified that
  she spoke to Congressman LaTourette about the shape of her district after the introduction of H.B.
  319 in the General Assembly. Dkt. 239 (Fudge Trial Test. at 100). Moreover, to the extent it is
  offered for the truth of what any particular Democrat wanted in the redistricting, it is based on
  hearsay.
          80
             Dkt. 230-19 (Huffman Dep. at 33–34, 45–46); Dkt. 230-5 (Mann Dep. at 159–60).
                                                    20
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  House of Representatives, only just immediately before the bill was introduced. 81 The map

  drawers even declined to share information with other Republican members of the Ohio General

  Assembly prior to the formal introduction of the bill. For example, State Senator Faber saw the

  map just shortly before its introduction as a bill.82

          6. Passage of H.B. 319

          The Ohio Republicans first introduced a 2012 redistricting map in the form of H.B. 319 on

  September 13, 2011 in the House State Government and Elections Committee. The Committee

  referred the bill to the House, and it was debated on the floor of the House on September 15,

  2011.83 Representative Huffman, the sponsor of the bill, spoke on the House floor about the map-

  drawing process and the factors that the map drawers had considered in drawing the new district

  lines.84 Democratic Minority Leader Budish spoke on the floor of the House, criticizing the

  secrecy of the map-drawing process and the Republicans’ failure to take outside input into

  account.85 House Democrats also complained that the bill was being rushed through the General

  Assembly and that the accelerated timeframe for its passage prevented serious scrutiny and

  critique.86 The bill passed in the House of Representatives that same day by a vote of fifty-six to

  thirty-six.87




          81
             Dkt. 230-3 (Batchelder Dep. at 57); Dkt. 230-5 (Mann Dep. at 57).
          82
             Dkt. 230-13 (Faber Dep. at 57–58) (recalling seeing “the map for the first time at the
  same time that everyone else did” and “right before the weekend before we were going to vote it
  on the floor”); id. at 175 (“We were given at the last minute a map that we were being asked to
  support . . . You know, we haven’t had any input in this process per se.”).
          83
             Dkt. 234 (Final Pretrial Order at App. A., 2) (Joint Uncontroverted Facts).
          84
             See Trial Ex. J01 (Ohio House Session, Sept. 15, 2011 at 13–23) (statement of Rep.
  Huffman); Dkt. 230-5 (Mann Dep. at 160–61).
          85
             Trial Ex. J01 (Ohio House Session, Sept. 15, 2011 at 67–68) (statement of Rep. Budish).
          86
             Id. at 38–39 (statement of Rep. Gerberry); id. at 46 (statement of Rep. Letson).
          87
             Trial Ex. J07 (Ohio House of Representatives Journal, Sept. 15, 2011 at 12–13).
                                                    21
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         On September 19, 2011, H.B. 319 was introduced in the Ohio State Senate. The Senate

  Committee on Government Oversight and Reform, chaired by Senator Faber, then held hearings

  on the bill.88 The Committee amended the bill to include a $2.75 million appropriation for local

  boards of elections in an attempt to make the bill immediately effective and shield it from a voter

  referendum.89 The Committee referred the amended bill to the Ohio Senate.90 On the floor of the

  Senate, some Democratic State Senators, including Senator Nina Turner, a member of the Black

  Caucus, opposed the bill and argued that it “lays out 12 Republican districts and four Democratic

  districts.”91 The bill passed in the Senate by a vote of twenty-four to seven on the same day it was

  referred. The amended H.B. 319 then returned to the House of Representatives where it passed by

  a vote of sixty to thirty-five.92 It was signed into law on September 26, 2011, by Republican

  Governor John Kasich.

         7. Referendum and negotiations

         Despite the appropriation amendment intended to insulate the map from a voter

  referendum, Ohio voters sought to mount such a referendum. A group of Ohio voters filed a

  petition for a writ of mandamus with the Supreme Court of Ohio. They sought an order declaring

  that H.B. 319 could indeed be subjected to a voter referendum. State ex rel. Ohioans for Fair

  Dists. v. Husted, 957 N.E.2d 277 (Ohio 2011). The Ohio Supreme Court granted the writ of

  mandamus on October 14, 2011; voters could seek a referendum and the bill could not immediately




         88
              Trial Ex. J28 (Senate Government Oversight and Reform Committee File at 1, 4).
         89
              Trial Ex. J28 (Senate Government Oversight and Reform Committee File at 2); Trial Ex.
  J03 (Ohio Senate Session, Sept. 21, 2011 at 30–31) (statement of Sen. Faber).
           90
              Dkt. 234 (Final Pretrial Order at App. A., 2) (Joint Uncontroverted Facts).
           91
              Trial Ex. J03 (Ohio Senate Session, Sept. 21, 2011 at 32–33) (statement of Sen. Brown);
  id. at 53 (statement of Sen. Turner); Dkt. 240 (Turner Trial Test. at 9, 16–17).
           92
              Dkt. 234 (Final Pretrial Order at App. A., 2) (Joint Uncontroverted Facts).
                                                  22
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  go into effect. Id. In order to put the referendum on the ballot, Ohio voters would have to gather

  the signatures of 6% of state electors in slightly over two months.93

         This also meant that H.B. 319 would not take effect until December 25, 2011, after the

  December 7, 2011 candidate filing deadline set for the March 2012 primaries. 94 In response,

  Republican legislators passed H.B. 318, which split the Ohio primaries. The local, state, and U.S.

  Senate primaries would still occur in March 2012, but the U.S. presidential and U.S. House of

  Representatives primaries were pushed back to June 2012.95 This split primary would cost the

  State of Ohio $15 million.96

         In the shadow of the possible referendum and split primaries, Ohio Republican and

  Democratic legislators attempted to negotiate some alterations to H.B. 319 that could be enacted

  as a new bill—H.B. 369.97 This openness to feedback from the Democrats had not been present

  in the drawing of H.B. 319.98 Some Republican map drawers testified that Bob Bennett, the

  chairman of the Ohio Republican Party and a member of the RNC, 99 served as a go-between for




         93
              Dkt. 234 (Final Pretrial Order at App. A., 3) (Joint Uncontroverted Facts).
         94
              See OHIO REV. CODE § 3513.05; Trial Ex. J03 (Ohio Senate Session, Sept. 21, 2011 at
  15–16) (statement of Sen. Faber).
           95
              Dkt. 246 (Judy Trial Test. at 72–73); Trial Ex. J06 (Ohio House Session, Dec. 14, 2011
  at 5) (statement of Rep. Huffman); Trial Ex. J05 (Ohio Senate Session, Dec. 14, 2011 at 7).
           96
              Trial Ex. J04 (Ohio House Session, Nov. 3, 2011 at 9–10) (statement of Rep. Huffman);
  Trial Ex. J22 (Rep. Huffman Sponsor Test. at 001).
           97
              Dkt. 230-3 (Batchelder Dep. at 120–21) (acknowledging that “negotiations began around
  mid to late October” and that “the referendum might have played some role in the negotiation
  about the second map”); Dkt. 246 (Judy Trial Test. at 78, 82) (“There were negotiations leading
  up to 369. This is after 319 was passed, and, due to the referendum, the confusion . . . and the
  chaos and pressure that came out of the signature collections, negotiations began.”); Dkt. 230-31
  (McCarthy Dep. at 74) (“[T]here was a threat of a citizen’s referendum on 319 and that—that was
  the primary reason [for H.B. 369].”); id. at 75–77.
           98
              Dkt. 230-12 (DiRossi Dep. at 185) (stating that the Democratic feedback was “inherent
  in 369” because “the legislative Democrats approached the leadership and said this is what it’s
  going to take for us to provide votes to approve this map, and so that was all post 319 and 369”).
           99
              Dkt. 230-52 (Whatman Dep. at 40) (identifying Bob Bennett’s roles).
                                                  23
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  the Republicans and Democrats during this period, communicating Democratic requests to the

  Republican map drawers.100 The Republicans, although making small concessions and alterations

  to their original map to cater to Democratic desires,101 refused to make changes that would alter

  the likely partisan outcome of the map.102 Speaker Batchelder commented that the Democratic

  legislators’ “theory was somehow or another that they could overcome a majority of people who

  were in the other party, and I don’t know how that would have happened.”103

         DiRossi, Mann, and Judy worked with Maptitude at their office at the Ohio House of

  Representatives to draw minor changes into the redistricting map in the period between the passage

  of H.B. 319 and H.B. 369.104 For example, DiRossi testified that he made changes based on his

  belief that Representative Kaptur and others had requested that additional territory in Lucas County

  and Toledo be added and territory in Cleveland be removed from District 9 so that Kaptur would

  have a better chance of defeating Kucinich.105 The changes also included the unification of Clark

  County.106



         100
              Dkt. 230-12 (DiRossi Dep. at 184). DiRossi testified that he himself did not “have
  conversations directly with anyone who could be termed a Democrat” during that period. Id.
  Rather, he “was getting that information from other people.” Id. He further stated that Bob Bennett
  “was an intermediary to Democrats and Republicans all over the state.” Id. at 189.
          101
              Dkt. 246 (Judy Trial Test. at 78–79) (stating that Democratic members of the Ohio
  House of Representatives had “a small list of changes that they wanted to see” that were “given to
  the staffer or consultants that we hired on our side to incorporate in”).
          102
              Dkt. 230-3 (Batchelder Dep. at 130–31); Dkt. 230-14 (Glassburn Dep. at 203–04); Dkt.
  230-41 (Routt Dep. at 193–95).
          103
              Dkt. 230-3 (Batchelder Dep. at 115–16).
          104
              Dkt. 230-5 (Mann Dep. at 48–49, 92).
          105
              Dkt. 243 (DiRossi Trial Test. at 162). DiRossi testified that Bennett (who has since
  died), Niehaus, and Batchelder all informed him that such changes had to be made between the
  two iterations of the map. Id. at 162–63.
          106
              Dkt. 243 (DiRossi Trial Test. at 246). Even though Clark County was unified in the
  new map, the map drawers believed that they were able to do so while maintaining District 15’s
  strong pro-Republican lean. Kincaid believed H.B. 369’s PVI to be R+6. Trial Ex. P498 (H.B.
  369 Partisan Data Spreadsheet at REV_00023430). He believed H.B. 319’s PVI to be R+7. Trial
  Ex. P590 (Ohio Changes Spreadsheet).
                                                  24
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         On November 3, 2011 Representative Huffman introduced the new Republican

  redistricting bill, H.B. 369, in the House Rules and Reference Committee; he gave sponsor

  testimony in the committee on November 9. H.B. 369 would eliminate the newly split primary.107

  Republican State Representative Lou Blessing sought to push H.B. 369 through the General

  Assembly by suspending the normal rules mandating that bills be considered by each legislative

  house on three separate days.108 Representative Blessing did not have sufficient votes to achieve

  this result.109 Around this time it became clear that the Ohio voter referendum challenging H.B.

  319 would not be successful; the required votes would not be collected in time. This meant that

  Democrats had a weaker bargaining position in their efforts to convince Republicans to make

  further changes to H.B. 369.

         8. Passage of H.B. 369

         On December 14, 2011, both the Ohio House of Representatives and the Ohio Senate

  passed an amended version of H.B. 369, over vigorous opposition from some Democrats. 110 The

  bill passed in the House by a margin of seventy-seven to seventeen (including twenty-one

  Democratic votes in favor) and in the Senate by a margin of twenty-seven to six (including four

  Democratic votes in favor).111 Not only was the amended H.B. 369 nearly identical in terms of

  partisan leanings to H.B. 369 as it was first introduced,112 but it was also highly similar to H.B.



         107
              Dkt. 234 (Final Pretrial Order at App. A., 3) (Joint Uncontroverted Facts).
         108
              Trial Ex. J04 (Ohio House Session, Nov. 3, 2011 at 9) (statement of Rep. Blessing).
          109
              Id.
          110
              See, e.g., Trial Ex. J06 (Ohio House Session, Dec. 14, 2011 at 22–24) (statement of
  Rep. Ramos); id. at 28–29 (statement of Rep. Foley); id. at 33–35 (statement of Rep. Lundy); id.
  at 36–38 (statement of Rep. O’Brien).
          111
              Dkt. 234 (Final Pretrial Order at App. A., 3) (Joint Uncontroverted Facts).
          112
              Trial Ex. P042 (Comparison Spreadsheet); Dkt. 230-5 (Mann Dep. at 91–92); Dkt. 246
  (Judy Trial Test. at 83) (stating that the H.B. 369 as introduced and as passed “look substantially
  similar”). Representative Huffman stated: “This House Bill 369 retains the map that was presented
  to the Rules Committee six weeks ago, with one very minor change.” Trial Ex. J06 (Ohio House
                                                  25
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  319, the first redistricting plan that the General Assembly had passed.113 It was signed into law by

  Governor Kasich the following day. Because the partisan metrics of the map did not change, the

  new congressional districting map passed as H.B. 369 was just as likely as H.B. 319 to result in

  the election of twelve Republican representatives and four Democratic representatives.

         Following the passage of H.B. 369, Kincaid created a spreadsheet that documented his

  analysis of the partisan outcomes of the newly enacted map.114 The spreadsheet featured four D+

  districts, with their numerical scores ranging from D+12 to D+29. It also featured twelve R+

  districts, with all but one of their numerical scores ranging from R+2 to R+9, and the outlier

  measuring at R+14.115 Kincaid prepared a presentation in which he showed how the redistricting

  efforts had shored up Republican support in three previously competitive districts—Districts 1,

  12, and 15, rendering them safe for Republican Representatives Chabot, Tiberi, and Stivers,

  thereby taking them “out of play.”116 By Kincaid’s calculations, District 1 had moved seven PVI

  points in favor of Republicans by including Warren County and removing portions of Democratic

  Hamilton County. District 12 had moved nine PVI points in favor of Republicans because portions



  Session, Dec. 14, 2011 at 5) (statement of Rep. Huffman). The “very minor change” appears to
  have been the accommodation of a request from the Democratic leadership in the Ohio House to
  draw former Democratic Representative Mary Jo Kilroy out of District 3 while not decreasing the
  African-American voting population of that district. Dkt. 230-5 (Mann Dep. at 171–72).
           113
               Dkt. 230-26 (Judy Dep. at 178).
           114
               Trial Ex. P498 (H.B. 369 Partisan Data Spreadsheet); Dkt. 230-28 (Kincaid Dep. at
  468–69). Defendants object to the admissibility of Trial Ex. P498 as containing inadmissible
  hearsay. This objection is overruled. The Court finds that the document is offered to demonstrate
  the intent, mindset, and belief of the map drawers and not being offered for the truth of the matter
  asserted—that these changes in PVI had occurred or that the districts were actually taken “out of
  play.”
           115
               Trial Ex. P498 (H.B. 369 Partisan Data Spreadsheet).
           116
               Trial Ex. P310 (NRCC Presentation at 5); Dkt. 230-27 (Kincaid Dep. at 115–16).
  Defendants object to the admission of Trial Ex. P310 on hearsay grounds. This objection is
  overruled. The Court finds that the document is admissible to prove Kincaid’s intent, belief, and
  state of mind, not for the truth of the matter asserted—that the districts had actually been taken out
  of play. See FED. R. EVID. 801(c)(2).
                                                   26
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  of Democratic Columbus had been removed from the district and into District 3. Similarly, District

  15 had moved seven PVI points in favor of Republicans, as the new District 3 now also contained

  many of District 15’s former Democratic constituents. Kincaid’s presentation also noted that

  Districts 6 and 16 were “Competitive R Seats Improved” because their PVI scores had become

  more pronouncedly pro-Republican as a result of the redistricting, District 6 by three points and

  District 16 by one point.117      Kincaid continued to praise the results of his map-drawing

  collaboration with the Ohio Republicans, representing that the “new [Ohio] map should be a 12-4

  map,” that it “eliminat[ed] Ms. Sutton’s seat,” and that it “created a new Democrat seat in Franklin

  County.”118 He stated elsewhere that the Ohio “Republican map shored up multiple seats for the

  decade.”119

         U.S. Representative Stivers’s communications with his staff reflected his similar belief that

  various previously competitive districts had been made solidly Republican as a result of the

  redistricting. For example, he stated that “[t]he redistricting in Ohio did shore up some of the toss-

  up districts” based on the changes in the PVI scores for Districts 1, 6, and 15.120 He acknowledged

  that U.S. Representative Chabot of District 1 “probably won’t have a close race for the next

  decade” based on the changes the redistricting wrought on that district’s PVI score and the fact

  that his district contained many more Republican voters following the redistricting.121




         117
              Trial Ex. P310 (NRCC Presentation at 6).
         118
              Trial Ex. P414 (State-by-State Redistricting Summary at REV_00000001); Dkt. 230-28
  (Kincaid Dep. at 519). Defendants object to the admission of Trial Ex. P414 on hearsay grounds.
  This objection is overruled. The Court finds that the document is admissible to prove Kincaid’s
  intent and state of mind. See FED. R. EVID. 801(c)(2).
          119
              Dkt. 230-28 (Kincaid Dep. at 512–13).
          120
              Trial Ex. P556 (Stivers Email at STIVERS_007519); Dkt. 230-46 (Stivers Dep. at 77–
  78).
          121
              Trial Ex. P556 (Stivers Email at STIVERS_007519–20).
                                                   27
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         9. Congressional elections under the 2012 Map

         As predicted by Kincaid, the same four Ohio congressional districts (Districts 3, 9, 11, and

  13) have elected Democratic representatives, and the same twelve districts (Districts 1, 2, 4, 5, 6,

  7, 8, 10, 12, 14, 15, and 16) have elected Republican representatives in every election since the

  enactment of the 2012 map.

     B. Procedural History

         Plaintiffs include seventeen individual Ohio residents, who collectively reside and vote in

  each of Ohio’s sixteen congressional districts, and five organizations based in Ohio.          The

  individual Plaintiffs are: Linda Goldenhar, Douglas Burks, Sarah Inskeep, Cynthia Libster,

  Kathryn Deitsch, LuAnn Boothe, Mark John Griffiths, Lawrence Nadler, Chitra Walker, Tristan

  Rader, Ria Megnin, Andrew Harris, Aaron Dagres, Elizabeth Myer, Beth Hutton, Teresa

  Thobaben, and Constance Rubin. The organizational Plaintiffs, which include nonpartisan groups

  as well as groups affiliated with the Democratic Party, are: the Ohio A. Philip Randolph Institute

  (“APRI”), the League of Women Voters of Ohio (“The League”), The Ohio State University

  College Democrats (“OSU College Democrats”), the Northeast Ohio Young Black Democrats

  (“NEOYBD”), and the Hamilton County Young Democrats (“HCYD”).

         Defendants are State Representative Larry Householder, Speaker of the Ohio House of

  Representatives; State Senator Larry Obhof, President of the Ohio State Senate; and Ohio’s

  Secretary of State, Frank LaRose. All Defendants are sued in their official capacities.

         Plaintiffs filed this lawsuit on May 23, 2018. Dkt. 1 (First Compl.). This three-judge panel

  was then convened pursuant to 28 U.S.C. § 2284. See Dkt. 28. Plaintiffs twice amended their

  complaint and, as relevant here, filed their second amended complaint on July 11, 2018, seeking

  declaratory and injunctive relief and the enactment of a new congressional districting plan. See



                                                  28
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  Dkt. 37 (Second Am. Compl. at 50–52). On August 15, 2018, we denied Defendants’ motion to

  dismiss. See Ohio A. Philip Randolph Inst. v. Smith, 335 F. Supp. 3d 988 (S.D. Ohio 2018). After

  that, we granted the Intervenors’ motion to intervene, and they joined the litigation. See Dkt. 64.122

         The case then proceeded through discovery, and on January 8, 2019, Defendants moved

  for summary judgment. See Dkt. 136 (Mot. for Summ. J.); Dkt. 140, 140-1 (Intervenors’ Suppl.

  Mot. for Summ. J. & Mem.). After a round of briefing, we denied the motion for summary

  judgment. See Ohio A. Philip Randolph Inst. v. Householder, --- F. Supp. 3d ---, 2019 WL 652980

  (S.D. Ohio Feb. 15, 2019).123 Trial commenced on March 4, 2019 and lasted eight days,

  concluding on March 13.124

         Since the trial, the parties have filed post-trial briefs with proposed conclusions of law, and

  separately, proposed findings of fact. The parties have also finalized their objections to the other

  side’s evidence, responded to each other’s objections, and submitted additional briefs on those

  objections.125 This briefing schedule concluded on April 7, 2019.



         122
               The Intervenors are the Republican Congressmen from Ohio, the Republican Party of
  Cuyahoga County, the Franklin County Republican Party, and four individuals. The four
  individuals are Robert Bodi, Roy Palmer III, Charles Drake, and Nathan Aichele, who live in
  District 16, District 9, District 11, and District 3, respectively. None of the Intervenors testified
  live at trial. Only Representatives Chabot, Johnson, Jordan, and Stivers testified via deposition.
  See Dkt. 234 (Final Pretrial Order at App. P.). For the purposes of this opinion, we generally refer
  to Defendants and Intervenors collectively as “Defendants,” reflecting their collaborative efforts
  in litigating the case.
           123
               Representative Householder became the Speaker of the Ohio House of Representatives
  on January 7, 2019, and Mr. LaRose became Ohio’s Secretary of State on January 12, 2019.
  Householder was substituted for Ryan Smith as a Defendant, and LaRose was substituted for Jon
  Husted as a Defendant. See FED. R. CIV. P. 25(d); see also Dkt. 218.
           124
               The parties offer some of their witnesses’ testimony via their depositions. See Dkt. 234
  (Final Pretrial Order at 7, Apps. O. & P.).
           125
               The parties raised hundreds of objections to evidence in this case. The Court has
  considered objections lodged against any piece of evidence ultimately cited in this opinion. To
  the extent the Court relies on any piece of evidence, objections against the same are
  OVERRULED. The Court offers a more detailed explanation for several particular evidentiary
  rulings throughout the opinion.
                                                   29
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                 II.     SUMMARY OF THE EVIDENCE PRESENTED AT TRIAL

      A. Plaintiffs’ Fact Witnesses

      1. Individual Plaintiffs

          Individual Plaintiffs Douglas Burks, Mark Griffiths, Aaron Dagres, and Elizabeth Myer

  testified at trial. They live in District 2, District 7, District 12, and District 13, respectively. The

  remainder of the individual Plaintiffs, who reside in the rest of the congressional districts, testified

  via deposition. All individual Plaintiffs testified to their affiliation with the Democratic Party

  and/or that they consistently vote for Democratic candidates. See infra Sections III.A.1.–16. In

  addition to being Democratic voters, the individual Plaintiffs are politically active in supporting,

  volunteering for, and working for Democratic candidates and causes. 126 Collectively, they have

  engaged in a variety of activities, including door-to-door canvassing, calling other voters to support

  candidates, writing campaign postcards, fundraising for and donating to candidates, writing letters

  to representatives and opinion pieces, and protesting. Several of the Plaintiffs have also worked

  on Democratic campaigns and served on boards of groups or political committees affiliated with

  the Democratic Party.      Finally, the individual Plaintiffs testified, based on their direct lay

  experiences of engaging in political activity, to the burdens that they themselves have experienced

  in translating their Party’s political efforts in the electorate into political power in the U.S. House




          126
              Plaintiffs collect the trial and deposition testimony to this effect in their Proposed
  Findings of Fact (“PFOF”). In many instances, Defendants at least acknowledge that the
  individual Plaintiffs are politically active in support of the Democratic Party. See generally Dkt.
  251 (Pls.’ PFOF at ¶¶ 313–14, 324–27, 334–37, 350, 363, 373, 389–97, 419–20, 432–46, 459–66,
  478, 489–90, 512–15, 529–30, 546–48. 550, 556–57, 570–72); Dkt. 253 (Defs.’ & Intervenors’
  PFOF at ¶¶ 1139, 1149, 1152–53, 1170, 1174, 1230–37, 1267, 1289, 1292, 1302, 1305–08, 1329,
  1380, 1382). To the extent that Defendants contest the veracity of Plaintiffs’ support of the
  Democratic Party and Democratic candidates, we find Plaintiffs’ testimony credible and that the
  overwhelming weight of the evidence shows that the individual Plaintiffs consistently vote for and
  politically support the Democratic Party.
                                                    30
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  of Representatives.127 The individual Plaintiffs testified that their efforts included candidate

  recruitment, fundraising, and get-out-the-vote activities.

     2. Organizational Plaintiffs

         APRI, the League, and HCYD each testified at trial through a representative, and some

  additional members of the organizations supplemented the testimony.            Several themes ran

  throughout this testimony. First, the organizations actively engage in politics by encouraging

  citizens to vote, registering and educating voters, and in the case of HCYD, advocating on behalf

  of Democratic candidates. Second, in their experience, voter outreach and engagement work was

  made more difficult by continuously encountering significant voter apathy. They heard voters

  state their beliefs that their votes did not matter; voters believed that the outcome of any given

  election was preordained and that the same Republican or Democrat would be elected regardless

  of whether they voted. Third, the organizational plaintiffs encountered voter confusion—voters

  did not know to which district they belonged, who represented them, or who was running for office

  in their districts. Fourth, the organizational plaintiffs testified that they were forced to divert

  resources from their other work to address this voter apathy and confusion. Individual members

  of the organizations testified about their involvement with their organizations and their own

  political work supporting the elections of Democratic candidates. They testified that in their




         127
              See Dkt. 230-15 (Goldenhar Dep. at 26–27); Dkt. 239 (Burks Trial Test. at 231–32,
  235); Dkt. 230-21 (Inskeep Dep. at 88–89); Dkt. 230-30 (Libster Dep. at 39, 60, 62–63, 75–76);
  Dkt. 230-11 (Deitsch Dep. at 48, 90–91); Dkt. 230-6 (Boothe Dep. at 51–52, 88); Dkt. 240
  (Griffiths Trial Test. at 51–53); Dkt. 230-36 (Nadler Dep. at 27–28, 91); Dkt. 230-40 (Rader Dep.
  at 121–23); Dkt. 230-50 (Walker Dep. at 45, 87, 91); Dkt. 230-32 (Megnin Dep. at, 88–89, 106);
  Dkt. 240 (Dagres Trial Test. at 97–98); Dkt. 240 (Myer Trial Test. at 119–21); Dkt. 230-20 (Hutton
  Dep. at 46–47); Dkt. 230-48 (Thobaben Dep. at 46–47); Dkt. 230-42 (Rubin Dep. at 40–41, 78).
           To clarify, nothing about H.B. 369 categorically prohibits Plaintiffs from engaging in these
  activities. The point is simply that Plaintiffs are, in fact, politically engaged individuals who
  support the Democratic Party in its effort to elect candidates.
                                                   31
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  experience, they found their Republican congressional representatives unresponsive to them and

  not engaged in their communities. They also explained how their communities had been split into

  different districts under the 2012 map.

         Andre Washington, the president of APRI, testified at trial on the organization’s behalf.128

  Washington is a Democrat who votes regularly and resides in District 12. 129 Under Plaintiffs’

  Proposed Remedial Plan, Washington would reside in the reconfigured District 12.130 APRI is a

  nonpartisan organization but supports civil rights and labor issues.131 Its activities center around

  voter education, registration, and outreach.132 APRI has eight chapters across Ohio, seven of

  which are currently active, and has between 150 and 200 members spread throughout nearly every

  congressional district in Ohio.133 It is a volunteer-run organization, funded by membership dues.134

         Washington testified that he has personally witnessed voter apathy—people feeling like

  their vote does not matter—while attempting to engage voters in his own district.135 He testified

  that because of the way the lines are drawn, voters do not know where to vote or who is running

  in their district.136 Washington testified that APRI must deploy some of its limited resources to

  combat voter apathy and confusion rather than spending these resources on its other work.137




         128
             Dkt. 239 (Washington Trial Test. at 44).
         129
             Id. at 55–56.
         130
             Id. at 54; Trial Ex. P090 (Cooper Decl.).
         131
             Dkt. 239 (Washington Trial Test. at 45).
         132
             Id. at 46, 52.
         133
             Id. at 48–50.
         134
             Id. at 48, 52.
         135
             Id. at 61–62.
         136
             Id. at 52.
         137
             Id. at 52–53.
                                                  32
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         Stephanie White, the vice president of APRI’s Toledo chapter, also testified at trial.138

  White is a Democrat who votes regularly and resides in District 5.139 White believes that District

  5 “is not part of the Lucas County community,” but rather that “it’s part of the Fulton County,

  Defiance, Williams County area, which is predominantly Republican.” 140 She is represented by

  Republican Congressman Bob Latta.141 White testified that she has spent time in her political

  work with ARPI addressing Toledo voters’ confusion about their assigned congressional

  districts.142 She also conducts partisan political activities such as door-to-door canvassing, phone

  banking, voter registration drives, and get-out-the-vote (“GOTV”) work to help elect Democratic

  candidates such as James Neu and John Galbraith, who ran for Congress against Representative

  Latta in the 2016 and 2018 elections, respectively.143

         Jennifer Miller, the Executive Director of the League testified at trial on the organization’s

  behalf.144 The League is a nonpartisan organization that hosts candidate forums, publishes voter

  education materials, registers voters, and participates in GOTV activities.145 It has around 2,800

  members across Ohio, living in all of Ohio’s congressional districts.146 The League has a long

  history of attempting to reform the districting process and Ohio’s district lines.147 For example, it

  commissioned and published a report criticizing the process through which the 2012 map was




         138
             Dkt. 239 (White Trial Test. at 111).
         139
             Id. at 109–10.
         140
             Id. at 115.
         141
             Id. at 112.
         142
             Id. at 119.
         143
             Id. at 116, 118
         144
             Dkt 239 (Miller Trial Test. at 129).
         145
             Id. at 130–31.
         146
             Id. at 133–34.
         147
             Id. at 138.
                                                    33
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  drawn, and in 2011 it hosted a competition in which members of the public could submit

  redistricting map drafts that comported with non-partisan traditional redistricting principles.148

          Miller testified that the League spends resources combating voter apathy and confusion

  due to the 2012 map that it then cannot spend on its other initiatives such as voter registration and

  education.149 For example, during the 2018 special election in District 12, the League had to divert

  significant resources to fielding voters’ calls inquiring about their assigned congressional districts.

  Miller has also observed political candidates’ unresponsiveness to the League’s attempts to plan

  candidate forums, particularly in Republican-dominated areas. She testified that Congressmen

  Jordan, Stivers, and Joyce have all been unresponsive to the League’s requests that they participate

  in candidate forums.150 The League cannot hold a candidate forum in which only one party is

  represented, and therefore must cancel the planned forums if the candidate from one party declines

  to participate.151

          John Fitzpatrick, a member of the League and a voter in District 14 also testified at trial.152

  Fitzpatrick lives in Stow, Ohio, which is a northern suburb located about ten minutes from

  downtown Akron.153 Under Plaintiffs’ Proposed Remedial Plan, Fitzpatrick would live in the new

  District 16.154 He is a Democrat who votes regularly, has informal conversations with friends to

  encourage them to vote and vote for particular candidates, has contributed financially to

  Democratic candidate Betsy Rader’s congressional campaign, and has canvassed and phone




          148
              Id. at 154–55, 156–57.
          149
              Id. at 144.
          150
              Id. at 148.
          151
              Id. at 147–49.
          152
              Dkt. 239 (Fitzpatrick Trial Test. at 196–97).
          153
              Id. at 197.
          154
              Trial Ex. P090 (Cooper Decl.).
                                                    34
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  banked in other elections.155 Fitzpatrick is currently represented by Republican Congressman

  David Joyce.156 Fitzpatrick considers himself a part of the Akron community because he and his

  wife spend most of their time, recreate, and are involved in the community there. 157 He has been

  involved in League activities such as planning candidate nights, voter education, and anti-

  gerrymandering activities such as working to get Ballot Initiative 1 on the Ohio ballot.158

  Fitzpatrick stated that in the year and a half prior to the passage of Initiative 1, 80% of his work

  with the League was dedicated to anti-gerrymandering work.159

         Fitzpatrick also testified about voters in the Akron area being confused about the district

  in which they live. He himself attempted to use a “congressional house finder” tool to determine

  his congressional district, but typing in his zip code produced two possible districts.160 He stated

  that because Summit County encompasses four different congressional districts, “before [he] got

  super-involved in [his] district, there [were] more than a few times when [he] had to look it up

  because [he] had a hard time just remembering exactly which district [he] was in.”161

         Nathaniel Simon, the outgoing president of the HCYD, testified on the organization’s

  behalf.162 Simon lives and votes in District 2 and is represented by Republican Congressman Brad

  Wenstrup.163 Under Plaintiffs’ Proposed Remedial Plan, Simon would live in the new District

  1.164 HCYD is a volunteer organization that educates and registers voters and supports Democratic




         155
             Dkt. 239 (Fitzpatrick Trial Test. at 201–03).
         156
             Id. at 197.
         157
             Id. at 198–99.
         158
             Id. at 200–01, 206–07.
         159
             Id. at 207.
         160
             Id. at 208.
         161
             Id. at 209.
         162
             Dkt. 240 (Simon Trial Test. at 64).
         163
             Id. at 63, 67.
         164
             Id. at 63; Trial Ex. P090 (Cooper Decl.).
                                                  35
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  candidates by canvassing and conducting GOTV efforts on their behalf.165 HCYD has between

  100 and 150 members who vote, identify as Democrats, and live in Districts 1 and 2.166 Simon

  testified that HCYD has to expend additional resources fighting voter apathy and confusion.167 He

  testified that he felt voters were apathetic because, while canvassing for Democratic candidates

  Aftab Pureval and Jill Schiller, he encountered voters who “refuse[d] to engage in politics because

  they felt like there was no point, just being that a Republican is always going to win with the way

  the lines are drawn.”168 Simon testified that the voter confusion in Hamilton County was due in

  large part to the current map, in particular the manner in which Districts 1 and 2 “wrap[] around

  each other” and the splitting of the City of Cincinnati itself into two districts.169 For example,

  Simon testified that he worked at a polling place in Silverton and that:

         many people who came out of the polling booth asked why wasn’t Aftab Pureval
         on my ballot . . . I had to explain to them that they are in the 2nd Congressional
         District, but to the east and west of Silverton is the 1st Congressional District. Also,
         in my neighborhood, which is in the 2nd Congressional District, there were Aftab
         Pureval signs, and he is the candidate for the 1st district.170
  Simon also testified that the district lines have made it more difficult for HCYD to attract

  and retain members.171

         NEOYBD and OSU College Democrats’ testimony was introduced through designated

  depositions. NEOYBD is a Democratic group that “looks to mentor, empower and recruit the next

  generation of young people of color who want to be involved in the political process.” 172 It has




         165
             Dkt. 240 (Simon Trial Test. at 64–66).
         166
             Id. at 65, 67.
         167
             Id. at 68, 73.
         168
             Id. at 68.
         169
             Id. at 63, 68, 69–70.
         170
             Id. at 69–70.
         171
             Id. at 69–70.
         172
             Dkt. 230-22 (Jackson Dep. at 8, 14).
                                                   36
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  around sixty Democratic members who vote regularly and live in Districts 9, 11, 13, and 14. 173

  Gabrielle Jackson, the president of the organization, was its Rule 30(b)(6) representative.174 The

  organization canvasses, runs phone banks, educates people on “why [their] vote matters, why

  [they] should be voting,” and “concrete issues that are on the ballot,” and advocates on behalf of

  the candidates that the organization supports.175 Jackson testified that her group fundraises both

  for candidates and for itself.176 She stated that “it’s been challenging based on the way this map

  is currently drawn, because folks have been feeling like, you know, [their] voices aren’t being

  heard. So it’s causing us to use more of our resources, when we have a hard time bringing in

  resources.”177 Jackson testified that while canvassing and phone-banking with her organization,

  she spoke with people who expressed apathy about voting and said that they did not believe that

  their votes mattered.178

         Alexis Oberdorf is the President of the OSU College Democrats and was the group’s Rule

  30(b)(6) representative.179 The OSU College Democrats “advocate, educate, and engage people

  at OSU in alignment with the Democratic Party’s platform.”180 The organization has around 55

  members who regularly attend meetings but hosts events throughout the year that around 100

  people attend.181   OSU College Democrats canvasses and runs phone banks in support of

  Democratic candidates and has held fundraisers for Democratic candidates such as Danny




         173
             Id. at 26, 40, 41.
         174
             Id. at 7.
         175
             Id. at 9, 13, 15–16, 18.
         176
             Id. at 23.
         177
             Id. at 23.
         178
             Id. at 69.
         179
             Dkt. 230-38 (Oberdorf Dep. at 7, 9).
         180
             Id. at 13.
         181
             Id. at 42.
                                                    37
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  O’Connor.182 Oberdorf testified that OSU students who live near campus reside in Districts 3, 12,

  and 15 and that the organization must therefore “spread[] [its] capital among three different areas

  on campus.”183 The majority of OSU College Democrats vote “on campus in their district.”184

  She testified that she worked a poll in District 12 during an election and witnessed students coming

  to vote in the incorrect district “because they assumed seeing that they’re . . . in this campus area,

  they are all going to vote in the same area. So that creates confusion. And part of what we do as

  a club is aim to educate people.”185 She also testified that her organization has “done coordinated

  call campaigns for bills that [it] oppose[s]” to representatives from those districts and has found

  “it challenging especially to contact or get . . . a response from those individuals.”186

     3. Congresswoman Marcia Fudge

         Congresswoman Marcia Fudge, representative to the United States House of

  Representatives from Ohio’s Congressional District 11, testified for Plaintiffs at trial.187 She

  testified that District 11 has been represented by three different representatives in Congress: Lou

  Stokes, Stephanie Tubbs Jones, and herself.188

         Congresswoman Fudge described the historical contours of District 11.                   When

  Congresswoman Fudge took office in 2008, District 11 “was primarily a little better than two-

  thirds of the city of Cleveland and most of the southeast suburbs.”189 The district was entirely

  contained within Cuyahoga County.190 When Stephanie Tubbs Jones took office in 1999, District



         182
             Id. at 78–80, 87–89, 113–14.
         183
             Id. at 62.
         184
             Id. at 66.
         185
             Id. at 63–64, 69.
         186
             Id. at 103.
         187
             Dkt. 239 (Fudge Trial Test. at 79).
         188
             Id. at 80.
         189
             Id.
         190
             Id.
                                                    38
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  11 included “most of the city of Cleveland, the lower west side all the way to the east and the

  southeast suburbs of Cuyahoga County,” and was again entirely within Cuyahoga County.191 The

  district that Congressman Stokes represented was “pretty much the same,” again, entirely within

  Cuyahoga County.192 Congresswoman Fudge contrasted that historical District 11 with the version

  of District 11 that she currently represents: “[T]he first major difference is that [her district] go[es]

  from Cuyahoga down to Summit County” via a “narrow strip.”193

          Congresswoman Fudge unequivocally stated that she “didn’t have any role” in the drawing

  of the new congressional map in 2011.194 She first learned that the new District 11 would extend

  into Summit County and include parts of Akron “around the time that the map was made public.”195

  Armond Budish, the Democratic minority leader of the Ohio House of Representatives, was the

  one to first show her the map “pretty much so [she] wouldn’t get caught off guard.”196 She stated

  that she was “surprise[d], obviously” by the new District 11 and had “no idea that [she] would ever

  go down into Summit County.”197 She was not “pleased” by the new design, she “would not have

  chosen it,” and she “was not happy about it.”198 Congresswoman Fudge stated that she “didn’t

  know anything about Summit County” at the time and that her lack of familiarity with the new




          191
              Id. at 81; see also Pls.’ Demonstrative Ex. 19.
          192
              Dkt. 239 (Fudge Trial Test. at 81). For part of his time as a congressman, the district
  that Stokes represented was called District 21. Id. at 88.
          193
              Id. at 82.
          194
              Id. at 83.
          195
              Id.
          196
              Id.
          197
              Id.
          198
              Id. at 84. On cross-examination, Congresswoman Fudge admitted that in 2011 she was
  publicly quoted as saying that she was “not upset about how [her] district had been drawn.” Id. at
  98. She explained that as an elected official, she would “never insult the people that I’m going to
  represent by saying ‘I don’t want to represent you.’” She also stated that she believed that she had
  been misquoted. Id. at 98–99.
                                                     39
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  area made it “an uncomfortable place to be.”199 She stated that due to Ohio’s losing two

  congressional seats and the inevitable changes that that would necessitate, she thought that the new

  District 11 would most likely include the entire City of Cleveland and its southeast suburbs.200

         Congresswoman Fudge stated that after learning of the new map, the only complaint that

  she voiced was her belief that allocating “Summit County or that portion of Akron” to the new

  District 11 “would make it almost impossible” for Democratic Representative Sutton to win an

  election in the new District 16.201 Congresswoman Fudge stated that she got together with

  Congresswoman Sutton and Congresswoman Kaptur to contact Armond Budish to “ask him was

  there any way to give Betty back Akron so she would have a fighting chance at keeping her

  seat.”202 She testified that she “may have” spoken with U.S. House of Representatives Speaker

  Boehner in 2011 about the redistricting “in passing” but recalls nothing about such a

  conversation.203 She spoke to “[l]ots of people” about the shape of her district in 2011, including

  Republican Congressman Steve LaTourette, who she believed was “kind of the point person for

  John Boehner.”204 She also spoke to Representatives Sutton and Kucinich, first attempting “to see

  if we could get [the shape of the district] changed because we wanted to try to see if we could help

  protect Betty [Sutton]. We couldn’t.”205 She then “made sure they knew [she] was not pleased.”206

         Congresswoman Fudge admitted that she did not tell any of the people that she spoke with

  in 2011 about District 11 that she did not want District 11 to be a majority-minority district.207 She



         199
             Id.
         200
             Id. at 85.
         201
             Id.
         202
             Id. at 85–86.
         203
             Id. at 99.
         204
             Id. at 100.
         205
             Id.
         206
             Id.
         207
             Id. at 101.
                                                   40
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  did not advocate the drawing of District 11 with less than 50% BVAP (“Black Voting Age

  Population”).208 She testified that in 2011 she did not view the new district as a violation of the

  Voting Rights Act (“VRA”).209 Congresswoman Fudge stated that she was not concerned about

  being paired with another incumbent in the redistricting because she “felt if they were to pair me

  with somebody, I felt that I was strong enough to win.”210 She expressed no concern to anyone

  about being paired with Congressman Kucinich.211 On cross-examination, Congresswoman Fudge

  stated that since Stokes’s time as the congressman for the district, it has been a majority-minority

  district.212

      4. State Senator Nina Turner

          State Senator Nina Turner, a former Democratic member of the Ohio State Senate, testified

  for Plaintiffs as a fact witness. Senator Turner served Ohio’s 25th State Senate District from 2008

  to 2014. At the time of the 2011 redistricting, Senator Turner testified that the State Senate was

  comprised of ten Democratic Senators, five of whom were African American, and twenty-three

  Republican Senators.213 As a result of being in the “deep minority,” Senator Turner testified that

  she had no involvement in the drawing of the current map and that the Democratic Caucus as a

  whole “didn’t have the power to draw the map” because “Republicans could hold business on the

  [Senate] floor without really having Democrats there.”214 When she first learned of the map

  presented in H.B. 319, Senator Turner testified that she was “outraged” and that her Caucus tried




          208
              Id. at 102.
          209
              Id. at 102–03.
          210
              Id.
          211
              Id. at 102.
          212
              Id. at 89.
          213
              Dkt. 240 (Turner Trial Test. at 7–8).
          214
              Id. at 8–9.
                                                      41
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  to “introduce a map that was a fairer reflection of the will of the people.”215 As to H.B. 319,

  Senator Turner stated that only two Democratic State Senators voted for the bill and that she voted

  no.216 Senator Turner believed that the map presented in H.B. 319 would be a 12-4 map.217

         Senator Turner also gave a floor speech against H.B. 319, in part addressing the

  justification that the District 11 was drawn to comply with the VRA.218 At trial, Senator Turner

  explained her belief that the way District 11 was drawn harmed the voters the VRA sought to

  protect by “hurt[ing] the[ir] voting prowess” and decreasing their “influence that they would have

  through representative democracy by stripping or combining portions of the 11th Congressional

  District in ways that representatives could not focus purely on Cleveland and/or Cuyahoga

  County.”219    Senator Turner also noted that Congresswoman Marcia Fudge and former

  Congressman Louis Stokes “never had a problem winning elections in that district.”220 She further

  testified that the way District 11 was drawn harmed both the greater Cleveland and the greater

  Akron communities because she believed that the two communities have separate needs and

  “deserve to have a representation that can really focus in on their needs.”221




         215
              See id. at 9–10.
         216
              Id. at 10–11.
          217
              See, e.g., id. at 16–17. Defendants object to Senator Turner’s testimony as speculation
  that the Republicans “guaranteed” a 12-4 map. Plaintiffs contend that Senator Turner’s testimony
  goes to the knowledge and belief of the Democratic members of Ohio’s General Assembly
  regarding H.B. 319. Defendants’ objection is overruled. This evidence is admissible to
  demonstrate Senator Turner’s belief that it was a 12-4 map, which in turn supports why she voted
  against H.B. 319 and made a floor speech opposing the adoption of it.
          218
              See generally Trial Ex. J03 (Ohio Senate Session, Sept. 21, 2011 at 50–56) (statement
  of Sen. Turner).
          219
              Dkt. 240 (Turner Trial Test. at 13).
          220
              Id.
          221
              Id. at 14.
                                                   42
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         As recounted above, after H.B. 319 was enacted into law, Democratic state legislators

  sought a referendum to overturn the law, which required a certain number of signatures.222 This

  referendum failed because not enough signatures were collected, and Republican state legislators

  then went forward with H.B. 369.223 Senator Turner testified that she had no input on the map

  presented in H.B. 369, that she believed that the map was still 12-4 in favor of Republicans like

  H.B. 319, and that she and a majority of the Democratic Caucus in the State Senate (as well as a

  majority of the African-American State Senators) voted against H.B. 369.224

         Senator Turner spoke against H.B. 369 in a floor speech similar to the one she made against

  H.B. 319. In this floor speech, Senator Turner stated that “[t]o say that this map is bipartisan is

  laughable” because, as she stated at trial, she believed that “the mere fact that some Democrats,

  for whatever reason, decided to vote for the bill does not make it bipartisan.”225 At bottom, Senator

  Turner maintained her belief that H.B. 369 had a clear partisan effect.226

         Finally, on cross-examination, Senator Turner admitted that she considered running against

  Congresswoman Fudge in the 2012 Democratic primary, but she dropped out because she believed

  that the redistricting process was manipulated to guarantee the reelection of incumbent

  politicians.227 Senator Turner also acknowledged that it “might be possible” that she received

  proposals from Democratic map drawers that incorporated, among other things, a majority

  African-American district in northeast Ohio.228 But such a district existed previously (with




         222
             Id. at 17–18.
         223
             Id. at 18.
         224
             Id. at 18–19, 23.
         225
             Id. at 20; see also Trial Ex. J05 (Ohio State Senate Session, Dec. 14, 2011 at 22–27)
  (statement of Sen. Turner).
         226
             Dkt. 240 (Turner Trial Test. at 20).
         227
             Id. at 25–26, 34; Dkt. 253 (Defs.’ & Intervenors’ PFOF at ¶ 214).
         228
             Dkt. 240 (Turner Trial Test. at 27–33).
                                                   43
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  different boundaries, limited to the greater Cleveland area), and Senator Turner maintained that

  the enacted map did not contain any of the Democratic suggestions.229

     5. Congresswoman Marcy Kaptur

         Plaintiffs called Congresswoman Marcy Kaptur, a Democratic member of the U.S. House

  of Representatives, as a rebuttal witness. Representative Kaptur won election to Congress in 1982

  and has served Ohio’s Congressional District 9 since 1983. She is the most senior member of

  Ohio’s congressional delegation.230 Representative Kaptur testified that she did not play any part

  in creating the map that was submitted with H.B. 319, the initial redistricting bill, and she first

  learned about the shape of the new District 9 in the newspaper after H.B. 319 became public.231

  Representative Kaptur testified that, after learning about the map presented in H.B. 319, she called

  then-Governor John Kasich’s office to object to the fact that her church and the cemetery where

  her family is buried were cut out of District 9;232 moreover, she had conversations with a

  Democratic state legislator after the release of H.B. 319 to “try[] to piece [Toledo] back

  together.”233 Representative Kaptur did not want to be paired with then-Congressman Kucinich,

  a Democratic colleague of Kaptur’s, because he had “run for president” and she believed that the

  proposed District 9 was drawn to favor Representative Kucinich over her if they ran against each

  other.234 On cross-examination, Representative Kaptur acknowledged that, due to population loss,




         229
              See id. Moreover, we observe again that a majority of the Democratic Caucus, including
  the African-American members, voted against H.B. 369.
          230
              See Dkt. 249 (Kaptur Trial Test. at 69).
          231
              Id. at 69–70. Representative Kaptur’s office also had no documents related to the 2011
  redistricting process. Id. at 81.
          232
              Id. at 73–74.
          233
              Id. at 81–82.
          234
              Id. at 76, 89.
                                                  44
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  her district’s geography would have to expand, but she stated that she “hop[ed] it would be in the

  economic region that [she] represented” such as Wood or Fulton Counties.235

     B. Defendants’ Fact Witnesses

     1. Raymond DiRossi

         Raymond DiRossi testified at trial for Defendants as a fact witness, and he was one of the

  principal map drawers during the 2011 redistricting process. He also played a role in the 2001

  redistricting process.236 Starting in 2001, DiRossi became involved with the Task Force and “was

  very involved in the creation of [the] legislative districts and also the congressional

  districts . . . .”237 DiRossi testified that he worked out of the DoubleTree hotel in Columbus during

  both the 2001 and 2011 redistricting processes.238

         DiRossi testified that, in 2011, he was “very prominent” in the congressional redistricting

  process and that “basically, the process was the same” as in 2001.239 According to DiRossi, the

  main issues in the 2011 redistricting process were that Ohio lost two congressional seats, the State

  had experienced population shifts, District 11 was majority-minority in the past and in 2011 “great

  care was . . . taken to . . . make sure that [District 11] was going to be created in a way that would

  be satisfactory,” and he also understood that there was a “desire to make a new district in Franklin

  County that would have the ability to elect, for the first time ever,” a minority candidate to

  Congress.240




         235
             Id. at 78–79.
         236
             Dkt. 243 (DiRossi Trial Test. at 146).
         237
             Id. at 147.
         238
             Id. at 152.
         239
             Id. at 154.
         240
             Id. at 154–55.
                                                   45
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         To deal with the loss of two incumbents (because Ohio lost two congressional seats),

  DiRossi testified that “the decision was made to pair two Republicans together and two Democrats

  together. So we would have ended up with” twelve Republicans and four Democrats.241 In terms

  of how to handle which Democratic incumbents to pair, he stated that it was his belief that “nobody

  thought it was a good idea to pair” Representative Fudge with another incumbent because she

  represented a majority-minority district.242 In the end, Representatives Kaptur and Kucinich were

  selected as the paired Democratic incumbents. DiRossi testified that he drew the current District

  9 the way it is based on what various other Republican legislators and political officials had said

  various Democrats wanted (these other Republicans were purportedly in conversation with the

  Democrats).243



         241
              Id. at 156. Going into the redistricting, Republicans held a 13-5 majority in Ohio’s
  congressional delegation. DiRossi, however, also maintained that he was not simply trying to
  draw twelve “Republican districts” in the map. Id. at 158.
          242
              Id. at 157. Plaintiffs object to this statement, and similar statements made by DiRossi,
  as hearsay. The statement is admissible, however, for the limited purpose to show the effect on
  DiRossi, i.e., that he did not pair Representative Fudge against another incumbent, but it cannot
  be used for the truth that various persons in fact thought it was a bad idea to pair Representative
  Fudge against another incumbent. See Biegas v. Quickway Carriers, Inc., 573 F.3d 365, 379 (6th
  Cir. 2009) (“A statement that is not offered to prove the truth of the matter asserted but to show its
  effect on the listener is not hearsay.”); see also United States v. Churn, 800 F.3d 768, 776 (6th Cir.
  2015) (citing United States v. Pugh, 273 F. App’x 449, 456 (6th Cir. 2008)) (“Such a statement
  may be admitted to show why the listener acted as she did.”). Moreover, DiRossi’s testimony on
  this point is unclear, specifically to whom he is referring when he uses the term “nobody.”
          243
              See generally id. at 159–66. Plaintiffs again object to DiRossi’s testimony as to what
  other political officials said as hearsay. For the reasons explained in supra note 242, the statements
  are admissible for the limited purpose of showing why DiRossi drew the districts the way he did,
  but they cannot be used as evidence for what Democrats actually did or did not want or what
  Democrats said due to the multiple layers of hearsay. Again, this line of testimony from DiRossi
  was often extremely vague and unclear.
          DiRossi also testified to changes to District 9 between H.B. 319 and 369—specifically that
  there “was much more Toledo in [H.B. 369 than in H.B. 319] and . . . less Cleveland.” Id. at 166.
  We observe that some portions of Lucas County were added to District 9 in H.B. 369, and the
  Cleveland side had small portions dropped and added. See Trial Ex. I-072 (Changes from H.B.
  319 to H.B. 369 at 11–14) (yellow represents geography in both plans, green represents geography
  that was added in H.B. 369, and red represents geography that was dropped in H.B. 369); Dkt. 243
                                                   46
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          DiRossi further testified to changes made to various other districts, purportedly at the

  request of (occasionally unspecified) Democrats, and to the effects those changes had on the map

  as a whole.244 Negotiations between state legislative Democrats and state legislative Republicans

  began around the time of the attempted petition drive (after H.B. 319). 245 As to District 11, for

  example, DiRossi asserted that he “wanted to take great care to make sure the district was drawn

  the way that the incumbent [Representative Fudge] wanted it.”246 At trial, DiRossi did not mention

  any concerns about VRA compliance, but at his deposition, he stated that he was concerned about

  majority-minority districts, including District 11, because of the VRA.247 At his deposition, he

  further stated that, in 2001, District 11 was drawn with more than a 50% BVAP, so in 2011, “one

  of the first things that [DiRossi] was looking at was . . . was it possible to still draw a district that

  would be more than 50 percent non-Hispanic voting age African American population.”248 It was




  (DiRossi Trial Test. at 187). Ultimately, this testimony is inconsequential because there were no
  material geographic changes between H.B. 319 to H.B. 369, see Trial Ex. I-072; see also Dkt. 246
  (Judy Trial Test. at 83), and any changes between H.B. 319 and H.B. 369 to the partisan makeup
  of District 9 (or any district) were not material whatsoever. The Court also notes that Plaintiffs
  object to the admissibility of Exhibit I-072 on the basis that DiRossi lacked foundation to testify
  about the exhibit because he did not create it. The Court summarily overrules that objection
  because DiRossi, as one of the primary map drawers, was intimately familiar with the changes
  from H.B. 319 to H.B. 369. DiRossi provided sufficient testimony to establish his personal
  knowledge of the changes and indicated that Exhibit I-072 was a fair and accurate rendering of the
  changes. See e.g., Dkt 243 (DiRossi Trial Test. at 191). He does not need to create the exhibit in
  order to lay the foundation for its admittance. See FED. R. EVID. 602.
          244
              See generally Dkt. 243 (DiRossi Trial Test. at 166–75, 177–79, 183–84). Plaintiffs’
  hearsay objections to this line of testimony are overruled in part for the same reasons already
  discussed. See supra note 242. In any event, for the reasons we explain later in the Opinion, we
  find, importantly, that, any changes did not alter the partisan makeup of the map, and the
  geographic changes were not very significant either. See, e.g., Trial Ex. I-072 (Changes from H.B.
  319 to H.B. 369). Furthermore, the overarching intent remained partisan in that no changes would
  be made that would put the 12-4 map in favor of Republicans at risk.
          245
              Dkt. 243 (DiRossi Trial Test. at 174–75).
          246
              Id. at 169; see also supra note 242.
          247
              Dkt. 230-12 (DiRossi Dep. at 193–94).
          248
              Id. at 194.
                                                     47
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  DiRossi’s “understanding that the maps were going to make their way to Congresswoman Fudge,”

  but he clarified that, “obviously, [he] was not present for that.”249

         With respect to District 3, DiRossi similarly testified that a “back and forth” occurred

  between Bob Bennett, Republican legislative leaders, “some other people,” and Joyce Beatty and

  her husband Otto.250 At that time, now-Congresswoman Beatty was not yet a Congresswoman

  and did not hold any position in government, though DiRossi testified that “a number of people,

  including myself who had worked with . . . Joyce Beatty . . thought that she would be an ideal

  candidate” for the new District 3.251

         Some changes did, in fact, occur between H.B. 319 and H.B. 369. DiRossi testified to

  these changes and explained an exhibit that illustrates them.252 And again, he asserted at trial that

  many of these changes were made in response to what he believed were requests of various

  Democrats.253 For H.B. 319, he worked out of the DoubleTree Hotel and did not work with any

  Democrats; he also admitted that he received requests from Tom Whatman (from Team




         249
              Dkt. 243 (DiRossi Trial Test. at 172).
         250
               Id. at 177–78. For the reasons explained previously, supra note 242, DiRossi’s
  testimony is admissible only as evidence for why he drew District 3 a certain way. The statement
  is inadmissible for the truth that certain Republicans wanted to create a district for Joyce Beatty.
          251
              Id.
          252
              See Dkt. 243 (DiRossi Trial Test. at 187–98); Trial Ex. I-072 (Changes from H.B. 319
  to H.B. 369). Again, in the exhibit, yellow represents geography that stayed the same in both
  plans, green represents geography that was added in H.B. 369, and red represents geography that
  was dropped in H.B. 369. Dkt, 243 (DiRossi Trial Test. at 187).
          253
              See Dkt. 243 (DiRossi Trial Test. at 188–93, 195) (referring mainly to District 3 and
  purported requests related to District 9). DiRossi further testified that no changes were made to
  District 11 between H.B. 319 and H.B. 369, and because there were no requests from legislative
  Democrats related to District 11, he “thought [the map drawers] got it right the first time.” Id. at
  195.
                                                    48
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  Boehner).254 For H.B. 369, DiRossi stated that he worked out of the State House, and, for that bill,

  he asserted that Republicans “were working with the Democrats . . . .”255

         As to the logistics of the actual map-drawing process, DiRossi testified to that he used

  Maptitude and the Unified Index that he created.256 Along with the Unified Index that he created

  and additional political indices that others wanted him to use, his computer also displayed the

  population of each district, the African-American voting-age population, the non-Hispanic voting-

  age population, and the Hispanic voting-age population as he drew draft maps.257 “[W]henever

  [he] would make a change on the . . . screen, all of that would automatically change . . . .”258 The

  other political indices included presidential election results, as well as the “D+1, D+2, R+1, R+2

  system” (often referred to as the D+1, R+1, or PVI) from “the D.C. folks.”259

         DiRossi admitted that in 2011 he worked with Adam Kincaid, from the RNC, and that

  Kincaid “was one of a number of people that would send ideas or [DiRossi] could bounce ideas

  off.”260 In a September 10, 2011 email exchange between DiRossi and State Senator Faber,

  DiRossi wrote, “DC is increasingly pushing to put the lid on this [i.e., the map].”261 DiRossi also



         254
              See, e.g., Dkt. 243 (DiRossi Trial Test. at 184).
         255
              Id. at 219, 287.
          256
              Id. at 199.
          257
              Id. at 199–200
          258
              Id. at 200.
          259
              Id. at 199–200, 229.
          260
              Id. at 224. DiRossi further admitted that Kincaid made at least some changes to the
  maps, and DiRossi received the PVI from Kincaid. See id. at 265, 278.
          261
              Trial Ex. P124 (Sept. 10, 2011 email); see Dkt. 243 (DiRossi Trial Test. at 239). State
  Senator Niehaus also sent an email to DiRossi and Whatman on September 11, 2011, which stated
  that Senator Niehaus was “still committed to ending up with a map that Speaker Boehner fully
  supports, with or without votes from two members of leadership.” Trial Ex. P125 (Sept. 11, 2011
  email); Dkt. 243 (DiRossi Trial Test. at 240–43). One day later, Senator Niehaus asked DiRossi
  via email titled “Proposed map for LSC [Legislative Service Commission]”: “Did Whatman sign
  off?” DiRossi confirmed that “Whatman signed off.” Trial Ex. P126 (Sept. 12, 2011 emails); Dkt.
  243 (DiRossi Trial Test. at 255). LSC puts the maps into final bill form. See Dkt. 243 (DiRossi
  Trial Test. at 220). H.B. 319 ultimately went public on September 13, 2011. Id. at 260. The
                                                  49
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  admitted that the changes supposedly requested by now-Congresswoman Beatty (who, again, was

  not yet a Congresswoman) to draw a potential opponent out of District 3 affected a fairly trivial

  number of voters.262 Finally, DiRossi admitted that he did not calculate compactness scores for

  the districts in either H.B. 319 or H.B. 369.263

     2. Speaker William Batchelder

         Former Speaker of the Ohio House of Representatives William Batchelder testified for

  Defendants at trial, explaining how Districts 11 and 3 came to be.264

         a. District 11

         Speaker Batchelder testified that he knew George Forbes, the former president of the city

  council of Cleveland “very well” and would occasionally discuss “matters that were coming before

  the house” with Forbes.265 Speaker Batchelder stated that District 11 “had changed in its nature,

  which we knew from the census, and [he and Forbes], therefore, were concerned about its

  continuance as an African-American district.”266 Therefore, Speaker Batchelder believed “[t]here




  individuals on the email chains leading up to this time were using their personal (rather than State
  of Ohio) email addresses. Id. at 270–71. Lastly, several of the emails entered into evidence on
  cross-examination contained political data in the text of the email but none of the other
  demographic data that DiRossi mentioned he had in Maptitude.
          262
              Dkt. 243 (DiRossi Trial Test. at 284); see also id. at 285 (DiRossi further stating that
  “[i]t may have been slightly less than 800 people . . . .”).
          263
              Id. at 284.
          264
               This summary discusses only Speaker Batchelder’s trial testimony from his direct
  examination as well as the portions of the cross-examination that were within the scope of the
  direct examination. See FED. R. EVID. 611(b). The Court also relies on the properly designated
  sections of Speaker Batchelder’s deposition.
          265
              Dkt. 246 (Batchelder Trial Test. at 18–19).
          266
              Id. at 20. The Court considers this testimony as evidence that Speaker Batchelder was
  concerned about District 11’s continuance as an African-American district. To the extent that the
  testimony is offered as evidence of Forbes’s concern, it is inadmissible hearsay. The Court does
  not, therefore, consider the testimony for the truth of whether Forbes was concerned about District
  11 but only for the ultimate purpose of showing what effect, if any, Forbes’s statements had on
  Speaker Batchelder.
                                                     50
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  would have to be a change in the district so that there would be a balance so that it would continue

  as an African-American district.”267 Speaker Batchelder testified that he had discussions with

  Forbes about District 11 “extending down into Summit County” because “we . . . did not have the

  makings, under the census, of a district that would be African American” and “there were

  sufficient African-Americans in Summit County to undertake that alteration.”268             Speaker

  Batchelder testified that he “asked [Forbes] what he thought of that, and he was amenable.”269

  Speaker Batchelder “ultimately approve[d] a District 11 that started in Cuyahoga County and went

  down into Summit County.”270 He agreed that he did this “in part, based on [his] understanding

  and belief of how Mr. Forbes felt about that.”271

          On cross-examination, Speaker Batchelder admitted that he “never personally had

  communications with Representative Fudge” about the composition of District 11.272 Speaker

  Batchelder also stated that he and Representative Stokes “did communicate, but not on that

  issue.”273

          b. District 3

          Speaker Batchelder testified about the creation of the new District 3 in the Columbus area.

  He stated that he “first had consulted with the chairman of the Republican Party there, and he




          267
              Id. Again, to the extent that Speaker Batchelder’s belief is based on out-of-court
  statements by Forbes about Forbes’s concern, those statements are considered for the effect they
  had on Speaker Batchelder and not for their truth.
         268
             Id. at 22–23.
         269
             Id. at 24. Plaintiffs again object to any testimony about what Mr. Forbes said as hearsay.
  For the reasons previously discussed, the Court will consider such testimony only for a limited
  purpose.
         270
             Id.
         271
             Id.
         272
             Id. at 50.
         273
             Id.
                                                   51
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  indicated that there was not going to be a viable candidate for his party.”274 Speaker Batchelder

  went on to explain that he was close friends with Otto Beatty and had served in the Ohio House of

  Representatives with his wife, Joyce Beatty.275 Speaker Batchelder agreed that he “intend[ed] to

  draw a district that [Joyce Beatty] could potentially win.”276 Speaker Batchelder stated that he had

  never referred to the Franklin County district as a “sinkhole” nor had he referred to voters as “dog

  meat.”277

      3. Troy Judy

          Troy Judy had a long history of working for the Ohio House of Representatives and served

  as the Chief of Staff to Speaker of the Ohio House of Representatives William Batchelder during

  the redistricting process.278 He testified about the various people who played a role in the

  redistricting.279 He also testified about the map-drawing process, both before and after the passage

  of H.B. 319, and offered reasons that certain congressional districts in the 2012 map were drawn

  as they are.280

          Judy testified that “[a]fter [H.B.] 319 was passed, the Democrats, of course, announced a

  referendum on the bill and began collecting signatures. . . . And with the overarching pressure of

  a referendum, it led us to begin conversations with members of the Democratic caucus.”281

  Speaker Batchelder asked Judy and Representative Huffman “to begin very quiet conversations

  with the Democrats to see what changes they would like to see in a map in order to garner bipartisan



          274
              Id. at 25. Again, the Court does not consider this out-of-court statement by the chairman
  for the truth of the matter asserted, but rather only for its effect on Speaker Batchelder.
          275
              Id.
          276
              Id.
          277
              Id.
          278
              Dkt. 246 (Judy Trial Test. at 67–68).
          279
              Id. at 81.
          280
              Id. at 70–79.
          281
              Id. at 72–73.
                                                   52
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  support of a bill, a new bill.”282 Judy testified that in this context he conversed directly with three

  Democratic members of the Ohio House of Representatives who communicated to him “some of

  the changes [they] would like to see.”283 Some of these changes were incorporated into new map

  drafts and Judy and Keary McCarthy, the minority Democratic Chief of Staff exchanged map files

  including such changes.284 Judy stated that in the back-and-forth between himself and McCarthy,

  McCarthy never proposed a District 11 or District 3 “that was materially different from the one

  proposed by the Republicans.”285 Judy testified that at this stage, the now-deceased Bob Bennett,

  “the outgoing chairman of the state Republican party,” was involved in communications between

  the Republican map drawers and Democratic players.286

         Judy testified that District 3 had been a “priorit[y]” of Speaker Batchelder’s.287 He testified

  that Speaker Batchelder’s “relationship with Congresswoman Beatty and her husband Otto Beatty

  led him to have a priority to create a central district in Franklin County encompassing Columbus

  and having representation specifically for Congressman [sic] Beatty.”288 He also testified that

  population shifts toward Franklin County and Ohio’s loss of two congressional seats following the

  2010 census were factors in the drawing of District 3.289




         282
              Id. at 73–74.
         283
              Id. at 74.
          284
              Id. at 75.
          285
              Id.
          286
              Id. at 74–75.
          287
              Id. at 70.
          288
              Id. at 71; see also id. at 72 (Judy confirming that it was his “understanding and belief
  that the reason for the shape and location of Congressional District 3 was based on Speaker
  Batchelder’s relationships with and conversations with the Beattys”).
          289
               Id. at 70. Plaintiffs object to this testimony for lack of foundation regarding
  demographic changes in Ohio and the effect of those changes on the map-drawing process. The
  Court overrules this objection and finds that Judy is providing his personal knowledge of factors
  that accounted for the drawing of District 3, including his understanding of demographic changes.
                                                    53
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          Judy testified that District 9 was drawn in response to the Democratic leadership’s desire

  that Representative Marcy Kaptur and Representative Dennis Kucinich be the two Democratic

  incumbents paired.290 Judy stated that Bob Bennett “was also in contact with a Democratic leader

  from the Toledo region, Jim Ruvolo,291 who then communicated to us about what the shape of the

  Kaptur district should look like and what Democrats should be paired together, actually.”292 Judy

  stated that he was “not sure who else [Bennett] was speaking with.”293

          Judy also testified about the contours of District 11. He stated that Speaker Batchelder had

  relationships with members of the African-American community in Cleveland, including George

  Forbes, and has “consulted” for many years with these individuals “with respect to any issues that

  would affect the African-American community.”294 This was the only testimony that Judy related

  regarding the involvement of leaders of Northeast Ohio’s African-American community in the

  redistricting of District 11.

          Judy testified that when the Republican map drawers began negotiations with Democratic

  individuals in an effort to pass the second iteration of the map, Bob Bennett played a key role in

  these communications, serving as a “back channel to Congresswoman Fudge . . . to communicate

  with us about the shape of [District 11].”295 Judy testified that Bennett “communicated to [Judy]

  that he was in contact with Representative Fudge” and that Fudge “was pleased with the




          290
                Id. at 77.
          291
                Judy later stated that he believed that Ruvolo was chairman of the Democratic Party.
  Id. at 77.
          292
             Id. at 74; see also id. at 77 (stating that the Republicans “configured the district . . . at
  the behest of the Democratic leadership”).
         293
             Id. at 77.
         294
             Id. at 70.
         295
             Id. at 74.
                                                    54
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  configuration [of District 11] that was in 369” after the Republican map drawers had “ma[d]e

  changes and incorporate[d] things that the Democrats wanted to see.”296

         On cross-examination, Judy admitted that despite changes that were made to H.B. 369 prior

  to its passage, it looked “substantially similar” to the initial version of H.B. 369 introduced by the

  Republicans members of the General Assembly.297

     C. Plaintiffs’ Expert Witnesses

     1. Dr. Christopher Warshaw

         Dr. Christopher Warshaw testified at trial for Plaintiffs as an expert witness. Dr. Warshaw

  is a tenure-track assistant professor of political science at the George Washington University,

  teaching courses on political science, elections, public opinion, statistical methodology, and

  political representation.298 His research has been published extensively in prestigious peer-

  reviewed publications and he has published specifically on the topic of partisan gerrymandering.299

  Dr. Warshaw has also served as an expert witness in two other partisan-gerrymandering cases; no

  court has ever failed to credit his testimony.300 The Court qualified Dr. Warshaw as an expert in

  the fields of elections, partisan gerrymandering, polarization, and representation and found his

  testimony highly credible.301




         296
             Id. at 76.
         297
             Id. at 83.
         298
             Dkt. 240 (Warshaw Trial Test. at 180).
         299
             Id. at 184, 187.
         300
             Id. at 190.
         301
             Id. at 190–91.
                                                   55
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     a. Partisan-bias metrics

         Dr. Warshaw testified at length about four302 specific partisan-bias metrics that he used to

  evaluate the 2012 map. He defines partisan bias broadly as “the idea of trying to quantify whether

  one party or another has an advantage in the translation of votes to seats.”303 Successful partisan

  gerrymanders efficiently translate votes for the favored party into seats for that same party. “In

  practice, this entails drawing districts in which the supporters of the advantaged party constitute

  either a slim majority . . . or a small minority.”304 Map designers accomplish the former by

  cracking voters from the opposition party into different districts so that they are highly unlikely to

  break the 50% mark in a given district and are therefore unable to elect the candidate of their

  choice. They accomplish the latter by packing voters from the opposition party into districts such

  that they have an unnecessarily large margin of victory.

         The concept of “wasted” votes underlies both of these strategies.305 In cracked districts,

  the votes of the losing disfavored party are all wasted because they were allocated to a race that

  the disfavored party did not win. The closer the margin of victory in cracked districts, the more

  disfavored party votes are wasted. In packed districts, many votes of the winning disfavored party

  are wasted because there are many excess votes beyond those needed for victory. A party




         302
              One of these metrics, partisan symmetry in the vote-seat curve, can be measured in two
  ways. See Trial Ex. P571 (Warshaw Rep. at 10–12).
          303
              Dkt. 240 (Warshaw Trial Test. at 195).
          304
              Trial Ex. P571 (Warshaw Rep. at 4).
          305
              “Wasted” votes has a technical meaning in this context. Of course, individual votes are
  counted; thus, individuals’ votes are not “wasted” in that sense. Rather, in partisan-
  gerrymandering cases, “wasted” votes capture a party’s efficiency (or inefficiency) in translating
  the votes that it receives into legislative seats—because “the goal of a partisan gerrymander is to
  win as many seats as possible given a certain number of votes.” Nicholas O. Stephanopoulos &
  Eric M. McGhee, Partisan Gerrymandering and the Efficiency Gap, 82 U. CHI. L. REV. 831, 850
  (2015). Accordingly, wasted or “‘inefficient’ votes are those that do not directly contribute to
  victory.” Id. at 850–51. That is, the party, not the individual voter, “wasted” the vote.
                                                   56
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  designing a partisan gerrymander will attempt to waste few of its own supporters’ votes and waste

  many of the opposing party’s supporters’ votes. Partisan bias, an asymmetry or advantage in the

  efficiency of vote-seat translation, results.

          Dr. Warshaw used the efficiency gap, symmetry in the vote-seat curve, the mean-median

  difference, and the declination metric to measure partisan bias in the 2012 map.306

          i.      Efficiency Gap

          The efficiency gap compares the wasted votes for each party by calculating “the difference

  between the parties’ respective wasted votes, divided by the total number of votes cast in the

  election.”307 The efficiency gap reflects “the extra seats one party wins over and above what would

  be expected if neither party were advantaged in the translation of votes to seats (i.e., if they had

  the same number of wasted votes).”308

          Dr. Warshaw surveyed historical efficiency gaps across the country and found that they

  were generally quite small. Around 75% were between -10% and 10%, and only around 4% had

  an efficiency gap of greater than 20% in either direction.309 He demonstrated that Ohio’s 2012

  efficiency gap of -22.4% was a historical outlier—“more extreme than 98% of previous plans in

  states with more than six seats over the past 45 years, and . . . more Republican-leaning than 99%

  of previous congressional redistricting plans.”310 It also reflected a major increase from Ohio’s

  efficiency gap prior to the 2011 redistricting efforts.311 Ohio’s efficiency gaps in 2014 and 2016




          306
             Dkt. 240 (Warshaw Trial Test. at 196–97).
          307
             Trial Ex. P571 (Warshaw Rep. at 6) (quoting Stephanopoulos & McGhee, Partisan
  Gerrymandering and the Efficiency Gap, supra). Dr. Warshaw used the version of the efficiency
  gap equation that accounts for unequal turnouts across districts. See id. at 7–8.
         308
             Id. at 8.
         309
             Id.
         310
             Id. at 8, 19–20, 23.
         311
             Id. at 23.
                                                  57
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  were -9% and - 8.7%, respectively, “imply[ing] that Republicans in Ohio won 1-4 more seats in

  these elections than they would have won if Ohio had no partisan bias in its efficiency gap.”312

  Ohio’s efficiency gap in the 2018 election was -20%, more extreme than 96% and more pro-

  Republican than 98% of previous comparable plans.313

         ii.     Partisan symmetry in the vote-seat curve

         Symmetry in the vote-seat curve compares how both parties’ seat shares change as their

  vote shares increase or decrease.314 Dr. Warshaw explained that in an unbiased districting scheme,

  if Democratic candidates receive 52% of the votes and earn 60% of the seats, then when

  Republican candidates receive 52% of the votes, they should also earn 60% of the seats. One can

  measure symmetry by applying a counterfactual uniform swing in vote shares from 45% to 55%

  and measuring departures from parity in seat share between the parties.315 One applies a uniform

  swing by increasing the vote share of a given party by a fixed percentage across all districts.316

  Symmetry can also be measured simply by comparing the seat share that each party achieves when

  it receives 50% of the vote. Applying uniform swings, the level of partisan asymmetry in Ohio’s

  2012 election was “more extreme than 96% of previous elections and more pro-Republican than

  97% of previous U.S. congressional elections over the past 45 years.”317 The result was the same

  when the symmetry analysis was conducted using the method that compares seat shares when each




         312
            Id.
         313
            Trial Ex. P476 (Warshaw 2018 Update at 3).
        314
            Trial Ex. P571 (Warshaw Rep. at 10).
        315
            Id.
        316
            Dkt. 240 (Warshaw Trial Test. at 202).
        317
            Trial Ex. P571 (Warshaw Rep. at 27). Dr. Warshaw used the same elections data to
  conduct his symmetry analysis as he did with the other partisan-bias metrics. See id. at 6.
                                                 58
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  party earns 50% of the vote.318 With uniform swings, the 2018 elections were more asymmetric

  than 92% of previous elections and more pro-Republican than 94% of the comparison group.319

         iii.    Mean-median gap

         The mean-median gap reflects “the difference between a party’s vote share in the median

  district and their average vote share across all districts. If the party wins more votes in the median

  district than in the average district, they have an advantage in the translation of votes to seats.”320

  Dr. Warshaw found that Ohio’s mean-median gap jumped from 1.7% in 2010 to 7.8% in 2012,

  following the redistricting.321 He also found that the 2012 mean-median gap was more extreme

  than that in 83% of prior elections and more pro-Republican than that in 92% of prior elections.322

  The 2018 mean-median gap was 5%, more extreme than in 62% of previous elections and more

  pro-Republican than in 81% of previous elections.323

         iv.     Declination

         Lastly, the declination metric involves graphically plotting the districts in a plan from least

  Democratic to most Democratic and then measuring and comparing the angles formed by best-fit

  lines for each party’s seats measured from the 50% Democratic vote share line.324 The calculations

  result in a score between -1 and 1, which indicates the size and direction of the partisan bias of the




         318
              Id.
         319
              Trial Ex. P476 (Warshaw 2018 Update at 4).
          320
              Trial Ex. P571 (Warshaw Rep. at 8) (citing Jonathan S. Krasno et al., Can Gerrymanders
  be Detected? An Examination of Wisconsin’s State Assembly, AM. POLITICS RES. (2018); Robin E.
  Best et al., Considering the Prospects for Establishing a Packing Gerrymandering Standard,
  ELECTION L.J. (2017); Samuel Wang, Three Tests for Practical Evaluation of Partisan
  Gerrymandering, 68 STAN. L. REV. 1263 (2016)) (footnote omitted).
          321
              Id. at 24.
          322
              Id. at 25.
          323
              Trial Ex. P476 (Warshaw 2018 Update at 3).
          324
              See Trial Ex. 571 (Warshaw Rep. at 12–13) (explaining the exact method for calculating
  the declination metric of a given map).
                                                    59
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  map.325 Ohio’s 2012 declination score of -0.77 was “more extreme than 99% of previous elections

  and more pro-Republican than any previous U.S. congressional election over the past 45 years.”326

  Ohio’s 2018 declination score of -0.69 “was more extreme than 98% of previous elections and

  more pro-Republican than 99% of previous U.S. congressional elections.”327

         v.      Strengths and weaknesses of the metrics

         Dr. Warshaw highlighted some of the strengths and weaknesses of each partisan-bias

  metric. For example, a strength of the efficiency gap is that it “can be calculated directly from

  observed election returns even when the parties’ statewide vote shares are not equal.”328 However,

  the efficiency gap can also be a more volatile metric than some of the others, and it is not

  recommended for use in smaller states with relatively few congressional districts.329 A strength of

  the symmetry metric is that it is far less volatile over time and has been widely used and accepted

  in academic work on partisan gerrymandering.330 One weakness of both symmetry metrics is that

  they involve the calculation of counterfactual elections.331 The mean-median gap is easy to apply,

  but it is “sensitive to the outcome in the median district.”332 For its part, the declination measure

  “is somewhat unstable when a party holds a very small number of seats in the legislature.”333 Dr.

  Warshaw explained that all these metrics are “closely related both theoretically and empirically,

  but nonetheless, there’s small differences between them . . . [and] looking at a suite of different




         325
             Id.
         326
             Trial Ex. P571 (Warshaw Rep. at 26).
         327
             Trial Ex. P476 (Warshaw 2018 Update at 3).
         328
             Trial Ex. P571 (Warshaw Rep. at 8).
         329
              Dr. Warshaw therefore included in his analysis only states with more than six
  congressional seats. Id. at 19 n.22.
         330
             Id. at 12.
         331
             See id. at 11–12.
         332
             Id. at 8–9.
         333
             Id. at 13.
                                                   60
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  metrics in concert gives us greater confidence in any conclusion that we . . . draw.”334 Looking

  across all the metrics, Dr. Warshaw concluded that “Ohio’s recent elections [under the 2012 plan]

  display a larger partisan bias in favor of Republicans than most previous plans in Ohio or in other

  states.”335

      b. Requirements of a partisan gerrymander

          Dr. Warshaw testified about how he determines in his academic work whether a

  redistricting plan is a partisan gerrymander. According to Dr. Warshaw, to qualify as a partisan

  gerrymander, a districting plan must satisfy four different elements. First, a single party must have

  controlled the redistricting process—meaning that in a state with a bicameral legislature, it must

  have had control of both houses and the governorship—and that same party must be favored by

  the map.336 Under Dr. Warshaw’s criteria, whether members of the disfavored party cast roll-call

  votes in support of the redistricting plan is meaningless in determining whether the plan was a

  gerrymander.337 Second, all partisan-bias metrics that Dr. Warshaw employs (efficiency gap,

  symmetry in the vote-seat curve, mean-median gap, and declination) must “indicate [that] the same

  party that controlled the redistricting process was actually advantaged in the translation of votes

  to seats.”338 Third, the map must be an outlier in terms of its partisan-bias metrics when compared




          334
              Dkt. 240 (Warshaw Trial Test. at 197); see also Trial Ex. P571 (Warshaw Rep. at 14)
  (demonstrating high levels of correlation between measures of partisan bias in states where the
  Democratic vote share was 40-60%).
          335
              Trial Ex. P571 (Warshaw Rep. at 4).
          336
              Dkt. 240 (Warshaw Trial Test. at 191, 194). Warshaw discusses how partisan control
  of the redistricting process results in measurable changes in the efficiency gap in favor of the party
  in control, both in Ohio and elsewhere. Trial Ex. P571 (Warshaw Rep. at 17–18).
          337
              Dkt. 240 (Warshaw Trial Test. at 194). Dr. Warshaw testified that his approach of not
  considering roll-call votes cast by the non-controlling party is the accepted one in political science.
  Id.
          338
              Id. at 192.
                                                    61
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  to historical elections across the country in the last forty-five years.339 Fourth, all four partisan-

  bias metrics measuring a given map must point in the same direction.340

         Dr. Warshaw found that under this rubric, the 2012 plan was a partisan gerrymander

  because: (1) the Republican Party controlled the redistricting process and the map favored the

  Republican Party; (2) all four of his partisan metrics indicated that the Republicans were actually

  advantaged in the translation of votes to seats; (3) the map was an outlier when compared to the

  dataset of hundreds of historical maps; and (4) all four partisan metrics pointed in the same

  direction—toward a pro-Republican bias.

     c. Responsiveness, competitiveness, and durability

         Dr. Warshaw also evaluated the responsiveness and competitiveness of the 2012 map.

  Responsiveness measures “how insulated a plan is from changes in voter preferences” or,

  conversely, “how likely the election results are to change due to changes in voter preferences.”341

  A map is more responsive if it yields different seat shares when there are swings in voter

  preferences from year to year.       Dr. Warshaw measures responsiveness in two ways: (1)

  determining how many districts with competitive seats exist and (2) applying a uniform swing of

  vote shares between 45% and 55% across all districts and measuring how the seat-share outcome

  changes.342




         339
              Id. Dr. Warshaw examines the years since 1972 because all states were in compliance
  with the one-person, one-vote principle announced in Baker v. Carr, 369 U.S. 186 (1962) at that
  point. Id. at 195, 198–99; Trial Ex. P571 (Warshaw Rep. at 6 n.3). This dataset encompasses over
  500 elections. Dkt. 240 (Warshaw Trial Test. at 203).
          340
              Dkt. 240 (Warshaw Trial Test. at 192).
          341
              Id. at 201.
          342
               Id. at 202; Trial Ex. P571 (Warshaw Rep. at 15). Dr. Warshaw termed a district
  competitive in this context if the winning party received less than 55% of the two-party vote. Trial
  Ex. P571 (Warshaw Rep. at 15). He stated that “[i]n responsive systems, a 10% [change] in vote
  share from 45% to 55% will generally lead to a change in seat share of around 20%. In a[n]
                                                   62
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         Dr. Warshaw concluded that Ohio’s present map “has led to historically uncompetitive

  elections.”343 First, in 2012, Ohio had only two competitive congressional seats.344 In both 2014

  and 2016, not a single congressional district in Ohio saw a competitive election.345 In 2018, Ohio

  again had only two competitive seats.346 The uniform swings also demonstrated that the 2012 map

  is highly unresponsive.347 Applying uniform swings to the 2012 election results, he found that

  Democrats would win the same 25% of the congressional seats if they won anywhere from 30%

  to 52% of the statewide vote. To advance to holding 37.5% of seat-share, they had to win 55% of

  the statewide vote.348 Dr. Warshaw determined that 2018 was a more responsive year than earlier

  years according to the uniform swing analysis. However, “most of this responsiveness occurs at

  the very upper end of the range of plausible statewide vote shares for democrats”; Republicans

  would still win “75% of the seats across most of the range of plausible election swings,” even if

  50% of the vote share was Democratic.349

         Dr. Warshaw also found that the effects of the 2012 map are durable throughout time.350

  Although the partisan-bias metrics generally became somewhat less extreme as time went on, the

  level of partisan bias in 2012 under each metric was a “powerful and statistically significant

  predictor” of the same metric’s level in 2016 and 2018.351




  unresponsive system, there could be little or no change in seat share from a 10% change in vote
  share.” Id. at 15.
         343
             Id. at 4.
         344
             Id. at 15.
         345
             Id. at 28.
         346
             Trial Ex. P476 (Warshaw 2018 Update at 11).
         347
             Trial Ex. P571 (Warshaw Rep. at 29).
         348
             Id. at 15.
         349
             Trial Ex. P476 (Warshaw 2018 Update at 12–13).
         350
             Trial Ex. P571 (Warshaw Rep. at 4).
         351
             Id. at 31; Trial Ex. P476 (Warshaw 2018 Update at 10).
                                                 63
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     d. Polarization, representation, and trust in representatives

         Dr. Warshaw testified about political polarization and its impact on representation. He

  defined polarization as “the distance between the average preferences of members of the two

  parties.”352 He concluded that due to increased ideological polarization between Democratic and

  Republican members of Congress, Ohio Democratic voters who are disadvantaged by the

  districting scheme and represented by Republican congressmen are unlikely to have their views

  represented by their representatives in Congress; gerrymandering therefore negatively affects

  representation. He also found that “voters in gerrymandered states . . . trust their representatives

  less than voters in non-gerrymandered states.”353

     e. Proposed Remedial Plan

         Dr. Warshaw used the same data to analyze the Proposed Remedial Plan as he did with the

  2012 map and found that the Proposed Remedial Plan had far lower levels of partisan bias and

  higher levels of responsiveness than the 2012 map; it “had no substantial partisan bias.”354

     2. Dr. Wendy K. Tam Cho

         Dr. Wendy K. Tam Cho testified at trial for Plaintiffs as an expert witness. Dr. Cho is a

  full professor at the University of Illinois at Urbana-Champaign, and she holds appointments in

  several departments, including political science, statistics, and mathematics.355 Dr. Cho is also a

  Senior Research Scientist at the National Center for Supercomputing Applications at the

  University of Illinois.356 She has studied redistricting for thirty years and written extensively on




         352
             Dkt. 240 (Warshaw Trial Test. at 203).
         353
             Trial Ex. P571 (Warshaw Rep. at 4–5, 33, 37).
         354
             Id. at 5, 32–33, 43; Trial Ex. P476 (Warshaw 2018 Update at 14–15).
         355
             Trial Ex. P086 (Cho CV).
         356
             Id.
                                                  64
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  the topic through the lens of multiple academic disciplines.357 Dr. Cho previously testified as an

  expert in a partisan-gerrymandering case on behalf of defendants in Pennsylvania who were

  defending a map enacted by the Republican legislature in the Commonwealth; the court in that

  case qualified her as an expert.358 This Court qualified Dr. Cho as an expert in political science,

  political geography and redistricting, statistics and applied statistics, statistical modeling and

  sampling from unknown distributions, and the design of algorithms.359

         Dr. Cho testified about her analysis of the current map and its partisan characteristics as

  compared to a set of simulated maps that she generated. Dr. Cho used an Evolutionary Markov

  Chain Monte Carlo (“EMCMC”) algorithm360 to run a simulation on a supercomputer, and the

  algorithm generated 3,037,645 simulated maps.361          These maps incorporated only neutral

  redistricting criteria and no partisan data (she analyzed partisanship after generating the maps).362




         357
              See id.; Dkt. 242 (Cho Trial Test. at 134–37).
         358
              Dkt. 242 (Cho Trial Test. at 138–39).
          359
              Id. at 140–41. We note that Dr. Cho’s reports and testimony are subject to a Daubert
  motion, but Defendants have not objected to Dr. Cho’s qualifications. See Dkt. 148, 148-1
  (Intervenors’ Mot. to Exclude Cho).
          360
              The algorithm was written in the coding language C++. Dkt. 242 (Cho Trial Test. at
  155). Importantly, the code is separate and distinct from the algorithm. The algorithm is important
  because it represents the idea behind Dr. Cho’s analysis. The code implements the algorithm. Id.
  at 156. Dr. Cho has developed this algorithm and code over more than a decade. Id. at 156–57.
  Defendants raise various objections related to both the algorithm and code in this case.
          The Court overrules any objections related to Dr. Cho’s code. Although Intervenors
  complain that the code was not peer reviewed or tested for accuracy, Dr. Cho testified that it is not
  customary in the field of computer science to subject code itself, as opposed to algorithms, to peer
  review. Dkt. 243 (Cho Trial Test. at 95–97, 99–100, 127). Intervenors provide no evidence to the
  contrary. Moreover, Dr. Cho made her code available to Defendants’ and Intervenors’ expert
  witnesses in read-only form—and offered to make her code available in native format—to allow
  them to verify the code. Dkt. 246 (Thornton Trial Test. at 137–41); Trial Ex. IM073 at 2.
  Intervenors apparently decided not to have their experts verify the entirety of the read-only code.
  Nor did Intervenors take advantage of Dr. Cho’s offer to produce the native version of the code,
  and we therefore reject their complaint that the code was not tested for accuracy.
          361
              Trial Ex. P087 (Cho Rep. at 10).
          362
              Id. at 8–10.
                                                   65
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  Through this analysis, Dr. Cho was “trying to understand what would be a typical map that would

  emerge from a non-partisan [map-drawing] process.”363 Specifically, her analysis sought to

  determine whether neutral factors, primarily political geography, could explain the 12-4 outcome

  of the current map.

         Dr. Cho’s simulations can be analogized to a coin toss. For example, if you toss a coin

  1,000 times, and the coin lands on heads 582 times, that is one datapoint. If you flip the coin

  another 1,000 times, and the coin lands on heads 602 times, that is another datapoint. Running

  through this process many times (e.g., 3 million) provides a fuller picture of the typical outcomes.

  With a fair coin, outcomes of around 500-heads and 500-tails would be typical; 950-heads or even

  1,000-heads out of 1,000 flips are also theoretically possible, but such outcomes would be

  surprising if the coin tosses were done with a fair coin. In this redistricting context, Dr. Cho

  generated over 3-million simulated maps and then analyzed the seat share between the parties

  under each.    This process allowed her to compare how typical a 12-4 seat share between

  Republicans and Democrats would be under a neutral map-drawing process and, thus, to analyze

  whether it is likely that the 12-4 seat share can be explained by factors such as Ohio’s natural

  political geography.364 In short, Dr. Cho’s simulated maps are meant to provide a nonpartisan

  baseline against which to compare the current map.

         Dr. Cho’s methodology includes several key and related components.365               Dr. Cho’s

  EMCMC algorithm, which she used to generate the simulated maps, is grounded in the Markov




         363
              Dkt. 242 (Cho Trial Test. at 144).
         364
              See generally id. at 144–46.
          365
              Intervenors argue in their Daubert motion that Dr. Cho’s methodology is flawed. They
  contend that her algorithm has not been adequately peer reviewed, her results have not been tested
  or verified, she fails to offer an error rate or confidence level for her results, and her methodology
  has not been generally accepted by the scientific community. The Court rejects these arguments.
                                                   66
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           First, the algorithm has been sufficiently peer reviewed. The algorithm was the subject of
  a paper titled “A Massively Parallel Evolutionary Markov Chain Monte Carlo Algorithm for
  Sampling Complicated Multimodal State Spaces,” which was published as part of a peer-reviewed
  conference. Trial Ex. P086 (Cho CV at 2); Dkt.242 (Cho Trial Test. at 154); Dkt. 243 (Cho Trial
  Test. at 86–87). The idea behind the algorithm was peer-reviewed, which is the standard practice
  in computer science. Dkt. 243 (Cho Trial Test. at 86–88, 96–98, 126–27). Second, the lack of an
  error rate or confidence level is to be expected for an algorithm designed to draw a random sample
  from a complex, multimodal, unknown distribution. The entire point of the algorithm is to draw
  a sample from an unknown distribution, and if the distribution is unknown, logically, one cannot
  calculate an error rate or confidence level of the randomness of the sample. See Dkt. 243 (Cho
  Trial Test. at 93–94). The same answer applies to the argument that the algorithm is untested by
  other scientists in the community. It appears that the algorithm’s accuracy could not be tested on
  unknown distributions (the very type of distributions from which it is meant to sample); the point
  is that the theory behind the algorithm’s ability to sample from such distributions has passed peer
  review. Nonetheless, Dr. Cho tested the algorithm on a non-trivial data set with a known
  distribution and confirmed that the algorithm uniformly sampled that space (although she did not
  provide the results of that test). Id. at 93–95, 101. She also testified that other computer scientists
  could write their own code to implement her algorithm to test it on a known distribution. Id. at
  96–97. Defendants offered no evidence that any of their experts tested her algorithm against a
  known distribution and found it flawed. Finally, there is no evidence that the pertinent scientific
  community does not accept the use of algorithms to solve sampling problems. Indeed, Dr. Cho’s
  innovative algorithm is meant to meld two established types of algorithms—MCMCs and
  evolutionary algorithms—to permit optimizations heuristics to guide the movements of the
  Markov chains, resulting in a more efficient draw of a random sample from a complex, multimodal,
  unknown distribution. See id. at 55, 88, 151–52; Trial Ex. P087 (Cho Rep. at 6).
           Finally, the reliability of Dr. Cho’s methodology is bolstered by the fact that she developed
  this algorithm independently of her work in this case. The fact that she developed the algorithm
  and submitted it for peer review before tailoring it to and running it in this case shows that she did
  not develop her methodology solely for litigation purposes. Daubert v. Merrell Dow Pharm., Inc.,
  43 F.3d 1211, 1317 (9th Cir. 1995) (“That the testimony proffered by an expert is based directly
  on legitimate, preexisting research unrelated to the litigation provides the most persuasive basis
  for concluding that the opinions [s]he expresses were ‘derived by the scientific method.’”).
  Because Dr. Cho used the algorithm developed in the course of her work in reaching her opinions
  in this case, the Court is convinced that she “employ[ed] in the courtroom the same level of
  intellectual rigor that characterizes the practice of an expert in the relevant field.” Kumho Tire
  Co., Ltd. v. Carmichael, 526 U.S. 137, 152 (1999).
           For the reasons above, the Court rejects Intervenors’ general challenges to the methodology
  underlying Dr. Cho’s analysis. The Court discusses infra their more specific objection that Dr.
  Cho’s conclusions are entitled to no weight because she erred in setting the redistricting parameters
  for the algorithm in this particular case.
                                                    67
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  Chain Monte Carlo (“MCMC”) theorem.366 MCMC algorithms are a commonly used technique

  for sampling.367 In the redistricting context, a Markov Chain randomly walks from one simulated

  map to another, different simulated map.368 In Dr. Cho’s EMCMC, each movement of the Markov

  Chain is guided by optimization heuristics, which improve the Markov Chain’s “efficiency and

  effectiveness in the traversal of the search space.”369 The MCMC theorem, meanwhile, ensures a

  representative sample of the massive universe of possible maps.370 Lastly, Dr. Cho ran the

  algorithm on the University of Illinois’s Blue Waters supercomputer, which enabled the algorithm

  to output the sample of over 3-million simulated maps relatively quickly.371 All these components

  worked together to allow for the drawing of “a random and large sample of feasible electoral

  maps,” out of the much larger universe of feasible alternative maps.372

         Dr. Cho built in several constraints when she produced her simulated maps, and those

  constraints are what define a map as “feasible” in her simulation. Dr. Cho testified that she arrived

  at the constraining criteria by “look[ing] at the legislative record to see what the legislature was

  applying.”373 Primarily, Dr. Cho looked at State Representative Huffman’s statements in support

  of H.B. 319.374 Representative Huffman explained that the map considered compliance with the

  VRA, equal population, and “several other traditional redistricting principles”: “compactness,

  contiguity, preservation of political subdivisions, preservation of communities of interest,




         366
             Trial Ex. P087 (Cho Rep. at 6).
         367
             Dkt. 242 (Cho Trial Test. at 152).
         368
             Id. at 153; Trial Ex. P087 (Cho Rep. at 6).
         369
             Trial Ex. P087 (Cho Rep. at 6–7).
         370
             Dkt. 242 (Cho Trial Test. at 152–53); Trial Ex. P087 (Cho Rep. at 6–7).
         371
             Trial Ex. P087 (Cho Rep. at 5–7); Dkt. 242 (Cho Trial Test. at 151, 155); Dkt. 243 (Cho
  Trial Test. at 69).
         372
             See Trial Ex. P087 (Cho Rep. at 7).
         373
             Dkt. 242 (Cho Trial Test. at 158).
         374
             Id. at 160–61.
                                                   68
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  preservation of cores of prior districts, and protection of incumbents.”375 In regards to incumbent

  protection, Representative Huffman described that criterion as “a subservient one to the other ones

  that [he] listed”376 and further explained that, “[n]obody has a district. . . . There’s nobody that

  owns a piece of land in Congress. People elect them.”377 From this record, Dr. Cho decided to

  employ the following constraints: the creation of a minority district,378 county and city

  preservation,379 population equality,380 and compactness. Because she concluded from State



         375
               See Trial Ex. J01 (Ohio House Session, Sept. 15, 2011 at 17–18) (statement of Rep.
  Huffman).
         376
               Id. at 19.
         377
               Id. at 21.
           378
               Dr. Cho drew a district with a Black Voting Age Population (“BVAP”) of at least 45%
  in the Cleveland area. This constraint is based on the recommendation of Plaintiffs’ expert Dr.
  Lisa Handley. See Trial Ex. P087 (Cho Rep. at 8). Intervenors lodge a variety of objections to
  and arguments against this 45% figure. We address these arguments in our discussion of Dr.
  Handley’s report and testimony, see infra Section II.C.4., and in our analysis of the purported VRA
  justification for District 11, see infra Sections V.A.2.d.iii., V.C.2.b.ii. Dr. Cho did not include
  any “upper bound” on the maximum BVAP for the minority district. Dkt. 242 (Cho Trial Test. at
  159–60).
           379
               The current map splits twenty-three counties and Dr. Cho’s simulated maps split no
  more than twenty-three counties; the current map preserves 96.78% of cities, and Dr. Cho’s
  simulated maps preserve cities at least at the same rate. Id. at 162; Trial Ex. P087 (Cho Rep. at 8–
  9). We also note that “communities of interest” may be an amorphous phrase, but one way to
  account for this factor is preserving municipalities and counties. See, e.g., Graham v. Thornburgh,
  207 F. Supp. 2d 1280, 1294–95 (D. Kan. 2002).
           380
               Dr. Cho’s simulated maps allow for a population deviation of up to 1%, or about 7,000
  people (not voters). Dkt. 242 (Cho Trial Test. at 167); see also Dkt. 243 (Cho Trial Test. at 25).
  This deviation is different from the current map, which achieves perfect equality (plus or minus
  one person), because the simulated maps are constructed at the precinct level—the lowest level for
  which partisan data are available—to allow for a more accurate analysis of partisan effect. Trial
  Ex. P087 (Cho Rep. at 9). To achieve perfect equality, like the current map, would require splitting
  precincts, which, in turn, would hinder the partisan-effect analysis. Dkt. 242 (Cho Trial Test. at
  165–66).
           We find that Dr. Cho’s use of a 1% population deviation does not undermine her analyses
  in any significant way, and we overrule the objections on this point. Dr. Cho aimed, in part, to
  measure partisan effects, and this assessment was best done with the 1% deviation. For the
  simulated maps to achieve perfect equality would require moving, at most, 3,500 people in any
  given district, not all of whom would be voters; and even if all 3,500 people were voters, all of
  them would need to vote for the same party in order to have any possibility of swinging an election.
  That is unlikely. Dkt. 242 (Cho Trial Test. at 167–68). Accordingly, we are not persuaded that
                                                  69
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  Representative Huffman’s statement that incumbent protection was not a goal of the legislature

  when drafting the enacted map, Dr. Cho did not include as a constraint the avoidance of pairing

  incumbents.381

         After generating the 3,037,645 simulated maps based on only neutral criteria, Dr. Cho

  engaged in two overarching analyses using partisan data. Again, this use of partisan data came

  into play only after the simulated maps were produced. First, she engaged in a Plaintiff-specific

  analysis. Second, she examined the partisan unfairness of the map as a whole by comparing its

  partisan characteristics to the partisan characteristics of the set of simulated maps.

     a. Plaintiff-specific analysis

         Dr. Cho was given the home addresses of each individual Plaintiff, which allowed her to

  determine where each Plaintiff would live in each simulated map and to compare each Plaintiff’s

  current district with each Plaintiff’s set of simulated districts. Dr. Cho “compute[d] the average

  Democratic vote share for the plaintiff’s current district by calculating the average Democratic

  vote share in that district for congressional races from 2012 to 2016 . . . .”382 For the simulated

  maps, Dr. Cho “calculate[d] the average Democratic vote share for the plaintiff’s [simulated]

  district . . . with the 2008-2010 statewide election data.”383 These data included eight statewide

  races: the 2008 presidential race, the 2010 U.S. Senate race, the 2008 and 2010 Attorney General




  the 1% deviation significantly undermines any of Dr. Cho’s conclusions that the 12-4 split of the
  current map cannot be explained by the equal-population requirement.
          381
              Dkt. 242 (Cho Trial Test. at 171–77). Defendants argue that incumbent protection was
  one of the main pillars upon which the 2012 map was built. The Court, as factfinder, will address
  the extent to which the General Assembly considered incumbent protection, and how that
  conclusion impacts the weight given to Dr. Cho’s analysis infra Section V.A.2.b. The Court will
  also assess the validity of various types of incumbent protection infra Sections V.A.2.d., V.C.2.b.i.
          382
              Trial Ex. P087 (Cho Rep. at 11).
          383
              Id.
                                                   70
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  races, and the 2010 Governor, Auditor, Secretary of State, and Treasurer races. 384 Dr. Cho used

  statewide races to “avoid issues with district-specific factors and provide[] greater comparability

  across the state as a whole.”385 From there, Dr. Cho compared the likelihood of electing a

  Democratic candidate in each Plaintiff’s simulated districts with the likelihood of electing a

  Democratic candidate in their current district.386 We provide a fuller discussion of these findings

  in Section III.A., but we will provide two illustrative examples here. Some Plaintiffs, such as

  Plaintiff Goldenhar, live in allegedly cracked districts. Dr. Cho’s analysis showed that “[a]mong

  the set of simulated maps, 95.68% of them would have placed Plaintiff Goldenhar in a district that

  would have provided a higher likelihood of electing a Democrat.”387 That, is 95.68% of the

  simulated maps placed Plaintiff Goldenhar in a district with a higher average Democratic vote

  share. Other Plaintiffs, such as Plaintiff Inskeep, live in allegedly packed districts. Dr. Cho’s

  analysis showed that “none of [the simulated maps] would have placed Plaintiff Inskeep in a

  district that would have provided a higher likelihood of electing a Democrat.”388 That is, 0% of

  the simulated maps placed Plaintiff Inskeep in a district with a higher average Democratic vote

  share.




             Id. We address objections to Dr. Cho’s use of these data in our discussion of Dr.
           384

  Thornton’s rebuttal. See infra Section II.D.2.a.
         385
             Trial Ex. P087 (Cho Rep. at 11).
         386
             See id. at 13–30; see also Trial Ex. P426 (Cho Suppl. Rep. at 7, fig. 4) (providing
  updated analysis based on 2018 election data, as well as other election data).
         387
             Trial Ex. P087 (Cho Rep. at 13).
         388
             Id. at 15.
                                                  71
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     b. Partisan unfairness analysis

         In addition to her Plaintiff-specific analysis, Dr. Cho examined the partisan outcomes of

  her simulated maps as compared to the current map, which allowed her to assess partisan effect.

  At a high-level, Dr. Cho assessed competitiveness389 and partisan bias using multiple metrics.390

         i.      Competitiveness

         Dr. Cho “consider[ed] a district to be competitive if the margin of victory, or the difference

  between the Republican two-party vote share and the Democratic two-party vote share, is 1) within

  5 percentage points and 2) within 10 percentage points.”391 Dr. Cho concludes that “[a]t the 5%

  margin of victory, the simulated maps generally have between 2–6 competitive seats,” and that

  “[f]or both parties, [winning] 1–3 seats with a margin of victory within 5% [is] not unusual.”392

  Meanwhile, the current map produced three competitive elections within a 5% margin of victory,

  one in 2012 (District 16) and two in 2018 (Districts 1 and 12), and the Republican won each. 393

  Additionally, one other election in 2012 (District 6) was competitive at the 10% margin of

  victory.394 Under the simulated maps, “often, 9 of the seats are competitive at the 10% margin of

  victory”; the next most common result was 8 competitive seats.395 Three or four of these

  competitive seats (at the 10% margin of victory) generally favor Republicans, and four to six

  generally favor Democrats.396 In her supplemental report, Dr. Cho provides further analysis of



         389
              State Senator Keith Faber, a Republican, speaking in support of H.B. 319, stated that
  “competitiveness in and of itself is not an end-all be-all. It is not one of the requirements that we
  have to draw by. However, it is a factor.” Trial Ex. J03 (Ohio Senate Session, Sept. 21, 2011 at
  13) (statement of Sen. Faber).
          390
              Trial Ex. P087 (Cho Rep. at 31–32); Dkt. 242 (Cho Trial Test. at 186–87).
          391
              Trial Ex. P087 (Cho Rep. at 33).
          392
              Id. at 34–35.
          393
              See Trial Ex. P426 (Cho Suppl. Rep. at 5, tbl. 4).
          394
              Id.
          395
              Trial Ex. P087 (Cho Rep. at 34).
          396
              Id. at 35.
                                                   72
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  competitiveness based on the 10% margin of victory. “For the 2012–2014 data, 2–3 of the

  competitive seats were commonly Republican while 3–5 of the competitive seats were commonly

  Democratic.”397 In 2018, that number remained the same for Republicans, but competitive seats

  that leaned Democratic decreased to three or four.398

          Based on her analysis of competitiveness, Dr. Cho concludes that “[t]he Republican

  margins across the entire set of districts [in the current map] are large enough that they are

  sufficiently insulating to produce an enduring effect.”399 Moreover, she concludes that because of

  “the difference in the competitiveness, via several different measures,[ 400] of the simulated maps

  versus the current map, it seems that competitiveness was almost a non-existent factor if one at all

  in the construction of the enacted map since the current districts lean so heavily toward one

  party.”401




          397
              Trial Ex. P426 (Cho Suppl. Rep. at 4).
          398
              Id.
          399
              Id. at 6. She arrives at this conclusion, in part, after observing that in the two competitive
  2018 elections, the Democratic challengers noticeably outspent their Republican-incumbent
  opponents. Id. at 5–6, tbl. 5.
          400
              Dr. Cho also captures the total number of competitive seats combined with how many
  of the competitive seats each party wins in a single metric, which has been presented in two of her
  publications. Dkt. 242 (Cho Trial Test. at 196–97); Trial Ex. P087 (Cho Rep. at 36). Dr. Cho
  employed this metric only after creating the maps, i.e., competitiveness was not a factor in how
  the simulated maps were drawn. Dkt. 242 (Cho Trial Test. at 196–98). Under this metric,
  competitiveness scores range from zero to one, and at zero, “competitiveness is maximized
  because 1) the number of Republican votes and the number of Democratic votes is the same and
  2) the number of districts where Republicans dominate and the number of districts where the
  Democrats dominate is identical.” Trial Ex. P087 (Cho Rep. at 36). Figure 23 in Dr. Cho’s initial
  report shows that the current map is less competitive compared to the simulated maps; whereas
  most of the simulated maps score between 0.09 and 0.11, the current map scores 0.16 under this
  competitiveness metric. See id. at 37, fig. 23. We consider this specific metric only for Dr. Cho’s
  conclusion that competitiveness was seemingly a “non-existent factor” in drawing the current map.
  Dr. Cho’s other analyses of competitiveness, however, go to that conclusion and her separate
  conclusion that the lack of competitiveness across districts produces an enduring partisan effect.
          401
              Trial Ex. P087 (Cho Rep. at 37).
                                                     73
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         ii.     Responsiveness and bias

         In her initial report, which utilized 2008-2010 election data, Dr. Cho assessed the

  responsiveness and bias in the simulated maps compared to the current map using two measures

  based on the seats-votes curve (which shows how, as the proportion of votes a party receives

  increases, so too should that party’s seat share).402 When Dr. Cho measured responsiveness, she

  produced her results in a histogram in which, as the values along the x-axis increase (from left to

  right), the responsiveness increases; thus, maps falling along the right of the x-axis are more

  responsive than those on the left.403 Dr. Cho concludes that the current map is “less responsive

  than almost all of the simulated maps.”404

         Dr. Cho employed a symmetry measure to assess biasedness. This measure is grounded in

  the concept that “both parties should expect to receive the same number of seats given the same

  vote proportion.”405 Dr. Cho again produces her results in a histogram. “Here, a value of zero [in

  the middle of the x-axis on the histogram] is unbiased.”406 Positive values to the right of zero

  indicate a Republican bias, and negative values to the left indicate a Democratic bias. 407 Dr. Cho

  finds that, although most of the simulated maps “have a Republican tilt[,] . . . the tilt toward

  Republicans is larger in the current map than it is for the simulated maps.”408 Indeed, some of the

  simulated maps were neutral and some even had a Democratic tilt; at any rate, H.B. 369 is far to

  the right of the simulated maps’ Republican tilt as presented in figure 26.409




         402
             See id. at 37–40.
         403
             Id. at 39; Dkt. 242 (Cho Trial Test. at 199–200).
         404
             Trial Ex. P087 (Cho Rep. at 38).
         405
             Id. at 39.
         406
             See id. at 39–40, fig. 26.
         407
             See id.
         408
             Id. at 39.
         409
             Id. at 40, fig. 26.
                                                  74
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         iii.     Seat share

         Dr. Cho also compared the seat share between the parties from the current map to the seat

  share in her simulated maps. Based on the use of 2008 and 2010 election data, “none of the

  [simulated] maps in [Dr. Cho’s] sample had the same 12-4 seat share as in the challenged map.”410

  Furthermore, figure 19 of Dr. Cho’s initial report shows that the most common outcome in the

  simulated maps was eight or nine Republican seats, at about 1.3 million and 1.2 million

  respectively.411 Just over 250,000 of the simulated maps produced a 10-6 seat share in favor of

  Republicans,412 and some of the simulated maps even produced six or seven Republican seats.413

  Very few of the simulated maps produced an 11-5 seat share, but that outcome is barely visible in

  figure 19.414

         Dr. Cho performed the same analysis using 2012-2014 data and 2018 data in her

  supplemental report. This analysis shows that over the decade, a 9-7 seat share in favor of

  Republicans became the most common partisan outcome in the simulated maps.415 An 8-8 seat

  share is the second most common outcome, but by 2018, the number of 8-8 outcomes was about

  equal to the number of 10-6 outcomes.416 “Eleven [Republican] seats occurred 0.12% of the time

  in the 2008-2010 analysis, 0.20% of the time in the 2012-2014 analysis, and 1.88% of the time in

  the 2018 analysis.”417 Finally, using the 2018 data, “a small number of maps, 1,445 out of more

  than 3 million total maps (0.046%) had, like the current map, 12 Republican seats.”418



         410
             Id. at 40.
         411
             Id. at 33; Dkt. 242 (Cho Trial Test. at 188).
         412
             Trial Ex. P087 (Cho Rep. at 33); Dkt. 242 (Cho Trial Test. at 188).
         413
             Trial Ex. P087 (Cho Rep. at 33, fig. 19).
         414
             Id.; Dkt. 242 (Cho Trial Test. at 188).
         415
             See Trial Ex. P426 (Cho Suppl. Rep. at 3, fig. 1); Dkt. 242 (Cho Trial Test. at 190–91).
         416
             See Trial Ex. P426 (Cho Suppl. Rep. at 3, fig. 1); Dkt. 242 (Cho Trial Test. at 191).
         417
             Trial Ex. P426 (Cho Suppl. Rep. at 3).
         418
             Id.
                                                 75
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     3. Dr. J. David Niven

          Dr. J. David Niven testified at trial for Plaintiffs as an expert witness. Dr. Niven is a

  tenured associate professor of political science at the University of Cincinnati, and he has a

  doctorate in political science from The Ohio State University.419 He teaches a variety of classes,

  including on the U.S. Congress and congressional elections, government and politics in Ohio, and

  political parties, among others.420 Dr. Niven’s scholarship focuses on questions of congressional

  representation and elections, public opinion, and voting preferences, and he has published in peer-

  reviewed journals and book chapters on these topics but not on redistricting and gerrymandering

  specifically.421 Before writing his reports in this case, Dr. Niven had never used census tracts

  specifically, though he had “used a variety of census data points in understanding the makeup of

  districts as a whole.”422 Also before writing his reports in this case, Dr. Niven had never tried to

  identify boundaries for communities of interest.423 This Court admitted Dr. Niven as an expert in

  political science, subject to Defendants’ Daubert motion.424

         Dr. Niven’s report and testimony assessed the current map’s makeup and the degree to

  which the districts divide communities of interest and reflect the political preferences of local



         419
              Trial Ex. P525 (Niven CV).
         420
              See id.; Dkt. 242 (Niven Trial Test. at 5).
          421
              Trial Ex. P525 (Niven CV); Dkt. 242 (Niven Trial Test. at 6, 72).
          422
              Dkt. 242 (Niven Trial Test. at 72–73).
          423
              Id. at 72. Again, “communities of interest” is an amorphous term, but one way to
  account for this factor is preserving municipalities and counties. See Graham, 207 F. Supp. 2d at
  1294–95. As will be explained, Dr. Niven, in part, examined municipal and county splits. Mr.
  Cooper agreed that counties and municipal subdivisions are “a more objective way to identify a
  community of interest.” See Dkt. 241 (Cooper Trial Test. at 148). Moreover, the Intervenors’
  expert, Dr. Brunell, agreed that “[t]here is no clear definition of what constitutes a community of
  interest, but cities and counties are generally characterized as such.” Trial Ex. I-060 (Brunell Rep.
  at 16).
          424
              See id. at 9; see also Dkt. 154 (Defs.’ Mot. to Exclude Niven). We deny Defendants’
  motion, but as explained here and in our later analysis, we give greater weight and credit to certain
  portions of Dr. Niven’s report and testimony than others.
                                                   76
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  residents. He undertook this examination by analyzing census tracts425 that were either kept intact

  or split and by using the election data contained in “the 2010 Ohio Common and Unified

  Redistricting Database (‘OCURD’)” that was available to the map drawers during the 2011

  redistricting.426 Dr. Niven used census tracts as a basis for his analysis because they represent “a

  compact delineation of people who live in common geographic, cultural, and economic

  circumstance.”427

         Dr. Niven finds that between the 2002 redistricting plan and the 2012 redistricting plan,

  the number of census tracts split between multiple congressional districts rose from 209 to 332

  (out of approximately 3,000 census tracts).428 Dr. Niven further finds that census tracts kept intact

  had an average Republican composition of 52.14%, whereas split census tracts had a higher

  composition of Democratic voters, with Republicans averaging 49.25% in split census tracts. 429

  We note that Dr. Thornton reaches slightly different results on the partisan makeup of these census

  tracts and that there is a debate about the statistical significance of these results. See infra Section

  II.D.2.b. (discussing this issue). Nevertheless, both experts agree that split census tracts lean

  Democratic and intact census tracts lean Republican, and both agree that the number of census

  splits increased in the current map from the prior one.



         425
              A census tract is a “small, relatively permanent statistical subdivision of a county or
  equivalent entity . . . .”                   See U.S. CENSUS BUREAU, GLOSSARY, at
  https://www.census.gov/programs-surveys/geography/about/glossary.html#par_textimage_13
  (“Census tract boundaries generally follow visible and identifiable features. They may follow
  nonvisible legal boundaries, such as minor civil division (MCD) or incorporated place boundaries
  in some states and situations, to allow for census-tract-to-governmental-unit relationships where
  the governmental boundaries tend to remain unchanged between censuses.”)
          426
              Trial Ex. P524 (Niven Rep. at 1–2); see also Dkt. 242 (Niven Trial Test. at 11–15).
          427
              Trial Ex. P524 (Niven Rep. at 5).
          428
              Id. at 5–6; Dkt. 242 (Niven Trial Test. at 18); see also Dkt. 242 (Niven Trial Test. at 77)
  (Dr. Niven stating on cross-examination that he would not be surprised that 88.75% of all census
  tracts were kept whole).
          429
              Trial Ex. P524 (Niven Rep. at 6).
                                                    77
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         We credit Dr. Niven’s census-tract analysis to the extent that it shows some differential

  treatment between Republican and Democratic voters, and we observe that this difference is

  consistent with the nature of other splits (not involving census tracts) present in the current map.

  We do not give any significant weight to just the raw number of splits, without any further context.

  For example, census tracts could contain more than one municipality, so a split census tract could

  nonetheless keep its component municipalities intact.430

         In his response to Dr. Thornton, Dr. Niven also shows that, using a four-election index,431

  9.4% of Republican census tracts and 13.8% of Democratic census tracts were split among

  multiple congressional districts.432 Using an eight-election index,433 9.7% of Republican census

  tracts and 13.5% of census tracts were split.434 In sum, split census tracts leaned Democratic, and

  census tracts with more Democratic voters were also more likely to be split into multiple

  congressional districts than census tracts with more Republican voters.435

         After his statewide analysis,436 Dr. Niven discussed particular districts. His report focuses

  on Hamilton County (Districts 1 and 2), District 9, Franklin County (Districts 3, 12, and 15), and

  Summit County (Districts 11, 13, 14, and 16). Dr. Niven’s report also surveys political science



         430
              See Dkt. 242 (Niven Trial Test. at 105).
         431
               The four-election index includes the 2008 presidential election, and the 2010
  gubernatorial, attorney general, and auditor elections. See Trial Ex. P526 (Niven Resp. at 1 n.3).
          432
              Id. at 2. A Republican census tract is one that scored 0.50 or higher on the four-election
  index; a Democratic census tract is one that scored 0.499 or lower. Id.
          433
               This index included those elections in the four-election index and four additional
  elections: the 2008 attorney general election, and the 2010 secretary of state, treasurer, and U.S.
  Senate elections. Id. at 1–2 n.5.
          434
              Id. at 2–3.
          435
              Dr. Niven elaborated on these findings at trial. See generally Dkt. 242 (Niven Trial
  Test. at 20–23).
          436
              Dr. Niven’s analysis regarding the location of congressional offices could benefit from
  further explanation. Trial Ex. P524 (Niven Rep. at 4). For example, there is no explanation as to
  whether Democratic constituents were burdened more than Republican constituents. Accordingly,
  we do not consider this specific portion of Dr. Niven’s report and testimony.
                                                   78
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  literature that shows that, when neighborhoods are divided into different districts, campaign efforts

  become “more complicated and less efficient . . . .”437 Dr. Niven similarly testified at trial that

  “the political science literature is very clear that the more you subject a neighborhood to political

  splitting, . . . it has a demobilizing effect. . . . It’s harder for parties and other entities to go into a

  neighborhood and activate voters when those voters live in separate districts and, therefore, are

  responding to separate candidates.”438

          a. Hamilton County: Districts 1 and 2

          Dr. Niven began his analysis of Hamilton County with District 1. He notes that District 1

  swung back and forth between electing Republicans and Democrats under the prior map and that

  one “academic analysis deemed [District 1] a ‘textbook example of a marginal district.’”439 After

  redistricting, that has not been the case. Dr. Niven’s analysis shows, for example, that in 2008

  President Obama won the old District 1 with 55.17% of the vote compared to Senator John

  McCain’s 44.83%. By contrast, the same election under the current District 1, which splits

  Cincinnati and more of Hamilton County than under the old District 1, results in a 52.3% to 47.7%

  win for Senator McCain.440 The new District 1 both split Hamilton County and added the whole

  of Warren County, which votes heavily Republican (and voted heavily for Senator McCain in the

  2008 presidential election).441 Using an index that incorporates a wider array of elections (“Dr.




          437
              Id. at 5.
          438
              Dkt. 242 (Niven Trial Test. at 12); see also id. at 38.
          439
              Trial Ex. P524 (Niven Rep. at 6) (citation omitted).
          440
              Id. at 8.
          441
              See id. at 7; Dkt. 242 (Niven Trial Test. at 27, 30).
                                                      79
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  Niven’s index”),442 he found that Republican candidates averaged 42.07% of the vote in the old

  District 1, but that index percentage increased to 51.89% in the new District 1.443

          Meanwhile, District 2 was and remains safely Republican, but fourteen Cincinnati

  neighborhoods are divided between Districts 1 and 2.444 Dr. Niven explains that “Cincinnati is

  unusual in its commitment to formally recognizing and building policy around the city’s 52

  neighborhoods. Indeed, the city’s economic development strategy is built around the individual

  needs and assets of individual neighborhoods . . . .”445 He notes that “while the rest of Hamilton

  County gave 52.19% of its vote” to President Obama in 2008, “the Cincinnati neighborhoods

  divided between the 1st and 2nd districts gave 59.37% of their vote” to President Obama in that

  election.446   Looking at those same neighborhoods under Dr. Niven’s index, the “split

  neighborhoods gave more than 75% of their vote to Democratic candidates” and the percentage

  for the rest of Hamilton County was about 45%.447 Dr. Niven testified that “the 2nd District

  becomes something of a donor district. It had more Republicans than was needed to ensure a safe

  district.”448 In short, Cincinnati and these neighborhoods supported Democratic candidates, and

  they are split between Districts 1 and 2; District 2 already contained a large Republican majority,

  and thus it could take on those Democratic voters without putting a Republican candidate at any

  material risk of losing.




          442
             This index included the OCURD data and the 2008 presidential election, and the 2010
  gubernatorial, attorney general, and auditor elections. Trial Ex. P524 (Niven Rep. at 2).
         443
             Trial Ex. P524 (Niven Rep. at 8).
         444
             Id. at 12.
         445
             Id. at 11; see also Dkt. 242 (Niven Trial Test at 36) (“[C]andidates campaign to and for
  those neighborhoods.”).
         446
             Trial Ex. P524 (Niven Rep. at 13).
         447
             Id.
         448
             Dkt. 242 (Niven Trial Test. at 33); see also id. at 34–35.
                                                  80
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         Throughout his report, Dr. Niven highlighted certain district boundary lines in which the

  lines divide census tracts populated by Democratic voters. In the case of his example for Hamilton

  County, the split census tract “is overwhelmingly populated by Democrats” per Dr. Niven’s

  index.449

         b. District 9

         Dr. Niven emphasizes that “[o]ne of the defining aspects of the 9th Congressional district

  is its comprehensive propensity to divide communities.”450 In fact, District 9 contains no whole

  counties and five partial counties—Cuyahoga is split between District 9 and three other districts,

  Lorain is split between District 9 and two other districts, and Erie, Lucas, and Ottawa are split

  between District 9 and one other district.451 Dr. Niven further explains that “[i]n its economic

  development efforts, the state of Ohio places Cleveland and Toledo in separate regions,” and thus,

  in combination with other cultural differences between Cleveland and Toledo, District 9

  “combines quite disparate communities.”452       Dr. Niven’s illustrative example of a suspect

  boundary for District 9 is in Lorain County, and the boundary divides a census tract that is heavily

  Democratic and more Democratic than the rest of Lorain County.453 Moreover, each county in

  District 9 voted Democratic in the 2008 presidential election and leaned Democratic under Dr.

  Niven’s index.454




         449
             Trial Ex. P524 (Niven Rep. at 9–11). We give these particular examples some weight,
  though they seem to be simply illustrative of the overall trends, which are more important, found
  by Dr. Niven.
         450
             Id. at 15.
         451
             Id.
         452
             Id. at 16–17; see also Dkt. 242 (Niven Trial Test. at 42–44).
         453
             Trial Ex. P524 (Niven Rep. at 16).
         454
             Id. at 19.
                                                  81
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         c. Franklin County: Districts 3, 12, and 15

         Dr. Niven finds that Franklin County both packs (District 3) and cracks (Districts 12 and

  15) Democratic voters.455 Dr. Niven ultimately concludes that “what was achieved in these rather

  odd-looking districts is that a very Democratic County [Franklin County] winds up with two

  Republican representatives . . . out of its three members of Congress.” 456 On cross-examination,

  Dr. Niven acknowledged that under the prior map, Franklin County was split into three districts

  and that Republican candidates for Congress usually won, with some exceptions, the elections in

  those districts.457 As will be discussed in more detail in the analysis, although this redrawing

  seemingly adds a Democratic district where there previously was not one, it was part of an overall

  strategy to solidify Republican districts and reduce the statewide number of Democratic districts.

         He begins his analysis with District 15, a District which was competitive in 2006 and was

  won by a Democratic candidate for Congress in 2008.458 Dr. Niven’s analysis shows President

  Obama carried the old District 15 by about 29,000 votes, but the same election in the new District

  15 would result in Senator McCain winning by 21,000 votes; under Dr. Niven’s index, the old

  District 15 was nearly evenly split between Democratic and Republican supporters, with a very

  slight Democratic lean, and the new District 15 leans Republican.459 Dr. Niven notes that nine out

  of the ten counties added to District 15 in the 2011 redistricting process “were inclined to support

  Republican candidates.”460 Additionally, the portions of three of the four split counties within

  District 15 leaned heavily Republican in the prior decade, except for the portion of Franklin County




         455
             Id.; Dkt. 242 (Niven Trial Test. at 46).
         456
             Dkt. 242 (Niven Trial Test. at 46).
         457
             Id. at 100–01.
         458
             Trial Ex. P524 (Niven Rep. at 19); Dkt. 242 (Niven Trial Test. at 47).
         459
             Trial Ex. P524 (Niven Rep. at 22).
         460
             Id.
                                                  82
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  in District 15, which voted 50.52% in favor of Senator McCain and scored a 0.5237 (leaning

  Republican) under Dr. Niven’s index.461 The portions of those same counties not within District

  15, however, had: a less-strong Republican tilt (Fayette County), were competitive (Ross County),

  or leaned heavily Democratic (Franklin County).462 He also finds that the new District 15 split

  seventy-two census tracts (with fifty-eight in Franklin County), but the old District 15 split forty-

  one (all in Franklin County).463 In sum, Dr. Niven concludes that Democratic-leaning areas were

  removed from the old District 15, while Republican-leaning areas were added, together resulting

  in a “net gain of more than 40,000 votes for the Republicans.”464

            District 12 under either the 2008 presidential election results or Dr. Niven’s index went

  from a leaning-Democratic district in the prior decade to a strongly-Republican district under the

  current map.465 Dr. Niven’s analysis shows that Democratic-leaning voters in Franklin County

  were removed from District 12 and Republican-leaning voters were added, resulting in a new gain

  of 60,518 Republican voters (using the 2008 presidential election data).466 He further finds that

  census tract splits increased from forty-eight to sixty-one between the prior map and the current

  map.467

            District 3 is the final Franklin County district addressed by Dr. Niven. He concludes that

  District 3 “is a classic packing example” because it received Democratic voters from Districts 12

  and 15.468 Dr. Niven emphasizes the odd, jagged shape of District 3, and he testified that he




            461
                Id. at 22, 24.
            462
                Id.
            463
                Id. at 20.
            464
                Id. at 24; see also id. at 24 n.57.
            465
                See id. at 25.
            466
                Id.
            467
                Id.
            468
                Dkt. 242 (Niven Trial Test. at 54); see also Trial Ex. P524 (Niven Rep. at 26).
                                                    83
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  included specific, street-level examples of odd lines in his report because “when we look statewide,

  . . . it’s hard to appreciate in the most granular detail the number of cuts necessary to achieve these

  effects.”469 Overall, he found that “14 out of 16 cities in Franklin County are split between multiple

  [congressional] districts.”470 In responding to Intervenors’ expert Dr. Brunell’s view that “funny

  shaped districts are inevitable,” see infra Section II.D.3., Dr. Niven testified that, in this case, the

  “funny shapes” were “a strategic choice” and that they are “an illustration of division . . . imposed

  with a partisan tinge such that democrats are far more likely to have found themselves in the midst

  of these cuts and divides.”471

          Dr. Niven explained how gerrymandered district lines can cause confusion. For example,

  Dr. Niven found that in Franklin County, voters showed up to the polls for the 2018 special

  election, only to find out that they did not in fact live in District 12.472 As it turned out, election

  officials had mis-assigned more than 2,000 people to the wrong congressional district, and the

  Franklin County Board of Elections took more than 4,000 calls (and received hundreds of emails)

  from confused voters who could not cast a ballot or whose polling locations were closed.473

          d. Summit County: Districts 11, 13, 14, and 16

          Summit County’s population is small enough such that it could be placed within a single

  congressional district—yet Summit County is divided into four congressional districts. (The prior

  map split Summit County into three districts.) Using either the 2008 presidential election or Dr.



          469
             Dkt. 242 (Niven Trial Test. at 56); see also id. at 57 (“without zooming in a little bit,”
  according to Dr. Niven, “you can’t appreciate the degree to which . . . street by street, house by
  house, people can be divided . . . .”); see also Trial Ex. P524 (Niven Rep. at 26–27).
         470
             Trial Ex. P524 (Niven Rep. at 28).
         471
             Dkt. 242 (Niven Trial Test. at 57–58); Trial Ex. P526 (Niven Resp. at 3).
         472
             Trial Ex. P524 (Niven Rep. at 27–28 & nn.59, 61–63). Dr. Niven relied on news
  coverage, as he typically does in his scholarship, for this portion of his report and testimony. See
  Dkt. 242 (Niven Trial Test. at 60); see also FED. R. EVID. 803(18).
         473
             See Trial Ex. P524 (Niven Rep. at 27–28 & nn.59, 61–63).
                                                    84
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  Niven’s index, Dr. Niven’s analysis shows that Summit County leaned Democratic.474 He also

  finds that census tract splits increased from twenty-seven under the prior map to fifty-five under

  the current map.475

         As for the particular districts in Summit County, Districts 11 and 13 have consistently

  elected Democratic candidates to Congress under the current map, whereas Districts 14 and 16

  have consistently elected Republican candidates. Consistent with these results, using either 2008

  presidential election data or Dr. Niven’s index, Dr. Niven’s analysis shows that voters placed into

  Districts 11 and 13 leaned heavily in favor of Democratic candidates; meanwhile, voters placed

  into Districts 14 and 16 were almost evenly divided in the 2008 presidential election, and under

  Dr. Niven’s index, the voters placed in these Districts leaned Republican.476 Lastly, Dr. Niven

  finds that split census tracts leaned more Democratic than census tracts kept intact in Summit

  County, and he therefore concludes that “Summit County residents were not equally apt to have

  their neighborhoods divided between districts – as more heavily Democratic areas were more

  likely to be divided.”477

     4. Dr. Lisa Handley

         Dr. Lisa Handley, an election consultant who works on voting rights and redistricting,

  testified for Plaintiffs as an expert witness.478 She has taught and lectured on voting rights and

  redistricting and has published articles and books on these subjects.479 She has served as a




         474
              Trial Ex. P524 (Niven Rep. at 29) (noting that President Obama won Summit County
  by about 41,000 votes in 2008 and that Dr. Niven’s index scores Summit County as 0.4065, or,
  put differently, only 40.65% Republican).
          475
              Id.
          476
              Id. at 31–32.
          477
              Id. at 32.
          478
              Dkt. 240 (Handley Trial Test. at 132–33).
          479
              Id. at 133.
                                                  85
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  redistricting consultant, aiding jurisdictions to draw lines in compliance with the VRA.480 She has

  also served as an expert witness performing racial bloc voting analyses in cases in which districting

  plans are challenged under Section 2 of the VRA.481 She has been hired as an expert by the

  Department of Justice in five cases and has provided expert testimony in over twenty cases

  throughout her career.482 The Court qualified Dr. Handley as an expert in the VRA, including on

  racially polarized voting and analysis of such voting patterns.483



         480
              Id. at 134.
         481
              Id.
          482
              Id. at 135.
          483
              Id. at 135–136. Intervenors filed a Motion to Exclude the Expert Report and Testimony
  of Dr. Handley prior to trial and maintained their objections at trial. Dkt. 152-1 (Intervenors’ Mot.
  to Exclude Handley); Dkt. 240 (Handley Trial Test. at 136). Intervenors argued that Dr. Handley’s
  report and testimony were irrelevant because the case at bar is a partisan-gerrymandering case, not
  a VRA case. They also argued that her report and testimony were improper because they relied on
  data post-dating the drawing of the 2012 plan and failed to include a confidence interval. Dkt.
  152-1 (Intervenors’ Mot. to Exclude Handley at 1–2). We address each argument in turn.
          First, we reject Intervenors’ argument that the Section 2 analysis is irrelevant. It is true
  that Plaintiffs have challenged the 2012 map as an unconstitutional partisan gerrymander, not as a
  violation of Section 2 of the VRA. However, Defendants have made Section 2’s requirements
  relevant to this case. They have argued that District 11 was drawn in its present shape in part to
  ensure that African-American voters were able to elect their preferred candidate in that district.
  Plaintiffs therefore offer Dr. Handley’s testimony to challenge that justification and demonstrate
  that there was no need to extend District 11 south into Summit County to pick up additional
  African-American voters to comply with the VRA. We discuss the interaction of the VRA,
  Defendants’ minority electoral opportunity justification, and Dr. Handley’s analysis further in
  Sections V.A.2.d.iii., V.C.2.b.ii., where we scrutinize each of Defendants’ proffered legitimate
  legislative justifications.
          Second, while Dr. Handley’s report and analysis do rely in part on data that post-dated the
  2011 redistricting and therefore was unavailable to the map drawers at the time, they also rely on
  data that predates the redistricting. Dkt. 240 (Handley Trial Test. at 150). The pattern of District
  11 electing Black-preferred candidates by sizable margins does not differ between the pre-2011
  and post-2011 elections that Dr. Handley considered. Id. at 151. Any issues that Dr. Handley’s
  reliance on data that was not available to the map drawers in 2011 presents will go to the weight
  that we give Dr. Handley’s testimony, not its admissibility.
          Third, we conclude that Dr. Handley adequately explained why she did not provide
  confidence intervals for her ecological-inference analysis, and we overrule Intervenors’ objection
  on that basis. Dr. Handley provided standard errors for each of her ecological-inference estimates.
  Id. at 143. However, she explained that she did not use the standard errors to produce confidence
  intervals because that would require a normal distribution, and the ecological-inference analysis
                                                   86
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          District 11 has consistently elected African-American representatives to Congress since

  1968, when it was first drawn as a majority Black district.484 Handley’s report indicated that since

  2002, the Black-preferred congressional candidate (whether or not that candidate was African

  American) has won District 11 by a considerable margin. 485 This is true of elections both before

  and after the 2011 redistricting.486 In fact, the tightest congressional race since 2002 in District 11

  was won by Stephanie Tubbs Jones in that year with 76.3% of the total vote.487 Prior to the 2011

  redistricting, District 11 had a BVAP of 57.7%, although it was originally drawn in 2001 with a

  BVAP of 52.3%.488 After the redistricting, its BVAP was 52.4%.489

          Dr. Handley conducted a “district-specific, functional analysis of voting patterns by race

  to ascertain the black voting age population necessary to provide black voters with an opportunity

  to elect their candidates of choice in the vicinity of the 11th Congressional District of Ohio.”490

  The analysis must be district specific because the BVAP required to elect the Black-preferred

  candidate differs from jurisdiction to jurisdiction based on factors such as the type of election (e.g.,

  federal versus local), turnout and voting patterns of African Americans and whites, the

  cohesiveness of African-American voters in supporting particular candidates, and “crossover”



  does not produce a normal distribution. Id. at 143–44. She testified that she “routinely” submits
  expert reports involving ecological-inference estimates without confidence intervals, and that these
  reports have been accepted. Id. at 144.
           484
               Trial Ex. P254 (Handley Rep. at 2 n.2). Representative Louis Stokes was elected in
  1968 and served as a congressman for 30 years. Representative Stephanie Tubbs Jones was then
  elected in 1998. She was succeeded by Congresswoman Marcia Fudge, who has represented
  District 11 since 2008. Id.
           485
               Id. at 5.
           486
                Id.; Dkt. 240 (Handley Trial Test. at 141 (concluding that “prior to the 2011
  redistricting . . . Black-preferred candidates were winning by overwhelmingly high percentages in
  all of the statewide and federal contests”).
           487
               Trial Ex. P254 (Handley Rep. at 3).
           488
               Id. at 6 n.7.
           489
               Id.
           490
               Id. at 1.
                                                    87
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  voting patterns of whites who also support Black-preferred candidates.491 Dr. Handley’s analysis

  estimated the vote share that Black-preferred candidates would have received had District 11 been

  configured as 55%, 50%, 45%, or 40% Black.492 She conducted this analysis using data from

  statewide and federal elections from 2008 through 2016 occurring within the vicinity of the current

  District 11.

          Dr. Handley used three different statistical techniques to complete this analysis:

  homogeneous-precinct analysis, ecological-regression analysis, and ecological-inference

  analysis.493 Both homogenous-precinct analysis and ecological-regression analysis were used in

  Thornburg v. Gingles, 478 U.S. 30 (1986), the Supreme Court’s seminal Section 2 case.494

  Ecological-inference analysis developed later to address a shortcoming of ecological-regression

  analysis but has subsequently been widely accepted.495 All three statistical techniques yielded

  similar results.496

          Dr. Handley concluded that with a 45% BVAP in District 11, African-American voters

  would have a realistic opportunity to elect their candidate of choice with a “comfortable

  margin.”497 In fact, even with a BVAP as low as 40%, African-American voters would have

  elected the Black-preferred candidate in the elections studied.498 She concluded that there is no

  need to draw a majority African-American District 11 in order to allow African-American voters

  to elect their candidate of choice there.499



          491
              Dkt. 240 (Handley Trial Test. at 137, 142)
          492
              Id. at 142.
          493
              Id.
          494
              Id. at 142–43.
          495
              Id. at 143.
          496
              Id. at 150.
          497
              Trial Ex. P254 (Handley Rep. at 17); Dkt. 240 (Handley Trial Test. at 149).
          498
              Dkt. 240 (Handley Trial Test. at 149).
          499
              Trial Ex. P254 (Handley Rep. at 1).
                                                  88
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     5. Mr. William Cooper

         William Cooper, a mapping consultant, testified as an expert witness at trial.500 Over the

  course of his career, Mr. Cooper has drawn plans for about 750 jurisdictions, many of which were

  statewide plans and around six of which were congressional districting plans.501 Mr. Cooper has

  also previously drawn plans specifically for partisan-gerrymandering cases.502           Mr. Cooper

  generally submits illustrative or remedial districting plans, and courts have implemented several

  of his remedial plans.503 This Court qualified Mr. Cooper as an expert in the fields of redistricting,

  map drawing, and demography504 and found his testimony and reports credible and reliable.

         Mr. Cooper used census data and mapping software “to reexamine the plan that was

  adopted in 2012 and apply traditional redistricting principles to result in a map that was a little

  more fair for Democratic voters and at the same time visually more appealing” and also

  “undid . . . [the] partisan gerrymander.”505 He used Maptitude software, the same kind used by the

  map drawers in 2011, to do this work.506 Mr. Cooper relied upon traditional redistricting principles

  (equipopulation, contiguity, compliance with the VRA, and preserving communities of interest) to

  craft his Proposed Remedial Plan and also made sure that it would satisfy the requirements of




         500
               Dkt. 241 (Cooper Trial Test. at 136).
         501
               Id. at 136–37.
           502
               Id. at 137–38.
           503
               Id. at 139.
           504
               Id. at 140.
           505
               Id. The data Mr. Cooper was given to create the Proposed Remedial Plan featured in
  his first report included an error—an incorrect address for Representative Jordan. Id. at 167. This
  error resulted in the inadvertent pairing of incumbent Representatives Jordan and Davidson in the
  original Proposed Remedial Plan. Id. Upon learning of this error, Mr. Cooper drafted a corrected
  Proposed Remedial Plan, which included slight changes at the border of Districts 4 and 8. Trial
  Ex. P091 (Cooper Errata at 2). This correction did not result in any changes to the compactness,
  minority voting strengths, or county and municipal divides of the earlier version. Dkt. 241 (Cooper
  Trial Test. at 168–69).
           506
               Dkt. 241 (Cooper Trial Test. at 143).
                                                   89
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  Ballot Initiative 1.507 He “did not pair incumbents except when in direct conflict with the other

  factors.”508 Mr. Cooper had the CSU dataset used by the map drawers available to him while he

  was drawing his Proposed Remedial Plan and “occasionally glanced at it” although he “was not

  constantly monitoring every little—every little change.”509 The Proposed Remedial Plan that he

  created was intended to be a forward-looking plan that avoided the pairing of the current

  congressional officeholders.510

          Mr. Cooper explained the traditional redistricting factors that drove his maps and the

  manner in which those factors are measured. Equipopulation means that a district is the exact

  population of the ideal district size, plus or minus one.511 Contiguity means that a district is entirely

  contiguous with itself; there are no severed sections. Compactness can be measured with an

  “eyeball test . . . just take a look at it and see if it makes sense visually” or with mathematical tests

  such as the Reock and Polsby-Popper measures, both of which can be run using Maptitude.512 The

  Polsby-Popper and Reock metrics measure compactness on a scale of zero through one; the closer

  to one, the more compact the district. The “Polsby-Popper score is a perimeter score over area of

  a district”—the ratio of the perimeter and the area of a district generates the score. A low score is

  “an indication that it’s not a very compact district.”513 The Reock score is “a ratio of an area for a




          507
                Trial Ex. P090 (Cooper Decl. at 3); Dkt. 241 (Cooper Trial Test. at 146). Ballot
  Initiative 1 requires that “any plan drawn in the future, at least after the 2020 census at minimum,
  would have to keep the city of Cincinnati in a single district and the city of Cleveland in a single
  district.” Dkt. 241 (Cooper Trial Test. at 146).
           508
               Trial Ex. P090 (Cooper Decl. at 3).
           509
               Dkt. 241 (Cooper Trial Test. at 151–52).
           510
               Trial Ex. P092 (Cooper Suppl. Decl. at 1).
           511
               Dkt. 241 (Cooper Trial Test. at 147).
           512
               Id. at 147–48.
           513
               Id. at 157–58.
                                                     90
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  circle drawn around the district.” Mr. Cooper testified that “districts that start getting below .20

  are somewhat problematic, generally speaking.”514

         Mr. Cooper defined a community of interest as “an area or a region where there are certain

  cultural or socioeconomic ties, historical ties.”515 He testified that minority populations can be

  considered communities of interest and that counties or municipal subdivisions are “a more

  objective way to identify communities of interest.”516 Maptitude allows users to monitor how

  many counties and metropolitan civil divisions are split as a plan is drawn.517 He stated that,

  generally, maps with fewer districts overall should contain fewer county splits if traditional

  districting principles are being applied.518

         Mr. Cooper also compared the shapes of several districts from the 2012 map to his

  Proposed Remedial Plan, commenting on the 2012 districts’ irregular shapes and frequent splits of

  county lines and municipal boundaries.519 The Proposed Remedial Plan splits fourteen counties

  and twenty-seven political subdivisions.520 In contrast, the 2012 map splits twenty-three counties

  and seventy-three political subdivisions, fifty-five of which are populated.521 Mr. Cooper also

  compared the compactness of the districts in the 2012 map with those in his Proposed Remedial

  Plan. The Proposed Remedial Plan “score[d] significantly higher on Polsby-Popper in terms of

  minimums and maximums as well as the overall mean” than the 2012 map.522



         514
              Id. at 158.
         515
              Id. at 148.
          516
              Id.
          517
              Id. at 150.
          518
              Id. at 151.
          519
              Id. at 153–56.
          520
              Id. at 150; Trial Ex. P091 (Cooper Errata at 3; Ex. Q); Trial Ex. P454 (Cooper Decl.
  Apps. at Ex. F).
          521
              Dkt. 241 (Cooper Trial Test. at 158–59).
          522
              Id. at 157; Trial Ex. P454 (Cooper Decl. Apps. at Ex. H). Mr. Cooper also explained
  that the chart was somewhat misleading because the Reock and Polsby-Popper scores for District
                                                  91
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         Mr. Cooper’s Proposed Remedial Plan was conscious of advancing minority voting power

  in various districts. First, it included a minority-opportunity district contained entirely within

  Cuyahoga County with a 47% BVAP, higher than the 45% that Dr. Handley calculated was

  necessary to allow minorities in the district to elect a candidate of their choice. 523 Mr. Cooper

  testified that simply by keeping the City of Cleveland whole in District 11 and including “a couple

  of suburbs,” achieving this 47% BVAP “just happened” without “trying to max it out in any

  way.”524 Second, Mr. Cooper’s Proposed Remedial Plan included a District 1 with a higher

  percentage BVAP than the 2012 map’s District 1. The Proposed Remedial Plan’s District 1 has a

  26.74% BVAP; the 2012 map’s District 1 has a 21.30% BVAP.525 He testified that this increase

  of over five percentage points resulted “because [he] left Cincinnati in a single district rather than

  splitting it into part of District 2 as well as District 1.”526 Third, the District 3 included in his

  Proposed Remedial Plan had roughly the same BVAP as was present in the 2012 map.527

         Mr. Cooper also responded to the report of Defendants’ expert Dr. Hood.528 Dr. Hood had

  challenged the Proposed Remedial Plan, arguing that it would not have been politically viable had

  it been implemented in 2012 because it would have paired many incumbents. Mr. Cooper

  maintained in his response that the Proposed Remedial Plan was “presented for future use, not

  solely as a point of comparison to the 2012 plan.”529 He also drew and demonstrated the feasibility



  9 are inflated “because of the way the Census Bureau has extended water blocks that are part of
  these Counties along Lake Erie, out into the middle of Lake Erie. And if you remove those water
  blocks, then District 9 scores very low.” Dkt. 241 (Cooper Trial Test. at 157).
          523
              Dkt. 241 (Cooper Trial Test. at 159).
          524
              Id. at 160.
          525
              Trial Ex. P454 (Cooper Decl. Apps. at Ex. D-3; E-2); Dkt. 241 (Cooper Trial Test. at
  160–61).
          526
              Dkt. 241 (Cooper Trial Test. at 161).
          527
              Id.
          528
              Id. at 141.
          529
              Trial Ex. P093 (Cooper Second Suppl. Decl. at 2).
                                                   92
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  of two hypothetical plans that shared many features with his Proposed Remedial Plan but could

  have been implemented in 2011 without pairing more incumbents than the adopted 2012 map

  did.530

      D. Defendants’ and Intervenors’ Expert Witnesses

      1. Dr. M.V. Hood III

            Dr. M.V. Hood III, a tenured professor of political science at the University of Georgia,

  testified as an expert for Defendants at trial.531 Dr. Hood has taught courses in Southern politics,

  American politics, research methods, election administration, and the legislative process. 532 His

  work has appeared in peer-reviewed journals between forty and fifty times and he has published

  four articles “directly related to redistricting in one way or another” in peer-reviewed journals.533

  Dr. Hood has testified as an expert witness in several cases involving redistricting.534 We qualified

  Dr. Hood as an expert in “American politics and policy, quantitative political analysis and election

  administration, including redistricting.”535 We, however, can draw limited inferences from his

  testimony and report due to some inapt comparisons, unexplained and apparently meaningful

  exclusions of certain elections in his partisan indices, and admitted failures to account for certain

  confounding variables in some of his analyses.536



            530
             Id. at 4–19.
            531
             Dkt. 247 (Hood Trial Test. at 135).
         532
             Id. at 136–37.
         533
             Id. at 137.
         534
             Id. at 140.
         535
             Dkt. 274 (Hood Trial Test. at 141). Prior to trial, Plaintiffs filed a Daubert motion to
  exclude the expert report and testimony of Dr. Hood. Dkt. 150-1 (Pls.’ Mot. to Exclude Hood).
  We conclude that none of Plaintiffs’ criticisms of Dr. Hood’s report and testimony are sufficiently
  severe to preclude us from qualifying him as an expert. Rather, where well-founded, they will
  impact the weight that we will give his testimony and report.
         536
             Courts in several other cases in which Dr. Hood has testified as an expert witness have
  afforded Dr. Hood’s testimony little weight for similar reasons. See, e.g., Ne. Ohio Coal. for the
  Homeless v. Husted, No. 06-cv-896, 2016 WL 316651, at *23 (S.D. Ohio June 7, 2016); see also,
                                                   93
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      a. Incumbent pairing, core retention, compactness, and county and municipality splits

          Dr. Hood’s report stated that the 2012 map paired three sets of incumbents.537 He also

  testified that the 2012 map’s core retention level, the “percentage of a member’s constituents [who]

  were carried over from their previous district,” was “55.7% across the 16 districts.”538 Dr. Hood

  concluded, based on the number of incumbents who were paired and the core-retention rate, “that

  at least some weight was given in the plan to the . . . criteria protecting incumbents to the extent

  possible.”539 Dr. Hood, however, agreed that “there is no agreed-upon standard for what levels of

  core retention indicates that the goal of a districting map is to protect incumbents.”540 He also

  acknowledged that in a previous academic article, he had concluded that “a core retention level of

  68.7 percent greatly altered the relationship between representatives and constituents.”541

          Dr. Hood compared the 2012 map with the 2002 map. He testified that the 2012 map was

  “on par with the 2002 plan in terms of compactness” measured with both the Polsby-Popper and

  Reock tests.542 He stated that the 2002 plan split twenty-one counties and the 2012 plan split

  twenty-three counties.543 He found that the 2002 plan split 4.3% of Ohio’s municipalities while

  the 2012 plan split 4.5% of Ohio’s municipalities. From this data, he concluded that the 2012 map

  “is on par with the 2002 benchmark plan” in terms of its adherence to traditional redistricting

  criteria.544



  e.g., Veasey v. Perry, 71 F. Supp. 3d 627, 663 (S.D. Tex. 2014); Frank v. Walker, 17 F. Supp. 3d
  837, 882 (E.D. Wis. 2014).
          537
              Dkt. 247 (Hood Trial Test. at 144–45).
          538
              Id. at 145.
          539
              Id. at 146.
          540
              Id. at 193.
          541
              Id.
          542
              Id. at 144.
          543
              Id. at 147. In so testifying, Dr. Hood corrected an error in his report, which had indicated
  that the 2002 map split 25 counties. Id. at 146.
          544
              Id. at 147–48.
                                                    94
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         Dr. Hood also compared the 2002 map to Plaintiffs’ Proposed Remedial Plan in terms of

  compactness and splits of communities of interest, defined here as counties and municipalities. He

  found that the Proposed Remedial Plan had “slightly higher” compactness scores than the 2002

  map measured by both the Polsby-Popper and Reock tests. He also testified that Mr. Cooper’s

  hypothetical plans, which were designed as alternatives that could have been enacted in 2012, also

  had higher compactness scores than the adopted 2012 map.545 The Proposed Remedial Plan splits

  fourteen counties while the 2002 map split twenty-one.546 The Proposed Remedial Plan splits

  1.7% of Ohio’s municipalities while the 2002 map split 4.3% of them.547                Mr. Cooper’s

  hypothetical plans also split fewer counties and municipalities than the enacted 2012 map.548

         Dr. Hood also demonstrated that, had Plaintiffs’ Proposed Remedial Plan been enacted in

  2012, it would have resulted in the pairing of six sets of incumbents, the majority of which would

  have been Republican pairings.549 Dr. Hood calculated that had the Proposed Remedial Plan been

  enacted in 2012, its mean core-retention figure would have been 39.5%.550 As is discussed in the

  summary of Mr. Cooper’s testimony, the Proposed Remedial Plan was designed principally as a

  forward-looking map to be implemented today, using the 2012 map rather than the 2002 map as a

  baseline. It designed its incumbent pairings based off where current representatives live under the

  2012 map. This makes it an inapt comparison to count incumbent pairings that would have resulted

  had it been implemented in 2012, when a different set of representatives would have been the




         545
             Id. at 148, 198; see also Trial Ex. D4 (Hood Rep. at 8, tbl. 7). Dr. Hood did not calculate
  the compactness scores himself; he requested that they be calculated and reproduced the reports.
  Dkt. 247 (Hood Trial Test. at 189).
         546
             Dkt. 247 (Hood Trial Test. at 148–49); see also Trial Ex. D4 (Hood Rep. at 8, tbl. 8).
         547
             Dkt. 247 (Hood Trial Test. at 149); see also Trial Ex. D4 (Hood Rep. at 9, tbl. 9).
         548
             Dkt. 247 (Hood Trial Test. at 198–99).
         549
             Id. at 148; see also Trial Ex. D4 (Hood Rep. at 9, tbl. 10).
         550
             Dkt. 247 (Hood Trial Test. at 150).
                                                   95
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  affected incumbents. Similarly, the implementation of the 2012 map shifted the district lines and

  assigned constituents to new districts. Therefore, it is odd to conduct core-retention analysis of

  the Proposed Remedial Plan against the baseline of the 2002 district lines when it was designed

  with the 2012 lines as its baselines. On cross-examination, Dr. Hood acknowledged that Mr.

  Cooper’s hypothetical plans, which were designed as alternatives that could have been enacted in

  2012, had core retention rates that were “highly similar” to those of the actually-enacted 2012

  map.551

     b. Political geography

            Dr. Hood also discussed Ohio’s political geography—“the spatial distribution of partisans

  in Ohio.”552 He created a partisan vote index using fifteen statewide contested elections from four

  election cycles prior to the 2011 redistricting.553 He then used this partisan vote index to color

  code and plot areas of Democratic, strong Democratic, Republican, and strong Republican support

  on several maps of Ohio.554 Based on these maps, Dr. Hood concluded that “there’s a much larger

  Republican footprint outside of urban areas. Much of the Democratic footprint during this time is

  inside urban areas, like Cleveland and Columbus, Cincinnati.”555 He calculated that “about 78.5%

  of Ohio’s land area” leans Republican, and 21.5% of its land area leans Democratic.556

            Dr. Hood then calculated a Moran’s I statistic to determine that from 2004 to 2010

  “Republican VTDs tend[ed] to be located proximate to other Republican VTDs, and Democratic

  VTDs tend[ed] to be located proximate to other Democratic VTDs” in Ohio.557 Dr. Hood



            551
                Id. at 197.
            552
                Id. at 151.
            553
                Id. at 153.
            554
                Id.; see also Trial Ex. D4 (Hood Rep. at App., figs. 1–5).
            555
                Dkt. 247 (Hood Trial Test. at 154).
            556
                Id.
            557
                Id. at 155.
                                                     96
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  acknowledged on cross-examination that this analysis did not “indicate that Democrats are

  differentially clustered than Republicans”—that they cluster with other members of their own

  party at higher rates than Republican voters do.558          His analysis also demonstrated that

  “Democratic VTDs are more likely to be located in urban areas” than Republican VTDs.559

     c. Partisan leanings

         Dr. Hood then used his first partisan index to analyze the partisan leaning of Ohio’s

  congressional districts as drawn under the 2012 map.560 He determined that six were safe

  Republican districts, five were competitive, Republican-leaning districts, four were safe

  Democratic districts, and one was a competitive, Democratic-leaning district.561

         Dr. Hood did the same analysis applying the partisan index to the Plaintiff’s Proposed

  Remedial Plan and found that the only differences between it and the 2012 map were that under

  the Proposed Remedial Plan there would be “on[e] less safe Republican district and one additional

  competitive district leaning Democratic.”562 On cross-examination, Dr. Hood conceded that his

  “index state[s] a lower Republican percentage as compared to [an index that includes] the full set

  of elections based on the statewide contested elections for the decade preceding the 2010

  redistricting cycle, including 2002.”563 When the 2002 congressional election results are included

  in the index, there are no competitive districts, rather than the six competitive districts that Dr.



         558
              Id. at 199–200.
         559
              Id. at 156.
          560
              Plaintiffs argue that Dr. Hood cherry-picked the elections in his partisan index to skew
  the results, particularly by omitting 2002 election data. See id. at 207–13.
          561
              Trial Ex. D4 (Hood Rep. at 15, tbl. 15). Hood termed a district a safe Republican district
  if the partisan index indicated that it would vote over 55% Republican. Competitive, Republican-
  leaning districts would vote 50-55% Republican. Safe Democratic districts would vote less than
  45% Republican, and competitive, Democratic-leaning districts would vote 45-50% Republican.
  Dkt. 247 (Hood Trial Test. at 157).
          562
              Dkt. 247 (Hood Trial Test. at 160).
          563
              Id. at 216–17.
                                                   97
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  Hood indicated.564 Such an index predicts voting outcomes that more reliably correspond to the

  actual electoral outcomes observed in the elections since the 2012 redistricting.565

          Dr. Hood created another partisan index using elections from 2012, 2014, and 2016, and

  then used the same process described earlier to color code the partisan leanings of VTDs on a map

  of Ohio.566 Comparing that map to the color-coded map he produced of Ohio using elections from

  the preceding decade, he concluded that Ohio has become increasingly Republican over time.567

          Finally, Dr. Hood used this latter partisan index to evaluate the partisan leanings of each

  individual Plaintiff’s new district under the Proposed Remedial Plan compared to the partisan

  leanings of their current district under the 2012 map.568 He concluded, based on this analysis, that

  two of the seventeen individual Plaintiffs would have a better chance of electing a Democratic

  representative under the Proposed Remedial Plan versus under the current map—Plaintiff Griffiths

  in District 7 and Plaintiff Hutton in District 14.569

      d. Other influences on electoral success

          Dr. Hood also testified about various factors that “influence the outcome of congressional

  races”—“[f]undraising, media attention, name recognition, incumbency,” as well as “candidates

  and campaigns.”570 He testified that there is a strong trend of incumbents being reelected to office

  that is recognized in the political science literature and was observable in Ohio after the 2011



          564
              Id. at 219.
          565
              Id. at 220–21.
          566
              Dr. Hood agreed that the races he included in creating this index “were the two most
  Republican of the five statewide races in 2014,” and therefore the application of this index would
  make the map look more Republican-leaning than the application of an index that included the
  other races. Id. at 230.
          567
              Id. at 168–70; see also Trial Ex. D4 (Hood Rep. at App., figs. 7-8); Trial Ex. D5 (Hood
  Suppl. Rep. at 8, tbl. 6).
          568
              Dkt. 247 (Hood Trial Test. at 171); see also Trial Ex. D4 (Hood Rep. at 30).
          569
              Dkt. 247 (Hood Trial Test. at 172).
          570
              Id. at 160.
                                                    98
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  redistricting—all of the unpaired incumbent congressional representatives were reelected in 2012

  and in every congressional election in Ohio since then.571 Relatedly, Dr. Hood testified about

  challenger quality, which he measures by whether the challenger has held prior elective office. 572

  He concluded that “[t]ypically, more often than not, the challengers” of incumbents in Ohio from

  2012 through 2018 were “political novices” without prior elective officeholding experience.573 Dr.

  Hood admitted on cross-examination that he did nothing “to assess whether the district lines

  themselves prevented the recruitment of experienced candidates” and that it was possible that they

  had.574

            Dr. Hood also examined “the amount of campaign contributions that were collected by the

  Republican and Democrat” in each election because fundraising is helpful in winning elections.575

  He concluded that, in Ohio between 2012 and 2016, the incumbents had “outraised challengers by

  about $1.2 million on average.”576 On cross-examination, Dr. Hood admitted that he did nothing

  “to determine that the district lines themselves did not cause Democratic challengers to fail to raise

  comparable funds” and admitted that it was possible that the lines themselves affected challenger

  fundraising abilities.577




            571
               Id. at 161; see also Trial Ex. D4 (Hood Rep. at 18, tbl. 17); Trial Ex. D5 (Hood Suppl.
  Rep. at 4, tbl. 2).
           572
               Dkt. 247 (Hood Trial Test. at 163).
           573
               Id.; see also Trial Ex. D4 (Hood Rep. at 19, tbl. 18); Trial Ex. D5 (Hood Suppl. Rep. at
  5, tbl. 3).
           574
               Dkt. 249 (Hood Trial Test. at 9–10).
           575
               Dkt. 247 (Hood Trial Test. at 163–64).
           576
               Id. at 164; see also Trial Ex. D4 (Hood Rep. at 20, tbl. 19); Trial Ex. D5 (Hood Suppl.
  Rep. at 5, tbl. 4) (reflecting the fundraising in the 2018 congressional elections, in which three
  challengers outraised the incumbents they faced).
           577
               Dkt. 249 (Hood Trial Test. at 9).
                                                   99
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      e. Efficiency gap and seat-share relationship

          Dr. Hood plotted the efficiency gap numbers for Ohio from 1992 to 2016 against the seat

   share of the congressional delegation.578 He concluded based on the regression from this plot that

   the efficiency gap is “closer to zero as the seat share is more evenly balanced” between the parties

   and increases “as the seat share tilts one way or another.”579

      2. Dr. Janet Thornton

          Dr. Janet Thornton testified at trial for Defendants as an expert witness. Dr. Thornton is

   currently the managing director and an economist and applied statistician at Berkeley Research

   Group, LLC, a consulting firm located in Florida.580 Dr. Thornton has a doctorate and master’s

   degree in economics from Florida State University, as well as a bachelor’s degree in economics

   and political science from the University of Central Florida.581          Dr. Thornton’s fields of

   specialization in her academic background were labor economics and applied statistics.582

   Additionally, Dr. Thornton has “been working with census data since the early 1980s” and has

   also “work[ed] with data from the 1960 d[e]cennial census all the way up to the current time period

   . . . .”583 Although Dr. Thornton has prepared statistical analyses and served as an expert in voting

   cases related to, for example, the effect of voter-identification laws on voter-participation rates by

   race and minority status, Dr. Thornton has never served as an expert in a redistricting case.584 And

   although Dr. Thornton has never been precluded from testifying as an expert, at least one court

   found her analysis “simplistic and not credible.” See Democratic Nat’l Comm. v. Reagan, 329 F.



          578
              Dkt. 247 (Hood Trial Test. at 166).
          579
              Id. at 167.
          580
              Trial Ex. D8 (Thornton CV).
          581
              Id.
          582
              Dkt. 246 (Thornton Trial Test. at 86).
          583
              Id. at 87–88.
          584
              See Trial Ex. D8 (Thornton CV); Dkt. 246 (Thornton Trial Test. at 90–91).
                                                    100
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   Supp. 3d 824, 838 (D. Ariz. 2018). Dr. Thornton has also not published any articles related to

   voting.585 This Court qualified Dr. Thornton as an expert in economic and statistical analysis,

   subject to Plaintiffs’ Daubert motion.586

          Dr. Thornton’s report and testimony are offered to rebut Plaintiffs’ experts Dr. Cho and

   Dr. Niven. As to Dr. Cho, Defendants presented Dr. Thornton’s report and testimony to critique

   the underlying data and assumptions in Dr. Cho’s report.587 As to Dr. Niven, Defendants offered

   Dr. Thornton’s report and testimony to rebut Dr. Niven’s conclusion that the splitting of census

   tracts in the current plan is correlated with the political composition of census tracts. 588 Before

   turning to Dr. Thornton’s critique of each of these Plaintiffs’ experts, two preliminary matters need

   to be addressed.

          First, we give no weight to Dr. Thornton’s finding that “Dr. Cho failed to provide all of

   the underlying code and output sufficient to replicate all of her findings.”589 This finding is entirely

   off base. Dr. Thornton admitted that she is not an expert in C++ and that she cannot read it without

   the help of a manual;590 and again, Plaintiffs offered to provide Defendants with the code. See

   supra Section II.C.2. More importantly, the code is not the algorithm; the code simply implements

   the algorithm. Consequently, nothing prohibited Dr. Thornton from critiquing the MCMC

   algorithm used by Dr. Cho if she had been qualified to do so.591



          585
              See Trial Ex. D8 (Thornton CV); Dkt. 246 (Thornton Trial Test. at 125–27).
          586
              Dkt. 246 (Thornton Trial Test. at 92–93); see also Dkt. 155, 155-1 (Pls.’ Mot. to Exclude
   Thornton). We deny Plaintiffs’ Daubert motion, but we consider Dr. Thornton’s report and
   testimony for limited purposes and do not credit portions of her analysis, as explained herein.
          587
              Dkt. 246 (Thornton Trial Test. at 91).
          588
              See Trial Ex. D8 (Thornton Rep. at 24–27).
          589
              Id. at 4.
          590
              Dkt. 246 (Thornton Trial Test. at 133–35); see also Trial Ex. D8 (Thornton CV) (C and
   C++ are not included in the programming languages listed as ones of which she has knowledge).
          591
              This distinction between reviewing the algorithm and the code is underscored by Dr.
   Cho’s testimony on behalf of the defendants in a Pennsylvania gerrymandering case. As Dr. Cho
                                                    101
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          Second, Dr. Thornton is an expert in statistics generally, not in political science or

   redistricting, and she has never run an MCMC algorithm or, prior to this case, reviewed, evaluated,

   or assessed an MCMC algorithm.592 We consider her findings with that backdrop. Ultimately, we

   give some weight to her critiques of the underlying data that Dr. Cho used as a basis for assessing

   her simulated maps, but several of Dr. Thornton’s other critiques miss the mark and are not

   credible.

      a. Rebuttal to Dr. Cho

          Dr. Thornton opines that “the manner in which [Dr. Cho] generates new maps (i.e.,

   simulations) is biased towards selecting half of the districts in which the Republican votes

   outnumber the Democratic votes and half of the districts in which Democratic votes outnumber

   the Republican votes.”593 In other words, Dr. Thornton’s opinion is that the process Dr. Cho used

   to produce the simulated maps was biased toward creating an 8-8 map. This is wrong. As

   explained earlier, Dr. Cho analyzed the competitiveness and partisan outcomes of the simulated

   maps only after the simulated maps were generated. See supra Section II.C.2.594 Dr. Thornton

   offered no evidence to rebut this sequence of events.



   explained in her report in that case (which was read into the record on cross-examination at this
   trial): “[I]ndeed, the point is not whether I would have been allowed some short amount of time to
   view the code, but whether the algorithm has been sufficiently scrutinized by the scientific
   community to allow others, including the Courts, to have confidence in the process and the results.”
   See Dkt. 243 (Cho Trial Test. at 84). Nonetheless, the fact remains that Plaintiffs offered to provide
   the full code to Defendants, who apparently declined the offer.
            592
                Dkt. 246 (Thornton Trial Test. at 129).
            593
                Trial Ex. D8 (Thornton Rep. at 12).
            594
                We note, however, that Dr. Cho’s competitiveness metric (which Dr. Cho used after
   generating the simulated maps) is based on optimal competitiveness. As such, the closer a map is
   to an 8-8 partisan outcome, the more competitive the map will score, i.e., a score closer to zero
   under Dr. Cho’s competitiveness metric. See supra note 400. We consider this specific metric
   only for Dr. Cho’s conclusion that competitiveness seems to have been “almost a non-existent
   factor if one at all” in the drawing of H.B. 369. See supra Section II.C.2.b.i. & note 400. Dr.
   Cho’s other competitiveness analyses support that conclusion, too.
                                                    102
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          In a similar manner, Dr. Thornton criticizes the election data that Dr. Cho used to assess

   the partisanship of the simulated maps as compared to the current map. This criticism, however,

   is distinct in an important way because it goes to Dr. Cho’s after-the-fact assessment of

   partisanship and not the creation of the simulated maps. The general thrust of Dr. Thornton’s

   critique on this front is that the 2008-2010 data used by Dr. Cho contains higher Democratic vote

   totals than in the 2012-2016 data.595 Further, Dr. Cho never used the 2016 statewide Democratic

   vote share for her analysis, which Dr. Thornton computed as 42.4% (lower than the other indices

   used by Dr. Cho).596 Dr. Thornton concludes that Dr. Cho’s selection and use of election data “is

   faulty, misleading, and unreliable.”597

          We give some weight to this particular conclusion—Dr. Cho’s omission of the 2016

   election data (which was less favorable to the Democratic Party) and use of 2008-2010 data to

   assess the partisan effect of the 2012 plan raises some concern. At the same time, Dr. Thornton’s

   critique on this point does not significantly undermine Dr. Cho’s conclusions. After all, the 2008-

   2010 election data were part of the data available to the map drawers, so that data is not irrelevant

   to assessing whether different districts could have been drawn. It is true, however, that the

   Democratic vote shares have decreased in the present decade as compared to the last, and this

   waning in support is relevant to partisan effect. In response, Dr. Cho provided an updated analysis

   in her supplemental report that incorporated the 2012-2014 and 2018 election data; that analysis

   showed the most common Republican vote share as nine seats, and eight and ten Republican seats

   were also not uncommon. See supra Section II.C.2. This cures at least part of Dr. Thornton’s

   critique, specifically that using the 2008-2010 data misleadingly resulted in eight Republican seats



          595
              See Trial Ex. D8 (Thornton Rep. at 15–17 & fig. 1).
          596
              Id. at 16–17 & fig. 1.
          597
              Id. at 16.
                                                   103
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   being most common. In any event, Dr. Cho’s supplemental report further shows that incorporating

   recent election data does not significantly alter her conclusions on partisan effect—a 12-4 map is

   still a highly unusual outlier under all her analyses. In sum, although we give some weight to Dr.

   Thornton’s critique on Dr. Cho’s selection and use of data, hence rendering Dr. Cho’s findings

   less probative than they otherwise could be, we do not find that Dr. Thornton has significantly

   undermined Dr. Cho’s conclusions.

          Dr. Thornton also performed her own analysis using a binomial distribution, but we do not

   give any weight to that analysis. Dr. Thornton’s analysis used the Republican statewide vote share

   in congressional races “to predict the number of Republican seats.”598 As an example, in 2016,

   the Republican vote share was 58.2%, and Dr. Thornton multiplied that number by 16 (i.e., the

   number of seats) to arrive at 9.31 as the expected number of seats (2.69 fewer seats than the actual

   outcome of 12).599 Dr. Thornton then calculated “the number of standard deviations associated

   with the difference between the actual and predicted number of Republican seats.”600 When the

   difference is less than two standard deviations, whether positive or negative, the difference is not

   considered statistically significant.601 From this analysis, Dr. Thornton concludes that for 2012,

   2014, and 2016, “the difference between the actual and predicted number of Republican seats using

   the Republican vote share are not statistically significant.”602

          Several factual and legal problems are apparent in Dr. Thornton’s analysis. Factually,

   under the binomial distribution, the expected number of Republican seats unquestionably reflects

   proportional representation—Dr. Thornton multiplied the statewide vote share by the number of



          598
              Dkt. 246 (Thornton Trial Test. at 112).
          599
              Id.; Trial Ex. D8 (Thornton Rep. at 19–20, tbl. 3).
          600
              Trial Ex. D8 (Thornton Rep. at 19).
          601
              Id.; Dkt. 246 (Thornton Trial Test. at 112–13).
          602
              Dkt. 246 (Thornton Trial Test. at 113).
                                                    104
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   seats. Legally, proportional representation is not required. See infra Section IV.B. For this reason,

   Dr. Cho does not assume proportional representation.603 The analysis incorporates yet another

   faulty assumption that each district has a 51% chance of being won by a Republican because

   Republicans won 51% of the congressional vote across the State; this assumption does not comport

   with basic understandings of congressional elections, i.e., that although some districts may be

   competitive (a 51% Republican to 49% Democrat district), other districts lean heavily in favor of

   one party or the other.      Finally, Dr. Thornton’s analysis has nothing to do with whether

   Republicans and Democrats are statistically treated similarly or differently under the current

   map—she assesses only whether the actual number of Republican seats differs in a statistically

   significant way from the expected number of Republican seats. This analysis, without more, says

   nothing about how the current map affects Democratic voters compared to Republican voters. For

   all of these reasons, we give no weight to her statistical significance analysis.

          Additionally, Dr. Thornton applied a similar analysis comparing the difference between

   the number of Republican seats in 2010 and the number of Republican seats in 2012.604 Again,

   she concluded that this difference was not statistically significant. 605 We find that this analysis is

   simplistic and not particularly helpful. To be sure, the Republicans flipped the congressional

   delegation in 2010 from one that was a Democratic majority to one that was a Republican majority,

   and this Republican majority has been maintained. But that simply shows part of the problem with

   the 2012 map: Despite fluctuating vote shares, the seat share has remained 12-4; under the prior

   plan, the seat share fluctuated as did the vote share. Indeed, the fact that a political party that



          603
               Trial Ex. P087 (Cho Rep. at 31) (“We do not have a system of proportional
   representation . . . .”). In fact, Dr. Thornton is the only expert in this case who incorporates an
   assumption of proportional representation into her analysis.
          604
              Trial Ex. D8 (Thornton Rep. at 21).
          605
              Id.; Dkt. 246 (Thornton Trial Test. at 114–15).
                                                    105
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   controlled the redistricting process maintained (or slightly improved) their seat-share percentage

   from before redistricting to after is not surprising if they have drawn an effective partisan

   gerrymander.

          Lastly, Dr. Thornton critiqued Dr. Cho for not considering incumbency in her analysis, and

   Dr. Thornton herself observed the success of incumbent candidates under the current map.606 This

   critique holds some weight, but Dr. Cho’s analysis still permits an inference, albeit less strong, on

   the partisan effect of the current map. See infra Section V.A.2.d. (addressing the problems with

   the incumbent-protection justification as applied to this case).

       b. Rebuttal to Dr. Niven

          Defendants also offered Dr. Thornton to rebut some of Dr. Niven’s findings. According to

   Dr. Thornton, she performed analyses similar to Dr. Niven’s but reached different results.607 First,

   her “attempt to replicate Dr. Niven’s finding [on the political orientation of census tracts left intact

   versus those which were split] result[ed] in an estimate that 50.48% of census tracts left intact are

   Republican in contrast to 48.18% among those that were split under the current plan” using the

   same election data as Dr. Niven.608 The corresponding numbers from Dr. Niven were 52.14% (or

   0.5214) and 49.25% (or 0.4925).609 Dr. Thornton further critiques Dr. Niven’s failure to perform

   the same calculations for the prior plan, which according to Dr. Thornton shows “a 0.4% increase

   in the percentage Republican among census tracts left intact” between the 2002 plan and the 2012

   plan “and a 2.4% decrease in the percentage Republican among census tracts that were split

   between the two plans . . . .”610 Second, Dr. Thornton “prepared correlation statistics to determine



          606
              Trial Ex. D8 (Thornton Rep. at 21–24); Dkt. 246 (Thornton Trial Test. at 115–16).
          607
              See Trial Ex. D8 (Thornton Rep. at 26–27); Dkt. 246 (Thornton Trial Test. at 116–17).
          608
              Trial Ex. D8 (Thornton Rep. at 26).
          609
              See Trial Ex. P524 (Niven Rep. at 6).
          610
              Trial Ex. D8 (Thornton Rep. at 26).
                                                     106
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   if the splitting of a census tract is correlated with the percentage Republican” using the same

   election data as Dr. Niven.611 She concludes that “split census tracts are, statistically speaking, not

   correlated with the percentage Republican in the census tract as measured by Dr. Niven under

   either the prior plan or the current plan.”612 At trial, Dr. Thornton further testified that “there is no

   statistically significant difference in the proportion Republican and whether or not a census tract

   is split.”613

           As an initial matter on this issue, we credit Dr. Niven’s census tract analysis for a limited

   purpose. See supra Section II.C.3. Debates about the strength of various correlations aside, each

   expert’s calculations are close to 50%, and both experts agree that split census tracts lean slightly

   Democratic. Moreover, Dr. Thornton’s analysis is not entirely clear—she measured whether “the

   splitting of a census tract is correlated with the percentage Republican . . . .”614 Dr. Niven, on the

   other hand, seems to have tested the statistical significance of the difference between census tracts

   that were left intact (which lean Republican) and those that were split (which lean Democratic).615

   An analysis of this differential treatment between Republican and Democratic voters seems to be

   absent from Dr. Thornton’s report.

       3. Dr. Thomas Brunell

           Dr. Thomas Brunell testified at trial for the Intervenors as an expert witness. Dr. Brunell

   is a tenured professor of political science at the University of Texas at Dallas.616 He received his

   bachelor’s, master’s, and doctorate, all in political science, from the University of California,



           611
               Id.
           612
               Id.; see also id. at 27 & n.38 (noting that the correlation coefficient of the current plan
   is -0.02429, with a probability of occurring by chance of 18.77%).
           613
               Dkt. 246 (Thornton Trial Test. at 116).
           614
               Trial Ex. D8 (Thornton Rep. at 26).
           615
               See Trial Ex. P524 (Niven Rep. at 6).
           616
               Trial Ex. I-060 (Brunell CV).
                                                     107
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   Irvine.617 Dr. Brunell teaches classes on Congress, political parties and interest groups, campaigns

   and elections, redistricting, and statistics, among others.618 He has published books and articles in

   peer-reviewed journals on redistricting, elections, issues of representation in government, and

   party polarization.619 Dr. Brunell has served as an expert witness in several other redistricting and

   VRA cases.620 This Court qualified Dr. Brunell as an expert in the fields of redistricting, elections,

   the VRA and representation, and statistics.621

          Dr. Brunell’s report and testimony is offered to rebut Plaintiffs’ experts Dr. Cho, Dr.

   Warshaw, Dr. Niven, Dr. Handley, and Mr. Cooper.

      a. Rebuttal to Dr. Cho

          Dr. Brunell questions whether Dr. Cho’s simulated maps “serve as a good basis for

   comparison to the actual map.”622 For various reasons, Dr. Brunell opines that Dr. Cho’s maps

   cannot serve as a good comparison to the current map. He asserts that “all of Professor Cho’s

   maps would likely be tossed” because they do not perfectly equalize population.623 For the reasons

   we explained earlier, see supra Section II.C.2., we do not find this critique persuasive. In brief,

   Dr. Cho’s 1% population deviation does not alter or undermine her analysis of partisan outcomes.



          617
               Id.
          618
               Id.; Dkt. 246 (Brunell Trial Test. at 188–89).
           619
               Trial Ex. I-060 (Brunell CV); Dkt. 246 (Brunell Trial Test. at 189–91).
           620
               Dkt. 246 (Brunell Trial Test. at 192).
           621
               Id. at 192–93. Plaintiffs filed a Daubert motion to exclude Dr. Brunell. Plaintiffs argue
   his methodology renders his opinions unreliable, but Plaintiffs do not object to his qualifications.
   See id.; Dkt. 153, 153-1 (Pls.’ Mot. to Exclude Brunell). We deny Plaintiffs motion, but at the
   same time, we do not give much weight to Dr. Brunell’s report and testimony and find portions of
   it unhelpful, as explained below. In brief, much of his report suffers from a scarcity of explanation.
   The Court notes that Dr. Brunell offered a few new and previously undisclosed expert opinions at
   trial. To the extent that Dr. Brunell offered expert opinions on topics about which he was
   previously made aware but failed to include in his report, we exclude such testimony because it
   was neither substantially justified nor harmless. See FED. R. CIV. P. 26(a)(2)(B)(i); 37(c)(1).
           622
               Dkt. 246 (Brunell Trial Test. at 194).
           623
               Trial Ex. I-060 (Brunell Rep. at 2).
                                                    108
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   We further note this criticism, along with others, offered by Dr. Brunell seems to miss the point of

   Dr. Cho’s simulated maps.624 Dr. Cho’s simulated maps are not offered as examples of maps that

   should be enacted by the State per se; rather, the simulated maps provide a baseline to compare

   the partisan outcomes between the current map and maps that incorporate only neutral criteria.

   Moreover, Dr. Brunell critiques Dr. Cho’s failure to consider incumbent protection, and he testified

   that protecting incumbents is “automatically going to make all of her districts different from . . .

   one of the main stated goals by the legislature here in Ohio.”625 We address this point in the context

   of evaluating the proof of partisan effect and considering Defendants’ justifications for the map,

   see infra Section V.A.2.d. (addressing the problems with the incumbent-protection justification as

   applied to this case), and we observe again that Representative Huffman described incumbent

   protection as “subservient” to other criteria in the process of creating H.B. 319.626

           Dr. Brunell incorrectly reads Dr. Cho’s histograms to “suggest[] that there are just a

   handful of different maps in Prof. Cho’s exercises, each with hundreds of thousands of

   repetitions.”627 Dr. Cho responds in her rebuttal report that Dr. Brunell’s inference is unsupported




           624
                For example, Dr. Brunell criticizes Dr. Cho for not turning over any shape files that
   would visually display some of her maps. Id. (“It is . . . highly unlikely that any of them would be
   considered by the legislature.”); Dkt. 246 (Brunell Trial Test. at 197). Although it is true that Dr.
   Cho did not turn over “shape files,” we credit Dr. Cho’s report and testimony and find that her
   simulated maps serve their purpose as maps that incorporate only neutral criteria in order to assess
   expected partisan outcomes based on, for example, political geography.
            625
                Dkt. 246 (Brunell Trial Test. at 196–97).
            626
                See Trial Ex. J01 (Ohio House Session, Sept. 15, 2011 at 19) (statement of Rep.
   Huffman). Dr. Brunell also criticizes Dr. Cho for failing to consider preserving the core of prior
   districts in her simulated maps. Trial Ex. I-060 (Brunell Rep. at 11); Dkt. 246 (Brunell Trial Test.
   at 204). But he also testified that this criterion is “part of protecting incumbents at one level,” and
   he agreed that this criterion could appear as improperly partisan “since the Republicans were
   advantaged ahead of time or they had more seats before the last round of redistricting . . . then that
   would carry through . . . to the next round of redistricting.” Dkt. 246 (Brunell Trial Test. at 205).
            627
                Trial Ex. I-060 (Brunell Rep. at 5); see also id. at 4 (lodging the same critique at the fact
   that Dr. Cho’s simulated maps produced three concentrated percentages of BVAPs, and
                                                     109
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   by the data provided: “none of these histograms can suggest anything about how many different

   maps are represented since two drastically different maps can have the same metrics. . . . The

   number of bars in the histograms has no relationship with the similarity of the maps.”628

   Accordingly, we reject this critique by Dr. Brunell.

          Next, Dr. Brunell disagrees with Dr. Cho’s conclusion that the current map is not

   responsive to voters. Instead, he “would characterize Prof. Cho [sic] simulated maps as hyper-

   responsive.”629 He further offered his normative view that responsiveness is not necessarily a

   positive feature of a map because “[m]assive volatility in the seat shares of the two parties is

   probably not conducive to good public policy.”630            As a basis for his conclusions on

   responsiveness, Dr. Brunell partly relied on “an old article by Edward Tufte, who was one of the

   first people to . . . talk about these two metrics of swing ratio and bias” (which are related to

   responsiveness).631 In fact, the article is from the early 1970s, and the data provided are for Great

   Britain, New Zealand, the United States generally, Michigan, New Jersey, and New York. 632

   Importantly, much of the data precede the one-person, one-vote cases decided in the early-to-mid-

   1960s—an era in which districts were malapportioned. Tufte also used a linear fit of the data, not

   a seats-votes curve like Dr. Cho, which is a different model with different underlying

   assumptions.633 Because Dr. Brunell’s critique is based in on an inapt comparison, we give it little

   to no weight.




   concluding that “at least for this variable, there are really slight variations on three different
   districts”).
            628
                Trial Ex. P088 (Cho Rebuttal Rep. at 14–15).
            629
                Trial Ex. I-060 (Brunell Rep. at 7).
            630
                Id.
            631
                Dkt. 246 (Brunell Trial Test. at 218).
            632
                Trial Ex. I-060 (Brunell Rep. at 9, tbl. 1).
            633
                Trial Ex. P088 (Cho Rebuttal Rep. at 15).
                                                   110
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          Lastly, Dr. Brunell misunderstands the point of Dr. Cho’s individual Plaintiff-specific

   analyses. He takes issue with the fact that, because some Plaintiffs end up in the same district

   under Dr. Cho’s simulated maps, “we cannot know what the partisanship of all 16 of the districts

   looks like” in the simulated maps.634 As Dr. Cho responds, this specific analysis “was never

   intended for this purpose, and [she] never suggested that the plaintiff data could be or should be

   used in this way.”635 We agree. Dr. Cho’s Plaintiff-specific analysis provides a comparison

   between each Plaintiff’s current district and each Plaintiff’s set of simulated districts, and this

   analysis is thus some evidence of whether Plaintiffs currently live in a packed or cracked district.

   The Plaintiff-specific analysis is just that, Plaintiff-specific; it does not compare the current map

   as a whole to the set of simulated maps as a whole. Dr. Cho has made such a comparison in a

   separate analysis.

      b. Rebuttal to Dr. Warshaw

          Dr. Brunell’s critique of Dr. Warshaw’s metrics focuses only on the efficiency gap. First,

   Dr. Brunell points out supposed issues with using actual congressional elections to calculate the

   efficiency gap, including uncontested elections and the variability of candidates.636 Dr. Warshaw

   acknowledges some drawbacks in his report, but he also explains that “[i]n practice, . . . both

   legislative races and other statewide races produce similar efficiency gap results for modern

   elections where voters are well sorted by party and ideology.”637 We do not find unreasonable Dr.

   Warshaw’s use of actual congressional election results to calculate the efficiency gap in




          634
              Id. at 9; see also id. at 9–11.
          635
              Trial Ex. P088 (Cho Rebuttal Rep. at 5).
          636
              Trial Ex. I-060 (Brunell Rep. at 12–13).
          637
              Trial Ex. P571 (Warshaw Rep. at 6–7 n.5).
                                                   111
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   congressional elections.638 Second, Dr. Brunell quibbles with the efficiency gap’s definition of

   wasted votes, stating that “[i]t is not clear why all votes for the winning candidate greater than the

   total number of votes for the losing candidate are not classified as wasted.”639 Dr. Warshaw,

   however, explains in his rebuttal the logic behind the definition of wasted votes, a term of art in

   the context of the efficiency gap—only “50%+1 of the total votes, rather than 1 more vote than the

   losing candidate’s current vote tally, are needed to win a counter-factual election” and therefore

   the efficiency gaps considers wasted votes for the winning candidate beyond that 50%+1.640 Dr.

   Brunell’s critique does not thread the needle, telling us why the generally-accepted definition of

   wasted votes from the efficiency gap literature poses a problem for measuring the extent of a

   partisan gerrymander. Accordingly, it does not impact our view of the helpfulness of the efficiency

   gap as a tool. Third, according to Dr. Brunell, “[i]t is hard to say how much of a gap is too much.

   Is five too much, or seven, or ten?”641 Furthermore, he criticizes the metric’s variability across

   elections.642 While these criticisms have some merit, they do not overcome Dr. Warshaw’s use of

   other metrics and how Dr. Warshaw holistically determines whether a map is a gerrymander (e.g.,

   a map must also be an outlier). See supra Section II.C.1. Accordingly, we find that Dr. Brunell

   does not undermine Dr. Warshaw’s conclusions or the usefulness of the efficiency gap.




          638
               Indeed, as Dr. Warshaw testified at trial, although he used congressional election results,
   other election results would “yield very similar answers . . . [b]ecause the voters are cleanly sorted
   into parties and they typically vote the same way for different offices, the correlation between
   congressional election results and presidential election results is about .9.” Dkt. 241 (Warshaw
   Trial Test. at 34).
           639
               Trial Ex. I-060 (Brunell Rep. at 14).
           640
               Trial Ex. P572 (Warshaw Rebuttal Rep. at 5).
           641
               Trial Ex. I-060 (Brunell Rep. at 14).
           642
               Id.
                                                    112
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      c. Rebuttal to Dr. Niven

          The thrust of Dr. Brunell’s response to Dr. Niven is that “when electoral boundaries are

   being drawn some cities, counties, communities, neighborhoods have to be divided” and “[t]he

   boundaries have to go somewhere . . . .”643 Although that may be true as a general proposition, it

   does not respond to Dr. Niven’s findings that the divisions imposed by the current map are more

   likely to be imposed on Democratic voters than Republican voters. See supra Section II.C.3. Dr.

   Brunell also comments on some conceptions of communities of interest used by Dr. Niven, noting

   that “[t]here is no clear definition of what constitutes a community of interest, but cities and

   counties are generally characterized as such[.]”644

      d. Rebuttal to Dr. Handley

          Dr. Brunell’s rebuttal to Dr. Handley does not contain any criticisms. His report simply

   states: “It is interesting to note that Dr. Handley recommended a majority African American

   district of over 61 percent BVAP in a recent lawsuit in Euclid, Ohio, which is in Cuyahoga County

   . . . .”645 We find this statement entirely unhelpful. That case addressed a non-partisan election

   and required a different jurisdiction-specific analysis, and Dr. Brunell agreed that to do a proper

   assessment of racially polarized voting in this case would require looking at partisan election

   outcomes.646 He also admitted that “[i]n the current District 11, [he] think[s] that Dr. Handley’s

   advice of 45 percent [BVAP] is correct . . . . That’s not for Cuyahoga County. That’s for

   Congressional District 11.”647




          643
              Id. at 16–17.
          644
              Id. at 16.
          645
              Id. at 18.
          646
              Dkt. 247 (Brunell Trial Test. at 94).
          647
              Id. at 95.
                                                      113
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       e. Rebuttal to Mr. Cooper

           Likewise, Dr. Brunell’s rebuttal to Mr. Cooper does not contain any helpful critiques. He

   simply concludes that “[i]t isn’t clear why the policy decisions of Mr. Cooper are better for the

   citizens of Ohio than the combined policy preferences of the state legislature.” 648 He also states

   that “[i]t is worth noting” that the Proposed Remedial Plan pairs more incumbents.649 The whole

   question in this case is not whether, in a vacuum, Mr. Cooper’s maps are “better” than the 2012

   map but whether the current map enacted by the State in H.B. 369 is constitutional. If not, the

   Proposed Remedial Plan is offered as a possible remedy to replace an unconstitutional partisan

   gerrymander. We therefore reject Dr. Brunell’s critiques of Mr. Cooper.

                                               III.      STANDING

           Before turning to the merits of this case, we must address two threshold issues. First, we

   address Plaintiffs’ standing to bring these claims. That is, are these the right Plaintiffs to bring

   these claims? Second, in the next Part, we will turn to the justiciability of partisan-gerrymandering

   claims. That is, are courts, rather than another branch of government, the proper forum to hear

   these claims?

           To establish standing, Plaintiffs must show: (1) “an injury in fact”; (2) “a causal connection

   between the injury and the conduct complained of”; and (3) that it is “likely . . . that the injury will

   be redressed by a favorable decision.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992)

   (internal quotation marks omitted). At least one “plaintiff must demonstrate standing for each

   claim . . . press[ed] and for each form of relief that is sought.” Davis v. Fed. Election Comm’n,

   554 U.S. 724, 734 (2008); see also Town of Chester v. Laroe Estates, Inc., 137 S. Ct. 1645, 1651




           648
                 Trial Ex. I-060 (Brunell Rep. at 19).
           649
                 Id.
                                                         114
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   (2017). These requirements ensure that plaintiffs who invoke a federal court’s jurisdiction have

   “a personal stake in the outcome of the controversy,” Baker v. Carr, 369 U.S. 186, 204 (1962),

   and that the federal court does not become “a forum for generalized grievances . . . .” Lance v.

   Coffman, 549 U.S. 437, 439 (2007).

          For the reasons that follow, we conclude that each individual Plaintiff and each

   organizational Plaintiff has standing to bring their district-specific vote-dilution claims. We

   further conclude that the individual Plaintiffs and organizational Plaintiffs have standing to bring

   their statewide First Amendment associational claim. Because Plaintiffs have standing for their

   claims that H.B. 369 violates the First and Fourteenth Amendments, they also have standing to

   pursue their claim that H.B. 369 exceeds the State’s powers under Article I. Before turning to

   these standing analyses, we emphasize that just because Plaintiffs have suffered an “injury in fact”

   for standing purposes does not mean that they necessarily succeed on the merits; in other words,

   showing “a personal stake in the outcome of the controversy,” Baker, 369 U.S. at 204, does not

   guarantee an outcome in one’s favor. Plaintiffs support with admissible evidence their contentions

   that they have suffered an injury in fact; for standing purposes, that is enough. We address fully

   whether the evidence is sufficient to prove Plaintiffs’ claims in our discussion of the merits.

      A. Vote-Dilution Claims

          To establish standing for their vote-dilution claims, the individual Plaintiffs must each

   establish that they live in an allegedly gerrymandered district just as in the racial-gerrymandering

   context. See Gill v. Whitford, 138 S. Ct. 1916, 1930 (2018) (“A plaintiff who complains of

   gerrymandering, but who does not live in a gerrymandered district, ‘assert[s] only a generalized

   grievance against governmental conduct of which he or she does not approve.’” (quoting United

   States v. Hays, 515 U.S. 737, 745 (1995))). In pursuing these claims, we recognize that, as in other



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   redistricting cases, “[v]oters, of course, can present statewide evidence in order to prove . . .

   gerrymandering in a particular district.” Ala. Legislative Black Caucus v. Alabama, 135 S. Ct.

   1257, 1265 (2015). Each individual Plaintiff and district will be addressed in turn.

           1. District 1: Linda Goldenhar

           Linda Goldenhar has lived at her current address and voted in District 1 for seventeen

   years.650 Goldenhar has voted in every congressional and presidential election in Ohio since 1992,

   and in each of these elections, she has voted for a Democratic candidate.651 Representative Chabot,

   a Republican, has represented District 1 since winning election in 1994, except in 2008 when

   Representative Chabot lost to Steve Driehaus; after that, Representative Chabot defeated

   Representative Driehaus in 2010.         Goldenhar thus lives in a district that allegedly cracks

   Democratic voters, and she is a Democratic voter.

           Admissible evidence supports Goldenhar’s contention that District 1 is gerrymandered.

   Dr. Cho’s analysis shows that “[a]mong the set of simulated maps, 95.6% of them would have

   placed Plaintiff Goldenhar in a district that would have provided a higher likelihood of electing a

   Democrat.”652 Therefore, Goldenhar’s district is more Republican than the vast majority of the

   alternate, simulated, non-partisan districts that she could live in, which indicates that her district is

   cracked. Under the Proposed Remedial Plan, Goldenhar would remain in District 1. The Proposed

   Remedial Plan’s District 1 is more competitive than the current District 1, and in 2018, a

   Democratic candidate would have won District 1 with 57.2% of the vote.653



           650
               Dkt. 230-15 (Goldenhar Dep. at 7).
           651
               Id. at 11–13.
           652
               Trial Ex. P087 (Cho Rep. at 13).
           653
               See Trial Ex. P598 (Cooper Third Suppl. Decl. at 4, fig. 2). Figure 2 shows two
   competitive elections under the Proposed Remedial Plan, both of which would be won by the
   Republican candidate; one election in which a Democratic candidate would receive 44.3% of the
   vote; and one election won by the Democratic candidate with 57.2% of the vote. The 2012 plan,
                                                     116
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           For these reasons, and for the reasons below that apply to all Plaintiffs, we find that Plaintiff

   Goldenhar has standing for her vote-dilution claim.

           2. District 2: Douglas Burks

           Douglas Burks has lived at his current address and voted in District 2 since the enactment

   of the 2012 plan.654 Burks has voted in every election since the enactment of the 2012 plan, and

   he has identified as a Democrat since 1980.655 Representative Wenstrup, a Republican, has

   represented District 2 since 2012. Burks thus lives in a district that allegedly cracks Democratic

   voters, and he is a Democratic voter.

           Admissible evidence supports Burks’s contention that District 2 is gerrymandered. Dr.

   Cho’s analysis shows that “[a]mong the set of simulated maps, 99.87% of them would have placed

   Plaintiff Burks in a district that would have provided a higher likelihood of electing a

   Democrat.”656 Therefore, Burks’s district is more Republican than the vast majority of the

   alternate, simulated, non-partisan districts that he could live in, which indicates that his district is

   cracked. Under the Proposed Remedial Plan, Burks would be placed in District 1 (with Goldenhar,

   see supra), which is considerably more competitive than the current District 2.657

           For these reasons, and for the reasons below that apply to all Plaintiffs, we find that Plaintiff

   Burks has standing for his vote-dilution claim.




   by contrast, has one competitive election, in which the Democratic candidate received 47.8% of
   the vote; the next closest election was in 2016, in which the Democratic candidate received 40.7%.
           654
               Dkt. 239 (Burks Trial Test. at 225).
           655
               See id.
           656
               Trial Ex. P087 (Cho Rep. at 14).
           657
               See Trial Ex. P598 (Cooper Third Suppl. Decl. at 4, fig. 2).
                                                     117
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          3. District 3: Sarah Inskeep

          Sarah Inskeep has lived at her current address and voted in District 3 since 2016.658 Prior

   to that, Inskeep lived in Cincinnati, where she grew up and attended college. 659 Inskeep is a

   Democratic voter.660 Representative Joyce Beatty, a Democratic Congresswoman, has represented

   District 3 since 2012. Inskeep thus lives in a district that allegedly packs Democratic voters, and

   she is a Democratic voter.

          Admissible evidence supports Inskeep’s contention that District 3 is gerrymandered. Dr.

   Cho’s analysis shows that “[a]mong the set of simulated maps, none of them would have placed

   Plaintiff Inskeep in a district that would have provided a higher likelihood of electing a

   Democrat.”661 Therefore, Inskeep’s district is more Democratic than all the alternate, simulated,

   non-partisan districts that she could live in, which indicates that her district is packed. Under the

   Proposed Remedial Plan, Inskeep would remain in District 3. The Proposed Remedial Plan’s

   District 3, though still safely Democratic, produces a Democratic vote share ranging from 58.2%

   in 2014 to 68.3% in 2018, compared to the 63.6% (2014) to 73.6% (2018) under the current map.662

          For these reasons, and for the reasons below that apply to all Plaintiffs, we find that Plaintiff

   Inskeep has standing for her vote-dilution claim.




          658
              See Dkt. 230-21 (Inskeep Dep. at 6–7, 28–29).
          659
              Id. at 7–8.
          660
              Id. at 53–54.
          661
              Trial Ex. P087 (Cho Rep. at 15).
          662
              Trial Ex. P598 (Cooper Third Suppl. Decl. at 4, fig. 2). Figure 2 shows that, under the
   current plan, the Democratic vote share exceeds 70% in 2012 and 2018. Under the Proposed
   Remedial Plan, these percentages are 66.9% for 2012 and 68.3% for 2018.
                                                    118
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          4. District 4: Cynthia Libster

          Cynthia Libster has lived at her current address and voted in District 4 for almost thirty

   years.663 Libster is a lifelong Democratic voter.664 Representative Jordan, a Republican, has

   represented District 4 since winning election in 2006. Libster thus lives in a district that allegedly

   cracks Democratic voters, and she is a Democratic voter.

          Admissible evidence supports Libster’s contention that District 4 is gerrymandered. Dr.

   Cho’s analysis shows that “[a]mong the set of simulated maps, 98.25% of them would have placed

   Plaintiff Libster in a district that would have provided a higher likelihood of electing a

   Democrat.”665 Therefore, Libster’s district is more Republican than the vast majority of alternate,

   simulated, non-partisan districts that she could live in, which indicates that her district is cracked.

          For these reasons, and for the reasons below that apply to all Plaintiffs, we find that Plaintiff

   Libster has standing for her vote-dilution claim.

          5. District 5: Kathryn Deitsch

          Kathryn Deitsch has lived in District 5 since 2013.666 Deitsch has affiliated with the

   Democratic Party since she “was first able to vote.”667 Representative Latta, a Republican, has

   represented District 5 since before the enactment of the current plan. Deitsch thus lives in a district

   that allegedly cracks Democratic voters, and she is a Democratic voter.

          Admissible evidence supports Deitsch’s contention that District 5 is gerrymandered. Dr.

   Cho’s analysis shows that “[a]mong the set of simulated maps, 95.45% of them would have placed

   Plaintiff Deitsch in a district that would have provided a higher likelihood of electing a



          663
              See Dkt. 230-30 (Libster Dep. at 9–10).
          664
              Id. at 54–55.
          665
              Trial Ex. P087 (Cho Rep. at 16).
          666
              See Dkt. 230-11 (Deitsch Dep. at 14).
          667
              Id. at 19.
                                                    119
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   Democrat.”668 Therefore, Deitsch’s district is more Republican than the vast majority of alternate,

   simulated, non-partisan districts that she could live in, which indicates that her district is cracked.

          For these reasons, and for the reasons below that apply to all Plaintiffs, we find that Plaintiff

   Deitsch has standing for her vote-dilution claim.

          6. District 6: LuAnn Boothe

          LuAnn Boothe has lived at her current address for thirty-four years and voted in District 6

   throughout the entirety of the current plan.669 Boothe has always been a Democratic voter.670

   Representative Johnson, a Republican, has represented District 6 since 2011, after defeating then-

   incumbent Representative Wilson (a Democratic Congressman) in 2010. Boothe thus lives in a

   district that allegedly cracks Democratic voters, and she is a Democratic voter.

          Admissible evidence supports Boothe’s contention that District 6 is gerrymandered. Dr.

   Cho’s analysis shows that “[a]mong the set of simulated maps, 100% of them would have placed

   Plaintiff Boothe in a district that would have provided a higher likelihood of electing a

   Democrat.”671 Therefore, Boothe’s district is more Republican than all the alternate, simulated,

   non-partisan districts that she could live in, which indicates that her district is cracked.

          For these reasons, and for the reasons below that apply to all Plaintiffs, we find that Plaintiff

   Boothe has standing for her vote-dilution claim.




          668
               Trial Ex. P087 (Cho Rep. at 17).
          669
               Dkt. 230-6 (Boothe Dep. at 7–8).
           670
               Id. at 21. Boothe voted for a Republican once, but she “learned her lesson” and doesn’t
   “think [she] would ever do it again. It would have to be an extreme circumstance . . . .” Id. at 49,
   90.
           671
               Trial Ex. P087 (Cho Rep. at 18).
                                                    120
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          7. District 7: Mark Griffiths

          Mark Griffiths has lived at his current address for almost sixteen years and has voted in

   District 7 since the enactment of the 2012 plan.672 Griffiths is a registered Democrat and has

   always voted for the Democratic candidate for Congress.673 Representative Gibbs, a Republican,

   began representing District 7 when the current plan was enacted.674 Griffiths was previously

   represented by then-Congresswoman Betty Sutton and, prior to that, then-Congressman Sherrod

   Brown, both Democrats. Griffiths thus lives in a district that allegedly cracks Democratic voters,

   and he is a Democratic voter.

          Admissible evidence supports Griffiths’s contention that District 7 is gerrymandered. Dr.

   Cho’s analysis shows that “[a]mong the set of simulated maps, 100% of them would have placed

   Plaintiff Griffiths in a district that would have provided a higher likelihood of electing a

   Democrat.”675 Therefore, Griffiths’s district is more Republican than all the alternate, simulated,

   non-partisan districts that he could live in, which indicates that his district is cracked. Under the

   Proposed Remedial Plan, Griffiths would be placed in District 9, a competitive district that would

   have elected a Democratic candidate in 2012 and 2018 and a Republican candidate in 2014 and

   2016.676

          For these reasons, and for the reasons below that apply to all Plaintiffs, we find that Plaintiff

   Griffiths has standing for his vote-dilution claim.




          672
               Dkt. 240 (Griffiths Trial Test. at 40).
          673
               Id. at 40–42. Griffiths voted Republican once, in the 2016 Senate race. Id. at 41–42.
           674
               Id. at 40. The Court takes judicial notice of the fact that Representative Gibbs previously
   served in Congress for District 18, which was eliminated due to Ohio losing two seats in Congress
   after the 2010 census. FED. R. EVID. 201.
           675
               Trial Ex. P087 (Cho Rep. at 19).
           676
               See Trial Ex. P598 (Cooper Third Suppl. Decl. at 4, fig. 2).
                                                    121
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           8. District 8: Lawrence Nadler

           Lawrence Nadler has lived at his current address, located in District 8, for twenty-six

   years.677 Nadler affiliates with the Democratic Party and votes for Democratic candidates.678

   Representative Davidson, a Republican, has represented District 8 since 2016 after then-Speaker

   of the U.S. House of Representatives John Boehner resigned his seat. Nadler thus lives in a district

   that allegedly cracks Democratic voters, and he is a Democratic voter.

           Admissible evidence supports Nadler’s contention that District 8 is gerrymandered. Dr.

   Cho’s analysis shows that “[a]mong the set of simulated maps, 100% of them would have placed

   Plaintiff Nadler in a district that would have provided a higher likelihood of electing a

   Democrat.”679 Therefore, Nadler’s district is more Republican than all the alternate, simulated,

   non-partisan districts that he could live in, which indicates that his district is cracked.

           For these reasons, and for the reasons below that apply to all Plaintiffs, we find that Plaintiff

   Nadler has standing for his vote-dilution claim.

           9. District 9: Tristan Rader and Chitra Walker

           First, Tristan Rader has lived at his address since October 2013 and, after moving to his

   current address, has voted in District 9 in every election.680 Rader generally votes for Democratic

   candidates and he has been involved in several Democratic campaigns.681 Representative Kaptur,

   a Democratic Congresswoman, has represented District 9 since the current plan was enacted and

   she was first elected to Congress in 1982. At the time of the 2012 plan’s enactment, Representative




           677
               Dkt. 230-36 (Nadler Dep. at 6–7).
           678
               Id. at 8.
           679
               Trial Ex. P087 (Cho Rep. at 20).
           680
               Dkt. 230-40 (Rader Dep. at 8–9, 13)
           681
               Id. at 18; see also, e.g., id. at 29–30.
                                                      122
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   Kaptur was Ohio’s longest-serving member of Congress. Rader thus lives in a district that

   allegedly packs Democratic voters, and he is a Democratic voter.

           Admissible evidence supports Rader’s contention that District 9 is gerrymandered. Dr.

   Cho’s analysis shows that “[a]mong the set of simulated maps, 13.55% of them would have placed

   Plaintiff Rader in a district that would have provided a higher likelihood of electing a

   Democrat.”682 Therefore, Rader’s district is more Democratic than the vast majority of the

   alternate, simulated, non-partisan districts that he could live in, which indicates that his district is

   packed. Under the Proposed Remedial Plan, Rader would be placed in the new District 9 (with

   Griffiths, see supra).

           For these reasons, and for the reasons below that apply to all Plaintiffs, we find that Plaintiff

   Rader has standing for his vote-dilution claim.

           Second, Chitra Walker also lives in District 9 and has lived at a few addresses throughout

   the district since 2008.683 Walker is a Democratic voter.684 Walker thus lives in a district that

   allegedly packs Democratic voters, and she is a Democratic voter.

           Admissible evidence supports Walker’s contention that District 9 is gerrymandered. Dr.

   Cho’s analysis shows that “[a]mong the set of simulated maps, 15.91% of them would have placed

   Plaintiff Walker in a district that would have provided a higher likelihood of electing a

   Democrat.”685 Therefore, Walker’s district is more Democratic than the vast majority of the

   alternate, simulated, non-partisan districts that she could live in, which indicates that her district is




           682
               Trial Ex. P087 (Cho Rep. at 22).
           683
               Dkt. 230-50 (Walker Dep. at 8–9).
           684
               Id. at 11, 28.
           685
               Trial Ex. P087 (Cho Rep. at 21).
                                                     123
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   packed. Under the Proposed Remedial Plan, Walker would also be placed in the new District 9

   (with Rader and Griffiths, see supra).

          For these reasons, and for the reasons below that apply to all Plaintiffs, we find that Plaintiff

   Walker has standing for her vote-dilution claim.

          10. District 10: Ria Megnin

          Ria Megnin has lived at her current address and voted in District 10 since 2012.686 Megnin

   is affiliated with the Democratic Party and votes for Democratic candidates.687 Representative

   Turner, a Republican, has represented District 10 since the enactment of the current plan and has

   served in Congress for sixteen years. Megnin thus lives in a district that allegedly cracks

   Democratic voters, and she is a Democratic voter.

          Admissible evidence supports Megnin’s contention that District 10 is gerrymandered. Dr.

   Cho’s analysis shows that “[a]mong the set of simulated maps, 99.75% of them would have placed

   Plaintiff Megnin in a district that would have provided a higher likelihood of electing a

   Democrat.”688 Therefore, Megnin’s district is more Republican than almost all of the alternate,

   simulated, non-partisan districts that she could live in, which indicates that her district is cracked.

          For these reasons, and for the reasons below that apply to all Plaintiffs, we find that Plaintiff

   Megnin has standing for her vote-dilution claim.

          11. District 11: Andrew Harris

          Andrew Harris has lived in what is now District 11 since 1997 and been voting since he

   turned eighteen years old in 2008.689 Harris is a registered Democratic voter and always votes for




          686
              Dkt. 230-32 (Megnin Dep. at 9, 13).
          687
              Id. at 68, 71–72.
          688
              Trial Ex. P087 (Cho Rep. at 23).
          689
              Dkt. 230-17 (Harris Dep. at 7–8, 10).
                                                    124
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   Democratic candidates.690      Representative Fudge, a Democratic Congresswoman, represents

   District 11 and has served in Congress since 2008. Harris thus lives in a district that allegedly

   packs Democratic voters, and he is a Democratic voter.

          Admissible evidence supports Harris’s contention that District 11 is gerrymandered. Dr.

   Cho’s analysis shows that “[a]mong the set of simulated maps, none of them would have placed

   Plaintiff Harris in a district that would have provided a higher likelihood of electing a

   Democrat.”691 Therefore, Harris’s district is more Democratic than all of the alternate, simulated,

   non-partisan districts that he could live in, which indicates that his district is packed.

          For these reasons, and for the reasons below that apply to all Plaintiffs, we find that Plaintiff

   Harris has standing for his vote-dilution claim.

          12. District 12: Aaron Dagres

          Aaron Dagres has lived at his current address and voted in District 12 for about eight

   years.692 Dagres is a registered Democratic voter and has always voted for Democratic candidates,

   except in a 2012 presidential primary that was not contested on the Democratic side.693

   Representative Balderson, a Republican, first won election in a 2018 special election and then went

   on to win the general election; Representative Balderson replaced Representative Tiberi (also a

   Republican), an incumbent at the time of the current plan’s enactment. Dagres thus lives in a

   district that allegedly cracks Democratic voters, and he is a Democratic voter.

          Admissible evidence supports Dagres’s contention that District 12 is gerrymandered. Dr.

   Cho’s analysis shows that “[a]mong the set of simulated maps, 100% of them would have placed




          690
              Id. at 10.
          691
              Trial Ex. P087 (Cho Rep. at 24).
          692
              Dkt. 240 (Dagres Trial Test. at 84–85).
          693
              Id. at 85.
                                                      125
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   Plaintiff Dagres in a district that would have provided a higher likelihood of electing a

   Democrat.”694 Therefore, Dagres’s district is more Republican than all the alternate, simulated,

   non-partisan districts that he could live in, which indicates that his district is cracked. Under the

   Proposed Remedial Plan, Dagres would be placed in a new District 12, which mostly remains a

   safe-Republican district, but Democratic candidates would receive a higher vote share.695 In 2018,

   the Democratic candidate would have won remedial District 12.696

          For these reasons, and for the reasons below that apply to all Plaintiffs, we find that Plaintiff

   Dagres has standing for his vote-dilution claim.

          13. District 13: Elizabeth Myer

          Elizabeth Myer has lived at her current address, located in the current District 13, for over

   twenty years.697 Myer is a registered Democratic voter and votes for Democratic candidates.698

   Representative Ryan, a Democratic Congressman, has represented District 13 since the current

   plan’s enactment and he was an incumbent at that time. Myer thus lives in a district that allegedly

   packs Democratic voters, and she is a Democratic voter.

          Admissible evidence supports Myer’s contention that District 13 is gerrymandered. Dr.

   Cho’s analysis shows that “[a]mong the set of simulated maps, none of them would have placed

   Plaintiff Myer in a district that would have provided a higher likelihood of electing a Democrat.”699

   Therefore, Myer’s district is more Democratic than all the alternate, simulated, non-partisan

   districts that she could live in, which indicates that her district is packed. Under the Proposed




          694
              Trial Ex. P087 (Cho Rep. at 25).
          695
              See Trial Ex. P598 (Cooper Third Suppl. Decl. at 4, fig. 2).
          696
              See id.
          697
              Dkt. 240 (Myer Trial Test. at 112–13).
          698
              Id. at 115.
          699
              Trial Ex. P087 (Cho Rep. at 26).
                                                    126
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   Remedial Plan, Myer would be placed in a new District 13, a Democratic-leaning but fairly

   competitive district.700 The remedial District 13 would have consistently elected a Democratic

   candidate from 2012 to 2018, but the Democratic vote share is lower, and the 2016 (54.2%

   Democratic vote share) and 2018 (51.4% Democratic vote share) would have been competitive.701

             For these reasons, and for the reasons below that apply to all Plaintiffs, we find that Plaintiff

   Myer has standing for her vote-dilution claim.

             14. District 14: Beth Hutton

             Beth Hutton has lived at her current address, located in District 14, for over thirty years.702

   Hutton has voted in almost every single U.S. congressional race since 1972.703 She always votes

   in the Democratic primaries and typically votes for Democratic candidates at the federal level,

   with the exception of voting for Representative Steve LaTourette (a Republican) the first time he

   ran.704     Representative Joyce, a Republican, began representing District 14 in 2013 after

   Representative LaTourette retired. Hutton thus lives in a district that allegedly cracks Democratic

   voters, and she is a Democratic voter.

             Admissible evidence supports Hutton’s contention that District 14 is gerrymandered. Dr.

   Cho’s analysis shows that “[a]mong the set of simulated maps, 100% of them would have placed

   Plaintiff Hutton in a district that would have provided a higher likelihood of electing a

   Democrat.”705 Therefore, Hutton’s district is more Republican than all the alternate, simulated,




             700
                 See Trial Ex. P598 (Cooper Third Suppl. Decl. at 4, fig. 2).
             701
                 See id. No elections in this district under the current plan were competitive.
             702
                 Dkt. 230-20 (Hutton Dep. at 8–10).
             703
                 Id. at 12.
             704
                 Id. at 12–16.
             705
                 Trial Ex. P087 (Cho Rep. at 27).
                                                       127
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   non-partisan districts that she could live in, which indicates that her district is packed. Under the

   Proposed Remedial Plan, Hutton would be placed in District 13 (with Myer, see supra).

           For these reasons, and for the reasons below that apply to all Plaintiffs, we find that Plaintiff

   Hutton has standing for her vote-dilution claim.

           15. District 15: Theresa Thobaben

           Teresa Thobaben has lived at her current address, located in District 15, for thirty-seven

   years.706 Thobaben has voted in every congressional election that she can recall since her first

   election in 1972.707 Thobaben has always considered herself a Democrat and consistently voted

   for Democratic candidates.708 Representative Stivers, a Republican, has represented District 15

   since 2010 after defeating then-incumbent Democratic Representative Mary Jo Kilroy (in the

   former District 15). Thobaben thus lives in a district that allegedly cracks Democratic voters, and

   she is a Democratic voter.

           Admissible evidence supports Thobaben’s contention that District 15 is gerrymandered.

   Dr. Cho’s analysis shows that “[a]mong the set of simulated maps, 79.28% of them would have

   placed Plaintiff Thobaben in a district that would have provided a higher likelihood of electing a

   Democrat.”709 Therefore, Thobaben’s district is more Republican than the vast majority of

   alternate, simulated, non-partisan districts that she could live in, which indicates that her district is

   packed.

           For these reasons, and for the reasons below that apply to all Plaintiffs, we find that Plaintiff

   Thobaben has standing for her vote-dilution claim.




           706
               Dkt. 220-48 (Thobaben Dep. at 8–9).
           707
               Id. at 9–11.
           708
               Id. at 11.
           709
               Trial Ex. P087 (Cho Rep. at 28).
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           16. District 16: Constance Rubin

           Constance Rubin has lived at and voted in District 16 for the past eight years.710 Rubin has

   been a Democratic voter since at least 1984, though she formerly voted Republican when she first

   registered to vote in 1973.711      Now former-Representative Jim Renacci, a Republican, had

   represented District 16 since 2011 after beating then-Democratic incumbent Congressman John

   Boccieri in the 2010 election; in January 2019, Representative Anthony Gonzalez, a Republican,

   began serving as the Congressman for District 16.712 Rubin thus lives in a district that allegedly

   cracks Democratic voters, and she is a Democratic voter.

           Admissible evidence supports Rubin’s contention that District 16 is gerrymandered. Dr.

   Cho’s analysis shows that “[a]mong the set of simulated maps, 100% of them would have placed

   Plaintiff Rubin in a district that would have provided a higher likelihood of electing a

   Democrat.”713 Therefore, Rubin’s district is more Republican than all alternate, simulated, non-

   partisan districts that she could live in, which indicates that her district is packed.

           For these reasons, and for the reasons below that apply to all Plaintiffs, we find that Plaintiff

   Rubin has standing for her vote-dilution claim.

           17. Statewide Evidence of Injury in Fact and Causation

           Statewide evidence bolsters each individual Plaintiff’s contention that the current map was

   drawn with the predominant purpose of packing or cracking Democratic voters in each district and

   had that effect. As explained above, Dr. Warshaw employed four partisan-bias metrics to measure




           710
               Dkt. 230-42 (Rubin Dep. at 7–8).
           711
               Id. at 16, 23–24. Rubin says that it is “[h]ighly doubtful” that she would vote for a
   Republican again, id. at 24–25, and Rubin has been a member of the Stark County Democratic
   Party since 1984 and served on its Central Committee from 2004 to 2010, id. at 16.
           712
               The Court takes judicial notice of this fact. FED. R. EVID. 201.
           713
               Trial Ex. P087 (Cho Rep. at 29).
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   the partisan advantage of the current plan: the efficiency gap, the mean-median gap, two partisan

   symmetry metrics, and declination.714 Based on his analysis of these measures, Dr. Warshaw

   concluded that “Democratic voters in Ohio are efficiently packed and cracked across districts. . . .

   As a result, Ohio’s elections are unresponsive to normal shifts in voters’ preferences within the

   historical range of congressional election results in Ohio.”715 Notably, these effects align with the

   map drawers’ own statements that “it is a tall order to draw 13 ‘safe’ seats,” and their thoughts that

   “this map is the one [that] put the most number of seats in the safety zone given the political

   geography of [Ohio] . . . .”716 That is, the map efficiently packs and cracks each and every district

   in an effort to favor Republican candidates to the fullest and most durable extent possible.

          The individual Plaintiffs present other evidence of causation as well. Dr. Cho’s analysis

   shows that although “a 12-4 seat share [the outcome of every election under the 2012 plan] is

   possible, . . . it is unusual given a map creation process that does not consider partisanship.”717 In

   her initial report, Dr. Cho’s maps were based on 2008 and 2010 election data, which showed that

   “none of [her simulated maps] had the same 12-4 seat share as in the challenged map.”718 In her

   supplemental report, in which Dr. Cho uses the 2018 election data, only 0.046% of the over 3-

   million simulated maps (i.e., 1,445 out of 3,037,645) produce the same 12-4 seat share.719

   Moreover, Mr. Cooper’s Proposed Remedial Plan splits fewer counties and adheres to traditional

   redistricting principles    (“one-person-one-vote,     incumbent    non-pairing where       possible,




          714
               See Trial Ex. P571 (Warshaw Rep. at 5–13).
          715
               Id. at 4.
           716
               See Trial Ex. P385 (Congressional Redistricting Talking Points at LWVOH_0052438).
           717
               Trial Ex. P087 (Cho Rep. at 40).
           718
               Id. (emphasis added); see also id. at 33–37 (analyzing competitiveness and concluding
   that the simulated maps are more competitive than the current map, thus providing evidence that
   the current map packs and cracks voters).
           719
               Trial Ex. P426 (Cho Suppl. Rep. at 3).
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   compactness, contiguity, the non-dilution of minority voting strength, and respect for communities

   of interest”).720 Dr. Warshaw bolsters these findings by comparing the partisan-bias metrics from

   elections under the current plan to those under historical elections and concluding that the current

   plan’s partisan bias is extreme.721 The alternative maps (both the simulations and Mr. Cooper’s

   maps) and Ohio’s own historical maps thus provide baselines against which to measure the

   extremity of this map’s partisan bias; collectively, this evidence establishes causation for standing

   purposes.

            18. Redressability

            Plaintiffs request injunctive relief that prohibits the State from conducting future elections

   under the current map. They further request that a non-gerrymandered map be implemented in its

   place.

            Clearly, the Court can enjoin future use of the 2012 map. Further, it is possible to enact a

   non-gerrymandered map for the upcoming election. The Proposed Remedial Plan offers just one

   possible example of such a non-gerrymandered map that could replace the current map.722 Dr.

   Warshaw concludes that, using the same partisan-bias metrics that he used to analyze the current

   map, “the remedial plan . . . displays very low levels of partisan bias and high levels of

   responsiveness. Thus, [Dr. Warshaw] believe[s] that the remedial plan would improve the

   representational link between voters and Ohio’s members of Congress.”723 In other words, the



            720
               See trial Ex. P090 (Cooper Decl. at 11, 14–18); see also Trial Ex. P092 (Cooper Suppl.
   Decl.) (providing hypothetical maps that pair the same number of incumbents and in the same
   configuration (a Republican pairing, a Democratic pairing, and a Democratic candidate versus a
   Republican candidate) as the 2012 plan but are similar in demographic and partisan measures to
   the Proposed Remedial Plan).
           721
               See Trial Ex. P571 (Warshaw Rep. at 21–27); Trial Ex. P476 (Warshaw 2018 Update
   at 6–8).
           722
               See Trial Ex. P091 (Cooper Errata at 2, fig. 1).
           723
               Trial Ex. P571 (Warshaw Rep. at 43).
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   Proposed Remedial Plan is one example of a map that unpacks and uncracks Plaintiffs, permitting

   their votes to carry more weight and thereby remedying the injury caused by the 2012 map. See

   Gill, 138 S. Ct. at 1931. Dr. Cho’s simulations also show that, for each individual Plaintiff, many

   possible districts exist in which Plaintiffs’ votes would carry more weight because the districts are

   neither packed nor cracked.724 Thus, Plaintiffs’ injuries are redressable.

          19. Organizational Plaintiffs

          “An association has standing to bring suit on behalf of its members when its members

   would otherwise have standing to sue in their own right, the interests at stake are germane to the

   organization’s purpose, and neither the claim asserted nor the relief requested requires the

   participation of individual members in the lawsuit.” Common Cause v. Rucho, 318 F. Supp. 3d

   777, 827 (M.D.N.C. 2018) (citing Friends of the Earth, Inc. v. Laidlaw Envt’l Servs. (TOC), Inc.,

   528 U.S. 167, 181 (2000)).

          As discussed in the summaries of their testimony, Plaintiffs APRI and the League are both

   non-partisan organizations. APRI and the League aim to encourage voter engagement and

   effective and educated voting. The League has also made significant efforts to study and curb

   partisan gerrymandering, for example commissioning a study on the creation of the 2012 map.725

   APRI has put forth evidence that it has Democratic-voting members who live at least in Districts

   5 (Stephanie White) and 12 (Andre Washington). The discussion above in the individual-Plaintiff

   sections shows that there is evidence, sufficient for standing purposes, that both of those districts

   dilute Democratic voters’ votes. See supra Sections II.A.2., III.A.5., III.A.12. Similarly, the



          724
              See generally Trial Ex. P087 (Cho Rep. at 13–29); see also Trial Ex. P426 (Cho Suppl.
   Rep. at 3–4) (showing that, using data from across election cycles, the simulated maps contain
   more competitive districts and that H.B. 369 is an outlier compared to the simulated maps in terms
   of how many seats Republicans win).
          725
              Dkt. 239 (Miller Trial Test. at 154–55, 156–57).
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   League has put forth evidence that it has at least one Democratic-voting member who lives in

   District 14 (John Fitzpatrick). The discussion above in the individual-Plaintiff sections shows that

   there is evidence, sufficient for standing purposes, that District 14 dilutes Democratic voters’

   votes. See, e.g., supra Sections II.A.2., III.A.14.

          Plaintiffs NEOYBD, HCYD, and OSU College Democrats are all partisan organizations

   composed of members who vote for Democratic candidates. All three organizations work to

   educate and mobilize voters to support Democratic candidates, among other things. NEOYBD’s

   Democratic members live in Districts 9, 11, 13, and 14. HCYD’s Democratic members live in

   Districts 1 and 2. OSU College Democrats’ members live in Districts 3, 12, and 15. Evidence

   was presented at trial supporting the conclusion that each of these districts was intentionally

   gerrymandered for partisan gain. See, e.g., supra Sections III.A.1–3, III.A.9, III.A.11–15.

          As previously discussed in the context of the individual Plaintiffs, evidence of causation

   and redressability pertaining to each of these districts was also introduced at trial.

          We therefore conclude that APRI, at minimum, has associational standing to bring

   Fourteenth and First Amendment vote-dilution claims on behalf of its members to challenge

   Districts 5 and 12 as partisan gerrymanders. We conclude that the League, at minimum, has

   associational standing to bring Fourteenth and First Amendment vote-dilution claims on behalf of

   Fitzpatrick to challenge District 14 as a partisan gerrymander. See Rucho, 318 F. Supp. 3d at 827

   (finding that the League had standing to challenge North Carolina’s District 9 because “League

   member Klenz live[d] in that district and testified to and provided evidence that her vote was

   diluted on the basis of invidious partisanship”); see also League of Women Voters of Mich. v.

   Benson, --- F. Supp. 3d ---, 2019 WL 1856625, at *47 (E.D. Mich. Apr. 25, 2019) (concluding that

   the League had standing to challenge gerrymandered districts on behalf of its members based on



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   similar evidence).    Similarly, we conclude that the partisan organizational Plaintiffs have

   derivative standing to challenge the districts in which their members live. At minimum, we find

   that NEOYBD has standing to challenge Districts 9, 11, 13, and 14, that HCYD has standing to

   challenge Districts 1 and 2, and that OSU College Democrats has standing to challenge Districts

   3, 12, and 15.

                                                    ***

          In sum, the individual Plaintiffs have presented enough evidence to show that they each

   have a personal stake in the case to satisfy standing requirements. There is some evidence that

   individual Plaintiffs actually live in packed or cracked districts and, consequently, they have

   suffered injuries in fact that are fairly traceable to the way in which the current map was drawn.

   Furthermore, the individual Plaintiffs have evidence of alternative maps, including the Proposed

   Remedial Plan and Dr. Cho’s simulations, that show other possible districts exist in which the

   individual Plaintiffs’ votes would not be diluted. The organizational Plaintiffs, for their part,

   represent members who, like the individual Plaintiffs, live in arguably packed and cracked

   districts. They have derivative standing to represent the interests of their members in a suit that is

   germane to their own interests and may rely on the same evidence of injury, causation, and

   redressability as do the individual Plaintiffs. Whether this evidence, along with Plaintiffs’ other

   evidence, is enough to prove their claims on the merits will be addressed in Part V.

      B. First Amendment Associational Claim

          For Plaintiffs’ First Amendment associational claim, statewide standing principles apply.

   To establish standing on this claim, the individual Plaintiffs must point to evidence of their

   membership in and activities supporting the Democratic Party; to establish an injury in fact,

   Plaintiffs must demonstrate that the gerrymandered map weakened their Party’s ability to carry



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   out its core functions and purposes. Importantly, the “[p]artisan-asymmetry metrics such as the

   efficiency gap measure . . . the effect that a gerrymander has on the fortunes of political parties.”

   Gill, 138 S. Ct. at 1933. As such, “evidence of partisan asymmetry well fits a suit alleging

   associational injury” like this one. Id. at 1939 (Kagan, J., concurring). In Gill, the plaintiffs failed

   to establish standing under this theory because they “did not emphasize their membership in [the

   Democratic] [P]arty, or their activities supporting it.” Id. Put another way, the concern for

   standing for this claim is whether the individual Plaintiffs are the sort of people who are politically

   engaged and actively work toward electing candidates of their party. If so, they have “a personal

   stake in the outcome of the controversy.” Baker, 369 U.S. at 204.

           As a threshold matter, the individual Plaintiffs fit this bill. See supra Section II.A.1. These

   Plaintiffs engage in a variety of get-out-the-vote, party-mobilization, fundraising, and other

   campaign and political activities. See supra Section II.A.1. There is also no serious dispute that

   nothing about the current map categorically prohibits Plaintiffs from engaging in these activities.

   See Benson, 2019 WL 1856625, at *65 (reasoning that although the challenged map “does not

   categorically prevent Plaintiffs from engaging in political activity, . . . ‘constitutional violations

   may arise from the deterrent, or ‘chilling,’ effect of governmental [efforts] that fall short of a direct

   prohibition against the exercise of First Amendment rights.’”) (citation omitted) (alteration in

   original). The issue, though, is whether these Plaintiffs are able “to associate for the advancement

   of [their] political beliefs . . . [and are able] to cast their votes effectively,” Williams v. Rhodes,

   393 U.S. 23, 30 (1968), or whether the redistricting plan “has the purpose and effect of burdening

   a group of voters’ representational rights.” Vieth v. Jubelirer, 541 U.S. 267, 314 (2004) (Kennedy,

   J., concurring in the judgment); see also Gill, 138 S. Ct. at 1938 (Kagan, J., concurring); Norman

   v. Reed, 502 U.S. 279, 288 (1992) (noting the constitutional right derived from the First and



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   Fourteenth Amendments to “advance[] the constitutional interest of like-minded voters to gather

   in pursuit of common political ends, thus enlarging the opportunities of all voters to express their

   own political preferences.”) (collecting cases). So long as the 2012 map weakened their Party’s

   ability to carry out its core functions and purposes, Plaintiffs have suffered an injury for their

   associational claim.

          Here, Plaintiffs have presented evidence of partisan asymmetry to establish both an injury

   in fact and causation. Dr. Warshaw’s analysis of the partisan-bias metrics concludes that “Ohio’s

   congressional districts are unresponsive to changes in voters’ preferences” and that this “pro-

   Republican advantage in congressional elections in Ohio causes Democratic voters to be

   effectively shut out of the political process in Congress.”726 Moreover, the partisan bias “has been

   durable between the 2012 and 2018 elections.”727 Actual election results also bear out an injury

   in fact. Despite Democrats winning between 39% and 47% of the statewide vote, Democratic

   candidates have won only 25% of Ohio’s congressional elections under the current map;

   meanwhile, the Republican statewide vote share has fluctuated between 51% and 59%, but

   Republican candidates have won 75% of those elections. Part of Dr. Cho’s analysis provides

   additional support, as she finds that “[i]n each of the simulation analyses [using data from the

   2008-2018 election cycles], 9 Republican seats is the common and expected outcome of a non-

   partisan map creation process.”728 Together, this evidence helps support, for standing purposes,

   the sort of long-lasting and substantial injury about which the First Amendment associational claim

   is concerned.



          726
              Trial Ex. P571 (Warshaw Rep. at 43).
          727
              Trial Ex. P476 (Warshaw 2018 Update at 1).
          728
              Trial Ex. P426 (Cho Suppl. Rep. at 3) (“In each of the simulation analyses [using data
   from the 2008-2018 election cycles], 9 Republican seats is the common and expected outcome of
   a non-partisan map creation process.”).
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          Lastly, as with their vote-dilution claims, the individual Plaintiffs satisfy redressability as

   well. See supra Section III.A.18. In particular, Mr. Cooper’s comparison of election results

   between the current plan and the Proposed Remedial Plan shows better responsiveness and more

   competitive seats are possible with a different map.

          “An organization suffers an injury in fact when its mission is ‘perceptibly impaired’ by the

   challenged action, which it may show through a ‘demonstrable injury to the organization’s

   activities’ and a ‘consequent drain on the organization’s resources.’” League of Women Voters of

   Mich. v. Johnson, 352 F. Supp. 3d 777, 801 (E.D. Mich. 2018) (quoting Havens Realty Corp. v.

   Coleman, 455 U.S. 363, 379 (1982)). Plaintiff organizations APRI and the League engage in voter

   education, registration, and get-out-the-vote efforts in furtherance of their beliefs in the importance

   of voters’ participation in representational democracy. The League also puts on candidate forums,

   creates voter guides, answers voters’ questions, and runs various other programs designed to

   encourage and facilitate informed and effective voting. APRI and the League presented evidence

   at trial supporting the conclusion that the 2012 map hinders their ability to advance their aims and

   “to associate for the advancement of political beliefs.” Williams, 393 U.S. at 30. They offered

   evidence suggesting that the jagged lines of the 2012 map and its propensity to split communities

   of interest cause voter confusion, which saps their resources. Their members’ testimony supported

   an inference that uncompetitive and unresponsive districts cause voter apathy in Ohio, making it

   more difficult for APRI and the League to register voters and get out the vote. Evidence was

   presented suggesting that noncompetitive districts may result in candidates declining to participate

   in candidate forums put on by the League. See Rucho, 318 F. Supp. 3d at 831. Finally, Dr.

   Warshaw and Mr. Cooper’s evidence, discussed above, applies uniformly here to support causation

   and redressability.



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          We conclude that APRI and the League have provided competent evidence to establish at

   least independent associational standing for their First Amendment associational claim based on

   the 2012 map’s negative impact on their ability effectively to associate to advance their belief in

   active and informed voter participation in the democratic process. See Benson, 2019 WL 1856625,

   at *66 (concluding, after reviewing similar evidence, and that the challenged plan “injured the

   League by engendering voter apathy that hampers the League’s voter engagement, voter education,

   and get out the vote efforts; preventing the League from making progress on voting rights issues

   through legislative reforms; and making it difficult for the League to secure Republican

   candidates’ participation in candidate forums and voter education guides.”).

          With regard to the partisan organizational Plaintiffs, “[a]s Justice Kagan recognized in Gill,

   ‘what is true for party members may be doubly true for party officials and triply true for the party

   itself (or for related organizations).’” Rucho, 318 F. Supp. 3d at 830 (quoting Gill, 138 S. Ct. at

   1938 (Kagan, J., concurring)).     Plaintiffs NEOYBD, HCYD, and OSU College Democrats

   presented evidence at trial showing that their organizational abilities are hindered by the 2012 map.

   They have had difficulty recruiting and retaining members due to the lack of competitive races and

   have had to dedicate limited resources to combatting voter apathy and confusion, which one could

   infer are worsened by uncompetitive and unresponsive districts.          They have had difficulty

   fundraising, mobilizing voters, recruiting candidates, and winning elections.       Dr. Warshaw’s

   testimony, discussed above, demonstrates that the current map is highly uncompetitive and

   unresponsive. Mr. Cooper’s testimony demonstrates that a non-gerrymandered map would result

   in more competitive elections, in which the Democratic organizations would be more able to

   mobilize and compete. We conclude that the partisan organizational Plaintiffs have standing to

   pursue their First Amendment associational claim.



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      C. Article I Claim

          As we explained previously, a state necessarily exceeds its powers under Article I if it runs

   afoul of the First and Fourteenth Amendments. Plaintiffs have standing to pursue their First

   Amendment and Fourteenth Amendment claims. That is enough to establish that Plaintiffs have

   standing for their claim that the State has exceeded its powers under Article I.

               IV.     JUSTICIABILITY, THE POLITICAL QUESTION DOCTRINE,
                     AND THE ROLE OF THE FEDERAL COURTS IN REDISTRICTING

      A. Justiciability and The Political Question Doctrine

          The Supreme Court has recognized that partisan gerrymandering is incompatible with

   democratic principles. Ariz. State Legislature v. Ariz. Indep. Redistricting Comm’n, 135 S. Ct.

   2652, 2658 (2015); Vieth, 541 U.S. at 292 (plurality); id. at 316 (Kennedy, J., concurring in the

   judgment); see also id. at 331 (Stevens, J., dissenting) (“The problem, simply put, is that the will

   of the cartographers rather than the will of the people will govern.”); id. at 345–46 (Souter, J.,

   dissenting) (“[T]he increasing efficiency of partisan redistricting has damaged the democratic

   process to a degree that our predecessors only began to imagine.”) (collecting sources); id. at 355

   (Breyer, J., dissenting) (“Sometimes purely political ‘gerrymandering’ will fail to advance any

   plausible democratic objective while simultaneously threatening serious democratic harm.”). As

   the Supreme Court has stated, “the core principle of republican government [is] that the voters

   should choose their representatives, not the other way around.” Ariz. State Legislature, 135 S. Ct.

   at 2677 (quoting Mitchell Berman, Managing Gerrymandering, 83 TEX. L. REV. 781 (2005)); see

   also Powell v. McCormack, 395 U.S. 486, 547 (1969) (“A fundamental principle of our

   representative democracy is, in Hamilton’s words, ‘that the people should choose whom they

   please to govern them.’”) (citation omitted).         Partisan gerrymandering goes against these




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   foundational principles. But do courts have a role in adjudicating challenges to alleged partisan

   gerrymanders—that is, are such challenges justiciable?

           The Supreme Court has held that partisan gerrymandering claims are justiciable. Davis v.

   Bandemer, 478 U.S. 109, 125 (1986). In Bandemer, the Supreme Court considered an allegation

   that “Indiana Republicans had gerrymandered Indiana’s legislative districts ‘to favor Republican

   incumbents and candidates and to disadvantage Democratic voters’ through what the plaintiffs

   called the ‘stacking’ (packing) and ‘splitting’ (cracking) of Democrats.” See Gill, 138 S. Ct. at

   1927.   Drawing on racial gerrymandering doctrine as well as one-person, one-vote equal-

   protection cases, the Bandemer majority held that the partisan-gerrymandering case before it did

   not present a nonjusticiable political question. Bandemer, 478 U.S. at 122–25. The Supreme

   Court, importantly, has not overturned Bandemer’s central holding. See Gill, 138 S. Ct. at 1927–

   29 (reviewing post-Bandemer cases).

           In Bandemer, however, the Supreme Court did not “settle on a standard for what constitutes

   an unconstitutional partisan gerrymander.” See Gill, 138 S. Ct. at 1927. Indeed, a majority of the

   Supreme Court has not yet settled on an appropriate standard for these claims, though various

   plaintiffs and amici have pressed for several theories at the Court in the years since Bandemer.

   See id. at 1926–29 (discussing partisan-gerrymandering precedent); see also Samuel Issacharoff

   & Pamela Karlan, Where to Draw the Line?: Judicial Review of Political Gerrymanders, 153 U.

   PA. L. REV. 541, 541–43 (2004). While Bandemer is partisan gerrymandering’s Baker v. Carr,

   369 U.S. at 209 (holding that malapportionment claims are justiciable), such claims do not yet

   have their Reynolds v. Sims, 377 U.S. 533, 568 (1964) (articulating what is now known as the one-

   person, one-vote principle for state legislative apportionment); see also Wesberry v. Sanders, 376

   U.S. 1, 7–8 (1964) (same for congressional apportionment).



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           In Baker v. Carr, the Supreme Court laid out six factors for determining whether an issue

   is a nonjusticiable a political question. See Baker, 369 U.S. at 217. The Supreme Court explained

   that:

           Prominent on the surface of any case held to involve a political question is found a
           textually demonstrable constitutional commitment of the issue to a coordinate
           political department; or a lack of judicially discoverable and manageable standards
           for resolving it; or the impossibility of deciding without an initial policy
           determination of a kind clearly for nonjudicial discretion; or the impossibility of a
           court’s undertaking independent resolution without expressing lack of the respect
           due coordinate branches of government; or an unusual need for unquestioning
           adherence to a political decision already made; or the potentiality of embarrassment
           from multifarious pronouncements by various departments on one question.
   Id. Baker v. Carr thus saw the political question doctrine as primarily concerned with the

   separation of powers. Id. at 210. The first two factors are the most important: (1) a textual

   commitment of an issue to one of the political branches and (2) an absence of judicially

   manageable standards. See Vieth, 541 U.S. at 277–78 (plurality). If an issue qualifies as a political

   question, the issue is nonjusticiable, and, consequently, the federal courts have no role in

   adjudicating it.

           Defendants make arguments on each factor. See Dkt. 252 (Defs.’ & Intervenors’ Post-

   Trial Br. at 44–52). All the arguments go to essentially three points: (1) The states have authority

   over elections and redistricting, and courts should not second guess the states’ political judgment;

   (2) To the extent problems exist, plaintiffs should seek a remedy from Congress (or the states);

   and (3) Judicially manageable standards are lacking. As a threshold matter, we observe that

   federalism concerns and respect for state sovereignty are conspicuously absent from Baker v.

   Carr’s list of justiciability considerations and, again, the political question doctrine is centered on

   separation of powers between the judiciary and the federal political branches, Congress and the

   President. See Baker, 369 U.S. at 210. But throughout this opinion, we respond to all these points,

   and we further conclude that workable standards, which contain limiting principles, exist so that

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   courts can adjudicate these types of gerrymandering claims just as they have adjudicated other

   types of gerrymandering claims.

          Turning to Baker v. Carr’s first factor—a textual commitment of an issue to a political

   branch—we find this factor does not weigh against justiciability. Though the Vieth plurality did

   not rely on this factor in discussing whether partisan-gerrymandering claims are justiciable, see

   Vieth, 541 U.S. at 277–81 (plurality), the plurality still noted that “[i]t is significant that the

   Framers provided a remedy for [gerrymandering] in the Constitution.” See Vieth, 541 U.S. at 275

   (plurality). Article I, § 4 of the United States Constitution provides: “The Times, Places and

   Manner of holding Elections for Senators and Representatives, shall be prescribed in each State

   by the Legislature thereof; but the Congress may at any time by Law make or alter such

   Regulations . . . .” One could argue, as Justice Frankfurter once did, that this language means “that

   the Constitution has conferred upon Congress exclusive authority to secure fair representation”

   and protect the right to vote against gerrymandering. See Colegrove v. Green, 328 U.S. 549, 554

   (1946) (plurality). Defendants echo this argument. See Dkt. 252 (Defs.’ & Intervenors’ Post-Trial

   Br. at 45) (“[T]o seize supervisory authority over elections is to seize congressional power, an

   invasion of authority allocated to ‘a coordinate political department.’”).

          Simply put, the Supreme Court explicitly rejected that argument in Wesberry, 376 U.S. at

   6–7. “The right to vote is too important in our free society to be stripped of judicial protection by

   such an interpretation of Article I.” Id. at 7. That statement applies with equal force in the partisan-

   gerrymandering context, in which the core concern is that those in power are manipulating district

   lines in order to choose their voters and thereby render election results a foregone conclusion.

   Indeed, the Supreme Court’s “willingness to enter the political thicket of the apportionment

   process with respect to one-person, one-vote claims makes it particularly difficult to justify a



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   categorical refusal to entertain claims against this other type of gerrymandering.” See Vieth, 541

   U.S. at 310 (Kennedy, J., concurring in the judgment). The Supreme Court “made it clear in Baker

   that nothing in the language of [Article I] gives support to a construction that would immunize

   state congressional apportionment laws . . . from the power of courts to protect the constitutional

   rights of individuals from legislative destruction . . . .” Wesberry, 376 U.S. at 6. In other election-

   law contexts, the Supreme Court has held that “[t]he power to regulate the time, place, and manner

   of elections does not justify, without more, the abridgment of fundamental rights, such as the right

   to vote, or . . . the freedom of political association.” Tashjian v. Republican Party of Conn., 479

   U.S. 208, 217 (1986) (citing Wesberry, 376 U.S. at 6–7); see also U.S. Term Limits, Inc. v.

   Thornton, 514 U.S. 779, 833–34 (1995). Here, the allegation is similarly that a state redistricting

   law targets a disfavored party’s and its voters’ rights to vote and to associate. In short, the

   argument that the Constitution designates Congress as the sole branch to fix gerrymandering, and

   that the states have the principal responsibility over election laws, was also present in other cases,

   and similar concerns that led the Supreme Court to reject the argument are present here. To accept

   fully Defendants’ arguments against justiciability and their interpretation of Article I would erase

   decades of constitutional law. We decline to do so.

            Moreover, as explained, evidence in this case shows that congressional staffers and the

   political arm of the Republican Party in Congress had a hand in drawing the challenged map. See

   supra Section I.A.3. In other words, not only is Congress unlikely to fix partisan gerrymandering,

   but evidence shows that Members of Congress, and their colleagues on congressional campaign

   committees, are part of the problem. See supra Section I.A.3.; see also SAMUEL ISSACHAROFF ET

   AL.,   THE LAW OF DEMOCRACY: LEGAL STRUCTURE OF THE POLITICAL PROCESS 682 (5th ed. 2016)

   (noting that “in the 2000 redistricting, several courts . . . found that national party leaders in the



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   United States House of Representatives played a central role in the redistricting process. . . . If

   Congress was originally envisioned as a detached, neutral umpire that might stand above partisan

   conflicts in the states, Congress is now a self-interested player in the partisan struggles over

   districting.”). Accordingly, both parties in Congress benefit from partisan gerrymandering and

   appear to participate in the practice of partisan gerrymandering. Cf. ISSACHAROFF ET AL., THE

   LAW OF DEMOCRACY, supra at 682 (“[T]he fates of national political parties and state parties have,

   over time, become closely bound together . . . . Indeed . . . some states were prompted to engage

   in re-redistricting in the middle of the [2000] decade, precisely because national party leaders in

   the United States House pressed for this.”); Dkt. 252 (Defs.’ & Intervenors’ Post-Trial Br. at 43)

   (stating that the map-drawing “process was also aided significantly by John Boehner, then-Speaker

   of the U.S. House”). The courts are the logical branch to turn to in the face of such legislative self-

   dealing, and in this case, judicially manageable standards also exist to adjudicate the issue

   presented.729

          As the four-justice plurality in Vieth saw it, the political question doctrine’s second factor

   (an absence of judicially manageable standards) was at issue for partisan gerrymandering. See

   Vieth, 541 U.S. at 278 (plurality). The plurality found it problematic that in the years after

   Bandemer, lower courts did not shape a partisan-gerrymandering standard and, with one unique

   exception, did not provide relief for such claims. Id. at 279–80 & 280 n.6. Ultimately, the plurality

   stated that “[l]acking [judicially discernible and manageable standards], we must conclude that




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               Of course, a legislature’s failure to act is insufficient alone to warrant the Court’s
   intervention. See Gill, 138 S. Ct. at 1929 (“‘Failure of political will does not justify
   unconstitutional remedies.’ Our power as judges to ‘say what the law is,’ rests not on the default
   of politically accountable officers, but is instead grounded in and limited by the necessity of
   resolving, according to legal principles, a plaintiff’s particular claim of legal right.”) (citations
   omitted).
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   political gerrymandering claims are nonjusticiable . . . .” Id. at 281. This view did not command

   a majority of the Supreme Court at the time, and in the intervening years since Vieth, lower courts

   have shaped standards and found that plaintiffs have satisfied those standards.

           As another district court recently observed, “a majority of the Supreme Court never has

   found that a claim raised a nonjusticiable political question solely due to the alleged absence of a

   judicially manageable standard for adjudicating the claim.” See Rucho, 318 F. Supp. 3d at 842

   n.19. Indeed, in Nixon v. United States, the Supreme Court stated that its reasoning:

           makes clear[] [that] the concept of a textual commitment to a coordinate political
           department is not completely separate from the concept of a lack of judicially
           discoverable and manageable standards for resolving it; the lack of judicially
           manageable standards may strengthen the conclusion that there is a textually
           demonstrable commitment to a coordinate branch.
   Nixon v. United States, 506 U.S. 224, 228–29 (1993); see also id. at 238 (holding that challenges

   to procedures used in Senate impeachment proceedings are nonjusticiable); Gilligan v. Morgan,

   413 U.S. 1, 10 (1973) (“The ultimate responsibility for these decisions [about the composition,

   training, equipping, and control of a military force] is appropriately vested in branches of the

   government which are periodically subject to electoral accountability.”); Pac. States Telephone &

   Telegraph Co. v. Oregon, 223 U.S. 118, 141–43 (1912) (claims arising under the Guaranty Clause

   of Article IV, § 4 are nonjusticiable and issues arising under that Clause are committed to

   Congress). Vieth, therefore, would have been an unprecedented step if the Court had held partisan-

   gerrymandering claims nonjusticiable solely due to an alleged lack of a manageable standard.

           There are good reasons why the Supreme Court has not taken such an unprecedented step.

   As Justice Kennedy explained, “[r]elying on the distinction between a claim having or not having

   a workable standard of that sort involves . . . proof of a categorical negative. . . . This is a difficult

   proposition to establish, for proving a negative is a challenge in any context.” Vieth, 541 U.S. at

   311 (Kennedy, J., concurring in the judgment). Justice Kennedy thus concluded that just because

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   no judicially manageable standard “has emerged in this case should not be taken to prove that none

   will emerge in the future.” Id. He then gave one illustrative example of an easy case: “If a State

   passed an enactment that declared ‘All future apportionment shall be drawn so as most to burden

   Party X’s rights to fair and effective representation, though still in accord with one-person, one-

   vote principles,’ we would surely conclude the Constitution had been violated.” Id. at 312. Such

   a law would, of course, be simple discrimination and unconstitutional. But “the Constitution

   forbids sophisticated as well as simple-minded modes of discrimination.” Reynolds, 377 U.S. at

   563 (citations and internal quotation marks omitted). Additionally, if courts were to rely solely on

   the lack of a judicially manageable standard to conclude that an issue qualifies as a political

   question, then courts would be opining on the manageability of standards not involved in the case

   at hand. That would be imprudent because a court can dispose of only the matters in a case

   currently before it; to be sure, however, the reasoning of a court’s decision could spell trouble for

   a future potential standard if the future standard suffered from the same defects as that which was

   previously held nonjusticiable. Accordingly, even if there were a lack of a judicially manageable

   standard in this case (though we conclude that manageable standards exist), we would not conclude

   that all future partisan-gerrymandering claims are nonjusticiable.

          Although the Supreme Court’s precedent leaves “few clear landmarks for addressing”

   partisan gerrymandering, we can find some rough guidance in the summary provided in Gill. See

   138 S. Ct. at 1926. In Bandemer itself, the plurality would have required the plaintiffs “to ‘prove

   both intentional discrimination against an identifiable political group and an actual discriminatory

   effect on that group,’” id. at 1927 (quoting Bandemer, 478 U.S. at 127 (plurality)), but the

   Bandemer plurality also concluded that “the plaintiffs had failed to make a sufficient showing on

   [actual discriminatory effect] because their evidence of unfavorable election results for Democrats



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   was limited to a single election cycle.” Gill, 138 S. Ct. at 1927 (citing Bandemer, 478 U.S. at 135

   (plurality)). Then in Vieth, the four-justice plurality, “would have held that the plaintiffs’ claims

   were nonjusticiable because there was no ‘judicially discernible and manageable standard’ by

   which to decide them.” Id. at 1927–28 (quoting Vieth, 541 U.S. at 306 (plurality)). The plurality

   in Vieth thus necessarily rejected the proposed standard that a majority of voters should be able to

   elect a majority of a congressional delegation (proportional representation). Justice Kennedy also

   rejected that standard. See Gill, 138 S. Ct. at 1928 (citing Vieth, 541 U.S. at 308 (Kennedy, J.,

   concurring in the judgment)). Justice Kennedy, however, left the door open in Vieth for a partisan-

   gerrymandering standard in future cases. Just two years after Vieth, the Supreme Court returned

   to the question of partisan gerrymandering in League of United Latin American Citizens v. Perry

   (“LULAC”), 548 U.S. 399 (2006). In Gill, as in the case before us, the relevant portion of LULAC

   was the discussion of the partisan symmetry standard proposed by an amicus. See Gill, 138 S. Ct.

   at 1928.   That particular version of the symmetry standard “‘measure[d] partisan bias’ by

   comparing how the two major political parties ‘would fare hypothetically if they each . . . received

   a given percentage of the vote.’” Id. (quoting LULAC, 548 U.S. at 419 (opinion of Kennedy, J.)).

   Although Justice Kennedy expressed concern about adopting the proposed symmetry standard

   because it was “based on unfair results that would occur in a hypothetical state of affairs,” and

   because it faced the problem of not “providing a standard for deciding how much partisan

   dominance is too much,” LULAC, 548 U.S. at 420, Justice Kennedy ultimately stated, “[w]ithout

   altogether discounting its utility in redistricting planning and litigation, I would conclude

   asymmetry alone is not a reliable measure of unconstitutional partisanship.” Id. (emphasis added).

   The Gill Court further noted that Justices Stevens, Souter, and Ginsburg expressed some support,

   or at least did not discount the usefulness of, asymmetry. See Gill, 138 S. Ct. at 1928–29 (citing



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   Justice Stevens’s partial dissent and Justice Souter’s partial dissent, joined by Justice Ginsburg).

   In sum, although partisan symmetry as a stand-alone measure has not garnered support from a

   majority of the Supreme Court, of all the proposed standards, partisan symmetry has received

   perhaps the most support.

            In the absence of clear direction from the Supreme Court, three-judge federal district court

   panels730 have established justiciable standards. See Benson, 2019 WL 1856625, at *27–28;

   Rucho, 318 F. Supp. 3d at 860–68, 929, appeal docketed No. 18-422, 139 S. Ct. 782 (Jan. 4, 2019);

   Whitford v. Gill, 218 F. Supp. 3d 837, 884 (W.D. Wis. 2016), vacated and remanded on other

   grounds, 138 S. Ct. 1916 (2018); Shapiro v. McManus, 203 F. Supp. 3d 579, 596–97 (D. Md.

   2016).     Generally, the prevailing difficulty in partisan-gerrymandering cases seems to be

   evaluating partisan effect, or, in Justice Kennedy’s words, “how much partisan dominance is too

   much.” LULAC, 548 U.S. at 420 (opinion of Kennedy, J.); see also Vieth, 541 U.S. at 344 (Souter,

   J., dissenting). The federal courts that have recently adjudicated partisan-gerrymandering claims

   have converged considerably on common ground both in establishing standards for assessing a

   redistricting plan’s constitutionality and for evaluating partisan effect. See infra Part V. For now,

   we observe that district courts have found partisan symmetry to be a useful partisan-effect

   standard, in combination with actual election results, analyses of simulated maps, and analyses

   that show redistricting plans are extreme or are historical outliers in their partisan effect. See, e.g.,

   Benson, 2019 WL 1856625, at *12–24, 28; Rucho, 318 F. Supp. 3d at 884; Whitford, 218 F. Supp.




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              State Supreme Courts, too, have established judicially manageable standards by which
   to evaluate compliance with their own state constitutions. See League of Women Voters v.
   Commonwealth, 178 A.3d 737 (Pa. 2018); see also id. at 816 (noting that the standards articulated
   “also comport with the minimum requirements for congressional districts guaranteed by the United
   States Constitution, as interpreted by the United States Supreme Court.”) (citing Wesberry, 376
   U.S. at 18).
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   3d at 898, 905 (but not using analyses of simulated maps). As we will explain, the standards and

   analyses in these cases, and proposed in the case before us, shore up the deficiencies identified by

   the Supreme Court in prior cases. See infra Part V.

       B. Evidentiary Metrics and Statistics

           Plaintiffs utilize several evidentiary metrics and Dr. Cho’s computer-simulated maps,

   among other things, to help the Court decide the merits of the partisan-gerrymandering claims.

   Defendants argue that none of those evidentiary metrics offers an answer to when a map is

   unconstitutionally gerrymandered and that no expert has offered an opinion on that subject. This

   critique falls flat, and it is important to clarify and emphasize that the judicially manageable

   standards about which we are concerned for justiciability are legal standards. We set forth those

   legal standards in Part V of this opinion. The evidentiary metrics and simulated maps, however,

   are offered by a party to show that the legal standard is met. We apply these metrics, simulated

   maps, and other evidence to the justiciable legal standards, and we find that they prove the elements

   of the underlying claims. See infra Sections V.A.2., V.B., V.C.2. This practice is nothing new.

   Courts routinely utilize statistical analyses in other contexts, including the similar context of racial

   vote-dilution cases under the VRA. See, e.g., Rural W. Tenn. African-Am. Affairs Council v.

   Sundquist, 209 F.3d 835, 844 (6th Cir. 2000) (affirming the district court and explaining that the

   district court “ably considered a complex body of statistical and anecdotal evidence to determine

   that [a state house reapportionment plan] unlawfully dilutes African–American voting strength in

   rural west Tennessee.”); United States v. City of Euclid, 580 F. Supp. 2d 584, 596 (N.D. Ohio

   2008) (“Statistical evidence of racial bloc voting may be established by three analytical models:

   homogenous precinct analysis (‘HPA’), bivariate ecological regression analysis (‘BERA’), and

   King’s ecological inference method (‘King’s EI method’).”).



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          We find Rucho’s reasoning on this point persuasive and adopt it here. In Rucho, the three-

   judge district court ably surveyed caselaw in which the Supreme Court, as well as district courts,

   have “relied on statistical and social science analyses as evidence that a defendant violated a

   standard set forth in the Constitution or federal law.” See 318 F. Supp. 3d at 853; see also id. at

   852–58 (providing an overview of caselaw and noting that the Supreme Court has embraced

   empirical analyses and statistical measures in apportionment, antitrust, Confrontation Clause,

   equal-protection, redistricting, and voting cases). We agree that “when a variety of different pieces

   of evidence, empirical or otherwise, all point to the same conclusion—as is the case here—courts

   have greater confidence in the correctness of the conclusion because even if one piece of evidence

   is subsequently found infirm other probative evidence remains.” See id. at 858. Although it is

   true, as Dr. Warshaw himself acknowledged at trial, that each of the four statistical metrics that he

   analyzed has pros and cons,731 it is equally true that all the metrics point strongly in one direction.

   What’s more, as will be explained, the metrics and other evidence strongly suggest that the 2012

   plan is an outlier, and that fact raises further concern about the plan’s constitutionality.

          Courts should not simply accept or give the greatest amount of weight possible to social-

   science measures or theories. Of course, we still have the obligation to ensure that an expert’s

   “testimony is based on sufficient facts or data,” is “the product of reliable principles and methods,”

   and that “the expert has reliably applied the principles and methods to the facts of the case.” See

   FED. R. EVID. 702; see also Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 589–95 (1993).

   When judges are the factfinders, “the court must carefully weigh empirical evidence[ ] and

   discount such evidence’s probative value if it fails to address the relevant question, lacks rigor, is




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             See, e.g., Dkt. 240 (Warshaw Trial Test. at 210–11) (efficiency gap); id. at 223 (mean-
   median difference); id. at 229–30 (declination); id. at 238 (the two asymmetry measures).
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   contradicted by more reliable and compelling evidence, or is otherwise unworthy of substantial

   weight.” Rucho, 318 F. Supp. 3d at 855.

          After the benefit of hearing trial testimony from Plaintiffs’ and Defendants’ experts and

   Defendants’ cross-examination, we find that Plaintiffs’ evidence and experts are more persuasive.

   As detailed later, we find some evidence quite probative and other evidence less so, but, overall,

   the evidentiary metrics utilized by Plaintiffs provide strong support for their legal claims. In other

   words, the evidentiary metrics are strong evidence that voters were packed and cracked across the

   2012 map. Dr. Warshaw also gave illustrative examples of when the metrics would be less

   probative of a partisan gerrymander, and therefore, he would not conclude that a plan was a

   partisan gerrymander.732 The evidentiary metrics, therefore, are workable in their own right and

   would not lead to every plan in the country being struck down as unconstitutional. Courts, in turn,

   would apply the legal standards and utilize the various metrics to determine on a case-by-case

   basis whether certain maps pass constitutional muster. Courts can apply these metrics to the legal

   standards in such a way that limits exist.

          To be sure, metrics based on a theory of proportional representation would not be legally

   relevant. See Vieth, 541 U.S. at 288 (plurality) (“[T]he Constitution contains no such principle [of

   proportional representation].”); id. at 338 (Stevens, J., dissenting) (“The Constitution does not, of

   course, require proportional representation . . . .”); see also LULAC, 548 U.S. at 419 (opinion of

   Kennedy, J.) (“To be sure, there is no constitutional requirement of proportional

   representation . . . .”). None of the proffered metrics in this case, however, are based on




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                See Dkt. 240 (Warshaw Trial Test. at 191–92, 246–48).
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   proportional representation.733 For example, the metrics analyzed by Dr. Warshaw measure

   asymmetry, a distinct concept. On the one hand, proportional representation means that the

   number of seats in the legislature that a party receives is equal to the percentage of votes that the

   party receives in an election. For example, if Party X receives 40% of the popular vote and there

   are 100 seats in the legislature, then Party X would receive 40 seats under a proportional-

   representation scheme. On the other hand, partisan symmetry is based on the principle that a

   particular vote share should translate into a particular number of seats, regardless of which party

   receives that vote share. For example, if Party X receives 53% of the vote and wins 60 out of 100

   seats, then when Party Y receives 53% of the vote, Party Y should also have a real chance to win

   about 60 out of 100 seats. A difference between the parties’ abilities to translate the same vote

   share into seats demonstrates an asymmetry.

          In other areas of election law, several metrics comfortably coexist.           See Nicholas

   Stephanopoulos & Eric McGhee, The Measure of a Metric: The Debate over Quantifying Partisan

   Gerrymandering, 70 STAN. L. REV. 1503, 1551–54 (2018). First, in malapportionment cases, the

   Supreme Court has cited a handful of measures (and sometimes multiple measures in the same

   case) for population deviation. See, e.g., Karcher v. Daggett, 462 U.S. 725, 728 (1983) (noting

   the total deviation between the most and least populous districts and the average deviation, i.e.,

   the average difference between each district’s population and the population required for perfect

   equality); Gaffney v. Cummings, 412 U.S. 735, 737 & nn.1–2 (1973) (using the two measures in

   Karcher and also citing the ratio of the largest district population to the smallest district

   population); Mahan v. Howell, 410 U.S. 315, 319 (1973) (using the same three measures as



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               One critique of the efficiency gap is that it is not equivalent to proportional
   representation. See Benjamin Plener Cover, Quantifying Partisan Gerrymandering: An
   Evaluation of the Efficiency Gap Proposal, 70 STAN. L. REV. 1131, 1213 (2018).
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   Gaffney, in addition to noting the proportion of the population that could elect a majority of the

   state house); Swann v. Adams, 385 U.S. 440, 442–43 (1967) (using all these measures). Next, in

   the context of Section 2 of the VRA, courts have utilized three metrics to measure racial

   polarization in voting—HPA, BERA, and King’s EI method, mentioned above. See, e.g., City of

   Euclid, 580 F. Supp. 2d at 596; see also Thornburg v. Gingles, 478 U.S. 30, 52–53, 53 n.20 (1986)

   (citing only HPA (or “extreme case analysis”) and BERA, and noting that “[t]he District Court

   found both methods standard in the literature for the analysis of racially polarized voting.”). And

   finally, the compactness of a district can be quantified in dozens of ways. See Stephanopoulos &

   McGhee, The Measure of a Metric, supra at 1553 & nn. 178–83. Compactness, which is one

   assessment of a district’s shape, can be relevant in racial vote-dilution cases as well as VRA § 2

   cases. See, e.g., Miller v. Johnson, 515 U.S. 900, 913 (1995) (“Shape is relevant not because

   bizarreness is a necessary element of the constitutional wrong . . ., but because it may be persuasive

   circumstantial evidence that race for its own sake, and not other districting principles, was the

   legislature’s dominant and controlling rationale in drawing its district lines.”); Gingles, 478 U.S.

   at 50 (“[T]he minority group must be able to demonstrate that it is sufficiently large and

   geographically compact to constitute a majority in a single-member district.”). So too can several

   metrics be used in partisan-gerrymandering cases.

          The brunt of Defendants’ argument against social-science measures seems focused on the

   efficiency gap. Dkt. 253 (Defs.’ & Intervenors’ PFOF at 106–13). But Plaintiffs do not offer the

   efficiency gap as the ultimate Rosetta Stone to decipher what is or is not an unconstitutional

   partisan gerrymander. Rather, the efficiency gap is just one tool in the evidentiary toolbox. When

   it comes to malapportionment, racially polarized voting, and compactness, courts have not limited

   their toolbox, and we see no reason to limit it for partisan gerrymandering. To the contrary, that



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   all the measures strongly point in the same direction gives us greater confidence in reaching a

   conclusion in this case. See Rucho, 318 F. Supp. 3d at 858.

      C. Pragmatic and Historical Considerations

          We now turn to other relevant considerations for whether the federal courts ought to

   intervene to address partisan gerrymandering. Importantly, these considerations are absent from

   the list of considerations for determining whether an issue presents a nonjusticiable political

   question. Instead, these points are pragmatic or historical in nature, and they are worthy of

   response.

          1. Courts are not picking political winners and losers

          One concern about allowing courts to adjudicate partisan-gerrymandering claims is that the

   courts would be dictating political winners. Dkt. 136 (Defs.’ Mot. for Summ. J. at 18). But, as

   mentioned, the core concern about partisan gerrymandering is that representatives choose their

   voters and not vice-versa—that is, when partisan gerrymandering amounts to a constitutional

   violation, the winners and losers are often already predetermined by those in power. Rather than

   dictating outcomes in these cases, courts are only fixing the process by which voters enact political

   change. See JOHN HART ELY, DEMOCRACY AND DISTRUST 102–03 (1980) (explaining that in our

   system of government “[m]alfunction occurs when . . . the ins are choking off the channels of

   political change to ensure that they will stay in and the outs will stay out,” and that judges “are

   conspicuously well situated” to correct such malfunction). If courts find a constitutional violation

   and fix it, then the voters pick the winners and losers in districts that adhere to the Constitution.

          As we will explain further, the evidence in this record shows that, in fact, the party in power

   sought to lock in a 12-4 map, and, despite receiving a fluctuating percentage of the statewide vote,

   they were successful. Experience has shown that legislators are unlikely to act as neutral umpires



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   in this context. Judges, however, play precisely that role. Rather than decide who wins an election

   in these cases, the courts’ role is to ensure an even playing field, just as courts have done with

   other forms of gerrymandering. See Vieth, 541 U.S. at 310 (Kennedy, J., concurring in the

   judgment).

           Furthermore, this non-intervention argument has its roots in reasoning from Colegrove.

   See 328 U.S. at 553 (plurality) (“Nothing is clearer than that this controversy concerns matters that

   bring courts into immediate and active relations with party contests.”). As Justice Frankfurter put

   it, “Courts ought not enter this political thicket.” Id. at 556.

           Given courts’ now well-established involvement in redistricting, as well as other voting

   and elections matters, history has shown that Colegrove’s concerns have not carried the day. In

   Baker v. Carr, the Supreme Court relied not on political judgment, but on the “well developed and

   familiar” “standards under the Equal Protection Clause . . . to determine . . . that a discrimination

   reflects no policy, but simply arbitrary and capricious action.” See Baker, 369 U.S. at 226. In fact,

   the Supreme Court arguably first entered the so-called “political thicket” a few years earlier, in

   Gomillion v. Lightfoot, 364 U.S. 339 (1960). Gomillion, not Baker v. Carr, was the first time that

   the Supreme Court found a constitutional violation because of how a state drew district lines. In

   Gomillion, the district at issue was changed from a square shape “into a strangely irregular twenty-

   eight-sided figure. . . . The essential inevitable effect of this redefinition of [the City of] Tuskegee’s

   boundaries is to remove from the city all save only four or five of its 400 Negro voters while not

   removing a single white voter or resident.” Id. at 341. The Court held that the plaintiffs stated a

   claim that the redrawing of the boundaries around Tuskegee violated the Fifteenth Amendment.

   Id. at 345–47. Justice Whittaker took a different approach; he noted the fact that those removed

   from Tuskegee were not actually deprived of the right to vote under the Fifteenth Amendment;



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   indeed, they could still cast a vote, just not in Tuskegee. See id. at 349 (Whittaker, J., concurring).

   Instead, Justice Whittaker concluded that the State violated the Equal Protection Clause of the

   Fourteenth Amendment by fencing out black voters from one political subdivision and placing

   them into another. Id. (Whittaker, J., concurring). Years later, the Supreme Court conclusively

   adopted this view in its racial-gerrymandering jurisprudence. See Shaw v. Reno, 509 U.S. 630,

   644–45 (1993) (“This Court’s subsequent reliance on Gomillion in other Fourteenth Amendment

   cases suggests the correctness of Justice Whittaker’s view.”).

          The upshot is that, although the federal courts’ role in redistricting may be an “unwelcome

   obligation,” Connor v. Finch, 431 U.S. 407, 415 (1977), it is an obligation nonetheless—and for

   good reason. As the Supreme Court has recognized, the right to vote “is preservative of other basic

   civil and political rights,” and therefore, “any alleged infringement of the right of citizens to vote

   must be carefully and meticulously scrutinized.” Reynolds, 377 U.S. at 562. Critically, “the right

   of suffrage can be denied by a debasement or dilution of the weight of a citizen’s vote just as

   effectively as by wholly prohibiting the free exercise of the franchise.” Id. at 555. Contrary to the

   Colegrove plurality’s concerns, courts have not been involving themselves in politics or picking

   winners and losers; rather, courts have protected the right to vote from infringement by political

   actors who, history has shown, attempt to manipulate elections laws to their advantage and to

   disadvantage a disfavored group. Sometimes, courts must level the playing field.

          2. Partisan gerrymandering is not a self-limiting enterprise

          Experience has proven that the view that “political gerrymandering is a self-limiting

   enterprise” is incorrect.   See Bandemer, 478 U.S. at 152 (O’Connor, J., concurring in the

   judgment). The reasoning under this position went as follows:

          In order to gerrymander, the legislative majority must weaken some of its safe seats,
          thus exposing its own incumbents to greater risks of defeat—risks they may refuse

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          to accept past a certain point. Similarly, an overambitious gerrymander can lead to
          disaster for the legislative majority: because it has created more seats in which it
          hopes to win relatively narrow victories, the same swing in overall voting strength
          will tend to cost the legislative majority more and more seats as the gerrymander
          becomes more ambitious.
   Id. (citations omitted). But this view did not contemplate two factors: advances in (1) technology

   and (2) methods for collecting data on voters, whose party affiliation is stable and whose behavior

   is increasingly predictable.

          First, “technology makes today’s gerrymandering altogether different from the crude

   linedrawing of the past. New redistricting software enables pinpoint precision in designing

   districts.” Gill, 138 S. Ct. at 1941 (Kagan, J., concurring). Consequently, “[g]errymanders

   have . . . become ever more extreme and durable, insulating officeholders against all but the most

   titanic shifts in the political tides.” Id. That is, increasingly sophisticated technology and map-

   drawing methods have allowed the parties to maximize the number of seats, while minimizing the

   risks mentioned above. Evidence in the record shows that this is what happened during the Ohio

   2010 redistricting cycle. See Trial Ex. P385 (Congressional Redistricting Talking Points at

   LWVOH_0052438) (“Given [Ohio’s political geography], it is a tall order to draw 13 ‘safe’ seats.

   Speaker[] Boehner’s team worked on several concepts, but this map is the one they felt put the

   most number of seats in the safety zone given the political geography of the state, our media

   markets, and how to best allocate caucus resources.”). And the actual election results—with

   Republicans winning the same twelve seats and Democrats winning the same four seats in each

   election—confirm that the map drawers were successful. “The technology will only get better, so

   the 2020 cycle will only get worse.” Gill, 138 S. Ct. at 1941 (Kagan, J., concurring).

          Second, as technology has advanced, so too have methods for collecting data on voters.

   See David W. Nickerson & Todd Rogers, Political Campaigns and Big Data, 28 J. ECON. PERSP.

   51 (2014) (“The techniques used as recently as a decade or two ago by political campaigns to

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   predict the tendencies of citizens appear extremely rudimentary by current standards.”). The

   improved efficiency of data collection and predictive methods “has led the political parties to

   engage in an arms race to leverage ever-growing volumes of data to create votes.” Id. at 51. For

   example, political campaigns utilize state voter-registration databases that are supplemented with

   a variety of consumer data from commercial data brokers, and the need to store, manage, and

   analyze all this data has created “a new breed of political consulting firms . . . .” Ira S. Rubenstein,

   Voter Privacy in the Age of Big Data, 2014 WIS. L. REV. 861, 867–77 (2014). And “[i]n the 2012

   election cycle, an emerging trend for these firms was the formation of new partnerships with online

   advertising firms that specialized in tracking people on the web.” Id. at 877. Moreover, although

   a voter’s partisanship is not immutable per se, research has shown that, in fact, political affiliation

   is stable and predictable. See, e.g., Corwin D. Smidt, Polarization and the Decline of the American

   Floating Voter, 61 AM. J. POL. SCI. 365 (2017) (“Greater clarity of party differences . . . makes

   Americans less open to a change in their behavior and ultimately more reliable in which party they

   support across time.”); DONALD GREEN         ET AL.,   PARTISAN HEARTS     AND   MINDS 3, 11 (2002)

   (finding that, often, “sharp partisan differences eclipse corresponding sex, class, or religion

   effects” and that “partisanship tends to be stable among adults”). Voters, of course, think for

   themselves—the point is simply that, once voters adopt a particular political affiliation, their

   choice is fairly solidified and highly predictive of voting behavior. Accordingly, modern political

   parties and their map drawers utilize increasingly vast amounts of increasingly precise voter data.

          These developments have allowed the political parties to achieve the maximum number of

   safe seats through a gerrymander, while simultaneously minimizing the risks of creating an

   “overambitious gerrymander.” See Bandemer, 478 U.S. at 152 (O’Connor, J., concurring in the

   judgment). The result is that, even more so than in the 2000 redistricting cycle, “the increasing



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   efficiency of partisan redistricting has damaged the democratic process to a degree that our

   predecessors only began to imagine.” See Vieth, 541 U.S. at 345 (Souter, J., dissenting). The

   courts ought not leave disfavored voters at the mercy of advancing technology when a party in

   power exploits that technology to draw district lines with “the purpose and effect of imposing

   burdens on a disfavored party and its voters,” see id. at 315 (Kennedy, J., concurring in the

   judgment), and “to dictate electoral outcomes,” see Thornton, 514 U.S. at 833–34.

          3. Gerrymandering’s long history734

          It is true that “[p]olitical gerrymanders are not new to the American scene,” Vieth, 541 U.S.

   at 274 (plurality), but a deeper dive into its long history demonstrates that it has not simply been

   accepted throughout our political past. Furthermore, “our inquiry is sharpened rather than blunted

   by the fact that” partisan gerrymandering has been frequent and become increasingly efficient. See

   I.N.S. v. Chadha, 462 U.S. 919, 944 (1983).

          At the outset, we note that gerrymandering’s history during the Founding is somewhat

   distinct from the specific context of partisan gerrymandering, which, of course, requires parties.

   That is because “[t]he idea of political parties . . . was famously anathema to the Framers, as it had

   long been in Western political thought.” Daryl J. Levinson & Richard H. Pildes, Separation of

   Parties, Not Powers, 119 HARV. L. REV. 2312, 2320 (2006). Yet even though “the Framers had

   attempted to design a ‘Constitution Against Parties,’” they almost immediately organized into two

   coalitions. Id. (citation omitted). “Political affiliations initially were much more informal and

   localized, and did not evolve into the more organized form we commonly associate with parties

   until the Jacksonian Era in the 1830s.” James Thomas Tucker, Redefining American Democracy:



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               For additional background information, see Brief for Historians as Amicus Curiae
   Supporting Appellees, Gill v. Whitford, 138 S. Ct. 1916 (2018) (No. 16-1161). We utilize some
   of the historical material referenced therein.
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   Do Alternative Voting Systems Capture the True Meaning of “Representation”?, 7 MICH. J. RACE

   & L. 357, 427 (2002). But even though political parties are not mentioned in the Constitution, the

   Supreme Court has stepped in to protect the parties and their supporters against state laws that

   infringe on their constitutional rights. See, e.g., Calif. Democratic Party v. Jones, 530 U.S. 567

   (2000) (striking down California’s blanket primary law because it violated the parties’ First

   Amendment right of association); Tashjian, 479 U.S. 208 (striking down Connecticut’s closed

   primary law for the same reason). In any event, once parties began to take shape, they were both

   victims of gerrymandering (i.e., the disfavored party’s voters in the electorate) and participants in

   gerrymandering (i.e., the party in government).

          Although gerrymandering may have a long history in the United States, those close to the

   Founding strongly denounced the practice. After an 1812 Democratic-Republican gerrymander in

   Massachusetts, for example, the citizens in one county petitioned the legislature “to ‘alter’ the

   [redistricting] law which they characterized as ‘unconstitutional, unequal, and unjust.’” ELMER C.

   GRIFFITH, THE RISE AND DEVELOPMENT OF THE GERRYMANDER 71 (1907) (citation omitted). The

   Federalists viewed the gerrymander as “a blow at the constitution and a travesty upon the Bill of

   Rights when it allowed the minority to govern.” Id. As for the district that spawned the

   “portmanteau” of “gerrymander,”735 the newspaper that published the now famous political

   cartoon of the “Gerry-Mander” stated that “This Law inflicted a grievous wound on the

   Constitution . . . .” The Gerry-Mander, or Essex South District Formed into a Monster!, SALEM

   GAZETTE, Apr. 2, 1813.       On the other side of the aisle, the Federalists also engaged in



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              See Ariz. State Legislature, 135 S. Ct. at 2658 n.1 (“The term ‘gerrymander’ is a
   portmanteau of the last name of Elbridge Gerry, the eighth Governor of Massachusetts, and the
   shape of the electoral map he famously contorted for partisan gain, which included one district
   shaped like a salamander.”) (citing GRIFFITH, supra at 16–19).


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   gerrymandering. In New Jersey, Republicans saw an 1812 redistricting law as “a ‘deadly poisoned

   arrow, levelled with certain aim at the inestimable right of suffrage.’” ROSEMARIE ZAGARRI, THE

   POLITICS OF SIZE: REPRESENTATION IN THE UNITED STATES, 1776–1850, at 117 (1987) (citation

   omitted). Thus, despite both sides condemning the practice as unconstitutional, the parties

   continued to engage in a retaliatory tit-for-tat.

           Criticism of gerrymandering persisted into the late-1800s. James Garfield, then a member

   of the U.S. House of Representatives, admitted that he benefitted from gerrymandering in Ohio.

   Then-Representative Garfield stated:

                    [N]o man, whatever his politics, can justly defend a system that may in
           theory, and frequently does in practice, produce results such as these. . . . There are
           about ten thousand Democratic voters in my district, and they have been voting
           there . . . without any more hope of having a Representative on this floor than of
           having one in the Commons of Great Britain. . . .
                  I think they ought to have more hope. The Democratic voters in the
           nineteenth district of Ohio ought not by any system to be absolutely and
           permanently disenfranchised.
   41 CONG. GLOBE, 41st Cong., 2d Sess., 4737 (June 23, 1870) (statement of Rep. James A.

   Garfield). President Benjamin Harrison similarly criticized gerrymandering. In his Third Annual

   Message, President Harrison recognized that “the primary intent and effect of this form of political

   robbery have relation to the selection of members of the House of Representatives.” President

   Benjamin Harrison, Third Annual Message (Dec. 9 1891).736 He explained:

           If I were called upon to declare wherein our chief national danger lies, I should say
           without hesitation in the overthrow of majority control by the suppression or
           perversion of the popular suffrage. That there is a real danger here all must agree;
           but the energies of those who see it have been chiefly expended in trying to fix
           responsibility upon the opposite party rather than in efforts to make such practices
           impossible by either party.



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             Available at: https://millercenter.org/the-presidency/presidential-speeches/december-9-
   1891-third-annual-message-0.
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   Id. Gerrymandering thus raised concerns about the disfavored party’s (often the minority party’s)

   representational rights and the right to vote.

          Significantly, in the late-nineteenth century, State Supreme Courts did not close their

   courthouse doors to challenges to gerrymandered maps. In Wisconsin, the State Supreme Court

   declared that the challenged “apportionment act violates and destroys one of the highest and most

   sacred rights and privileges of the people of this state, guarantied to them by the ordinance of 1787

   and the constitution, and that is ‘equal representation in the legislature.’” See State ex rel. Att’y

   Gen. v. Cunningham, 51 N.W. 724, 729 (Wis. 1892). The court further explained that:

          If the remedy for these great public wrongs cannot be found in this court, it exists
          nowhere. It would be idle and useless to recommit such an apportionment to the
          voluntary action of the body that made it. But it is sufficient that these questions
          are judicial and not legislative. The legislature that passed the act is not assailed by
          this proceeding, nor is the constitutional province of that equal and co–ordinate
          department of the government invaded. The law itself is the only object of judicial
          inquiry, and its constitutionality is the only question to be decided.
   Id. at 730. The same year, the Indiana Supreme Court also struck down its State’s legislative

   redistricting law. See Parker v. State ex rel. Powell, 32 N.E. 836, 843 (Ind. 1892). These cases

   further bolster the ahistorical nature of the claim that gerrymandering has been an accepted practice

   in American history.

          Early gerrymanders often shared a notable attribute—the party in power drew maps in its

   favor with malapportioned districts. See, e.g., GRIFFITH, supra at 8 (“A gerrymander is intended

   to disfranchise the majority or to secure [the majority] an influence disproportionate to its size.”);

   see also id. at 72–73; ZAGARRI, supra at 115–16 (“No longer able to count on a statewide majority,

   [Federalists] supported a vastly inequitable districting plan designed to elect as many Federalists

   as possible. The first district, for example, was to contain approximately 30 percent more people

   than the third district and over 20 percent more than the second and fourth districts.”). Of course,

   voters could not even challenge such districting schemes in federal court until the Supreme Court

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   decided Gomillion and Baker v. Carr. And after the one-person, one-vote cases, legislatures’ focus

   on gerrymandering shifted from malapportionment to other contexts, such as gerrymandering

   based solely on political affiliation. Accordingly, given that gerrymandering’s constitutionality

   has been questioned essentially since its inception and that the federal courts have played a role in

   overseeing redistricting since Gomillion and Baker v. Carr, we do not give great weight to the fact

   that “[p]olitical gerrymanders are not new to the American scene.” See Vieth, 541 U.S. at 274

   (plurality).

           Gerrymandering’s history, however, provides greater clarity to the current problem.

   Historical examples of gerrymanders often involved “crude linedrawing.” See Gill, 138 S. Ct. at

   1941 (Kagan, J., concurring). Today, the practice is far more efficient and precise, which has

   resulted in gerrymanders that are more extreme and durable. See supra Section IV.C.2. Indeed,

   evidence in this case shows just that. See infra Sections V.A.2., V.C.2. If historically partisan

   gerrymandering was a self-limiting enterprise, that is increasingly not the case today. Moreover,

   because gerrymandering has persisted over time, comparative analyses can be done that show the

   gerrymanders of today are generally historical outliers and can withstand fluctuating statewide

   votes. Again, the evidence here shows that this applies to Ohio. See supra Section II.C.1.; infra

   Sections V.A.2.b., V.C.2.a. In sum, the long history of gerrymandering does not show that the

   practice has been “accepted,” and, in fact, history allows courts to compare today’s gerrymanders

   to past ones and thus better to understand the scope and gravity of the problem.

           4. Alternative state remedies

           At one time, the Supreme Court “long resisted any role in overseeing the process by which

   States draw legislative districts. ‘The remedy for unfairness in districting,’ the Court once held,

   ‘is to secure State legislatures that will apportion properly, or to invoke the ample powers of



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   Congress.’” Evenwel v. Abbott, 136 S. Ct. 1120, 1123 (2016) (quoting Colegrove, 328 U.S. at 556

   (plurality)) (emphasis added). Defendants seek to revive this argument that remedies in the states

   foreclose judicial intervention. See Dkt. 252 (Defs.’ & Intervenors’ Post-Trial Br. at 41–42, 45).

   After Baker v. Carr, however, the Supreme Court essentially rejected this reasoning and

   “confronted [the] ingrained structural inequality [of malapportionment] . . . .” See Evenwel, 136

   S. Ct. at 1123.

          Today, we recognize that some states have adopted various approaches to attempt to curtail

   partisan gerrymandering. See, e.g., Ariz. State Legislature, 135 S. Ct. at 2662 & nn. 6–9 (surveying

   state constitutional provisions and state statutes);737 MICH. CONST. art. 4, § 6; COLO. CONST. art.

   5, § 44; OHIO CONST. art. 19, §§ 1–2; UTAH CODE ANN. § 20A-19-103. State Supreme Courts

   have stepped in, too. See, e.g., League of Women Voters v. Commonwealth, 178 A.3d 737 (Pa.

   2018); cf. People ex rel. Salazar v. Davidson, 79 P.3d 1221 (Colo. 2003) (holding that re-

   redistricting mid-decade was unconstitutional under the State Constitution, thus adopting a

   principle similar to that which the Supreme Court rejected in LULAC). But rather than militating

   against judicial intervention, the movement in the states on the issue of partisan gerrymandering,

   in addition to decisions by other three-judge panels, can help inform our consideration of the

   underlying principles involved in this case. Cf. Obergefell v. Hodges, 135 S. Ct. 2584, 2596–97

   & Apps. A–B (2015) (collecting state and federal judicial decisions and state statutes that “help[ed]

   to explain and formulate the underlying principles” that the Supreme Court considered in that

   case). Simply put, the fact that some specific states are addressing this issue does not preclude the



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               We observe that Arizona State Legislature cited Ohio as an example. See OHIO REV.
   CODE § 103.51 (creating a legislative task force on redistricting). But this statute did not remove
   the political parties from the redistricting process (nor did it foster a truly bipartisan map-drawing
   process). The facts of this case clearly show that the political parties and the legislators still draw
   the maps.
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   federal courts from performing their “role in overseeing the process by which States draw

   legislative districts” or from performing their role in vindicating federal rights. See Evenwel, 136

   S. Ct. at 1123. Further, to state the obvious, if the allegation is that the State has perpetrated a

   constitutional violation, then it would be absurd to decline to adjudicate the claims on the basis

   that plaintiffs must seek a remedy with the entity that committed the alleged violation in the first

   place.    The recently passed state measures that allow for independent or truly bipartisan

   redistricting, however, might potentially limit the necessity of federal court intervention in the next

   redistricting cycle.

                                                    ***

            Finally, many of the same arguments that were lodged against judicial intervention in other

   forms of gerrymandering over fifty years ago are the same as those presented to us today:

                    We are told that the matter of apportioning representation in a state
            legislature is a complex and many-faceted one. We are advised that States can
            rationally consider factors other than population in apportioning legislative
            representation. We are admonished not to restrict the power of the States to impose
            differing views as to political philosophy on their citizens. We are cautioned about
            the dangers of entering into political thickets and mathematical quagmires.
   Reynolds, 377 U.S. at 566. At bottom, we borrow our answer from the Supreme Court. “When a

   State exercises power wholly within the domain of state interest, it is insulated from federal judicial

   review. But such insulation is not carried over when state power is used as an instrument for

   circumventing a federally protected right.” Id. (quoting Gomilion, 364 U.S at 347).

            As stated previously, in Vieth, four justices nonetheless thought that the Supreme Court’s

   and the lower courts’ inability to shape a substantive standard counseled against the justiciability

   of partisan-gerrymandering claims. Vieth, 541 U.S. at 278–79 (plurality). In the years since Vieth,

   federal district courts have shaped such standards. We now turn to those governing legal

   principles.


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                          V.      LEGAL STANDARDS AND APPLICATION

          As a threshold matter, we conclude that the legal and evidentiary standards below shore up

   various deficiencies found by the Supreme Court in prior partisan-gerrymandering cases. First,

   our analysis is based on results across several election cycles, which shows that the current map’s

   partisan effects are durable and largely impervious to fluctuations in voter preferences. See Gill,

   138 S. Ct. at 1927 (citing Bandemer, 478 U.S. at 135 (plurality)). Second, this analysis is not

   based solely on hypothetical election results. See Gill, 138 S. Ct. at 1928 (citing LULAC, 548 U.S.

   at 419 (opinion of Kennedy, J.)). Apart from the measures of asymmetry in the vote-seat curve,

   every other metric utilized by Dr. Warshaw is grounded in actual election results, and these metrics

   illuminate the extent of partisan bias that occurs in the current (not hypothetical) state of affairs.

   Third, we do not view the analysis adopted here and by other three-judge panels as leading

   inexorably to striking down every map in the country. Although we do not explicitly adopt Dr.

   Warshaw’s requirements that must be present to classify a map a partisan gerrymander, we find

   them instructive. Under that rubric, a map is a partisan gerrymander only if there is one-party

   control of redistricting, the party in control party is favored by the map, the partisan-bias metrics

   all point in the same direction and point toward an advantage for the party that controlled the

   redistricting, and the redistricting plan is an historical outlier in its partisan effects. Courts

   determining how the evidence in any given case applies to the test that we elaborate and employ

   today may also consider these factors, which we find important in our ultimate determination.

   Acknowledging that the partisan-bias metrics offer a range of results, then, is not to say that use

   of those metrics will necessarily result in courts striking down every challenged map.




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      A. Equal Protection Vote-Dilution Claim

          1. Legal standard

          A state’s partisan gerrymander violates the Equal Protection Clause of the Fourteenth

   Amendment when it “den[ies] to any person within [the State’s] jurisdiction the equal protection

   of the laws.” U.S. CONST. amend. XIV. Partisan gerrymanders violate equal protection by

   electorally disadvantaging the supporters of the party that lacked control of the districting process

   because of their support of that party. See Rucho, 318 F. Supp. 3d at 860.

          We adopt the three-part test to prove a violation of the Fourteenth Amendment’s Equal

   Protection Clause in a partisan-gerrymandering claim. Plaintiffs must prove (1) a discriminatory

   partisan intent in the drawing of each challenged district and (2) a discriminatory partisan effect

   on those allegedly gerrymandered districts’ voters. Bandemer, 478 U.S. at 127 (plurality op.); id.

   at 161 (Powell, J., concurring and dissenting). Then, (3) the State has an opportunity to justify

   each district on other, legitimate legislative grounds. See Rucho, 318 F. Supp. 3d at 861 (citing

   Bandemer, 478 U.S. at 141–42) (plurality op.)); Whitford, 218 F. Supp. 3d at 910–27.

              a. Intent

          To prove the first prong, Plaintiffs must demonstrate that those in charge of the redistricting

   “acted with an intent to ‘subordinate adherents of one political party and entrench a rival party in

   power.” Rucho, 318 F. Supp. 3d at 862 (quoting Ariz. State Legislature, 135 S. Ct. at 2658). It is

   not enough for Plaintiffs to show merely that the map drawers “rel[ied] on political data or [took]

   into account political or partisan considerations,” id., because the Supreme Court has

   acknowledged that political considerations may sometimes have a place in districting, Karcher,

   462 U.S. at 739 (“We have never denied that apportionment is a political process, or that state

   legislatures could pursue legitimate secondary objectives as long as those objectives were



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   consistent with a good-faith effort to achieve population equality at the same time.”). For example,

   map drawers may design maps in a nondiscriminatory manner to avoid pairing incumbents,

   Karcher, 462 U.S. at 740, to “achieve a rough approximation of the statewide political strengths

   of the Democratic and Republican parties,” Gaffney, 412 U.S. at 752, or to keep intact political

   subdivisions, Abrams v. Johnson, 521 U.S. 74, 100 (1997). But these approved uses of political

   or partisan data differ enormously from employing historical partisan data to expertly vivisect a

   state’s voter population to extract the most partisan advantage possible. See Gaffney, 412 U.S. at

   754 (noting potential constitutional infirmities “if racial or political groups have been fenced out

   of the political process and their voting strength invidiously minimized”).

          Plaintiffs argue that they must demonstrate only that partisan intent was a motivating factor

   for the redistricting scheme, not that it predominated over all other aims. See Dkt. 251 (Pls.’ Post-

   Trial Br. at 31 n.8). Defendants do not engage in the debate on the proper level of intent. They

   disavow any accusation of partisan intent and claim that their main motivations in drawing the

   2012 map were the protection of incumbents and a desire “to preserve and advance minority

   electoral prospects.” See Dkt. 252 (Defs.’ & Intervenors’ Post-Trial Br. at 4–27).

          The Supreme Court has given conflicting indications of which level of intent plaintiffs

   must show in such a claim. Some cases suggest that partisan intent as a mere motivating factor is

   enough. For example, in Bandemer, the Court required political-gerrymandering plaintiffs to show

   “intentional discrimination against an identifiable political group,” and did not specify that

   intentional discrimination must predominate over other aims. Bandemer, 478 U.S. at 127 (plurality

   op.). In Vieth, the Supreme Court criticized the proposed predominant-purpose standard in the

   political-gerrymandering context. 541 U.S. at 284–86 (plurality op.); id. at 308 (Kennedy, J.,

   concurring). Village of Arlington Heights v. Metropolitan Housing Development Corp. and its



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   progeny require only that the discriminatory purpose be “a motivating factor in the decision.” 429

   U.S. 252, 265–66 (1977).

           Other Supreme Court cases suggest that partisan intent must predominate over other goals

   in the redistricting. For example, Shaw racial-gerrymandering claims alleging violations of the

   Fourteenth Amendment require proof that “race was the predominant factor motivating the

   legislature’s decision to place a significant number of voters within or without a particular district.”

   Miller, 515 U.S. at 916 (emphasis added). Yet, “the Supreme Court expressly has characterized

   Shaw-type racial-gerrymandering claims as ‘“analytically distinct” from a vote dilution claim’” of

   the type that Plaintiffs here bring. Rucho, 318 F. Supp. 3d at 863 (quoting Miller, 515 U.S. at 911).

   Shaw racial-gerrymandering claims do not require plaintiffs to prove that the disparate electoral

   treatment was invidious, only that it existed. See Miller, 515 U.S. at 904. In other cases, in which

   the plaintiff claims that a state enacted a voting scheme to “invidiously discriminate on the basis

   of race,” the Supreme Court has not required a showing that the invidious discrimination was the

   predominant purpose of the scheme. Rucho, 318 F. Supp. 3d at 846 (citing Miller, 515 U.S. at

   911; Mobile v. Bolden, 446 U.S. 55, 66 (1980) (plurality op.)). In partisan-gerrymandering claims,

   the disparate treatment must be invidious. Ariz. State Legislature, 135 S. Ct. at 2658. “That a

   partisan gerrymandering plaintiff must meet the heightened burden of showing invidiousness

   weighs heavily against extending the predominance requirement for Shaw-type racial

   gerrymandering claims to partisan gerrymandering claims.” Rucho, 318 F. Supp. 3d at 864.

           We observe that district courts have not uniformly adopted either the “motivating factor”

   or “predominant purpose” standard for intent in partisan-gerrymandering cases. Compare Benson,

   2019 WL 1856625, at *27 & n.33 (predominant-purpose test), and Rucho, 318 F. Supp. 3d at 860–

   68 (same), with Whitford, 218 F. Supp. 3d at 887 (motivating-factor test). In Rucho, the district



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   court reasoned that the Supreme Court relied heavily on Shaw racial-gerrymandering claims in its

   most recent partisan-gerrymandering case, Gill, and therefore adopted Shaw’s predominance

   requirement. 318 F. Supp. 3d at 864. In Benson, the district court similarly chose the predominant-

   purpose standard due to Gill’s reliance on racial-gerrymandering cases that employ the standard.

   Benson, 2019 WL 1856625, at *27 & n.33. The district court in Whitford, however, distinguished

   the Shaw racial-gerrymandering cases. 218 F. Supp. 3d at 887 n.171. It relied on Arlington

   Heights in requiring only that plaintiffs demonstrate that partisan intent was a motivating factor in

   the line drawing, not the “‘sole[]’ intent or even ‘the “dominant” or “primary” one.’” Id. at 887–

   88 (quoting Arlington Heights, 429 U.S. at 265). The district court in Gill reasoned that “it rarely

   can ‘be said that a legislature or administrative body operating under a broad mandate made a

   decision motivated by a single concern,’” and acknowledged that a plethora of factors animate

   decisions in the major undertaking of redistricting. Id. at 888 (quoting Arlington Heights, 429 U.S.

   at 265).

          In the absence of clear guidance from the Supreme Court and given the connections the

   Court has recently drawn in Gill between partisan- and racial-gerrymandering cases, we follow

   Benson and Rucho in electing the predominant-purpose standard. We note, however, that if

   Plaintiffs meet the predominant-purpose standard, they necessarily satisfy the motivating-factor

   standard as well.

          Moreover, although courts have acknowledged that some partisan considerations are

   possible in the redistricting process, courts have recognized that partisan considerations are not

   included in the traditional redistricting principles. For example, excessive partisan considerations

   cannot serve as a justification for population deviations for state legislative redistricting plans,

   even when the population deviations are within the 10% safe harbor. See Larios v. Cox, 300 F.



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   Supp. 2d 1320, 1347–53 (N.D. Ga.), aff’d mem., 542 U.S. 947 (2004) (concluding that a state

   legislative plan violated one-person, one-vote, relying on the fact that the plan protected only

   Democratic incumbents and pitted many Republican incumbents against each other and that “the

   defendant ha[d] not attempted to justify the population deviations because of compactness,

   contiguity, respecting the boundaries of political subdivisions, or preserving the cores of prior

   districts.”); Hulme v. Madison County, 188 F. Supp. 2d 1041, 1047–52 (S.D. Ill. 2001) (concluding

   that a plan violated one-person, one-vote, similarly relying on evidence of excessive partisanship

   as the reason for a deviation of 9.3% and on the State’s failure to offer another justification). Larios

   and Hulme thus represent examples of courts developing “a ‘second-order’ judicial check on

   partisan gerrymandering through the one person, one vote doctrine.”                      Michael Kang,

   Gerrymandering and the Constitutional Norm Against Government Partisanship, 116 MICH. L.

   REV. 351, 384 (2017). These cases, and others post-Vieth, demonstrate that when partisanship

   predominates, partisanship is not a legitimate districting criterion. Id. at 384–90; see also Harris

   v. Ariz. Indep. Redistricting Comm’n, 136 S. Ct. 1301, 1307 (2016) (“Appellants’ basic claim is

   that deviations in their apportionment plan from absolute equality of population reflect the

   Commission’s political efforts to help the Democratic Party. We believe that appellants failed to

   prove this claim because, as the district court concluded, the deviations predominantly reflected

   Commission efforts to achieve compliance with the federal Voting Rights Act, not to secure

   political advantage for one party. Appellants failed to show to the contrary.”); Raleigh Wake

   Citizens Ass’n v. Wake Cty. Bd. of Elections, 827 F.3d 333, 345 (4th Cir. 2016) (“Plaintiffs have

   proven that it is more probable than not that the population deviations at issue here reflect the

   predominance of a[n] illegitimate reapportionment factor—namely an intentional effort to create

   a significant . . . partisan advantage.”) (internal quotations and citations omitted).



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          Plaintiffs may prove discriminatory partisan intent using a combination of direct and

   indirect evidence because “invidious discriminatory purpose may often be inferred from the

   totality of the relevant facts.” Rucho, 318 F. Supp. 3d at 862 (quoting Washington, 426 U.S. at

   241); see also Arlington Heights, 429 U.S. at 266. We scrutinize the map-drawing process to

   understand what goals motivated the map’s architects. Direct evidence of intent may include

   correspondence between those responsible for the map drawing, floor speeches discussing the

   redistricting legislation and other contemporaneous statements, and testimony explaining “[t]he

   historical background of the decision,” including the “specific sequence of events leading up to

   the challenged decisions.” Arlington Heights, 429 U.S. at 266. Indirect evidence “that improper

   purposes are playing a role” in map-drawing decisions may include “[d]epartures from the normal

   procedural sequence.” Id.

          Indirect evidence also includes statistical evidence that demonstrates “a clear pattern” of

   partisan bias that would be unlikely to occur without partisan intent or evidence that the supporters

   of one political party were consistently treated differently than the supporters of another. See id.

   at 266. Suspect and irregular splitting of coherent communities of the disfavored party (cracking)

   and grouping of members of the disfavored group (packing) also support an inference of partisan

   intent. See North Carolina v. Covington, 138 S. Ct. 2548, 2553 (2018) (“[A] plaintiff can rely

   upon either ‘circumstantial evidence of a district’s shape and demographics or more direct

   evidence going to legislative purpose’ in proving a racial gerrymandering claim.” (quoting Miller,

   515 U.S. at 913)). “That is particularly true when demographic evidence reveals that a district’s

   bizarre lines coincide with the historical voting patterns of the precincts included in, or excluded

   from, the district.” Rucho, 318 F. Supp. 3d at 900. Such irregularities can be also quantified by

   low compactness scores and unnecessarily high numbers of county and municipality splits. Even



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   though “compactness or attractiveness has never been held to constitute an independent federal

   constitutional requirement for state legislative districts,” Gaffney, 412 U.S. at 752 n.18, a lack of

   compactness or highly irregular district shapes support an inference that partisan intent motivated

   the line drawing, Rucho, 318 F. Supp. 3d at 900.

              b. Effect

          To prove the second prong, discriminatory effect, Plaintiffs must demonstrate that the plan

   had the effect of diluting the votes of members of the disfavored party by either packing or cracking

   voters into congressional districts. In Gill, the Supreme Court noted that the harm of vote dilution

   “arises from the particular composition of the voter’s own district, which causes his vote—having

   been packed or cracked—to carry less weight than it would carry in another, hypothetical district.”

   138 S. Ct. at 1931. A plan “packs” voters by creating districts that contain far more supporters of

   the disfavored party than would be necessary to elect a candidate from that party, causing many

   votes to be “wasted.” See id. at 1924. A plan “cracks” voters by creating districts that include

   carved-off sections of supporters of the disfavored party, dividing them into separate districts in

   which they do not have sufficient numbers to elect their preferred candidate. Id.; see also Benisek

   v. Lamone, 348 F. Supp. 3d 493, 514 (2018) (“[A State] can . . . contract the value of a citizen’s

   vote by placing the citizen in a district where the citizen’s political party makes up a smaller share

   of the electorate, thereby reducing the citizen’s chance to help elect a candidate of choice.”).

   Packing and cracking can be evaluated using partisan-bias metrics, which reveal if, and by how

   much, the map benefits one party over another by facilitating the more efficient translation of that

   party’s votes into seats.

          Plaintiffs may prove discriminatory effect by offering various types of evidence of packing

   and cracking. Statewide comparisons that demonstrate that the challenged map is an historical



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   outlier in its extreme partisan bias, as measured through the efficiency gap and other related

   metrics, are indirect proof of packing and cracking. See Gill, 138 S. Ct. at 1924 (describing the

   efficiency gap). Multiple partisan-bias metrics should be used, and consistency of results across

   metrics and across data sets is key in evaluating this type of evidence. Plaintiffs should also offer

   comparisons between districts in the enacted plan and the same districts in more competitive

   hypothetical plans that did not take into account partisan concerns. See id. at 1931 (noting that

   packing and cracking can be demonstrated through a comparison to “another, hypothetical

   district”); id. at 1936 (Kagan, J., concurring) (“Among other ways of proving packing or cracking,

   a plaintiff could produce an alternative map (or set of alternative maps)—comparably consistent

   with traditional districting principles—under which her vote would carry more weight.”). Such

   comparisons may support the inference that the partisan bias observed in the enacted map resulted

   from partisan intent rather than underlying political geography.

          Proof of discriminatory effect is bolstered by evidence showing that the partisan bias that

   the plan engendered was durable—the plan entrenched the favored party in power. See Ariz. State

   Legislature, 135 S. Ct. at 2658 (defining partisan gerrymandering as “the drawing of legislative

   district lines to subordinate adherents of one political party and entrench a rival in power”). An

   entrenched district is impervious to “the potential fluidity of American political life.” Jenness v.

   Fortson, 403 U.S. 431, 439 (1971); cf. Johnson v. De Grandy, 512 U.S. 997, 1017 (1994)

   (explaining that, in the VRA context, “[o]ne may suspect vote dilution from political famine”).

   Entrenchment makes it potentially impossible to “throw the rascals out” and freezes the status quo,

   see, e.g., Vieth, 541 U.S. at 356 (Breyer, J., dissenting), further diluting the votes of individual

   voters. Plaintiffs may show entrenchment by demonstrating that the partisan bias of the enacted

   plan persisted over time. Evidence that a map is extremely unresponsive or noncompetitive—that



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   voting patterns can change but the electoral result does not—helps to prove durability of the

   partisan effects and therefore supports an inference of entrenchment.

               c. Justification

           Next, if Plaintiffs prove these first two prongs (discriminatory intent and discriminatory

   effect (i.e., packing and cracking)), then the burden switches to Defendants to present evidence

   that legitimate legislative grounds provide a basis for the way in which each challenged district

   was drawn. Rucho, 318 F. Supp. 3d at 867–68; see also Karcher, 462 U.S. at 739, 741 (requiring

   the State to justify its districting decisions “with particularity”). This type of evidence takes aim

   at Plaintiffs’ intent prong. Defendants may assert that it was not partisan intent that motivated the

   map drawers’ district delineations, but rather a desire to serve other aims. These legitimate

   justifications may include serving traditional redistricting principles, for example, “making

   districts compact, respecting municipal boundaries, preserving the cores of prior districts, and

   avoiding contests between incumbent Representatives[,]” and, “[a]s long as the criteria are

   nondiscriminatory, these are all legitimate objectives that on a proper showing could justify” the

   drawing of each district. See Karcher, 462 U.S. at 740 (1983) (internal citation omitted). Other

   legitimate justifications include “preserving the integrity of political subdivisions, maintaining

   communities of interest,” Evenwel, 136 S. Ct. at 1124, and compliance with the VRA, see Bethune-

   Hill v. Va. State Bd. of Elections, 137 S. Ct. 788, 801 (2017) (“As in previous cases, . . . the Court

   assumes, without deciding, that the State’s interest in complying with the Voting Rights Act [is]

   compelling.”); Ala. Legislative Black Caucus, 135 S. Ct. at 1273–74 (holding that, when a state

   invokes the VRA to justify the use of race in the districting process, the state must have a “strong

   basis in evidence” for the position that the state would otherwise be violating the VRA if it failed

   to take race into account as it did).



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          Defendants may also argue that some other non-partisan factor caused the map’s partisan

   effects. Rucho, 318 F. Supp. 3d at 867. For example, Defendants may argue that natural political

   geography—the patterns in which Democratic and Republican voters are distributed throughout

   the State—explains why a map favors one party or another. Defendants may also attack the

   discriminatory effect prong by using evidentiary metrics to show that the challenged map does not

   actually crack or pack a particular party’s voters in a manner that is unusual given non-partisan

   considerations. For example, Defendants could attempt to show that the challenged map is not an

   historical outlier or that its partisan effects are in line with the partisan effects of non-partisan

   simulated or hypothetical maps. Vacillating election outcomes from election cycle to election

   cycle under the challenged map would also be evidence weighing against a finding of cracking

   and packing.

          We then determine whether the State’s proffered legitimate justifications or neutral

   explanations are credible based on the evidence presented at trial. See Rucho, 318 F. Supp. 3d at

   879 (examining the record and concluding that it did not support Defendants’ claim that the

   General Assembly implicitly relied on certain criteria in making line-drawing decisions); id. at

   897–98 (rejecting the proffered justification of incumbent protection); see also Benisek, 348 F.

   Supp. 3d at 514 (finding one justification incongruent with the “massive shifts of population and

   the specific targeting of Republicans”); id. (rejecting the State’s claim that a district was drawn

   due to “an expressed interest in grouping residents along the Interstate 270 corridor” because “there

   is no evidence that the presence of an interstate highway . . . was the reason for the reconfiguration

   of both the Sixth and Eighth districts, as distinct from a post-hoc rationalization”). In deciding

   whether to credit Defendants’ justifications, we assess “the consistency with which the plan as a

   whole reflects [the asserted] interests, and the availability [and embrace] of alternatives that might



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   substantially vindicate those interests.” See Karcher, 462 U.S. at 740–41. We also weigh the

   evidence to determine whether any neutral explanation for partisan effect accounts for the partisan

   effects observed. See Rucho, at 896–97 (rejecting the proffered justification of “natural packing”

   in North Carolina’s political geography).

          2. Application

          Plaintiffs have demonstrated predominant partisan intent and partisan effect to support their

   First and Fourteenth Amendment vote-dilution claims. We first discuss evidence that applies

   broadly across all districts and then delve into the particularities of each district. We next analyze

   the justifications that Defendants have offered addressing both the intent behind the map and its

   partisan effects. We conclude that the proffered justifications either are inconsistent with the

   evidence, simply not credible, or do not meaningfully explain the design or effects of the 2012

   map.

              a. Statewide evidence of intent

          Several different types of evidence come together to tell a cohesive story of a map-drawing

   process dominated by partisan intent—the invidious desire to disadvantage Democratic voters and

   advantage Republican voters to achieve a map that was nearly certain consistently to elect twelve

   Republican Representatives and four Democratic Representatives. See Washington v. Davis, 426

   U.S. 229, 242 (1976) (“[I]nvidious discriminatory purpose may often be inferred from the totality

   of the relevant facts.”). We examine evidence of the timeline and logistics of the map-drawing

   process, the map drawers’ heavy use of partisan data, contemporaneous statements made by the

   map drawers about their efforts, the characteristics of the map itself (including the irregular shape

   of the districts, their lack of compactness, and the high number of county and municipality splits),

   and finally, the outlier partisan effects that the map has produced since its enactment. When



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   assembled, this evidence paints a convincing picture that partisan intent predominated in the

   creation of the 2012 congressional map.

          i.        Map-drawing process

          “Departures from the normal procedural sequence” may serve as proof “that improper

   purposes are playing a role” in the map drawers’ work. Arlington Heights, 429 U.S. at 267. We

   conclude that the map-drawing process was rife with procedural irregularities and suspect behavior

   on the part of the map drawers, all of which support an inference of predominant partisan intent.

          There was a severe disconnect between the outward face of the map-drawing process and

   its true inner workings. Publicly, the House and Senate Subcommittees on Redistricting held

   regional hearings across Ohio ostensibly to solicit the input of Ohioans on the 2012 map. Yet, no

   draft maps were presented to the public at these meetings, and the public therefore could not even

   react to or comment on the drafts. In fact, State Senator Faber, the co-chairman of the Select

   Committee on Redistricting, testified that “the Select Committee on Redistricting didn’t do much

   with regard to the actual redistricting. . . . I’m not even sure we issued a report.”738 See Rucho,

   318 F. Supp. 3d at 869 (finding a procedural irregularity in the fact that “notwithstanding that the

   Committee held public hearings and received public input, [the expert who drew the map] never

   received, much less considered, any of that input in drawing the 2016 plan” and finding that

   procedural irregularity probative of intent).

          At the same time, in a room at the DoubleTree Hotel in Columbus, Republican map drawers

   worked on the map but declined to share drafts of it with the public, Democratic legislators, and

   most members of their own Party. They finally shared the map with other state legislators

   immediately prior to its introduction in the House. This late notice was in part necessitated by the



          738
                Dkt. 230-13 (Faber Dep. at 21–22).
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   fact that national Republicans such as Tom Whatman were requesting changes to the map as late

   as 9:28 PM on Monday, September 12, 2011, the evening before the bill was introduced.739 It was

   also the result of the map drawers’ strategic decision to “[h]old it ‘in the can’” until the legislature

   returned in September.740

          The deep involvement of national Republican operatives in the map-drawing process is an

   additional irregularity that serves as evidence of partisan intent. Ohio Republicans were in contact

   with national Republican Party operatives well before the map-drawing process began. National

   Republicans instructed the Ohio map drawers to maintain the plan’s secrecy, taught the Ohio map

   drawers how to use Maptitude, and provided them with additional partisan data and assistance in

   working with the data they were provided. National Republican operatives repeatedly met with

   Judy, Mann, and DiRossi, and were in regular communication with them during the map-drawing

   process.

          Importantly, the national Republican operatives did not merely play a supporting role in

   the map drawing. Rather, they generated foundational strategies that played key roles in the map.

   For example, it was Tom Whatman’s and Adam Kincaid’s idea to create a new Democratic district

   in the Columbus area (District 3) in order to solidify Republican seats in Districts 12 and 15.

   Whatman also made the decision that the Republican incumbents to be paired were Congressmen

   Turner and Austria because that was “the right thing for Republicans for the next decade.”741 The

   Ohio Republican map drawers displayed deference to their national Republican counterparts in

   their email correspondence. Mann and DiRossi cleared changes to the map with Whatman prior

   to implementing them. Whatman requested changes to the map on the eve of its introduction, and



          739
              Trial Ex. P128 (Sept. 12, 2011 email at LWVOH_00018322).
          740
              Trial Ex. P112 (Congressional redistricting timeline at DIROSSI_0000140).
          741
              Trial Ex. P407 (Sept. 7, 2011 email at LWVOH_0052432).
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   the Ohio map drawers accommodated his request. The evidence suggests that many of the big

   ideas for the 2012 map scheme were generated in Washington, D.C., and then communicated to

   the Republican consultants in the DoubleTree in Columbus. We conclude that the level of control

   asserted by national Republican operatives in a redistricting delegated to the State of Ohio’s

   General Assembly raises the inference that pro-Republican partisan intent dominated the process.

          ii.     Heavy use of partisan data

          Plaintiffs introduced testimonial evidence that the map drawers relied heavily on partisan

   data as they drew the 2012 map. We find the evidence of the heavy reliance on partisan data in

   the map-drawing process highly persuasive. See Benisek, 348 F. Supp. 3d at 517–18 (finding

   partisan intent, noting that “[r]eliance on the [Democratic Performance Index] in finalizing a map

   was essential to achieving the specific intent to flip the Sixth District from safely Republican to

   likely Democratic”); Rucho, 318 F. Supp. 3d at 869–70 (finding the map drawers’ creation of a

   partisan index and use of it in drawing the districts indicative of partisan intent).

          First, partisan data, along with other demographic data, was constantly displayed on the

   map drawers’ computer screens as they did their work on Maptitude. As they drew and altered

   congressional district lines, the partisan leanings of the resulting districts would automatically

   update in real time.

          Second, the Republican map drawers created various partisan indices through which they

   could measure the likely partisan outcomes of their draft maps, and the compositions of the indices

   are themselves proof of the map drawers’ partisan intent. The Unified Index, upon which they

   relied heavily, averaged the results of five races, overall reflecting a partisan landscape more

   favorable to the Democratic Party than an index that would have included a fuller set of elections




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   from the decade preceding the redistricting.742 The 2008 McCain Index similarly reflected an

   election in which Democrats had performed very well. Using these indices to predict partisan

   outcomes of draft maps therefore allowed the map drawers a margin of error—if Republican

   victories were predicted using the Unified Index and the 2008 McCain Index’s Democrat-friendly

   numbers, they would be likely to withstand Democratic wave years and be sure to elect

   Republicans in average years. These indices had the added benefit of making draft maps look

   more competitive than they actually were to the untrained eye. In fact, in public statements

   defending the competitiveness of the map, Representative Huffman stated that “11 of the 16 races

   are competitive if you use the 2008 Presidential Race as a guide.”743

          Third, communications between the Ohio map drawers and their national Republican

   counterparts demonstrate that partisan outcomes were undoubtedly foremost in their minds when

   making line-drawing decisions. See Rucho, 318 F. Supp. 3d at 870 (finding the fact that one map

   drawer’s “appraisal of the various draft plans provided by [the map-drawing expert] focused on

   such plans’ likely partisan performance” probative of partisan intent). For example, DiRossi

   updated President Niehaus, Senator Faber, and Matt Schuler on his work on the map only days

   before the introduction of H.B. 319, informing them that the “Index for Latta fell two one hundreds

   [sic] of a point to 51.33” and the “Index for Jordan rose three one hundredth of a point to 53.26.”744

   Later that morning, DiRossi followed up, stating that due to the change he had earlier implemented

   “a good part of Lucas [County] [Latta] is picking up is [R]epublican territory.” 745 DiRossi

   responded again with more partisan information later the same morning, breaking down the




          742
              Dkt. 247 (Hood Trial Test. at 222–24).
          743
              Trial Ex. J22 (Rep. Huffman Sponsor Test. at 001).
          744
              Trial Ex. P126 (Sept. 12, 2011 emails at LVOH_00018298).
          745
              Id.
                                                    181
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   partisan leanings of the people in specific sections of Lucas County that DiRossi had just assigned

   to Latta’s new district—“123,289 from Lucas County suburbs (49.13% 08 pres index) and 110,786

   from Toledo wards (36.11% 08 pres index).”746 This series of emails demonstrates the Republican

   map drawers’ acute awareness of and concern about small impacts that line changes had on the

   map’s partisan score as they tried to finesse the lines to ensure Republican voter majorities for

   Republican Congressmen Jordan and Latta. They thought it was important to know, for example,

   that the voters allotted to Latta from the Lucas County suburbs were more Republican leaning, as

   measured by the 2008 McCain Index than the voters allotted to Latta from the Toledo wards. A

   related email including “talking points” sent by Whatman to President Niehaus further exemplifies

   the use of this partisan data in decision making. Whatman explained that one incumbent pairing

   was chosen over another in part because the rejected pairing “makes it impossible to draw Latta

   w/ a good index because you can’t get enough good to off set [sic] the bad he takes from Lucas

   County.”747 See Benisek, 348 F. Supp. 3d at 517 (finding partisan intent where the consultant hired

   to draw the map “prepared district maps using [a political consulting firm’s] proprietary

   [Democratic Performance Index] metric to assess the likelihood that a district would elect a

   Democratic candidate”).

          In the days leading up to the introduction of H.B. 319, DiRossi also sent Whatman an

   update about the effect that changes he had made to Congressman Stivers’s district had on partisan

   scores. He sent Whatman an email in which the entirety of the message read: “Stivers 08 Pres

   goes from 52.64 to 53.32; Stivers unified index goes from 55.02 to 55.72; Schmidt 08 Pres goes

   from 54.62 to 53.99; [Schmidt] unified index goes from 57.64 to 56.96; I can send equivalency




          746
                Id.
          747
                Trial Ex. P407 (Sept. 7, 2011 email at LVOH_0052431).
                                                  182
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   file if necessary.”748 The presence of entire emails communicating such minute shifts in partisan

   index scores in the days leading up to the map’s introduction supports the conclusion that partisan

   outcomes were the predominant concern of those behind the map.

          The correspondence between these map drawers is also littered with references to “good”

   and “bad” territory as well as “improve[ments]” that can be made to certain districts. For example,

   Whatman wrote to Kincaid, DiRossi, and Mann that one set of changes “looks good on the surface”

   but highlighted that the “[k]ey is whether we can improve CD1 and CD 14 at the block level.” 749

   In another email criticizing changes that Kincaid had made to a map, Tom Hofeller wrote that

   “[t]he area Adam has on his version included . . . some of the more ‘downtown’ area, which I took

   out of the map I sent—as it was ‘dog meat’ voting territory.” He later referred to the area he had

   removed as “awful-voting territory in the 15th.”750 “Good” territory clearly meant Republican-

   leaning territory, “bad” or “awful” territory meant Democratic-leaning territory, and

   “improv[ing]” a district meant manipulating boundaries, sometimes “at the block level,” to make

   it more likely to elect a Republican representative. The map drawers defined these basic

   classifications of geographic areas based on their partisan leanings and the partisan impact that

   they would have on the map. The fact that mapmakers considered an area “good” or “bad” based

   on its partisan composition demonstrates the absolute centrality of partisanship to their map-

   drawing efforts.

          The Republican map drawers repeatedly emphasized in their testimony that partisan index

   data was only one category of the many types of demographic data that was displayed in Maptitude

   as they worked. However, while there is ample evidence that the map drawers were acutely aware



          748
              Trial Ex. P127 (Sept. 12, 2011 email at LWVOH_00018320).
          749
              Trial Ex. P119 (Sept. 3, 2011 email at LVOH_00018302).
          750
              Trial Ex. P394 (Sept. 8, 2011 email at REV_00023234).
                                                  183
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   of how their mapmaking decisions impacted the partisan leanings of their draft districts, no such

   evidence suggests that they were nearly as focused on any other type of demographic data. Further,

   the correspondence includes very little discussion of how contemplated changes would impact

   core preservation, affect compactness, or minimize county or municipality splits.

          iii.    Contemporaneous statements

          Statements made by the map drawers during and immediately after the map-drawing

   process also reflect their intent to produce a 2012 map with specific partisan results. See Benisek,

   348 F. Supp. 3d at 518 (considering notes prepared for the Senate President’s “remarks to the State

   House and Senate Democratic Caucuses about the redistricting plan” as evidence establishing

   intent). For example, Whatman explained to President Niehaus why certain decisions had to be

   made about the map: “In losing two seats and trying to lock down 12 Republican seats it is

   unrealistic to think that southwest Ohio can remain the way it is.”751 This is a direct expression of

   the Republican map drawers’ intent to draw a map that guarantees the election of twelve

   Republicans by minimizing the competitiveness and responsiveness of the districts. The same

   email explained that pairing senior rather than freshman Republican incumbents was necessary to

   avoid “an overall worse map for republicans in the state” which was “not the right thing to do.”752

   Rather, in Whatman’s view, a “tough decision” had to be made that was “the right thing for

   Republicans for the next decade”—choosing the incumbents to be paired based on which would

   allow for a more pro-Republican map.753 This statement, made days before the introduction of

   H.B. 319 by a chief architect of the 2012 map, is more direct evidence that the map drawers

   knowingly prioritized partisan impact over other redistricting concerns, such as incumbent



          751
              Trial Ex. P407 (Sept. 7, 2011 email at LWVOH_0052431) (emphasis added).
          752
              Id. at LWVOH_0052432.
          753
              Id.
                                                   184
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                                     23542


   protection, and that they understood and intended the map-drawing decisions they were making to

   affect the electoral outcomes “for the next decade.” They could be sure that the impacts would

   remain for years to come because they relied on carefully chosen indices to predict partisan scores

   and monitored changes to those partisan scores down to the second decimal place. See Rucho, 318

   F. Supp. 3d at 870 (finding evidence of partisan intent in the map drawers’ understandings that the

   map design would dictate partisan outcomes “in every subsequent election”).

          Kincaid’s statements about the Ohio redistricting process following the passage of H.B.

   369 provide further proof of the map drawers’ partisan intent. In a presentation to the NRCC, he

   stated his belief that Districts 1, 12, and 15 had been taken “out of play”—they were safe

   Republican seats that had been designed with sufficient partisan insulation from a Democratic

   challenge.754 Kincaid provided the PVI numbers to demonstrate significant pro-Republican

   partisan shifts that the 2012 map had achieved. This is evidence that Republican map drawers

   relied heavily on and frequently discussed partisan indices because they were understood as the

   means of monitoring their goal of designing reliably Republican districts. Kincaid also stated his

   belief that Districts 6 and 16 were “Competitive R Seats Improved”—their designs had been

   altered to shore up Republican advantage.755 Kincaid’s discussion of the map’s achievements

   emphasized that it should reliably deliver a 12-4 partisan composition, “eliminat[ed]

   [Representative] Sutton’s seat,” and “created a new Democratic seat in Franklin County”—all

   commentary focused on the issue that mattered most to the map drawers: partisan outcomes.756




          754
              Trial Ex. P310 (NRCC Presentation at 5); Dkt. 230-27 (Kincaid Dep. at 115–16).
          755
              Trial Ex. P310 (NRCC Presentation at 6).
          756
              Trial Ex. P414 (State-by-State Redistricting Summary at REV_00000001); Dkt. 230-28
   (Kincaid Dep. at 519).
                                                  185
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             iv.    Irregular shape of the districts, lack of compactness, high number of splits

             A map that fails to include compact districts that follow preexisting county and municipal

   lines raises questions of intent. The choice to split counties and municipalities and to draw

   noncompact districts must have been motivated by some other intent that was more important to

   the map drawers than honoring these traditional districting principles. Where no other motivation

   is offered, or the motivation offered is unconvincing, and other evidence demonstrates that partisan

   intent was present, irregularly shaped, noncompact districts and seemingly unnecessary county

   and municipality splits can support an inference of partisan intent.

             Comparing the 2012 map to Mr. Cooper’s hypothetical maps (which dealt with the same

   incumbent-pairing situation as the map drawers in 2011 did) provides some proof of partisan

   intent. The 2012 map splits two counties four ways, five counties three ways, and sixteen counties

   two ways.757 Mr. Cooper’s hypothetical maps, in contrast, split no counties four ways, only two

   counties three ways, and twelve counties in two ways.758 Mr. Cooper’s hypothetical maps also

   have higher Polsby-Popper and Reock scores than the 2012 map, meaning that their districts are

   more compact.759 The hypothetical maps also have core retention rates on par with that of the

   2012 map.760 The fact that Mr. Cooper was able to draw two hypothetical maps that comport with

   traditional redistricting principles as well or better than the 2012 map, pair the same configuration

   of incumbents, and result in more favorable partisan outcomes for Democratic voters suggests that

   the 2012 map was selected in order to engineer less favorable partisan outcomes for Democratic

   voters.




             757
                 Trial Ex. P090 (Cooper Decl. at 12, fig. 5).
             758
                 Trial Ex. P093 (Cooper Second Suppl. Decl. at 9, 16).
             759
                 Id. at 8, 15.
             760
                 Id. at 6, 13.
                                                    186
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          Further, it does not take an expert or scientific analysis to see that the 2012 map is littered

   with oddly-shaped districts. It is true that district lines must be drawn somewhere, but even a

   cursory glance at the 2012 map shows how non-compact some districts are. When coupled with

   all of the other evidence regarding intent, we find that the irregularity of the boundaries is further

   evidence that the districts’ boundaries were drawn with a predominantly partisan intent. See

   Rucho, 318 F. Supp. 3d at 883 (finding that the challenged map’s “‘bizarre’ and ‘irregular’ shapes”

   which were “explicable only by the partisan make-up of the precincts the mapdrawers elected to

   place within and without the districts” supported a finding of predominant partisan intent).

          v.        Partisan effects as measured by evidentiary metrics

          Plaintiffs argue that the extremity of the partisan effects themselves are strong proof of

   partisan intent. We find the inference of partisan intent well supported by Dr. Warshaw’s analysis

   demonstrating the 2012 map’s extreme levels of partisan bias across multiple metrics and data sets

   and when compared to a large array of historical elections.761 See Rucho, 318 F. Supp. 3d at 862

   (“In determining whether an ‘invidious discriminatory purpose was a motivating factor’ behind

   the challenged action, evidence that the impact of the challenged action falls ‘more heavily’ on

   one group than another ‘may provide an important starting point.’” (quoting Arlington Heights,

   429 U.S. at 266)); id. at 870–76 (concluding that mathematical analyses indicating that the

   challenged map was an extreme statistical outlier in terms of its partisan effects were proof of

   partisan intent). Dr. Warshaw’s analysis of elections under the 2012 map compared to historical

   elections in comparable states showed that it is extremely partisan and extremely pro-Republican.

   All four partisan-bias metrics he employed supported this conclusion, which held true across

   different elections that have occurred under the 2012 plan. We conclude that such strong and



          761
                Trial Ex. P571 (Warshaw Rep. at 4).
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   consistent pro-Republican partisan bias would be highly unlikely to occur without intentional

   manipulation of the district lines to achieve that result.

                 b. Statewide evidence of effect

           For their vote-dilution claims, Plaintiffs offer, in part, statewide evidence to prove partisan

   effect. As in other gerrymandering cases, “[v]oters, of course, can present statewide evidence in

   order to prove . . . gerrymandering in a particular district.” See Ala. Legislative Black Caucus, 135

   S. Ct. at 1265. This evidence complements and strengthens other district-specific evidence.762

   The actual election results and the analyses of Dr. Warshaw and Dr. Cho are particularly relevant

   here.

           Before turning to this evidence, it is worth explaining that the reliance on statewide

   evidence in a partisan-gerrymandering case is slightly distinct from Shaw racial-gerrymandering

   cases. Of course, a Shaw claim does not have effect as an element. Rather, the harm under a Shaw

   claim is an “expressive” harm. See Richard H. Pildes & Richard H. Niemi, Expressive Harms,

   “Bizarre Districts,” and Voting Rights: Evaluating Election-District Appearances After Shaw v.

   Reno, 92 MICH. L. REV. 483, 506–07 (1993) (“An expressive harm is one that results from the

   ideas or attitudes expressed through a governmental action, rather than from the more tangible or

   material consequences the action brings about.”). As the Supreme Court recognized in Miller:

           Shaw recognized a claim “analytically distinct” from a vote dilution claim.
           Whereas a vote dilution claim alleges that the State has enacted a particular voting
           scheme as a purposeful device “to minimize or cancel out the voting potential of
           racial or ethnic minorities,” an action disadvantaging voters of a particular race, the
           essence of the equal protection claim recognized in Shaw is that the State has used
           race as a basis for separating voters into districts.




           762
              Plaintiffs’ First Amendment associational claim rests on statewide evidence, and we
   discuss this further in Section V.C.
                                                    188
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   Miller, 515 U.S. at 911 (citations omitted) (emphasis added). Accordingly, “a plaintiff alleging

   racial gerrymandering bears the burden ‘to show . . . that race was the predominant factor

   motivating the legislature’s decision to place a significant number of voters within or without a

   particular district.’” See Bethune-Hill, 137 S. Ct. at 797. In partisan-gerrymandering cases,

   however, the harm includes partisan effect, and consequently Plaintiffs may rely on statewide

   evidence to prove that harm. In this case, a predominant partisan intent drove how the entire map

   was drawn, so it is logical that Plaintiffs should be able to rely on statewide evidence of effect, as

   well as district-by-district evidence. Just as a predominant partisan intent infected the whole map,

   the partisan-effect evidence discussed here shows efficient packing and cracking of Democratic

   voters across the whole map.

          Lastly, the evidence discussed in this section could also be used to prove intent. See infra

   Section V.C.1.b. In future cases, one would expect map drawers not to express clearly their pure

   partisan intentions, and there likely would be less clear direct evidence of partisan intent. The

   social-science metrics and simulated maps would then become even more important

   considerations, for evidence of sufficiently extreme partisan gerrymanders would support the

   contention that a state was predominantly motivated by partisanship. See infra Section V.C.1.b.

          Turning now to the evidence, the actual election results show a durable partisan effect

   across the map and support an inference of packing and cracking districts across the State. Every

   election has resulted in the election of twelve Republican representatives and four Democratic

   representatives. Even more alarming is the fact that the Republican candidates have consistently

   won the exact same districts: Districts 1, 2, 4, 5, 6, 7, 8, 10, 12, 14, 15, and 16; and the Democratic

   candidates have consistently won the exact same districts: Districts 3, 9, 11, and 13. Thus, in each

   of these elections, 75% of the representatives elected in the State of Ohio were Republicans—



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   despite fluctuations in the Republican statewide vote share. In the 2012 election, Republicans won

   only 51% of the statewide vote. In 2014, they won only 59% of the statewide vote. In 2016, they

   won only 57% of the statewide vote. In 2018, they won only 52% of the statewide vote. From a

   statewide perspective, then, at least 2012 and 2018 were quite competitive. At the individual

   district level, however, only four congressional elections—two in 2012 and two in 2018—have

   been competitive (within a 10% margin of victory, or within 55% to 45%) across the entire decade.

   Each of those competitive elections was won by Republican candidates; meanwhile, the lowest

   percentage of the vote that a winning Democratic candidate for Congress received in any election

   was 61%. Because the scientific evidence shows that such clustering is not the result of natural

   packing, this strongly suggests that Democratic voters were intentionally packed in large numbers

   into these four districts. Under the 2002 map, there were several districts that bounced between

   electing Democratic and Republican representatives—particularly Districts 6, 15, 16, and 18.763

   In short, the actual statewide vote share in congressional elections does not suggest that

   Democratic voters should have expected to suffer from such a “political famine,” or such a

   “political feast” in the four districts that they have won, and, consequently, this raises suspicions

   of vote dilution. Cf. De Grandy, 512 U.S. at 1017 (“One may suspect vote dilution from political

   famine”).




          763
                    OHIO        SEC’Y      OF       STATE,       2002       ELECTION        RESULTS,
   https://www.sos.state.oh.us/elections/election-results-and-data/2002-elections-results/;     OHIO
   SEC’Y OF STATE, 2004 ELECTION RESULTS, https://www.sos.state.oh.us/elections/election-results-
   and-data/2004-elections-results/; OHIO SEC’Y OF STATE, 2006 ELECTION RESULTS,
   https://www.sos.state.oh.us/elections/election-results-and-data/2006-elections-results/;     OHIO
   SEC’Y OF STATE, 2008 ELECTION RESULTS, https://www.sos.state.oh.us/elections/election-results-
   and-data/2008-election-results/; OHIO SEC’Y OF STATE, 2010 ELECTION RESULTS,
   https://www.sos.state.oh.us/elections/election-results-and-data/2010-elections-results/. The Court
   takes judicial notice of the 2002-2010 election results. FED. R. EVID. 201.
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          Further, an array of social-science metrics demonstrates that the 2012 map’s significant

   partisan bias in favor of Republicans in that the Republicans possess a major advantage in the

   translation of votes to seats compared to Democrats. This partisan bias is durable across the

   decade. In the 2012 and 2018 elections, the efficiency gap, declination, and partisan symmetry

   metrics were each more extreme and more pro-Republican than over 90% of previous elections.

   See supra Section II.C.1. The mean-median difference also displays significant partisan bias,

   though less so than the other three metrics: in 2012, the mean-median difference was more extreme

   than “in 83% of previous elections and more pro-Republican than . . . in 92% of previous

   elections.”764 For 2018, the corresponding percentages were 62% and 81%. 765 Although not as

   strong, we still give weight to the fact that the mean-median difference jumped from 1.7% in 2010

   (a successful Republican year) to 7.8% in 2012 and remained much higher, at 5%, in 2018.766 In

   2014 and 2016, these four metrics do not indicate quite as much partisan bias; however, that makes

   sense given that Republicans performed better in those years. In fact, that just proves the point—

   when the statewide congressional vote was nearly split between the two parties, the same results

   were achieved as when Republicans did markedly better.

          The lack of competitive elections compared to what one would expect based on Ohio’s

   natural political geography also indicates that Democratic voters have been packed and cracked.767

   Dr. Cho’s analysis showed that under the simulated maps, one would expect at least a handful of

   competitive elections across the State in each election, with Democratic candidates winning some

   of those elections and Republican candidates winning others. See supra Section II.C.2.b.i. Again,



          764
             Trial Ex. P571 (Warshaw Rep. at 25).
          765
             Trial Ex. P476 (Warshaw 2018 Update at 3).
         766
             Trial Ex. P571 (Warshaw Rep. at 24); Trial Ex. P476 (Warshaw 2018 Update at 3).
         767
             We further discuss individual districts, as well as their election results and lack of
   competition, infra.
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   the current map had only two competitive elections in the 2012 cycle, and only two competitive

   elections in the 2018 cycle—all favoring Republicans. The evidence of packing is perhaps the

   strongest, as every Democratic candidate who has won an election under the current map has

   garnered over 60% of the vote—a stark contrast in comparison to the simulated maps in which

   Democratic candidates are projected to run in several competitive elections. Given the continued

   dearth of competitive elections for both parties, we credit Dr. Cho’s conclusion that the margins

   of victory “are sufficiently insulating to produce an enduring effect” in favor of Republicans. 768

          Moreover, we conclude that the districts are effectively entrenched to favor Republican

   candidates overall. We thus credit Dr. Warshaw’s conclusion that “Democratic voters in Ohio are

   efficiently packed and cracked across districts.”769 This conclusion is supported, in part, by the

   evidence outlined above. Additionally, Dr. Warshaw’s first uniform swing analysis shows that

   “Democrats would win only 37.5% of the seats in Ohio’s congressional districts [or 6 out of 16

   seats] even if they won 55% of the statewide vote.”770 Incorporating the 2018 election results

   produced only a slight difference, with Democrats winning half the seats when they achieve 55%

   of the vote.771 The swing analysis demonstrates entrenchment because it shows that the 2012

   map’s design is such that the overall Republican advantage will be maintained, absent a rather

   seismic shift in the statewide vote share in favor of Democratic candidates. This evidence of

   entrenchment adds more weight to Plaintiffs’ vote-dilution claims and strongly shows that the

   districts are impervious to “the potential fluidity of American political life.” Jenness, 403 U.S. at

   439.




          768
              Trial Ex. P426 (Cho Suppl. Rep. at 6).
          769
              Trial Ex. P571 (Warshaw Rep. at 43).
          770
              Id. at 15.
          771
              Trial Ex. P476 (Warshaw 2018 Update at 12–13).
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          Critically, the evidence shows that the map enacted in H.B. 369 is an outlier in terms of its

   partisan effects. Dr. Warshaw’s findings on the pro-Republican tilt and extreme nature of the

   partisan-bias metrics provide considerable weight for this conclusion. Dr. Cho’s seat-share

   analysis bolsters the fact that H.B. 369 is an outlier. In her initial analysis, none of the simulated

   maps produced the same 12-4 seat share as the current map; using updated data, only 0.046% of

   the simulated maps (1,445 out of over 3 million) produced the same 12-4 seat share. See supra

   Section II.C.2.b.iii. In this case, we are not confronted with a difficult question about the margins

   of what constitutes an outlier. By almost every measure, H.B. 369 has produced partisan effects

   that are more extreme than over 90% of prior elections, and several of the measures show that this

   map is over 95% more extreme.

          Defendants contest the usefulness and appropriateness of Dr. Cho’s simulated maps as a

   comparison to the current map because the simulated maps do not factor in incumbent protection.

   We find these arguments largely unpersuasive. To begin, the simulated maps incorporate only

   neutral districting criteria, and thus, they serve as useful non-partisan baselines against which to

   compare the current map’s partisanship. In this case, these non-partisan baselines demonstrate the

   typical type of maps one would expect based on the State’s natural political geography. Second,

   to the extent that the General Assembly legitimately sought to avoid the pairing of incumbents, we

   find that Dr. Cho’s failure to account for this factor partially reduces the strength of her conclusion

   that the 12-4 map cannot be explained by legitimate redistricting criteria. Even so, we still find

   Dr. Cho’s simulated maps to support an inference of partisan effect and intent due to the

   overbreadth of Defendants’ incumbent-protection explanation, its shaky evidentiary foundation,

   and the sheer extremity of the pro-Republican or pro-Democratic leanings of the current districts,

   as demonstrated by Dr. Cho’s comparison analysis. We fully address the incumbent-protection



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   justification for H.B. 369 later in this opinion. As will be explained, we find that Defendants have

   stretched the incumbent-protection justification too far in this case, and, in some respects, the

   justification simply does not hold up based on the facts. We observe that Representative Huffman

   clearly described incumbent protection as “subservient” to other criteria. See Trial Ex. J01 (Ohio

   House Session, Sept. 15, 2011 at 19) (statement of Rep. Huffman). Moreover, Dr. Cho’s findings

   on her simulated maps’ partisan outcomes so starkly contrast with the current map that, to the

   extent incumbent protection explains some of the current map’s partisan effect, Dr. Cho’s analyses

   provide support, along with other evidence in this case, that this justification cannot explain the

   consistent 12-4 seat share of the current map.

           We now turn to an analysis of each individual district.

                 c. District-by-District analysis

           In this section, we complement the statewide evidence of intent and effect with evidence

   specific to each district. We show that each district was drawn with a predominant intent to dilute

   the votes of Democrats and that each district actually dilutes the votes of Democrats by either

   packing or cracking Democrats into the district. In doing so, we address and reject herein some of

   the particular partisan-neutral explanations that Defendants offer for certain districts. In the next

   section, we explore more fully some of the overarching justifications that Defendants advance.

                 i.     District 1

           District 1 encompasses all of Warren County and irregularly shaped and disjointed portions

   of Hamilton County, including western portions of the City of Cincinnati. The district wraps

   strangely around the eastern portion of Cincinnati, surrounding it on three sides.772




           772
                 Trial Ex. P090 (Cooper Decl. at 12, fig. 5; App. D-3); Dkt. 241 (Cooper Trial Test. at
   145).
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          As Dr. Niven described, rather than leaving intact the City of Cincinnati, an obvious

   community of interest that leans Democratic, the map drawers made a deliberate choice to split

   the city in half in an irregular shape. One half was paired with heavily Republican Warren County

   to make a Republican District 1. The other half was paired with Republican rural southern Ohio

   counties to make a Republican District 2.773 Dr. Niven’s report demonstrated that the Cincinnati

   neighborhoods that were split were particularly likely to be Democratic strongholds. 774 Thus, the

   “demographic evidence reveals that [the] district’s bizarre lines coincide with the historical voting

   patterns of the precincts included in, or excluded from, the district.” Rucho, 318 F. Supp. 3d at

   900. We therefore conclude that District 1’s bizarre lines (wrapping around portions of the City

   of Cincinnati on three sides) and the fact that it vivisects an obvious community of interest, which

   together split a Democratic city to create two solidly Republican districts, is evidence that partisan

   intent dominated the drawing of District 1. See Covington, 138 S. Ct. at 2553 (considering


          773
                Trial Ex. P524 (Niven Rep. at 7).
          774
                Id. at 13.
                                                    195
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   “circumstantial evidence of [the] district’s shape and demographics” as evidence of racial

   gerrymandering).

          It is true that Hamilton County has a population larger than the ideal equipopulous district

   and therefore cannot be entirely contained within a single district; the county must be divided to

   some extent.775 However, we reject the argument that the need to split Hamilton County is a

   neutral explanation for District 1 being drawn as was. Even though Hamilton County needed to

   be split between two congressional districts, it did not have to be split in such an irregular shape

   and need not have divided the City of Cincinnati, a clear community of interest, in such a dramatic

   fashion. For example, Mr. Cooper’s hypothetical maps, which were designed as viable alternatives

   that could have been enacted in 2011, and which match or better the enacted map in terms of their

   compliance with traditional redistricting principles, maintain the City of Cincinnati intact to a far

   greater degree than the 2012 map.776

          We can discern no legitimate reason behind the division of the City of Cincinnati other

   than the desire to crack its Democratic voters, disabling a cohesive center that would likely have

   elected a Democratic representative and instead facilitating the creation of another Republican

   district. DiRossi testified that “[t]he intention [in 2011] was to try to have one whole county in

   [District 1] somehow.”777 DiRossi testified that Warren County was selected to be the whole

   county, and portions of Hamilton County would be drawn in to reach the ideal population. 778 He

   stated that the decision to include Warren County “impact[ed] the shape of the district in Hamilton

   County . . . [b]ecause in order to have most of the west side and Cincinnati in the district, but also




          775
              Dkt. 241 (Cooper Trial Test. at 153).
          776
              Trial Ex. P093 (Cooper Second Suppl. Decl. at 4, 12).
          777
              Dkt. 243 (DiRossi Dep. at 186).
          778
              Id.
                                                    196
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   connect to Warren County . . . you had to come across the northern area of places like Evendale

   and some of the other Springfield Township northern places to connect them.”779

          We find this explanation for District 1’s shape and the division of the City of Cincinnati

   entirely unconvincing, false, and indicative of partisan intent. In fact, DiRossi’s explanation of

   the contours of District 1 provokes more questions than it answers. Why was Warren County,

   rather than Butler County or Clermont County selected as the county to pair with Hamilton

   County? Why was the intention to try to have one whole county in District 1? This did not appear

   to be a pressing concern elsewhere—Districts 13 and 9 are composed entirely of partial counties.

   Why did the map drawers want to have the west side of Hamilton County in the district, requiring

   them “to come across the northern area”? What was wrong with the east side? Most importantly,

   DiRossi’s explanation of the shape of the district fails to explain why the City of Cincinnati was

   split as it is and why keeping Warren County whole was more important than preserving the

   obvious community of interest embodied in the City of Cincinnati. See Arlington Heights, 429

   U.S. at 267 (“Substantive departures [from normal procedure] may be relevant, particularly if the

   factors usually considered important by the decisionmaker strongly favor a decision contrary to

   the one reached.”). We reject this justification and conclude that it was merely an attempt to

   obfuscate. See Benisek, 348 F. Supp. 3d at 520 (rejecting a proffered post hoc rationalization for

   a district’s design as unsupported by the evidence). Rather, given the substantial evidence of

   partisan intent discussed above, we conclude that the more plausible explanation for District 1’s

   configuration was the predominant desire to crack Democratic voters in Cincinnati, a cohesive

   center that would likely have elected a Democratic representative. Instead, the design of District




          779
                Id. at 186–87.
                                                  197
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   1 facilitated the dilution of these Cincinnati Democrats’ votes by splitting them between two

   majority-Republican districts—Districts 1 and 2.

          Further, we conclude that the 2012 map did crack Democratic voters in Hamilton County

   in District 1. We first note that District 1 has elected Republican representatives in every election

   that followed the redistricting. This durability in and of itself is some evidence of cracking in

   District 1. See id. at 519–20 (finding proof of partisan effect in “the fact that the Democratic

   candidate was elected in the three elections following the 2011 redistricting”).

          Second, the partisan effects of District 1 were durable because the district was drawn in a

   way to ensure the election of a Republican representative. Evidence proves that entrenchment

   resulted in this case. In 2012, Republican Representative Steve Chabot was elected with 57.73%

   of the vote. In 2014, he won with 63.22% of the vote. In 2016, he won with 59.19% of the vote.

   In 2018, he won with 51.32% of the vote. Thus, only one of these elections was competitive—the

   last, which occurred during a significant Democratic swing election year. Democratic candidate

   Aftab Pureval challenged Representative Chabot in District 1 in 2018.                Pureval spent

   $4,059,690.53 on his campaign while Representative Chabot only spent $2,991,573.88.780 Even

   under those conditions, however, the composition of the district allowed Representative Chabot to

   hold off his Democratic challenger. District 1’s election results under the 2012 map are evidence

   of its lack of competitiveness and responsiveness (i.e., entrenchment), achieved through cracking.

   Indeed, Kincaid stated that he understood District 1 would result in entrenchment. Immediately

   after the redistricting, Kincaid expressed his belief that District 1 had moved seven PVI points in

   favor of Republicans and had thus been taken “out of play.”781 Mapmaking that takes a district




          780
                Trial Ex. P426 (Cho Suppl. Rep. at 5–6).
          781
                Trial Ex. P310 (NRCC presentation at 5); Dkt. 230-27 (Kincaid Dep. at 115–16).
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   “out of play” certainly has partisan effects—it converts a district that could previously be won by

   a candidate from either party into one that will consistently elect a member of the favored party.

   See Benisek, 348 F. Supp. 3d at 519 (finding partisan effect where the design of the district resulted

   in a large swing in PVI).

          District 1’s consistent election of a Republican Congressman under the 2012 plan stands

   in stark contrast to former District 1’s status as a swing district under the 2002 plan. In 2006,

   District 1 elected Republican Representative Chabot, who won with 52.25% of the vote. In 2008,

   District 1 elected Democratic Representative Steve Driehaus with 52.47% of the vote. In 2010,

   District 1 flipped back to elect Republican Representative Chabot, this time winning by an even

   narrower margin with 51.49% of the vote. The 2012 map redrew District 1 in a fashion that diluted

   Democratic support by cracking the Democratic City of Cincinnati and paired those portions of

   Cincinnati with rural Republican strongholds, thereby eliminating the threat that District 1 would

   flip Democratic. See Benisek, 348 F. Supp. 3d at 519 (finding partisan effect where “Republican

   voters in the new Sixth District were, in relative terms, much less likely to elect their preferred

   candidate than before the 2011 redistricting, and, in absolute terms, they had no real chance of

   doing so”). District 1’s consistent election of a Republican representative under the 2012 map is

   evidence of the durability of its partisan bias and its facilitation of Republican entrenchment.

          Dr. Niven’s report provides further proof of the cracking of District 1. It demonstrates the

   pronounced partisan divergence between Democratic Cincinnati and Republican Warren County,

   which combined with the cracked part of Cincinnati to form the new District 1.782 Niven also

   demonstrated that the pre-2012 version of District 1 elected President Barack Obama in 2008 with

   55.17% of the vote, but predicted that had that election been held with District 1 composed as it is



          782
                Trial Ex. P524 (Niven Rep. at 7).
                                                    199
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   under the current map, Obama would have lost the district, securing only 47.7% of the vote.783

   This evidence is highly suggestive of the effect that the design of the new District 1 had on

   Democratic voters’ ability to elect Democratic representatives in the District.

          Finally, Dr. Cho’s report also serves as proof of a partisan effect of cracking in District 1.

   In 95.68% of Dr. Cho’s simulated maps Plaintiff Linda Goldenhar, currently a voter in District 1,

   would reside in a district where she would have a better chance of electing a Democrat. 784 We

   find that the divergence between the partisan leaning of the current District 1 and the vast majority

   of the non-partisan simulated districts supports the conclusion that the 2012 map cracked

   Democratic voters in District 1.

                ii.   District 2

          District 2 encompasses part of Hamilton County, including highly irregularly shaped

   portions of the City of Cincinnati,785 as well as all of Clermont, Brown, Adams, Highland, and

   Pike Counties and portions of Scioto and Ross Counties.786            District 2 was drawn as the

   complement of District 1—it took on the other half of the City of Cincinnati to enable the cracking

   of its Democratic voting power. Therefore, much of the same partisan-intent analysis that

   corresponds to District 1 also applies to District 2. See Benson, 2019 WL 1856625, at *57 n.39

   (explaining that “[t]he Court will evaluate several of the Senate and House Districts in groups. . . .

   The way that each district in a group was drawn had profound consequences on the partisanship

   of the other districts in that same group. One cannot fully grasp the partisan implications of the

   design of an individual district in each group without simultaneously evaluating the partisanship



          783
              Id. at 8.
          784
              Trial Ex. P087 (Cho Rep. at 13).
          785
              Dkt. 241 (Cooper Trial Test. at 145).
          786
              Trial Ex. P090 (Cooper Decl. at 12, fig. 5).
                                                    200
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   of the other districts in that group.”). We conclude that the unnecessary and irregular splitting of

   Hamilton County and the Democratic City of Cincinnati provides ample proof of a predominant

   partisan intent to crack District 2. This evidence is supplemented by the general evidence of

   partisan intent in crafting the 2012 map, discussed above.




          We also conclude that the 2012 map had the effect of cracking Democratic voters from the

   Cincinnati area in District 2. The historical election results are evidence of this cracking. See

   Benisek, 348 F. Supp. 3d at 519–20 (finding proof of partisan effect in “the fact that the Democratic

   candidate was elected in the three elections following the 2011 redistricting”). In 2012, Republican

   Representative Brad Wenstrup was elected to Congress with 58.63% of the vote. In 2014, he won

   with 65.96% of the vote. In 2016, he won with 65.00% of the vote. In 2018, he won with 57.55%

   of the vote. None of these elections was competitive because the design of District 2 tempered

   Democratic support from the Cincinnati area with sufficient Republican territory to ensure a

   Republican victory. The consistent election of a Republican representative by “safe” margins is




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   evidence of cracking in District 2. It also supports the conclusion that the 2012 map’s partisan

   effects were durable and facilitated Republican entrenchment in District 2.

          Dr. Niven’s report provides additional evidence that District 2 cracked voters from

   Hamilton County. Under the pre-2012 map, District 2 had been solidly Republican, with only

   40.60% of voters supporting President Obama in the 2008 election. Had the same election

   occurred with District 2 as it is currently composed, 44.98% of voters would have supported

   President Obama.787 This evidence demonstrates that the redistricting decreased the district’s

   considerable partisan margin as Democratic voters from the Cincinnati area were absorbed by the

   new District 2. Yet the map maintained a sufficiently pro-Republican partisan makeup to allow

   District 2 to elect Republican representatives consistently after the redistricting. This is an

   example of efficient cracking at work.

          Dr. Cho’s simulated maps provide additional evidence of the cracking effect in District 2.

   99.87% of Dr. Cho’s non-partisan maps would have placed Plaintiff Burks, who lives in current

   District 2, in a district that would have had a better chance of electing a Democrat.788 This evidence

   further suggests that the design of District 2 under the 2012 map is at least partially responsible

   for Democratic voters’ difficulty electing a Democratic representative in that district.

                iii.   District 3

          District 3 encompasses an irregularly shaped portion of Franklin County, including

   portions of the City of Columbus.789 It is involved in the three-way split of Franklin County and

   the City of Columbus.790 We conclude that the map drawers’ predominant intent in the creation




          787
              Trial Ex. P524 (Niven Rep. at 9).
          788
              Trial Ex. P087 (Cho Rep. at 14).
          789
              Dkt. 241 (Cooper Trial Test. at 146).
          790
              Trial Ex. P090 (Cooper Decl. at 12, fig. 5).
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   of District 3 was to pack Democratic voters in the Columbus area, allowing them to shore up

   Republican support in the surrounding Districts 12 and 15. See Benson, 2019 WL 1856625, at *57

   n.39.




           First, the irregular shape of District 3 supports an inference of partisan intent. Mr. Cooper

   testified that the shape of the “[p]resent day District 3 is a mess,” and we too find that the bizarre

   shape of the district is evidence of partisan intent.791 Mr. Cooper’s hypothetical maps, while also

   drawing districts in the Columbus area, managed to draw those districts with far more regular

   boundaries.792 Second, evidence in the record referring to the newly created district as the

   “Franklin County Sinkhole” supports our finding that the map drawers created District 3 as a

   vehicle to pack Democratic voters. Related evidence demonstrates that national Republican

   consultants used descriptors such as “awful” or “dog meat” voting territory to describe

   “downtown” areas that they wanted carved out of District 15 and placed into District 3, which


           791
                 Dkt. 241 (Cooper Trial Test. at 154).
           792
                 Trial Ex. P093 (Cooper Second Suppl. Decl. at 4, 12).
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   further supports our finding that partisan intent predominated in the design of District 3. See

   Benisek, 348 F. Supp. 3d at 518–19 (finding invidious partisan intent where “the State intentionally

   moved Republican voters out of the Sixth District en masse, based on precinct-level data”). Third,

   national Republicans Whatman and Kincaid testified that they conceived of the idea to create the

   new, Democratic District 3. Their primary role in its creation is further proof that the predominant

   reason for the district’s design was to facilitate Republican advantage. Fourth, since the 2012 map

   was enacted, District 3 has consistently elected the Democratic candidate by large margins—

   64.06–73.61% of the vote. Meanwhile, adjacent Districts 12 and 15 have consistently elected

   Republican representatives, despite Democratic swing years such as 2018. The consistency and

   durability of the partisan results in this constellation of districts and the lack of competitiveness in

   District 3 are strong evidence that District 3 was designed to pack Democrats and waste significant

   numbers of Democratic votes.

          We evaluate other explanations of the district put forth by Defendants and conclude that

   while each of these considerations may have played a role in the shaping of District 3, none was

   the primary force behind its creation. Rather, all other considerations were secondary to the

   predominant aim of packing Democratic voters into a highly saturated new Democratic district,

   thus allowing map drawers to shore up Republican advantage in Districts 12 and 15.

          Defendants argue first that they created the new District 3 because of Columbus’s growing

   population. It is true that Ohio’s population was shifting and that the Columbus area was one of

   the few areas in the State that was experiencing population growth. On the one hand, without

   more, there is nothing inherently suspect or partisan about creating a new congressional district to

   encompass a coherent community of interest (the City of Columbus) in a growing population

   center. On the other hand, population growth in a metropolitan area does not necessitate the



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   drawing of a new district around that area. We conclude, based on the evidence discussed above,

   that the reason the Republican map drawers chose to allocate Columbus’s growing population to

   the new District 3 was because of the partisan advantage that strategy conferred to them.

          Defendants next argue that District 3 “was drawn the way it was” because Speaker

   Batchelder’s “relationship with Congresswoman Beatty and her husband Otto Beatty led him to

   have a priority to create a central district in Franklin County encompassing Columbus and having

   representation specifically for Congressman [sic] Joyce Beatty.”793 We conclude that although

   Republican map drawers drew District 3 with Joyce Beatty (a former member of the Ohio House

   of Representatives who had never served in Congress at the time of the map drawing) in mind,

   supporting her prospects as a candidate was only a secondary consideration. Once Kincaid and

   Whatman decided to draw a new Democratic seat to pack Democratic votes in Franklin County,

   that Democratic seat would have to be filled.794 The fact that Batchelder’s relationship with the

   Beattys eventually led Republican map drawers to draw District 3 with Joyce Beatty in mind does

   not disturb our finding that partisan intent predominated in its creation.

          Defendants also argue that District 3 was drawn to create a minority-opportunity district,

   but we do not find that this aim played a significant role in the creation of District 3. The

   Republican map drawers were simultaneously seriously considering an alternative plan to split

   Franklin County and Columbus into four congressional districts. Had Franklin County been split



          793
               Dkt. 246 (Judy Trial Test. at 71).
          794
               Speaker Batchelder explained that the decision to draw District 3 with Beatty in mind
   arose because “[w]e had a situation here in Franklin County where the Republican Party didn’t
   have a candidate.” Dkt. 230-3 (Batchelder Dep. at 50). He went on: “I wasn’t out campaigning
   for a Democrat for Congress, but I had known her and her husband. My first problem was figuring
   out if they lived in the district, but it was—of course, she has emerged as a leader in the Federal
   House.” Id. at 50–51 (emphasis added). That Speaker Batchelder’s “first problem was figuring
   out if they lived in the district” suggests that District 3 was first created as Whatman and Kincaid’s
   partisan brainchild, and later tweaked to support Beatty’s candidacy.
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   in four ways, the African-American voter population would have been split rather than included

   in a coherent minority-opportunity district. Despite now professing the creation of a minority-

   opportunity district as a motivation behind District 3’s design, the evidence shows that the map

   drawers seriously considered adopting an alternative plan which would have undermined that very

   goal. We accordingly question the sincerity and veracity of this proffered justification. We further

   analyze this justification in conjunction with a similar justification offered for District 11 below,

   after considering each individual district. See infra Section V.A.2.d.iii. We note now, however,

   that a district could still have been drawn with a nearly identical BVAP,795 but with a more regular

   shape, fewer county splits,796 and a considerably less severe partisan bias.797 It was not, and we

   infer from the fact that the chosen design contributes to the partisan bias of the map that its creators

   intended it to do so.

          Defendants argue that national Republicans advanced the idea for the four-way split of

   Columbus and that Ohio Republicans, who had different goals and intentions, firmly rejected that

   idea. That portrayal contradicts the evidence of the collaborative relationship between the national

   and state-level Republicans as well as the content of specific communications discussing the

   reason the four-way split, which would have resulted in 13-3 map, was rejected. It was the desire

   to “put the most number of seats in the safety zone given the political geography of the state, our

   media markets, and how best to allocate caucus resources” that led to the rejection of the four-way

   split idea.798 We therefore conclude that the four-way split was rejected not because it conflicted

   with state-level Republicans’ goals for the map, but rather because the Republican seat advantage




          795
              Dkt. 241(Cooper Trial Test. at 161).
          796
              Trial Ex. P090 (Cooper Decl. at 14, 17).
          797
              Trial Ex. P476 (Warshaw 2018 Update at 14–15).
          798
              Trial Ex. P385 (Congressional Redistricting Talking Points at LWVOH_0052438).
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   that it would have conferred would have been too tenuous. The reasons for the rejection of the

   proposed four-way split of Franklin County is additional proof supporting our conclusion that

   partisan intent was the predominant factor in drawing District 3.

           In sum, even accepting all of Defendants’ proffered justifications for drawing District 3,

   we conclude that they were secondary to the map drawers’ predominant intent: conferring

   Republican advantage by packing District 3 and facilitating the cracking of Districts 12 and 15.

           We also conclude that District 3 actually packed Democratic voters. The historical election

   results provide proof of the packing effect—a Democratic candidate has won every election under

   the 2012 map. See Benisek, 348 F. Supp. 3d at 519–20 (finding proof of partisan effect in “the

   fact that the Democratic candidate was elected in the three elections following the 2011

   redistricting”).

           The margin by which that candidate has won shows that Democratic voters are packed into

   the district in a way that renders the district noncompetitive. In 2012, Democratic candidate Joyce

   Beatty was elected to Congress with 68.29% of the vote. In 2014, she won with 64.06% of the

   vote. In 2016, she won with 68.57% of the vote. In 2018, she won with 73.61% of the vote. None

   of these elections were even close to competitive; they were all landslide victories for Beatty.

   Beatty’s consistent election also demonstrates the durability of the 2012 map’s partisan effect in

   District 3.

           Dr. Niven also demonstrated a stark difference in the political leanings of voters within

   Franklin County who were placed in District 3 and voters within Franklin County who were placed

   in Districts 12 and 15. Franklin County voters within District 3 had pro-Democratic partisan index

   score of .3268. Meanwhile, Franklin County voters within Districts 12 and 15 had pro-Republican




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   partisan index scores of 0.5105 and 0.5237, respectively.799 This demonstrates both the intent to

   pack voters and the effect of concentrating the most Democratic sections of Franklin County within

   District 3 while allotting the less Democratic sections to Districts 12 and 15 to facilitate their

   overall Republican compositions.

          Finally, Dr. Cho’s simulated maps also provide proof of the packing effect in District 3.

   Zero percent of Dr. Cho’s simulated maps would place Plaintiff Inskeep, a current resident of

   District 3, in a district where she would have a better chance of electing a Democratic

   representative.800 The map drawers managed to draw a map that maximized the concentration of

   Democratic voters in Plaintiff Inskeep’s area—a highly efficient packing job.

                iv.   District 4

          District 4 encompasses all of Allen, Auglaize, Shelby, Logan, Union, Champaign,

   Crawford, Seneca, and Sandusky Counties. It makes a small intrusion into Mercer County that is

   a part of a three-way split of Mercer County. Additionally, it is involved in the three-way split of

   Lorain County.801 It also includes parts of Marion, Huron, and Erie Counties.




          799
              Trial Ex. P524 (Niven Rep. at 27).
          800
              Trial Ex. P087 (Cho Rep. at 15).
          801
              Trial Ex. P090 (Cooper Decl. at 12, fig. 5).
                                                   208
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           The statewide evidence of partisan intent in the map-drawing process, discussed above,

   supports a finding of predominant partisan intent to crack District 4. We also conclude that the

   2012 map actually cracked Democratic voters in District 4. First, historical election results support

   this finding as District 4 has been won by a Republican in every election under the 2012 map. See

   Benisek, 348 F. Supp. 3d at 519–20 (finding proof of partisan effect in “the fact that the Democratic

   candidate was elected in the three elections following the 2011 redistricting”). Second, the wide

   margins by which the Republican candidate won each election under the 2012 map show its

   entrenchment effect, a biproduct of efficient cracking. The map entrenched Republicans in power

   by drawing District 4 as a “safe” Republican seat. None of these elections that have occurred in

   District 4 since the enactment of the 2012 map have been competitive. In 2012, Republican

   Representative Jim Jordan was elected to Congress with 58.35% of the vote. In 2014 he won with

   67.67% of the vote. In 2016 he won with 67.99% of the vote. In 2018 he won with 65.26% of the

   vote.


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          Finally, Dr. Cho’s simulated maps provide further evidence that District 4 was cracked. In

   98.25% of Dr. Cho’s simulated non-partisan maps Plaintiff Libster, who lives in current District

   4, would have had a better chance of electing a Democratic representative.802 This evidence

   supports the inference that the pro-Republican design of the 2012 map had an impact on

   Democratic voters such as Plaintiff Libster.

                v.     District 5

          District 5 encompasses all of Williams, Fulton, Defiance, Henry, Paulding, Putnam,

   Hancock, Van Wert, Hardin, Wyandot, and Wood Counties. It also contains the northern half of

   Mercer County, the western half of Ottawa County, and the western half of Lucas County. It is

   involved in the three-way split of Mercer County.




          The statewide evidence of partisan intent in the map-drawing process, discussed above,

   supports a finding of predominant partisan intent to crack District 5.


          802
                Trial Ex. P087 (Cho Rep. at 16).
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          Additionally, we conclude that the 2012 map had a partisan effect on District 5 by cracking

   Democratic voters there. Historical election results provide support for this finding. See Benisek,

   348 F. Supp. 3d at 519–20 (finding proof of partisan effect in “the fact that the Democratic

   candidate was elected in the three elections following the 2011 redistricting”). In 2012, Republican

   Representative Bob Latta was elected to Congress with 57.27% of the vote. In 2014, he won with

   66.46% of the vote. In 2016, he won with 70.90% of the vote. In 2018, he won with 62.26% of

   the vote. None of these elections was competitive because District 5 was designed such that

   Democratic voters would be outnumbered by Republican voters by sufficient margins to ensure

   that a Republican candidate would be elected consistently. The election results are thus evidence

   of the durability of the 2012 map’s partisan effects in District 5 and its tendency to entrench the

   favored party in power.

          Finally, Dr. Cho’s simulated maps provide further proof of the cracking of District 5. In

   95.47% of Dr. Cho’s simulated non-partisan maps, Plaintiff Deitsch, who lives in current District

   5, would have a better chance of electing a Democratic representative. That evidence supports an

   inference that the partisan manner in which District 5 was drawn had a negative effect on the ability

   of voters within the district such as Plaintiff Deitsch to elect Democratic representatives.

                vi.     District 6

          District 6 includes territory along the southeastern border of Ohio. It encompasses all of

   Columbiana, Carroll, Jefferson, Harrison, Guernsey, Belmont, Monroe, Noble, Washington,

   Meigs, Gallia, Jackson, and Lawrence Counties. It also includes an irregularly shaped eastern half

   of Scioto County, the northern half of Muskingum County, the southern half of Tuscarawas

   County, the southern half of Mahoning County, and the southeast corner of Athens County.803



          803
                Trial Ex. P090 (Cooper Decl. at 12, fig. 5).
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          The statewide evidence of partisan intent in the map-drawing process, discussed above,

   supports a finding of predominant partisan intent to crack District 6.

          We also conclude that the 2012 map cracked voters in District 6. The historical electoral

   results since the enactment of the 2012 map provide support for this conclusion. See Benisek, 348

   F. Supp. 3d at 519–20 (finding proof of partisan effect in “the fact that the Democratic candidate

   was elected in the three elections following the 2011 redistricting”).      In 2012, Republican

   Representative Bill Johnson was elected to Congress with 53.25% of the vote. In 2014, he won

   with 58.23% of the vote. In 2016, he won with 70.68% of the vote. In 2018, he won with 69.25%

   of the vote. Only the first of these elections was competitive, likely because Representative

   Johnson’s opponent in that election, Democratic Representative Charlie Wilson, had previously

   served as Congressman for District 6 prior to Representative Johnson’s first congressional win in

   2010. Wilson did not run again after losing the 2012 race, after which Representative Johnson

   faced less competitive Democratic challengers and won with considerable margins. The lack of


                                                   212
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   competition in most of these elections as well as the consistent Republican wins are evidence of

   the durability of the 2012 map’s pro-Republican effect and its tendency to entrench Republicans

   in power.

          Finally, Dr. Cho’s simulated maps provide further proof of cracking in District 6. In 100%

   of Dr. Cho’s simulated maps, Plaintiff Boothe, a voter in current District 6, would have a better

   chance of electing a Democratic representative.804 This evidence supports the conclusion that the

   partisan design of the 2012 map had the effect of minimizing Democratic voters’ chances of

   electing Democratic representatives in District 6.

                vii.    District 7

          District 7 encompasses all of Knox, Coshocton, Holmes, and Ashland Counties. It also

   includes the northern portion of Tuscarawas County, an irregularly shaped portion of Stark County,

   an irregularly shaped portion of Richland County, the southern portion of Huron County, and

   irregularly shaped portions of Lorain and Medina Counties. It is involved in the three-way splits

   of Stark County and Lorain County.805




          804
                Trial Ex. P087 (Cho Rep. at 18).
          805
                Trial Ex. P090 (Cooper Decl. at 12, fig. 5).
                                                     213
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          The statewide evidence of partisan intent in the map-drawing process, discussed above,

   supports a finding of predominant partisan intent to crack District 7.

          Additionally, we conclude that the 2012 map cracked Democratic voters in District 7. The

   historical election results provide some evidence of the cracking. See Benisek, 348 F. Supp. 3d at

   519–20 (finding proof of partisan effect in “the fact that the Democratic candidate was elected in

   the three elections following the 2011 redistricting”). In 2012, Republican Representative Bob

   Gibbs was elected to Congress with 56.40% of the vote. In 2014, he won with 100% of the vote.

   In 2016, he won with 64.03% of the vote. In 2018, he won with 58.74% of the vote. The lack of

   competition in these elections and the Republican candidate’s victory in each are also evidence of

   the durability of the partisan effects of the 2012 map on District 7 and the map’s tendency to

   entrench Republican representatives in office.

          Finally, Dr. Cho’s simulated non-partisan maps provide further evidence of the cracking

   of voters in District 7. In 100% of Dr. Cho’s simulated maps Plaintiff Griffiths, who lives in


                                                    214
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   current District 7, would have had a better chance of electing a Democratic representative.806 This

   evidence supports the conclusion that the partisan design of the 2012 map diminished Democratic

   voters’ opportunity of electing a Democratic representative in that district.

                viii.   District 8

          District 8 rests along the southwestern border of Ohio, with a portion jutting into the heart

   of the State. It includes the entireties of Darke, Miami, Clark, Preble, and Butler Counties and

   includes the southern half of Mercer County. It is involved in the three-way split of Mercer

   County.807




          The statewide evidence of partisan intent in the map-drawing process, discussed above,

   supports a finding of predominant partisan intent to crack District 8.



          806
                Trial Ex. P087 (Cho Rep. at 19).
          807
                Trial Ex. P090 (Cooper Decl. at 12, fig. 5).
                                                     215
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          We also conclude that the 2012 map cracked Democratic voters in District 8. Historical

   election results under the 2012 map provide some proof of this cracking. See Benisek, 348 F.

   Supp. 3d at 519–20 (finding proof of partisan effect in “the fact that the Democratic candidate was

   elected in the three elections following the 2011 redistricting”).            In 2012, Republican

   Representative John Boehner was elected to Congress with 99.88% of the vote. In 2014, he won

   with 67.19% of the vote. In 2016, Republican Warren Davidson succeeded Representative

   Boehner as the Republican congressional candidate in District 8. He won the election with 68.76%

   of the vote. In 2018, Representative Davidson won with 66.58% of the vote. None of these

   elections were even close to competitive. We find the lack of competition and the consistent

   election of Republican candidates to be evidence of the durability of the 2012 map’s partisan

   effects in this district and the map’s tendency to entrench Republican representatives in office by

   constructing “safe” districts.

          Finally, Dr. Cho’s simulated non-partisan maps provide further evidence of the cracking

   of Democratic voters in District 8. In 100% of Dr. Cho’s simulated maps, Plaintiff Nadler, who

   resides in the current District 8, would have had a better opportunity to elect a Democratic

   representative.808 This supports the conclusion that the partisan design of the 2012 map impacted

   the ability of Democratic voters in District 8 to elect their candidate of choice.

                ix.    District 9

          District 9 is a thin strip along the southern coast of Lake Erie, stretching from Toledo in

   Lucas County in the west to Cleveland in Cuyahoga County in the east. Its narrow, long footprint

   has earned it the nickname “the Snake on the Lake.”809 The district includes portions of Lucas,




          808
                Trial Ex. P087 (Cho Rep. at 20).
          809
                Dkt. 241 (Cooper Trial Test. at 145–46).
                                                    216
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   Ottawa, Erie, Lorain, and Cuyahoga Counties; it does not include a single county in its entirety. It

   is involved in the four-way split of Cuyahoga County and the three-way split of Lorain County.810




          We conclude that the map drawers intentionally packed Democratic voters into District 9,

   splitting up communities of interest along the way. We agree with Mr. Cooper’s analysis that

   District 9 severed communities of interest.811 Despite all the territory in District 9 being adjacent

   to Lake Erie, in order to create District 9 “you’ve got to split about five counties which in and of

   themselves are communities of interest.”812 Mr. Cooper’s hypothetical maps demonstrate that it

   is possible to draw a far more coherent District 9 that respects county boundaries while still

   complying with all traditional redistricting principles and pairing the same amount of incumbents

   from the same political parties as the 2012 map did.813 The presence of such an alternative and

   the map drawers’ decision instead to split counties and draw a bizarrely shaped district support our

   conclusion that partisan intent predominated in drawing of District 9.

          In concluding that the predominant intent behind the design of District 9 was partisan

   packing of Democratic voters, we reject Defendants’ argument that bipartisan incumbent



          810
              Trial Ex. P090 (Cooper Decl. at 12, fig. 5).
          811
              Dkt. 241 (Cooper Trial Test. at 149).
          812
              Id.
          813
              Trial Ex. P093 (Cooper Second Suppl. Decl. at 4–19).
                                                   217
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   protection efforts and Democratic desires dictated its shape. There is no admissible record

   evidence suggesting that Democratic leaders desired the pairing of Representatives Kaptur and

   Kucinich. Representative Kaptur testified that she did not discover that she was being paired with

   Representative Kucinich until very close to the legislative introduction of the bill. She learned of

   the map’s design from a newspaper and was “astonished” by the shape of her new district. 814 She

   did not request to be paired with Representative Kucinich and, in fact, was outraged at the prospect

   because she believed that the new district “hack[ed] towns apart” and showed “no respect for

   counties” and “no respect for communities.”815 Kaptur’s involvement in shaping the district began

   only after the Ohio General Assembly passed the initial H.B. 319. She then attempted to negotiate

   so that the Republican map drawers would make some alterations to the district in which she was

   paired with Kucinich.     The heart of the plan for District 9, however, remained the same.

   Representative Kaptur’s ability to secure minor concessions following the passage of H.B. 319

   does not amount to her designing the district and does not overcome the partisan intent that

   motivated the drawing of District 9 in the first place. We therefore reject as unsupported by

   admissible evidence the Defendants’ contention that District 9 was the result of the Democratic

   desire that Representatives Kaptur and Kucinich be paired.

          To the extent that Defendants claim that the shape of District 9 was preordained by the

   cluster of Democratic incumbent residences in northern Ohio, their argument is undermined by the

   evidence. Mr. Cooper, a redistricting expert, stated that “it made no sense to create a Snake on the

   Lake just to pair [Kaptur and Kucinich]. It just baffles me as to why that was done.”816 Mr. Cooper

   demonstrated that this pairing was unnecessary by drawing two hypothetical maps that could have



          814
              Dkt. 249 (Kaptur Trial Test. at 70).
          815
              Id. at 71–72.
          816
              Dkt. 241 (Cooper Trial Test. at 176).
                                                   218
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   been drawn in 2011 that avoided drawing the elongated District 9 either by pairing Representatives

   Kucinich and Fudge or pairing Kucinich and Sutton, all while honoring the other traditional

   districting principles.817 Both of these hypothetical maps would actually have facilitated the

   avoidance of one incumbent pairing because they leave a version of District 10 in western

   Cuyahoga County and Lorain County with no Democratic incumbent—Representative Kucinich

   could have avoided his pairing with either Representative Sutton or Representative Fudge by

   running in that district instead.818 This argument therefore does not disturb our conclusion that the

   predominant intent was securing Republican partisan advantage in the creation of the long, snaking

   District 9.

           We also conclude that the 2012 map had the effect of packing Democratic voters in District

   9. Historical election results support this conclusion. See Benisek, 348 F. Supp. 3d at 519–20

   (finding proof of partisan effect in “the fact that the Democratic candidate was elected in the three

   elections following the 2011 redistricting”). In 2012, Democratic Representative Marcy Kaptur

   was elected to Congress with 73.04% of the vote. In 2014, she won with 67.74% of the vote. In

   2016, she won with 68.69% of the vote. In 2018, she won with 67.79% of the vote. None of these

   elections were even close to competitive; Representative Kaptur consistently won with 15–20% of

   the vote more than necessary to carry the district. The extreme lack of competition and the

   consistent election of a Democratic representative in District 9 by large margins are evidence of

   the durability of the 2012 map’s partisan effects.

           Finally, Dr. Cho’s simulated non-partisan maps are further proof of this packing in District

   9. Only 15.91% of the simulated maps would have given Plaintiff Walker a better chance of




           817
                 Trial Ex. P093 (Cooper Second Suppl. Decl. at 4–18).
           818
                 Id. at 5–6, 13.
                                                   219
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   electing a Democratic representative. In 13.55% of the simulated maps, Plaintiff Rader would

   have had a better opportunity to elect a Democratic representative. 819 Although these figures are

   not quite as extreme as those in other districts, they are still proof that the partisan design of the

   2012 map packed Democratic voters into District 9, targeting them because of their political

   preferences and artificially diluting the power of their votes.

                x.      District 10

          District 10 includes all of Montgomery and Greene Counties and the northern half of

   Fayette County.820




          The overall evidence of partisan intent in the map-drawing process, discussed above,

   supports a finding of predominant partisan intent to crack District 10.

          We also conclude that the 2012 map cracked Democratic voters in District 10. Historical

   election results provide some proof of this cracking. See Benisek, 348 F. Supp. 3d at 519–20

   (finding proof of partisan effect in “the fact that the Democratic candidate was elected in the three


          819
                Trial Ex. P087 (Cho Rep. at 21–22).
          820
                Trial Ex. P090 (Cooper Decl. at 12, fig. 5).
                                                     220
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   elections following the 2011 redistricting”). In 2012, Republican Representative Mike Turner was

   elected to Congress with 59.54% of the vote. In 2014, he won with 65.18% of the vote. In 2016,

   he won with 64.09% of the vote. In 2018, he won with 55.92% of the vote. None of these elections,

   even that occurring during the 2018 Democratic swing year, were competitive. We consider the

   consistent election of the Republican candidate by large margins to be evidence of the durability

   of the 2012 map’s partisan effects in District 10. It is also evidence that the map entrenches a

   Republican representative in office by creating a “safe” Republican District 10.

          Finally, Dr. Cho’s simulated non-partisan maps provide further proof of the cracking in

   District 10. In 99.75% of Dr. Cho’s simulated maps, Plaintiff Megnin, who lives in current District

   10, would have had a better opportunity of electing a Democratic representative. 821 This figure

   supports the conclusion that the partisan design of District 10 negatively impacted Megnin’s ability

   to elect a Democratic representative.

                xi.     District 11

          District 11 includes highly irregularly shaped portions of Cuyahoga County and Summit

   County. It is involved in the four-way split of Summit County and the four-way split of Cuyahoga

   County.822




          821
                Trial Ex. P087 (Cho Rep. at 23).
          822
                Trial Ex. P090 (Cooper Decl. at 12, fig. 5).
                                                     221
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          We conclude that District 11 was intentionally drawn both to pack voters into the district

   and to siphon Democratic voters off from the new District 16, in which Republican incumbent

   Representative Renacci and Democratic incumbent Representative Sutton were paired. District

   11 was designed to absorb Democratic voters who were formerly Representative Sutton’s

   constituents so that the new District 16 could be weighted to produce the victory of Republican

   Representative Renacci. See Benson, 2019 WL 1856625, at *57 n.39.

          The decision to depart from District 11’s historical territory and to drop down into Summit

   County and pick up additional Democratic voters from the City of Akron under the 2012 map is

   strong proof of the intent to pack District 11 and facilitate the cracking of District 16.823 The

   historical boundaries of District 11, contained entirely within Cuyahoga County, make the decision

   to extend the district into Summit County suspect. Mr. Cooper’s hypothetical plans contain


          823
                Dkt. 241 (Cooper Trial Test. at 155).
                                                    222
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                                     23580


   District 11 entirely within Cuyahoga, in line with its historical location, while respecting other

   traditional redistricting concerns.824 The fact that it was possible to draw District 11 fully within

   Cuyahoga is some evidence that the jaunt downward into Summit County was drawn for partisan

   reasons. We conclude that the predominant reason that District 11 ventured for the first time out

   of Cuyahoga County in the 2012 map was as a result of the map drawers’ partisan intent to pack

   voters in District 11 and crack voters in District 16.

           The historical election results in the years that followed the redistricting are proof of the

   map drawers’ intent. Representative Fudge in the packed District 11 has won each election by

   huge margins. Her lowest portion of the vote in an election since the redistricting has been 79.45%.

   Meanwhile, in District 16, incumbent Republican Representative Renacci narrowly defeated

   incumbent Democratic Representative Sutton in 2012. Once he had vanquished the opposing

   incumbent, Renacci proceeded to win his successive elections by large margins. See infra Section

   V.A.2.c.xvi. (discussing District 16). It was no coincidence that District 16 went Republican; the

   packing of District 11 facilitated the result. The day after the introduction of H.B. 319 in

   committee, Mann sent an email to Renacci informing him that, under the proposed bill, 16.98% of

   Representative Sutton’s former district would be included within the new District 11, while only

   25.79% of her former district would carry over into the new District 16, in which she was expected

   to run.825 This evidence supports our conclusion that partisan intent predominated in the drawing

   of District 11.

           In concluding the intent to pack District 11 to dilute Democratic voting power

   predominated in crafting District 11, we reject or find secondary several alternative explanations




           824
                 Trial Ex. P093 (Cooper Second Suppl. Decl. at 4, 12).
           825
                 Trial Ex. P130 (Sept. 14, 2011 email at LWVOH_00018321).
                                                    223
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                                     23581


   for its shape. First, Defendants claim that District 11 was drawn by Republican map drawers with

   the intention of creating a majority-minority district. They argue that even if their implementation

   of this goal was flawed, so long as the map drawers honestly believed that the way in which they

   drew the district would aid minority electoral opportunity, they cannot be found at fault. See Dkt.

   252 (Defs.’ & Intervenors’ Post-Trial Br. at 21–22) (citing employment discrimination cases).

   There was no proof that such an extension of the District was made for any legitimate reason, and

   we reject Defendants’ assertion that uninformed guesswork about VRA compliance is sufficient

   to justify the packing of African-American voters into a Democratic district. See infra Section

   V.A.2.d.iii. (discussing compliance with the VRA).

          Second, no admissible evidence supports Defendants’ assertion that Democratic leaders in

   the African-American community approved of and desired District 11’s current shape. Defendants

   offered Judy, DiRossi, and Speaker Batchelder’s testimony about conversations that allegedly

   occurred with African-American Democratic leaders solely for the effect that those conversations

   purportedly had on the map drawers. However, in the next breath, they offer the testimony about

   those conversations for their truth—to prove their assertion that the design of District 11 and its

   concentration of African-American voters and Democratic voters was a shared bipartisan goal.

   But this assertion relies on the truth of out-of-court statements of since deceased Democrats from

   Northern Ohio. The hearsay rules prevent us from taking Judy, DiRossi, and Speaker Batchelder’s

   word for what those individuals actually wanted.

          Third, we conclude that any input that Representative Fudge herself had on the shape of

   her district occurred well after the unveiling and passage of H.B. 319, in the scramble to secure

   Democratic support for a new bill that occurred in the shadow of the referendum. This input

   amounted to securing small tweaks and concessions, but the overarching contours of the map were



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   already fixed and did not change. Fudge stated that she had no input in the drawing of her district’s

   lines prior to the legislative unveiling and that she was quite displeased with the shape of the

   district and the way that it reached down into Summit County.826

          Finally, we do not find that Defendants’ argument that declining population in Northeastern

   Ohio necessitated stretching District 11 southward adequately explains the shape of District 11.

   There were myriad ways that these population constraints could have been handled. It is no

   coincidence that the way chosen by Republican map drawers resulted in packing Democratic

   voters in District 11 and cracking Democratic support for Representative Sutton in the new District

   16. Mr. Cooper’s alternative hypothetical maps also dealt with the population shifts in Ohio but

   managed to produce two different equipopulous versions of District 11 that do not extend the

   district south into Summit County.827 Having considered Defendants’ alternative explanations for

   the shape of District 11, we conclude that the predominant intent that motivated the drawing of the

   district in its current form was the desire to pack Democratic voters in District 11 and crack

   Democratic voters elsewhere.




          826
                This contradicts the testimony of DiRossi, who stated that prior to the introduction of
   H.B. 319 “it had been relayed to [him] by a number of people that she did not want to be paired
   with Dennis Kucinich in a district” and therefore that she elected to have District 11 drawn
   dropping south into Summit County rather than be paired against Representative Kucinich in a
   district entirely contained within Cuyahoga County. Dkt. 230-12 (DiRossi Dep. at 186–87).
   DiRossi, however, admitted that he never spoke to Congresswoman Fudge himself. Explaining
   the source of this information, he stated: “I was working with Bob Bennett and I know that other
   members, I believe Speaker Batchelder—or I know Speaker Batchelder was talking to a number
   of folks and contacts that he had in Northern Ohio about what Congresswoman Fudge wanted.”
   Id. at 187. To the extent that Defendants offer DiRossi’s testimony about what Congresswoman
   Fudge wanted for the truth—to prove that she actually desired that District 11 drop down into
   Summit County or that she did not want to be paired with Representative Kucinich—we find that
   it is inadmissible multi-layer hearsay.
            827
                Trial Ex. P093 (Cooper Second Suppl. Del. at 4, 12).
                                                   225
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                                     23583


          We also conclude that the 2012 map had the effect of packing Democratic voters into

   District 11 in a dramatic fashion. Historical election results provide some proof of this packing.

   See Benisek, 348 F. Supp. 3d at 519–20 (finding proof of partisan effect in “the fact that the

   Democratic candidate was elected in the three elections following the 2011 redistricting”). In

   2012, Democratic Representative Marcia Fudge was elected to Congress with 100% of the vote.

   In 2014, she won with 79.45% of the vote. In 2016, she won with 80.25% of the vote. In 2018,

   she won with 82.24% of the vote. None of these elections were even close to competitive—

   Representative Fudge, when challenged, consistently won with around 30% more of the vote than

   would have been actually needed to carry the district. The extreme margins by which Fudge won

   her seat provide some evidence of packing in District 11.

          Dr. Niven’s report helps illustrate why the addition of portions of Summit County to

   District 11 facilitated its packing. In the 2008 election 75.70% of the voters in Summit County

   who were included in District 11 voted for President Obama.828 This means that the sections of

   Summit County that the map drawers chose to include in District 11 were overwhelmingly

   Democratic. Allotting these Democratic Summit County voters to District 11, which was already

   destined to deliver a Democratic representative, meant that there were fewer Democratic voters in

   the area of Summit County that could potentially be assigned to neighboring Districts such as

   District 16, which were intended to deliver Republican victories. The subsequent election results,

   in which Representative Fudge repeatedly won District 11 by a landslide and Republican

   candidates consistently won District 16, are clear evidence of a packing effect in District 11.

          Finally, Dr. Cho’s simulated maps provide further evidence of packing in District 11. In

   0% of the simulated non-partisan maps would Plaintiff Harris, who lives in current District 11,



          828
                Trial Ex. P524 (Niven Rep. at 31).
                                                     226
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   have a better chance of electing a Democratic candidate. 829 The fact that the pro-Democratic

   outcome in District 11 is so extreme compared to the outcomes in a non-partisan map supports the

   conclusion that the partisan design of the 2012 map impacted the composition of District 11,

   packing in Democratic voters and thereby diluting their votes.

                xii.   District 12

          District 12 includes all of Morrow, Delaware, and Licking Counties. It also includes the

   southern half of Muskingum County, the southeastern corner of Marion County, and the southern

   half of Richland County. Finally, District 12 includes irregularly shaped and noncontiguous

   portions of Franklin County, which jut into the City of Columbus.830 It is involved in the three-

   way split of Franklin County and the City of Columbus.831




          829
              Trial Ex. P087 (Cho Rep. at 24).
          830
              Dkt. 241 (Cooper Trial Test. at 146).
          831
              Trial Ex. P090 (Cooper Decl. at 12, fig. 5).
                                                  227
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          The statewide evidence of partisan intent in the map-drawing process, discussed above,

   supports a finding of predominant partisan intent to crack District 12. Additionally, the evidence

   of partisan intent in creating the “Franklin County Sinkhole” in District 3 is also evidence of

   partisan intent to crack District 12 because District 12 benefitted from the high concentration of

   Democratic voters in District 3. See Benson, 2019 WL 1856625, at *57 n.39. Kincaid’s statements

   immediately after the redistricting are further evidence of partisan intent in drawing District 12.

   Kincaid expressed his belief that, under the 2012 map, District 12 had moved nine PVI points in

   favor of Republicans and had thus been taken “out of play.”832 Designing a district to take it “out

   of play,” resulting in the consistent election of a member of one party rather than true competition

   between the parties, shows partisan intent.

          We also conclude that the 2012 map had the effect of cracking Democratic voters in District

   12. Historical election results under the 2012 map support this conclusion. See Benisek, 348 F.

   Supp. 3d at 519–20 (finding proof of partisan effect in “the fact that the Democratic candidate was

   elected in the three elections following the 2011 redistricting”).           In 2012, Republican

   Representative Pat Tiberi was elected to Congress with 63.47% of the vote. In 2014, he won with

   68.11% of the vote. In 2016, he won with 66.55% of the vote. In 2018, Troy Balderson replaced

   Representative Tiberi as the Republican candidate. He won the election with 51.42% of the vote,

   defeating Democratic candidate Danny O’Connor. Only one of these elections in District 12 was

   competitive—the last. District 12 had been drawn to be sufficiently pro-Republican, however,

   such that Balderson, was able to defeat O’Connor even in a Democratic swing year.833 This result




          832
                Trial Ex. P310 (NRCC Presentation at 5); Dkt. 230-27 (Kincaid Dep. at 115–16).
          833
                Trial Ex. P426 (Cho Rep. at 6).
                                                   228
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   is particularly impressive considering the fact that O’Connor spent $8,452,028.09 on his campaign

   while Balderson spent only $2,496,185.71.834

          Dr. Niven’s report provides further proof that the 2012 map shored up District 12 as a

   Republican seat. Under the pre-redistricting map, District 12 supported President Obama in the

   2008 election with 55.03% of the vote. Had the District taken the form that it does under the

   current map, President Obama would have lost the district with only 45.43% of the vote. 835 The

   increased Republican leaning of the new District 12 is evidence of the effect of the cracking of

   Democratic voters in that district. See Benisek, 348 F. Supp. 3d at 519 (finding partisan effect

   where the design of the district resulted in a large swing in PVI).

          Finally, Dr. Cho’s simulated maps also lend support to the conclusion that Democratic

   voters in District 12 were cracked. In 100% of Dr. Cho’s simulated non-partisan maps, Plaintiff

   Dagres, who resides in current District 12, would have a better chance of electing a Democratic

   representative.836 This fact supports the conclusion that the pro-Republican cracking of District

   12 diminished the ability of Democratic voters in that district to elect their candidate of choice.

                xiii.   District 13

          District 13 includes the southern half of Trumbull County, the northern half of Mahoning

   County, and highly irregularly shaped portions of Portage and Summit Counties. In Summit

   County, the district includes much of the City of Akron. District 13 does not encompass the

   entirety of any one County. It is involved in the four-way split of Summit County and the three-

   way splits of Stark County and Portage County.




          834
              Id.
          835
              Trial Ex. P524 (Niven Rep. at 25).
          836
              Trial Ex. P087 (Cho Rep. at 25).
                                                   229
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          The statewide evidence of partisan intent in the map-drawing process, discussed above,

   supports a finding of predominant partisan intent to crack District 13. Further, the strange shape

   of District 13 under the 2012 map and the manner in which it splits many counties and the City of

   Akron support an inference of partisan intent.837 See Benson, 2019 WL 1856625, at *57 n.39.

          We also conclude that the 2012 map had the effect of packing Democratic voters into

   District 13. Historical election results provide some evidence of the packing. See Benisek, 348 F.

   Supp. 3d at 519–20 (finding proof of partisan effect in “the fact that the Democratic candidate was

   elected in the three elections following the 2011 redistricting”).          In 2012, Democratic

   Representative Tim Ryan was elected to Congress with 72.77% of the vote. In 2014, he won with

   68.49% of the vote. In 2016, he won with 67.73% of the vote. In 2018, he won with 60.99% of

   the vote. None of these elections were even close to competitive; the huge margins are some

   evidence of packing.




          837
                See Dkt. 241 (Cooper Trial Test. at 155–56).
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          Finally, Dr. Cho’s simulated maps provide additional evidence of the packing of District

   13. In 0% of Dr. Cho’s simulated non-partisan maps would Plaintiff Myer, who lives in current

   District 13, have a better chance of electing a Democratic representative.838 The fact that the pro-

   Democratic leaning of District 13 is so extreme compared to the simulated maps supports the

   conclusion that the current map has a partisan effect that packs Democratic voters into the district

   and thereby dilutes the power of their votes for Democratic candidates.

                xiv.    District 14

          District 14 lies in the northeastern corner of Ohio. It includes the entirety of Ashtabula,

   Lake, and Geauga Counties. It also includes the northern portions of Trumbull and Portage

   Counties, the northeastern corner of Summit County, and an irregularly shaped section jutting into

   Cuyahoga County. It is involved in the three-way split of Portage County and the four-way splits

   of Summit and Cuyahoga Counties.839




          838
                Trial Ex. P087 (Cho Rep. at 26).
          839
                Trial Ex. P090 (Cooper Decl. at 12, fig. 5).
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          The statewide evidence of partisan intent in the map-drawing process, discussed above,

   supports a finding of predominant partisan intent to crack District 14.

          We also conclude that the 2012 map had the effect of cracking Democratic voters in District

   14. Historical election results provide some proof of the cracking. See Benisek, 348 F. Supp. 3d

   at 519–20 (finding proof of partisan effect in “the fact that the Democratic candidate was elected

   in the three elections following the 2011 redistricting”). In 2012, Republican Representative David

   Joyce was elected to Congress with 54.03% of the vote. In 2014, he won with 63.26% of the vote.

   In 2016, he won with 62.58% of the vote. In 2018, he won with 55.25% of the vote. Only one of

   these elections was competitive—the first, which was Joyce’s first congressional campaign. The

   consistent election of the Republican candidate in District 14 is evidence of the durability of the

   2012 map’s partisan effects and its entrenchment of Republican representatives in office.

          Finally, Dr. Cho’s simulated maps provide further evidence that Democratic voters were

   cracked in District 14. In 100% of her simulated non-partisan maps, Plaintiff Hutton, who lives in


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   current District 14, would have a better chance to elect a Democratic representative.840 The fact

   that the current District 14 is extremely pro-Republican compared to the non-partisan simulated

   maps supports the conclusion that it had the effect of cracking Democratic voters and weakening

   their ability to elect Democratic candidates in the district.

                xv.   District 15

          District 15 includes all of Morgan, Perry, Hocking, Vinton, Fairfield, Pickaway, Madison,

   and Clinton Counties, as well as the southern half of Fayette County, the northern half of Ross

   County, and most of Athens County. It also includes a highly irregularly-shaped portion of

   Franklin County, part of which includes pieces of the City of Columbus.841 It is involved in the

   three-way splits of Franklin County and the City of Columbus.842




          The statewide evidence of partisan intent in the map-drawing process, discussed above,

   supports a finding of partisan intent to crack District 15. Additionally, the evidence of partisan


          840
              Trial Ex. P087 (Cho Rep. at 27).
          841
              Dkt. 241 (Cooper Trial Test. at 146).
          842
              Trial Ex. P090 (Cooper Decl. at 12, fig. 5).
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   intent specific to District 3 is also suggestive of partisan intent in the creation of District 15.

   District 3 was designed to efficiently pack voters to enable the reliable election of Republican

   representatives in Districts 12 and 15. See Benson, 2019 WL 1856625, at *57 n.39. Finally,

   Kincaid’s comments about the 2012 map following its enactment are further proof of partisan

   intent in drawing District 15. Kincaid expressed his belief that District 15 had moved seven PVI

   points in favor of Republicans and had thus been taken “out of play.”843 These comments are

   evidence of the map drawers’ intent to crack Democratic voters in District 15 by drawing the

   District to lean so strongly Republican that Democratic voters would have little chance of electing

   a Democratic candidate to represent them.

          We also conclude that the 2012 map had the effect of cracking Democratic voters in District

   15. Historical election results provide some proof of their cracking. See Benisek, 348 F. Supp. 3d

   at 519–20 (finding proof of partisan effect in “the fact that the Democratic candidate was elected

   in the three elections following the 2011 redistricting”). In 2012, Republican Representative Steve

   Stivers was elected to Congress with 61.56% of the vote. In 2014, he won with 66.02% of the

   vote. In 2016, he won with 66.16% of the vote. In 2018, he won with 58.33% of the vote. None

   of these elections were competitive. The consistent election of the Republican candidate in District

   15 in non-competitive elections is evidence of the durability of the 2012 map’s pro-Republican

   effects. It is also evidence of the 2012 map’s entrenchment of Republican representatives in office

   by creating a “safe” pro-Republican District 15 by cracking Democratic voters.

          This consistent, strong pro-Republican lean of the district contrasts with its pre-

   redistricting leanings, evidence that the 2012 map altered the configuration of District 15, making



          843
              Trial Ex. P310 (NRCC Presentation at 5); Dkt. 230-27 (Kincaid Dep. at 115–16); see
   also Trial Ex. P556 (Stivers Email at STIVERS_007519); Dkt. 230-46 (Stivers Dep. at 77–78);
   supra Section I.A.8.
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   it more pro-Republican. Dr. Niven’s report demonstrates that President Obama won the 2008

   election in District 15 with 54.61% of the vote. Had that election occurred with the new

   composition of District 15, however, President Obama would have lost the district with only

   46.85% of the vote.844 The pieces of Franklin County that map drawers included in the new

   District 15 were considerably more pro-Republican than the pieces of those counties that were

   allocated to other districts in the scheme.845 Democratic voters in Franklin County appear to have

   been specifically targeted to be removed from District 15 while Republican voters in Franklin

   County were intentionally added to District 15.846 This allowed District 15 to shift to be more

   solidly pro-Republican with the help of a packed District 3. See Benisek, 348 F. Supp. 3d at 519

   (finding partisan effect where the design of the district resulted in a large swing in PVI).

          Finally, Dr. Cho’s simulated maps provide further proof of the cracking effect. In 79.28%

   of Dr. Cho’s non-partisan simulated maps, Plaintiff Thobaben, who lives in current District 15,

   would have a better chance of electing a Democratic representative. This supports the conclusion

   that the partisan design of the 2012 map resulted in her decreased ability to elect a Democratic

   candidate.

                xvi.   District 16

          District 16 includes all of Wayne County as well as irregularly shaped portions of

   Cuyahoga, Medina, Summit, and Portage Counties. It is involved in the four-way split of Summit

   County, the four-way split of Cuyahoga County, and the three-way splits of Stark County and

   Portage County.847




          844
              Trial Ex. P524 (Niven Rep. at 22).
          845
              Id. at 22–23.
          846
              Id. at 24.
          847
              Trial Ex. P090 (Cooper Decl. at 12, fig. 5).
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          The statewide evidence of partisan intent in the map-drawing process, discussed above,

   supports a finding of predominant partisan intent to crack District 16. Furthermore, District 16

   intentionally cracked Democratic voters from Akron in order to enable Republican incumbent

   Representative Renacci to win his pairing against Democratic incumbent Representative Sutton in

   the 2012 election. See Benson, 2019 WL 1856625, at *57 n.39.

          We conclude that the 2012 map had the effect of cracking Democratic voters in District

   16. Historical election results support this conclusion. In 2012, Republican Representative Jim

   Renacci defeated Democratic Representative Betty Sutton, winning a close race with 52.05% of

   the vote. In 2014, he won with 63.74% of the vote. In 2016, he won with 65.33% of the vote. In

   2018, Anthony Gonzalez was the Republican candidate for Congress in District 16; he won with

   56.73% of the vote. The only competitive election in this set of four elections following the 2012

   redistricting was the first—in which two incumbents were paired. The uncompetitive elections



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   and consistent election of the Republican candidate are also evidence of the durability of the 2012

   map’s partisan effects and its effectiveness in entrenching Republican representatives in office.

          Furthermore, the Republican map drawers succeeded in their efforts to “eliminat[e] Ms.

   Sutton’s seat”848 by drawing a new Republican-leaning District 16 that they understood to include

   only 25.79% of her former district.849 The new District 16 then elected Representative Renacci by

   significant margins in the two elections that followed and was sufficiently pro-Republican to elect

   non-incumbent Gonzalez in a Democratic swing year, albeit by a much tighter margin.

          Finally, Dr. Cho’s simulated maps provide additional proof that the design of the 2012 map

   cracked Democratic voters in District 16. In 100% of Dr. Cho’s simulated non-partisan maps

   Plaintiff Rubin, who lives in current District 16, would have a better opportunity to elect a

   Democratic representative.850 The pro-Republican skew of the current District 16 compared to the

   non-partisan simulated maps supports the conclusion that the 2012 map design cracked

   Democratic voters in District 16, negatively impacting their ability to elect Democratic

   representatives.

                d. Justification

          Defendants tell an entirely different tale of the redistricting process, offering several

   justifications for the 2012 map, none of which includes the intent to lock in Republican advantage

   or dilute the voting power of Democratic voters through packing and cracking. Defendants argue

   that incumbent protection, bipartisan negotiations and input, Voting Rights Act compliance and




          848
              Trial Ex. P414 (State-by-State Redistricting Summary at REV_00000001); Dkt. 230-28
   (Kincaid Dep. at 519).
          849
              Trial Ex. P130 (Sept. 14, 2011 email at LWVOH_00018321).
          850
              Trial Ex. P087 (Cho Rep. at 29).
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   advancing minority representation, and natural political geography explain the design and partisan

   effects of the 2012 map. We address and reject each justification in turn.

              i.      Incumbent protection and Gaffney v. Cummings

          Defendants’ arguments on their incumbent-protection and “bipartisanship” justifications

   seem to blend together at times. They contend that these arguments “find[] dispositive support in

   Gaffney v. Cummings, 412 U.S. 735 (1973).” See Dkt. 252 (Defs.’ & Intervenors’ Post-Trial Br.

   at 1). As a legal matter, we disagree. Factually, as we will explain, the “bipartisanship”

   justification simply does not hold up.

          Because Defendants rely so heavily on Gaffney, we start with what that case actually

   concerned—a so-called bipartisan gerrymander, or “sweetheart gerrymander.”               See Samuel

   Issacharoff, Gerrymandering and Political Cartels, 116 HARV. L. REV. 593, 628 (2002). In

   Gaffney, “[r]ather than focusing on party membership in the respective districts, the [State

   Apportionment] Board took into account the party voting results in the preceding three statewide

   elections, and, on that basis, created what was thought to be a proportionate number of Republican

   and Democratic legislative seats.” 412 U.S. at 738. Put another way, the State “attempted to

   reflect the relative strength of the parties in locating and defining election districts.” Id. at 752.

   Therefore, although the Constitution may not require proportional representation, the proportional

   representation of political parties is a permissible State interest. See Vieth, 541 U.S. at 338

   (Stevens, J., dissenting); Gaffney, 412 U.S. at 754 (“[The] judicial interest should be at its lowest

   ebb when a State purports fairly to allocate political power to the parties in accordance with their

   voting strength and, within quite tolerable limits, succeeds in doing so.”).

          The Supreme Court, however, also reasoned that “[w]hat is done . . . to achieve political

   ends or allocate political power[] is not wholly exempt from judicial scrutiny under the Fourteenth



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   Amendment.” Gaffney, 412 U.S. at 754. Accordingly, we will examine whether, in fact, the State

   fairly “allocate[d] political power to the parties in accordance with their voting strength . . . .” It

   is clear that the State of Ohio did not do so.

          To be sure, in 2010 the Republicans experienced a wave election and gained a thirteen-to-

   five advantage in the Ohio congressional delegation, but Democratic candidates still received

   approximately 42% of the vote. That was the Democrats’ worst year in congressional elections in

   the prior decade. Even taking note of the strong Republican performance that year, the argument

   that allocating 25% of the congressional seats to Democrats fairly allocates political power in

   accordance with that Party’s voting strength falls apart. Thus, Gaffney is far from dispositive, and

   we find it completely distinguishable from this case.

          In fact, even despite their argument that Gaffney is dispositive, Defendants also admit that

   the State “focused on preserving the status quo incumbency-constituent relationship rather than on

   creating the ‘proportional representation’ sought in Gaffney.” See Dkt. 252 (Defs.’ & Intervenors’

   Post-Trial Br. at 6). First, this argument seems to contradict their initial argument about Gaffney.

   Second, Defendants basically admit that their goal was a 12-4 map. See id. at 8 (“Because of the

   pre-reapportionment 13–5 partisan split, divvying up the lost seats [after the census] fairly meant

   a 12–4 split.”). They say that “Gaffney ratifies the legislature’s choice . . . .” Id. at 7. For the

   reasons articulated above, we disagree.

          At bottom, Defendants’ arguments on this score are aimed at trying to justify entrenchment

   and incumbent insulation from political challenges, not incumbent protection as understood by

   Supreme Court precedent. See infra (collecting cases in which the Supreme Court has been

   skeptical of the argument of preserving the status quo for incumbents). Finally, we note that this

   present line of defense—that the primary goal of the map was to preserve the status quo for all



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   incumbents—contradicts statements made by the redistricting plan’s sponsor in the Ohio State

   House. Representative Huffman clearly described incumbent protection as “a subservient [goal]

   to the other ones that [he] listed” and further explained that, “[n]obody has a district. . . . There’s

   nobody that owns a piece of land in Congress. People elect them.”851 See Benisek, 348 F. Supp.

   3d at 518 (considering notes prepared for the Senate President’s “remarks to the State House and

   Senate Democratic Caucuses about the redistricting plan” as evidence establishing intent); see also

   Arlington Heights, 429 U.S. at 268 (“The legislative or administrative history may be highly

   relevant, especially where there are contemporary statements by members of the decision-making

   body, minutes of its meetings, or reports.”).

          Legal arguments about Gaffney aside, by Defendants’ account, protecting incumbents was

   the sine qua non of the map-drawing process, and the incumbent-protection concern was bipartisan

   in nature. Defendants’ argument goes like this: the 2010 congressional election left Ohio with 13

   Republican representatives and 5 Democratic Representatives. The decision to pair one set of

   Republican incumbents and one set of Democratic incumbents, a politically fair decision, would

   lead to a 12-4 map. The enacted map is a 12-4 map; ergo the redistricting process was fair. But

   this argument obscures complexities and nuances that significantly undermine Defendants’ version

   of events.

          First, to say that the redistricting process simply transformed a 13-5 map into a 12-4 map

   ignores two key considerations, which are intimately related with one another: competitiveness

   and responsiveness. Yes, the pre-redistricting map was a 13-5 map in that 13 Republican

   representatives and 5 Democratic representatives had been elected under it in 2010. But it had not

   consistently been a 13-5 map over the course of its life. It contained competitive districts and was



          851
                Trial Ex. J01 (House Session, Sept. 15, 2011 at 19, 21) (statement of Rep. Huffman).
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   responsive to shifts in voter preference and turnout over the years. In contrast, the 12-4 map

   created in the redistricting process is a 12-4 map through and through. It minimized competitive

   districts and responsiveness to changes in voter preferences.         It is no coincidence that

   correspondence between the insiders crafting the map refer to “lock[ing] in” the 12-4 division and

   ensuring “safe seats.” See Benisek, 348 F. Supp. 3d at 518 (finding unconstitutional partisan

   gerrymandering where “Democratic officials . . . worked to craft a map that would specifically

   transform the Sixth District into one that would predictably elect a Democrat by removing

   Republicans from the District and adding Democrats in their place”). The redistricting meant that

   the parties suffered an equal reduction in seats between the 2010 election and the 2012 election,

   as Defendants emphasize. However, Defendants minimize the fact that the redistricting also

   effectively guaranteed that the most seats that Democratic voters could secure for their party in

   any future election under that map was four, and the fewest seats that Republican voters could

   secure for their party in any future election was twelve.

          Second, the map drawers paired more sets of incumbents than Ohio’s population stagnation

   required.852 Not only did the map drawers pair a set of Republican incumbents and a set of

   Democratic incumbents, they also paired an extra set: one Democratic incumbent, Betty Sutton,

   against one Republican incumbent, Jim Renacci. They then drew the district in which Sutton and

   Renacci were paired, the new District 16, to include far more of Renacci’s former constituents than

   Sutton’s, which gave him a considerable advantage in the race that ensued.853 This undermines



          852
              Defendants’ own expert, Dr. Hood, admitted that “if the legislature wanted to pair the
   fewest number of incumbents in enacting the 2012 plan, that would have been two sets of
   incumbents for four total congressional representatives.” Dkt. 247 (Hood. Trial Test. at 192).
          853
              Dr. Hood also acknowledged that “someone that retained more of their . . . constituents
   from their previous district probably had an advantage over the other incumbent,” and “the
   incumbent who retained more of their constituents,” Representative Renacci, was “favored by the
   map.” Dkt. 247 (Hood Trial Test. at 194–95). On September 14, 2011, Mann emailed
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   Defendants’ claim that a bipartisan desire for incumbent protection dominated the map-drawing

   process.

            Third, Defendants repeatedly emphasize that the reason that incumbent protection is a

   legitimate motivation in redistricting is because incumbents, particularly those with considerable

   experience serving in their elected office, wield that seniority for the benefit of their constituents.

   Yet, the map drawers chose to pair two senior Republican incumbents, Representatives Turner and

   Austria, after considering and rejecting the possibility of pairing two freshmen Republican

   incumbents, Representatives Gibbs and Johnson.854 Evidence demonstrates that partisan intent

   motivated that decision. In “talking points” that Whatman sent to President Niehaus, Whatman

   wrote:

            A Gibbs/Johnson map results in 3 districts with a base Republican vote under 50
            percent. A Turner/Austria map only has one district under 50. . . . Putting two
            members together in another region of the state merely because they are freshmen
            that results in an overall worse map for republicans in the state is simply not the
            right thing to do. Boehner is not happy about this but it is the tough decision that
            is the right thing for Republicans for the next decade.855
   This correspondence demonstrates that when the map-drawing process pitted the

   competing concerns of incumbent-advantage protection against partisan-advantage

   protection, partisan-advantage protection dominated.          The decision to pair senior

   Republican incumbents thus undermines the credibility of Defendants’ assertion that

   incumbent protection was the primary consideration in the redistricting.


   Congressman Renacci responding to his request to see “the population numbers and percentages
   of Congresswoman Sutton’s current district that would be contained in the proposed districts.” It
   stated that “New CD 16 (Renacci)” would include only 25.79% of Congresswoman Sutton’s
   former district. Trial Ex. P130 (Sept. 14, 2011 email at LWVOH_00018321).
           854
               Dkt. 230-52 (Whatman Dep. at 34–35) (“There were early discussions, given the fact
   that we had two freshmen members of the delegation at that time, whether based on seniority it
   made sense that the two freshmen would have to run against each other, or whether some other
   consideration would come into play.”).
           855
               Trial Ex. P407 (Sept. 07, 2011 email at LWVOH_0052431).
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          Fourth, Ohio Republican map drawers themselves claimed at the time that incumbent

   protection was not their primary concern. When presenting the bill in the Ohio House of

   Representatives, Representative Huffman detailed the competing concerns that the creators of the

   bill had considered when drafting the H.B. 319 map. He characterized equipopulation as “the

   lodestone,” called VRA compliance an “important precept[],” and then listed “several other

   traditional redistricting principles . . .: compactness, contiguity, preservation of political

   subdivisions, preservation of communities of interest, preservation of cores of prior districts, and

   protection of incumbents.” He then made a point of stating that protection of incumbents was

   “subservient . . . to the other ones that I listed.”856 Representative Huffman went on:

          You know, we talked—a year ago someone came up to me and said, “Are we going
          to get rid of Kucinich’s district?” And I said, “Look, Kucinich doesn’t have a
          district. Nobody has a district. Every two years, there’s an election, and that’s how
          it works. That’s how the system works. There’s nobody that owns a piece of land
          in Congress. People elected them.”857
   We acknowledge that politicians may make representations on the floor of the House that diverge

   from the true account of their priorities in creating a bill. We must, however, note the tension

   between the post-hoc justification that Defendants offer for the bill—incumbent protection as the

   primary motivation—and Representative Huffman’s express minimization of the incumbent-

   protection concern on the floor of the House.

          Additionally, Defendants’ portrayal of the incumbent-protection goal as bipartisan

   mischaracterizes the facts. Only hazy, inadmissible multi-level hearsay testimony was offered to

   support their claim that Democratic leaders wanted Kucinich and Kaptur to be the paired

   Democratic incumbents. The evidence indicates that the Republican and Democratic Caucuses



          856
                Trial Ex. J01 (Ohio House Session, Sept. 15, 2011 at 16–19) (statement of Rep.
   Huffman).
          857
                Id. at 21.
                                                   243
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   did their map drawing entirely separately, particularly in the early stages when major decisions

   such as the pairing of incumbents were being made.           Both Congresswoman Kaptur and

   Congresswoman Fudge insisted that they had no say whatsoever in the design of the map prior to

   its introduction as H.B. 319, and the incumbent pairings were not altered between H.B. 319 and

   the passage of H.B. 369.

          Finally, we reject what seems to be Defendants’ argument that because the Supreme Court

   has sanctioned incumbent protection as a legitimate concern in the redistricting process in some

   instances, any kind of incumbent-protecting behavior is legitimate and may be used to justify the

   drawing of district lines. The Supreme Court has expressed its acceptance of districting “that

   minimizes the number of contests between present incumbents,” which in its view “does not in

   and of itself establish invidiousness.” Burns v. Richardson, 384 U.S. 73, 89 n.16 (1966); see also

   White v. Weiser, 412 U.S. 783, 791 (1973) (quoting Burns and expressing tolerance for districting

   plans that “maintain[] existing relationships between incumbent congress[people] and their

   constituents and preserv[e] the seniority the members of the State’s delegation have achieved in

   the United States House of Representatives”).        In Gaffney, the Supreme Court accepted a

   politically conscious bipartisan gerrymander, noting that “[r]edistricting may pit incumbents

   against one another or make very difficult the election of the most experienced legislator.” 412

   U.S. at 753. In Karcher, the incumbent protection that the Supreme Court endorsed as legitimate

   was simply “avoiding contests between incumbent Representatives.” 462 U.S. at 740. These cases

   uniformly identify one legitimate form of incumbent protection—avoiding a districting scheme

   that pairs two current incumbents and forces them to face one another in an election. They offer

   no endorsement of incumbent protection in the form of a districting scheme that insulates

   incumbents from any future challenge.



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          We conclude that the incumbent protection effectuated by the 2012 map is of the latter,

   unprotected kind. The map drawers drew one more incumbent pairing than the bare minimum in

   a state that had its congressional delegation reduced by two. But the majority of its line-drawing

   decisions were motivated not by the legitimate incumbent-protection goal of “avoiding contests

   between incumbent Representatives,” but rather by the goal of avoiding contests between

   Democrats and Republicans in general. The Republican map drawers drew noncompetitive,

   nonresponsive districts by grouping bodies of voters who would elect a Democrat—any

   Democrat—or a Republican—any Republican. This is not the incumbent protection that the

   Supreme Court has endorsed. In fact, the Supreme Court has repeatedly cast aspersions on this

   type of incumbent insulation. See Randall v. Sorrell, 548 U.S. 230, 248 (2006) (holding that, when

   assessing contribution limits on political donations, courts must determine “whether [the

   contribution limits] magnify the advantages of incumbency to the point where they put challengers

   to a significant disadvantage”); McConnell v. Fed. Election Comm’n, 540 U.S. 93, 306 (2003)

   (Kennedy, J., concurring in part and dissenting in part) (finding a campaign finance provision

   problematic because it “look[ed] very much like an incumbency protection plan.”); id. at 263

   (Scalia, J., concurring in part and dissenting in part) (arguing that a portion of the Bipartisan

   Campaign Reform Act was an attempt by Members of Congress “to mute criticism of their records

   and facilitate reelection.”); see also Elrod v. Burns, 427 U.S. 347, 356 (1976) (plurality)

   (“Patronage thus tips the electoral process in favor of the incumbent party, and where the practice’s

   scope is substantial relative to the size of the electorate, the impact on the process can be

   significant.”); Jenness, 403 U.S. at 439 (concluding that an election law was constitutional in part

   because the State “in no way freezes the status quo, but implicitly recognizes the potential fluidity

   of American political life.”).     The incumbent-protection justification does not encompass



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   incumbent insulation through the drawing of favorable districts. Rather, it only allows the

   prevention of excessive incumbent-versus-incumbent pairings.

           Furthermore, even if this kind of incumbent-insulation strategy were sanctioned by the

   Supreme Court’s cases, the Republican map drawers did not create four Democratic districts

   because they had united in a bipartisan anti-competitive scheme with Democratic legislators.

   Rather, they created four Democratic districts because Ohio has Democratic voters and the map

   drawers had to allocate them in some fashion. The map drawers contemplated packing Democratic

   voters into three districts and cracking them among the remaining thirteen. The map drawers,

   however, did not feel that that strategy would guarantee sufficiently predictable pro-Republican

   outcomes; it allowed for too much competition and responsiveness.           They decided twelve

   Republican seats in the hand was better than thirteen in the bush, and so four Democratic districts

   were born. This behavior constitutes invidious partisan gerrymandering and is unconstitutional as

   proved district by district.

               ii.     Bipartisan negotiations and input

           Defendants also argue that some of the lines of the 2012 map resulted from honoring

   requests from Democratic representatives and operatives. We conclude that the Democrats had no

   role in the drawing of H.B. 319 and were able to secure only minor concessions from the

   Republicans in the passage of H.B. 369, none of which significantly changed the earlier version

   of the map. These findings do not undermine our conclusion that invidious partisan intent

   predominated in the creation of the 2012 map. See Rucho, 318 F. Supp. 3d at 868–69 (finding

   partisan intent where “Republicans had exclusive control over the drawing and enactment of the

   2016 plan” and “with the exception of one small change to prevent the pairing of Democratic




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   incumbents, [the expert map drawer] finished drawing the 2016 plan before Democrats had an

   opportunity to participate in the legislative process”).

          First, we assess Defendants’ assertion that the map drawers were taking and incorporating

   requests from Democratic legislators prior to the introduction of H.B. 319. We do not credit this

   assertion. The map drawers themselves testified that they did not share draft maps of H.B. 319

   with Democratic legislators or staffers until very close to its introduction in the General Assembly.

   Both Representatives Kaptur and Fudge testified that they did not have input into the design of

   H.B. 319.    Finally, all Defendant testimony offered to prove that that Democratic leaders

   themselves actually wanted particular map designs was vague, unconvincing, and most

   importantly, hearsay. There is no evidence to support Defendants’ assertions that, prior to the

   introduction of H.B. 319, certain Democrats actually made the requests that the map drawers say

   they eventually accommodated.

          Second, we assess Defendants’ assertion that the map drawers took and incorporated

   requests from Democratic legislators after the introduction of H.B. 319 and prior to the final

   enactment of H.B. 369. We credit this assertion, but it is not determinative. The changes made

   between H.B. 319 and the enacted H.B. 369 were de minimis. See Benisek, 348 F. Supp. 3d at 520

   (concluding that “while there may have been other causes that could have marginally altered the

   [challenged] district, the striking actions complained of are not explained by the State’s proffers”).

   They reflect small concessions made by the Republican legislators when faced with a voter

   referendum to challenge H.B. 319. None of these concessions meaningfully impacted the central

   intent of H.B. 319—the enactment of a map that was nearly certain to allow for the election of

   twelve Republican       congressional    representatives   and four Democratic         congressional




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   representatives.858 Speaker Batchelder himself testified that while some negotiations occurred,

   there was never a chance that the Republicans in the majority would permit a map that altered the

   partisan balance of H.B. 369.859 The testimony offered by Defendants’ witnesses to prove that that

   Democratic leaders themselves actually wanted particular map designs was vague, speculative, not

   credible, and most importantly, hearsay.

          Next, Defendants assert that partisan intent to discriminate against Democratic voters could

   not have motivated the enactment of the 2012 map because Democratic members of the Ohio

   House of Representatives and State Senate voted in support of it. The argument is that Democratic

   legislators would not intend to electorally disadvantage their own party, and a bill enacted with

   their partial support could therefore not have been motivated by invidious partisan intent.

          We do not find this argument convincing as it fails to acknowledge the reality of legislative

   politics. The Republicans commanded majorities in the Ohio House of Representatives and the

   State Senate, and they held the governorship. They could force through a bill that Democratic

   legislators did not support. Speaker Batchelder himself acknowledged this, commenting that the

   Republicans “could have simply done what [they] wanted to,” in the redistricting process. 860 The

   fact that some Democratic legislators voted in support of H.B. 369, perhaps to secure the small

   concessions that were made between H.B. 319 and H.B. 369 or to avoid the costly split primary,

   therefore is not evidence of a lack of partisan intent behind the enacted map. Of course, this does

   not mean that proof that one party controlled both legislative houses and the governorship is




          858
              Dkt. 241 (Cooper Trial Test. at 179) (“If you look at the election data in terms of partisan
   performance, there’s really not very much different in the two plans.”); see also Trial Ex. P090
   (Cooper Decl. at 22, fig. 9); Trial Ex. P454 (Cooper Decl. Apps. at Ex. I).
          859
              Dkt. 230-3 (Batchelder Dep. at 130–31).
          860
              Id. at 25.
                                                    248
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   sufficient to demonstrate partisan intent. However, we are unconvinced by the Defendants’

   argument that some Democratic votes neutralize pro-Republican partisan intent.

          Finally, Defendants’ argument that the Republican map drawers could have drawn a 13-3

   map but did not, and therefore that they did not have a partisan intent is unconvincing. Drawing a

   13-3 map would have been a riskier choice because it would have required Republican support to

   be spread more thinly throughout the Republican-leaning districts. Such a map would have been

   more vulnerable in Democratic swing years; more seats could have potentially fallen into

   Democratic hands. The map drawers prioritized maximizing safe seats for their candidates

   throughout the decade over maximizing the number of seats in a single election, some of which

   would have then been vulnerable in Democratic swing years. Thus, rather than cut against partisan

   intent, this strategic choice is further evidence of the predominantly partisan intent.            The

   Republicans successfully avoided the purported self-limitation on partisan gerrymandering—“an

   over ambitious gerrymander . . . .” See Bandemer, 478 U.S. at 152 (O’Connor, J., concurring in

   the judgment); see also id. (“[A]n overambitious gerrymander can lead to disaster for the

   legislative majority: because it has created more seats in which it hopes to win relatively narrow

   victories, the same swing in overall voting strength will tend to cost the legislative majority more

   and more seats as the gerrymander becomes more ambitious.”).

              iii.    Voting Rights Act compliance and advancing minority representation

          Defendants assert that one “principal goal” was “to preserve and advance minority electoral

   prospects both in northeast Ohio and in Franklin County,” Dkt. 252 (Defs.’ & Intervenors’ Post-

   Trial Br. at 20), and that “the alleged [partisan] bias is justified by the Voting Rights Act and

   minority-protection goals . . . .” Id. at 30; see also id. at 20–27, 38–40. This proffered justification

   applies specifically to Districts 3 and 11.



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           Normally, invoking VRA compliance as a state interest in redistricting arises in the racial-

   gerrymandering context.      See, e.g., Cooper v. Harris, 137 S. Ct. 1455, 1465 (2017); Ala.

   Legislative Black Caucus, 135 S. Ct. at 1274. As the Supreme Court recently explained:

                  When a State invokes the VRA to justify race-based districting, it must
           show (to meet the “narrow tailoring” requirement) that it had “a strong basis in
           evidence” for concluding that the statute required its action. Or said otherwise, the
           State must establish that it had “good reasons” to think that it would transgress the
           Act if it did not draw race-based district lines. That “strong basis” (or “good
           reasons”) standard gives States “breathing room” to adopt reasonable compliance
           measures that may prove, in perfect hindsight, not to have been needed.
   Cooper, 137 S. Ct. at 1464 (internal citations omitted). This case, however, does not involve a

   racial-gerrymandering claim; this is, of course, a partisan-gerrymandering case. In this context,

   we will still assume that compliance with the VRA can serve as a legitimate state justification. See

   Bethune-Hill, 137 S. Ct. at 801 (“As in previous cases, . . . the Court assumes, without deciding,

   that the State’s interest in complying with the Voting Rights Act [is] compelling.”). In addition,

   when the State seeks to use the VRA as a shield to justify an alleged partisan-gerrymandered

   district, the State must still establish that it had a basis in evidence for concluding that the VRA

   required the sort of district that it drew. We will not accept a blanket assertion that the State sought

   to comply with the VRA in cases where the State misinterpreted the law and did no work to show

   that it had some reason to believe that a particular percentage of minority voters was required for

   a district.

           To establish a vote-dilution claim under § 2, a party must satisfy three threshold conditions,

   known as the Gingles preconditions.861 See Gingles, 478 U.S. at 50–51. These preconditions are:

   (1) the minority group must be large enough and geographically compact to constitute a majority

   in a single-member district; (2) the minority group must be politically cohesive; and (3) there must


           861
              As Ohio was never a covered jurisdiction under § 5 of the VRA, only § 2 compliance
   could be at issue for the State.
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   be evidence of racial bloc voting such that a white majority could usually defeat the minority’s

   preferred candidate. See id. “If a State has good reason to think that all the ‘Gingles preconditions’

   are met, then so too it has good reason to believe that § 2 requires drawing a majority-minority

   district.” Cooper, 137 S. Ct. at 1470 (emphasis added).

           Although we do not find that racial considerations predominated, we nonetheless see it as

   entirely appropriate to put the burden on the State to show that it had good reasons for believing

   § 2 required drawing District 11 as a majority-minority district. As an initial matter, we would not

   engage in this inquiry if Plaintiffs had failed to carry their burden on partisan intent and effect, but

   Plaintiffs have carried that burden. Furthermore, Defendants’ argument here essentially amounts

   to: “we interpreted the VRA and properly considered race (instead of partisanship); even if we

   were mistaken in our interpretation or mistaken about what BVAP was appropriate, a goal to aid

   minority electoral opportunities is still a legitimate justification for the design of District 11.” For

   the reasons explained below, we do not find Defendants’ argument persuasive. Moreover,

   although we acknowledge that some evidence suggests that the State had a good-faith belief that

   it drew districts in a way to comply with the VRA, other evidence cuts against finding a good-faith

   belief, and no evidence suggests that this belief was an informed one. First, we will address District

   11, and then we will turn to District 3.

           For District 11 (which was unchanged between H.B. 319 and H.B. 369), statements from

   the legislative record illuminate the General Assembly’s thinking and its “legal mistake.” See

   Cooper, 137 S. Ct. at 1472. Representative Huffman, H.B. 319’s sponsor in the State House, said:

                  The significant application [of the VRA] in this particular case is that . . .
           we are required to draw a majority/minority district in the State of Ohio when that
           can be done. And in fact, the map that you see before you today in this legislation




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          . . . does that. So that’s one of the significant requirements by federal law that we
          have met when we’ve drawn this map.862
   Likewise, in the State Senate, Senator Faber (the bill’s sponsor in that chamber) stated that District

   11 “was also going to be required to comply with the Voting Rights Act. And the Voting Rights

   Act says, essentially, where you can draw a continuity [sic] of interest minority district you need

   to do that.”863 Senator Faber further cited Bartlett v. Strickland, 556 U.S. 1 (2009), to support how

   District 11 was drawn.864 Other legislators echoed this view.865 In short, legislators articulated

   concern about a VRA § 2 violation, and they thought that “whenever a legislature can draw a

   majority-minority district, it must do so . . . .” See Cooper, 137 S. Ct. at 1472.

          As the Supreme Court explained, “[t]hat idea, though, is at war with our § 2

   jurisprudence—Strickland included.” Id. Instead, Strickland “turn[ed] on whether the first

   Gingles requirement can be satisfied when the minority group makes up less than 50 percent of

   the voting-age population in the potential election district.” 556 U.S. at 12. The Court answered

   no. See id. at 26 (“Only when a geographically compact group of minority voters could form a


          862
                Trial Ex. J01 (Ohio House Session, Sept. 15, 2011 at 17–18) (statement of Rep.
   Huffman).
          863
                Trial Ex. J03 (Ohio Senate Session, Sept. 21 2011 at 10) (statement of Sen. Faber).
          864
                Id. at 44 (statement of Sen. Faber) (“[T]he Supreme Court held that a majority-minority
   district that is drawn to remedy a [VRA § 2 violation], must be made up of a numerical majority
   of the voting age population in the district. . . . Minority population totals that are less than 50
   percent of the district’s voting age population do not fulfill the mandate of the Voting Rights
   Act.”).
            865
                See id. at 58 (statement of Sen. Coley); id. at 60 (statement of Sen. Tavares); Trial Ex.
   J01 (Ohio House Session, Sept. 15, 2011 at 39) (statement of Rep. Gerberry). Defendants cite
   statements from some members on the Democratic side of the aisle who also referenced the VRA.
   True enough, however, even though some referenced the VRA, not all agreed with how the Act
   was used in this case. See, e.g., Trial Ex. J01 (Ohio House Session, Sept. 15, 2011 at 40) (statement
   of Rep. Gerberry) (“[L]et’s be honest. If you look at that map, this isn’t about fairness. This is
   about finding a way to get the most Republican districts with the most Republicans so they’re non-
   contestable in general elections.”); id. at 59–60 (statement of Rep. Yuko) (“We now have Marcia
   Fudge representing us and [District 11 has not] missed a beat. This map puts it all at risk.”). To
   the extent that Defendants rely on bipartisanship in this context, we address that justification
   elsewhere. See supra Section V.A.2.d.ii.
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   majority in a single-member district has the first Gingles requirement been met.”). Strickland also

   clarified that, “[m]ajority-minority districts are only required if all three Gingles factors are met

   and if § 2 applies based on a totality of circumstances. In areas with substantial crossover voting

   it is unlikely that the plaintiffs would be able to establish the third Gingles precondition—bloc

   voting by majority [white] voters.” Id. at 24 (emphasis added). In this case, no credible evidence

   suggests that this third requirement (racial bloc voting in congressional elections) was present,

   which could trigger § 2 concerns. “Thus, [Ohio’s] belief that it was compelled to []draw District

   [11] . . . as a majority-minority district rested not on a ‘strong basis in evidence,’ but instead on a

   pure error of law.” See Cooper, 137 S. Ct. at 1472 (citation omitted).

          In response, Defendants note that “[t]he legislature had good reasons to fear Voting Rights

   Act liability in northeast Ohio because the City of Euclid was the subject of successful Section 2

   claims immediately prior to the redistricting, due to polarized voting in the city and its history of

   racial discrimination and animus.” Dkt. 252 (Defs.’ & Intervenors’ Post-Trial Br. at 38); see also,

   e.g., City of Euclid, 580 F. Supp. 2d 584. This argument is not credible.

          The cases concerning Euclid involved nonpartisan, local elections and do not support any

   suggestion that District 11’s partisan, federal congressional elections were polarized. In fact,

   District 11 included the City of Euclid under the 2002 plan, and in the closest election under that

   plan (the 2002 election), then-Representative Stephanie Tubbs Jones won by a margin of about

   76% to 24%, or 116,590 votes to 36,146.866 In the prior decade, the State drew District 11 with a

   BVAP at 52.3%, and the District was an extraordinarily safe district for African-American




          866
                  See      OHIO      SEC’Y       OF     STATE,     2002      ELECTION       RESULTS,
   https://www.sos.state.oh.us/elections/election-results-and-data/2002-elections-results/u.s.-
   representative/; see supra Section II.C.4 (discussing Dr. Handley’s testimony and report).
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   candidates (including Congresswoman Fudge); under the current plan, the BVAP is 52.4%.867 Put

   simply, the “electoral history provided no evidence that a § 2 plaintiff could demonstrate the third

   Gingles prerequisite—effective white bloc-voting, . . . [s]o experience gave the State no reason to

   think that the VRA required it to” maintain District 11 as a district with a BVAP of just over 52%.

   See Cooper, 137 S. Ct. at 1470.

          Plaintiffs present Dr. Handley’s report as evidence affirmatively to rebut the contention

   that the third Gingles precondition could be met, and her analysis provides some further evidence

   against finding that the State had a good-faith belief that the VRA required District 11 to be drawn

   as it was. Dr. Handley’s finding that a 45% BVAP would be sufficient to elect the Black-preferred

   candidate by a comfortable margin is merely additional evidence to support the conclusion that

   District 11 did not need to be drawn as a majority-minority district. (Dr. Handley even suggests a

   40% BVAP may be sufficient, though the elections would be tighter.) We need not, however, rely

   on Dr. Handley. The real problem for the State is, again, that it drew District 11 based on a pure

   misinterpretation of the VRA. This means that it had neither “good reasons” nor any “basis in

   evidence” to draw District 11 as a majority-minority district. Cooper, 137 S. Ct. at 1464.

          To be sure, as with § 5 of the VRA, “[t]he law cannot insist that a state legislature, when

   redistricting, determine precisely what percent minority population § [2] demands.” See Ala.

   Legislative Black Caucus, 135 S. Ct. at 1273; see also Cooper, 137 S. Ct. at 1472. But the State

   needs to show its work, so to speak, and if the State happens to be wrong, it enjoys some leeway.

   Defendants assert that legislators here “conducted a functional analysis of [District 11] to conclude

   that a 50% target was appropriate.” See Dkt. 252 (Defs.’ & Intervenors’ Post-Trial Br. at 38–39).



          867
               District 11’s BVAP increased over the course of the decade to about 57%, but this does
   not alter the analysis. Again, the closest election was the 2002 election—which Stephanie Tubbs
   Jones won by over 50%—and the BVAP in that year was 52.3%.
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   This assertion is surprising, given that such a “functional analysis” is completely absent from this

   record. This is not a case where the State “relied on data from its statisticians and Voting Rights

   Act expert to create districts tailored to achieve” VRA compliance. See Harris, 136 S. Ct. at 1310.

   (This lack of analysis also cuts against finding a good-faith belief that the VRA required District

   11 to be drawn as such.) For these reasons, the leeway given to States that have done their

   homework in this context cannot rescue District 11. See Cooper, 137 S. Ct. at 1472.

          A question then arises as to whether a state’s mistake of law on the VRA, even if in good

   faith, can serve as a legitimate justification for a partisan gerrymander. In the context of District

   11, the argument essentially amounts to: The State can draw a majority-minority district if it wants,

   even if the State was mistaken in its belief that the VRA required such a district. Accepting such

   a justification could be constitutionally problematic. See Strickland, 556 U.S. at 23–24 (“Our

   holding also should not be interpreted to entrench majority-minority districts by statutory

   command, for that, too, could pose constitutional concerns.”). Accordingly, we decline to accept

   this argument here.

          Importantly, we also conclude that Plaintiffs carried their burden in proving partisan intent,

   not a desire to comply with the VRA (even if based on an entirely mistaken interpretation of the

   VRA), predominantly influenced District 11. In Harris, the Supreme Court explained that the

   appellants in that case did not show that the districts “result[ed] from the predominance of . . .

   illegitimate factors . . . .” 136 S. Ct. at 1310. The opposite is true here. As discussed above, the

   reason for dropping District 11 down into Summit County was to carve voting territory away from

   then-Representative Betty Sutton to disadvantage her in her race against Representative Renacci—

   a partisan motivation. See Benson, 2019 WL 1856625, at *57 n.39. To the extent that the State

   legitimately wanted to maintain District 11 as a majority-minority district, it sought to accomplish



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   that goal in a way that would achieve an ultimately partisan aim—to lock in a 12-4 map. That is,

   even if the goal of advancing minority interests in District 11 was a secondary goal, it was just

   that: secondary. At bottom, partisanship was the predominant and controlling intent behind the

   district.

           The argument for District 3 is slightly different, but the difference is important. In District

   3, the argument goes, the State sought to advance minority electoral prospects in Franklin County.

   Defendants rely on Strickland’s statement about “the permissibility of [crossover districts that

   enhance a minority’s electoral opportunities] as a matter of legislative choice or discretion.”

   Strickland, 556 U.S. at 23. In the next sentence, the Supreme Court explained that “[a]ssuming a

   majority-minority district with a substantial minority population, a legislative determination, based

   on proper factors, to create two crossover districts may serve to diminish the significance and

   influence of race by encouraging minority and majority voters to work together toward a common

   goal.” Id. There is no evidence to suggest that this specific situation applied to Franklin County—

   i.e., that it contained a possible majority-minority district that could be split into two minority-

   influence or crossover districts. The Court continued that “States can—and in proper cases

   should—defend against alleged § 2 violations by pointing to crossover voting patterns and to

   effective crossover districts.” Id. at 24. This scenario is also not at play in this case. In other

   words, Defendants place too much weight on Strickland. That said, we will accept that a state

   may, as a matter of legislative discretion, rely on creating minority-opportunity or crossover

   districts as a legitimate justification. The problem for this justification here is that there is a

   competing narrative for District 3.

           The competing narrative, and the one that we consider more credible, is that Franklin

   County served as the center piece to help secure a 12-4 map in that Democratic voters could be



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   packed into District 3 in order to shore up other neighboring districts for Republicans. Although

   some feedback throughout the map-drawing process included a desire for a minority-opportunity

   district in Franklin County,868 the actual map-drawing process focused on only partisan factors and

   political data. As we detailed previously, for example, the map drawers considered splitting

   Franklin County into four districts, but then they realized that split would result in more

   competitive elections for Republican candidates; only then did the map drawers decide to draw

   what is now District 3. That the Democratic voters in this district were referred to by Hofeller as

   “dog meat” and that downtown Columbus was referred to as “awful voting territory” for

   Republicans (and thus needed to be removed from District 15) bolsters this finding. Therefore,

   disentangling the purported racial considerations from the political ones, we find that political

   considerations predominantly motivated the drawing of District 3.             As explained, when

   partisanship predominates, partisan considerations are not a legitimate redistricting factor.

          We also note that District 3 could still have been drawn with a nearly identical BVAP,869

   but with a more regular shape, fewer county splits,870 and with considerably less partisan bias.871

   It was not, and consequently we infer that the map drawers intended District 3’s design to result

   in the partisan bias we have seen.

          Finally, although District 1 in Hamilton County is not central to the dispute of whether the

   map drawers were motivated by an intent to advance minority electoral opportunity in Districts 3




          868
                Trial Ex. P070 (Testimony of Ray Miller to the Senate Select Committee on
   Redistricting). Notably, this request for a minority-opportunity district seems premised on a
   mistaken view of the VRA, too (i.e., that the VRA required such a district). Moreover, Miller’s
   definition of a “minority opportunity district,” included both a majority-minority district and a
   crossover district. See id.
           869
               Dkt. 241(Cooper Trial Test. at 161).
           870
               Trial Ex. P093 (Cooper Second Suppl. Decl. at 10, 17).
           871
               Trial Ex. P476 (Warshaw Rep. at 14–15).
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   and 11, we find the treatment of that district instructive in evaluating claims about the map

   drawers’ commitment to advancing minority representation. In evaluating a justification, we may

   look to see “the consistency with which the plan as a whole reflects [that] interest[].” Karcher,

   462 U.S. at 740–41. The Supreme Court has also instructed that in determining whether invidious

   intent was present “[s]ubstantive departures [from normal procedure] may be relevant, particularly

   if the factors [purportedly] considered important by the decisionmaker strongly favor a decision

   contrary to the one reached.” Arlington Heights, 429 U.S. at 267. Here, we find that the motivation

   offered for the shape of Districts 3 and 11 was dishonored in the creation of Districts 1 and 2,

   which work together to crack the City of Cincinnati. Cincinnati in Hamilton County also has a

   considerable African-American population. The map drawers’ decision to carve the City of

   Cincinnati in two resulted in a District 1 with a 21.30% BVAP.872 In contrast, when Mr. Cooper

   left Cincinnati intact in his Proposed Remedial Plan, it maintained a BVAP of 26.74%.873 When

   he did so in his hypothetical maps, drawn to demonstrate the possibilities when contemplating the

   incumbents in 2011, he maintained this same higher BVAP in each.874 When Cincinnati could be

   cracked, the map drawers’ asserted concern for advancing minority voting interests seems to have

   fallen to the wayside. This gives us further reason to doubt the veracity of their assertion that this

   concern drove the creation of Districts 3 and 11.

                iv.   Natural political geography

          Defendants also argue that some of the partisan effects that have resulted under the 2012

   map are due to natural political geography—the way that the supporters of the two parties are

   distributed and clustered throughout the State. While we acknowledge that some credible evidence



          872
              Trial Ex. P454 (Cooper Decl. Apps. at D-2); Dkt. 241 (Cooper Trial Test. at 160).
          873
              Dkt. 241 (Cooper Trial Test. at 161); Trial Ex. P454 (Cooper Decl. Apps. at E-2).
          874
              Trial Ex. P093 (Cooper Second Suppl. Decl. at 10 & n.8, 17 & n.16).
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   was presented at trial of partisan clustering in Ohio and a natural political geography that gives a

   slight advantage to the Republican Party, we find that Ohio’s natural political geography in no way

   accounts for the extreme Republican advantage observed in the 2012 map. We therefore conclude

   that this justification fails as a neutral explanation for the 2012 map’s partisan effects.

          Dr. Hood’s report and analysis demonstrated that in Ohio Democratic voters tend to cluster

   near other Democratic voters, and Republican voters tend to cluster near other Republican

   voters.875 However, it did not show that Democratic voters do so at higher rates than Republican

   voters—the key comparison that might help explain why the 2012 map favors the election of

   Republican representatives over Democratic representatives.876

          Dr. Hood’s analysis also showed that in Ohio Democratic voters are more likely to be

   located in urban areas than Republican voters are.877 The concentration of Democratic voters in

   cities could support a finding of natural packing in those cities if the boundaries of those cities

   were respected and they were allowed to remain intact within districts. That is not the case here.

   Under the 2012 plan, Democratic cities were routinely split in order to facilitate the packing and

   cracking of districts.    For example, Cincinnati in Hamilton County was dramatically and

   nonsensically divided to produce Republican Districts 1 and 2, Akron was divided to facilitate the

   packing of District 11 and the cracking of District 16, and Toledo was divided between Districts 5

   and 9. We cannot take seriously the argument that Democratic voters’ tendency to cluster in cities

   supports a finding of natural packing when under this map those cities were often cracked rather

   than packed.




          875
              Dkt. 247 (Hood Trial Test. at 155).
          876
              Id. at 199–200.
          877
              Id. at 156.
                                                    259
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          Evidence presented at trial demonstrated that Ohio’s natural political geography slightly

   favors the election of Republican representatives. Dr. Warshaw stated that “[p]artisan bias usually

   is caused by gerrymandering, but it could be caused by other factors as well.”878 For example, Dr.

   Warshaw’s analysis of the partisan-bias metrics of the Proposed Remedial Plan indicated that that

   plan, which was drawn by Mr. Cooper with no partisan intent, had a slight bias toward

   Republicans.879 Likewise, Dr. Cho’s simulated maps, which were all drawn in accordance with

   only traditional redistricting principles and no partisan intent, also showed a natural slight

   Republican advantage, most often resulting in a 9-7 map.880 At least a handful of the races under

   the simulated maps are competitive, with each party winning some of those competitive races—

   this data is in stark contrast with elections under the current map.881 Thus, when only natural

   political geography serves as the baseline, we find that H.B. 369 significantly deviates from that

   baseline.

          Dr. Warshaw expressed considerable doubt that the partisan bias observed in the 2012 map

   was the result of natural political geography or non-political factors, however. First, “the sharpness

   of the change in the efficiency gap between 2010 and 2012 makes it unlikely to have been caused

   by geographic changes or non-political factors.”882 In order to believe that the strong partisan bias

   observed under the 2012 map was caused by natural political geography, we would need some

   evidence to explain why that same natural political geography did not cause such extreme partisan

   bias figures under the previous plan.883 The sudden uptick in partisan bias after the implementation



          878
              Dkt. 240 (Warshaw Trial Test. at 196).
          879
              Trial Ex. P571 (Warshaw Rep. at 32).
          880
              See Trial Ex. P426 (Cho Supp. Rep. at 3).
          881
              Id. at 4.
          882
              Trial Ex. P571 (Warshaw Rep. at 21).
          883
              “From about 2002 through 2010 Republicans had a modest advantage in the efficiency
   gap in Ohio, perhaps because they controlled the redistricting in 2001.” Id. at 22.
                                                    260
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   of the 2012 map belies the claim that Ohio’s natural political geography accounts for the pro-

   Republican results, particularly without any proof that the political geography changed between

   2010 and 2012. The independent variable was the map; the dependent variable was the partisan

   effect. This analysis supports the conclusion that Ohio’s natural political geography is not

   responsible for the considerable partisan effect observed since the implementation of the 2012

   map.

          Although Dr. Cho did not consider incumbent protection, Mr. Cooper created hypothetical

   alternative maps that did, and those maps score better on various traditional redistricting principles

   and result in a more responsive and competitive map. Mr. Cooper’s hypothetical alternative maps

   pair the same number of incumbents as the current map, score higher on compactness, are equal

   to the current map on core retention, and split fewer municipalities and counties.884 Importantly,

   these hypothetical alternative maps also satisfy the equal-population requirement.885 As for

   advancing minority opportunity, these maps contain a District 11 with a BVAP of over 47%, a

   district in Franklin County with a BVAP of just above 30%, and a Cincinnati-based district with a

   BVAP of 26.74%.886        Accordingly, these maps take into account Ohio’s natural political

   geography as well as all of Defendants’ purported main goals in redistricting, and they still produce

   more responsive and competitive elections than H.B. 369. This is strong evidence that Ohio’s

   natural political geography does not explain the extreme partisan effects of the 2012 map.




          884
             See generally Trial Ex. P093 (Cooper Second Suppl. Decl. at 4–18); see also Ex. P598
   (Cooper Third Suppl. Decl. at 5–6).
         885
             Trial Ex. P093 (Cooper Second Suppl. Decl. at 7, 15).
         886
             Id. at 10, 17.
                                                    261
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                                                    ***

          In sum, we conclude that (1) partisan discrimination against Democratic voters was the

   predominant intent in the creation of each congressional district in the 2012 map as well as the

   map as a whole, (2) the partisan effect of this discrimination was a dilution of Democratic votes,

   impinging on Democratic voters’ Fourteenth Amendment rights, and (3) no legitimate justification

   offered by Defendants to explain either the intent behind the map or its partisan effects undermines

   our conclusion that invidious partisanship dominated the process and the result. We therefore

   conclude that Plaintiffs have proved their Fourteenth Amendment vote-dilution claims.

      B. First Amendment Vote-Dilution Claim

          Plaintiffs may prove their First Amendment vote-dilution claim by showing:

          (1) that the challenged districting plan was intended to burden individuals or entities
          that support a disfavored candidate or political party, (2) that the districting plan in
          fact burdened the political speech or associational rights of such individuals or
          entities, and (3) that a causal relationship existed between the governmental actor’s
          discriminatory motivation and the First Amendment burdens imposed by the
          districting plan.

   Rucho, 318 F. Supp. 3d at 929, see also Benson, 2019 WL 1856625, at *28.

          This test essentially mirrors the intent, effect, and lack-of-justification test that applies to

   the equal-protection claim analyzed above. The similarity between the elements of the two claims

   makes sense because the claims are theoretically and analytically linked—when the government

   purposefully dilutes an individual’s vote (by packing or cracking voters into particular districts) in

   the partisan-gerrymandering context, it does so “because of the political views” expressed by

   voters. See Shapiro, 203 F. Supp. 3d at 595 (citing Vieth, 541 U.S. at 314–15 (Kennedy, J.,

   concurring in the judgment)). In the partisan-gerrymandering context, the Equal Protection

   Clause’s concern about vote dilution is related to the First Amendment concerns about viewpoint

   discrimination, “laws that disfavor a particular group or class of speakers[,]” and retaliation. See

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   Rucho, 318 F. Supp. 3d at 924–26; see also Benisek, 348 F. Supp. 3d at 514 (concluding that

   citizens “have a right under the First Amendment not to have the value of their vote diminished

   because of the political views they have expressed through their party affiliation and voting history.

   Put simply, partisan vote dilution, when intentionally imposed, involves the State penalizing voters

   for expressing a viewpoint while, at the same time, rewarding voters for expressing the opposite

   viewpoint.”). Accordingly, Plaintiffs call upon the same evidence to prove the elements of this

   claim as the elements of the Fourteenth Amendment claim.

          For the reasons we outlined previously, we conclude that Plaintiffs have proved this vote-

   dilution claim. See supra Section V.A.2. The State relied predominantly on partisanship in

   drawing the current map and penalized Democratic voters because of their political viewpoint. In

   brief, the map drawers’ controlling intent was to lock in a 12-4 map in favor of Republicans, that

   goal was accomplished, and no other causes or justifications explain the extreme partisan effects

   exhibited by the current map. Therefore, in the context of partisan vote dilution under the First

   Amendment, the analysis is no different than vote dilution under the Equal Protection Clause.

          The “associational harm of a partisan gerrymander,” however, “is distinct from vote

   dilution.” See Gill, 138 S. Ct. at 1938 (Kagan, J., concurring). We now turn to this separate

   analysis.

      C. Associational Claim

          1. Legal standard

                  a. Background legal principles

          The First Amendment protects the associational choices of voters. See Calif. Democratic

   Party, 530 U.S. at 574 (“[T]he First Amendment protects ‘the freedom to join together in

   furtherance of common political beliefs,’” (quoting Tashjian, 479 U.S. at 214–15)); Anderson v.



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   Celebrezze, 460 U.S. 780, 793–94 (1983); Williams, 393 U.S. at 30–31. This associational right

   is linked with the right to vote. See Williams, 393 U.S. at 30. Accordingly, state laws can “place

   burdens on [these] two different, although overlapping, kinds of rights—the right of individuals to

   associate for the advancement of political beliefs, and the right of qualified voters, regardless of

   their political persuasion, to cast their votes effectively.” Id. Undoubtedly, these rights are

   fundamental and “rank among our most precious freedoms.” Id.; see also Anderson, 460 U.S. at

   788.

            The associational rights of parties and their voters have been rightly recognized and

   protected by the courts, even though the Framers tried to design the Constitution against political

   parties. See Levinson & Pildes, supra at 2320. As the Supreme Court has acknowledged,

   “[r]epresentative democracy in any populous unit of governance is unimaginable without the

   ability of citizens to band together in promoting among the electorate candidates who espouse their

   political views.” Calif. Democratic Party, 530 U.S. at 574. Moreover, as Defendants repeatedly

   note, the Framers gave to states general authority to prescribe “The Times, Places and Manner of

   holding Elections” and to Congress the power to “make or alter” such laws. U.S. CONST. Art. I, §

   4.     But neither the State’s authority nor Congress’s power under the Elections Clause

   “extinguish[es] the State’s responsibility to observe the limits established by the First Amendment

   rights of the State’s citizens,” or the courts’ ability to vindicate constitutional rights. See Tashjian,

   479 U.S. at 217. “The power to regulate the time, place, and manner of elections does not justify,

   without more, the abridgment of fundamental rights, such as the right to vote, or . . . the freedom

   of political association.” Id. (citing Wesberry, 376 U.S. at 6–7).

            “Although these rights of voters are fundamental, not all” state election laws “impose

   constitutionally suspect burdens on voters’ rights to associate or to choose among candidates.”



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   Anderson, 460 U.S. at 788.        Every election law, “whether it governs the registration and

   qualifications of voters, the selection and eligibility of candidates, or the voting process itself,

   inevitably affects—at least to some degree—the individual’s right to vote and his right to associate

   with others for political ends.” Id. As the Supreme Court explained in Burdick v. Takushi,

           A court considering a challenge to a state election law must weigh “the character
           and magnitude of the asserted injury to the rights protected by the First and
           Fourteenth Amendments that the plaintiff seeks to vindicate” against “the precise
           interests put forward by the State as justifications for the burden imposed by its
           rule,” taking into consideration “the extent to which those interests make it
           necessary to burden the plaintiff’s rights.”
   504 U.S. 428, 434 (1992) (quoting Anderson, 460 U.S. at 789). The Supreme Court has employed

   this Anderson-Burdick balancing standard and found it workable in evaluating a variety of election

   laws. See, e.g., Crawford v. Marion Cty. Election Bd., 553 U.S. 181 (2008) (upholding a voter ID

   law); Wash. State Grange v. Wash. State Republican Party, 552 U.S. 442 (2008) (upholding

   Washington’s blanket primary law); Calif. Democratic Party, 530 U.S. 567 (striking down

   California’s blanket primary law); Timmons v. Twin Cities Area New Party, 520 U.S. 351 (1997)

   (upholding a ban on “fusion” candidates); Burdick, 504 U.S. at 434–38 (upholding a prohibition

   on write-in voting); Anderson, 460 U.S. at 788–90 (striking down an early filing deadline for

   independent candidates); cf. Doe v. Reed, 561 U.S. 186, 197–202 (2010) (weighing the State’s

   interests against the alleged First Amendment burdens and upholding a state law that made

   referendum petitions, which include the names and addresses of the signers, available in response

   to a public-records request by a private party).

                   b. Partisan gerrymandering burdens associational and representational rights

           In the context of partisan-gerrymandering cases, Justice Kennedy first recognized that the

   “allegations involve the First Amendment interest of not burdening or penalizing citizens because

   of their participation in the electoral process, their voting history, their association with a political


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   party, or their expression of political views.” Vieth, 541 U.S. at 314 (Kennedy, J., concurring in

   the judgment) (citing Elrod, 427 U.S. 347 (plurality)). Justice Kennedy further reasoned that

   Supreme Court precedents showed that “First Amendment concerns arise where a State enacts a

   law that has the purpose and effect of subjecting a group of voters or their party to disfavored

   treatment by reason of their views.” Id. Specifically, the disfavored treatment results in a burden

   on “voters’ representational rights.” See id. Later, the Supreme Court, “[w]ithout expressing any

   view on the merits,” reversed the dismissal of a case in which the plaintiffs pursued a First

   Amendment theory on the narrow ground that the “plea for relief [was] based on a legal theory put

   forward by a Justice of this Court and uncontradicted by the majority in any of our cases.” See

   Shapiro v. McManus, 136 S. Ct. 450, 456 (2015).

          In Gill, four justices framed the associational harm as a burden on “the ability of like-

   minded people across the State to affiliate in a political party and carry out that organization’s

   activities and objects.” See Gill, 138 S. Ct. at 1939 (Kagan, J., concurring). “By placing a state

   party at an enduring electoral disadvantage, the gerrymander weakens its capacity to perform all

   its functions.” Id. at 1938. Thus, five justices have expressed support for applying First

   Amendment association principles in the partisan-gerrymandering context, but, like other theories,

   the associational-rights framework has not been adopted as a majority opinion of the Supreme

   Court. At the same time, the Supreme Court has not foreclosed this framework, and other three-

   judge district courts have found it helpful to address partisan-gerrymandering claims. See, e.g.,

   Rucho, 318 F. Supp. 3d at 926–927; Whitford, 218 F. Supp. 3d at 880–83; Shapiro, 203 F. Supp.

   3d at 594–95.

          If the whole point of partisan gerrymandering is to subordinate a disfavored group of voters

   and entrench the dominant party, then it is sensible to assess an alleged partisan gerrymander under



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   an associational-rights framework and look at the plan as a whole. The ability of the people to

   associate through parties is critical to our representative democracy, Calif. Democratic Party, 530

   U.S. at 574, and “[t]he revolutionary intent of the First Amendment is . . . to deny [the government]

   authority to abridge the freedom of the electoral power of the people.” See Alexander Meiklejohn,

   The First Amendment is an Absolute, 1961 SUP. CT. REV. 245, 254 (1961). In extreme cases, a

   party in power may “freeze[] the status quo” in a redistricting law and render districts impervious

   to “the potential fluidity of American political life.” See Jenness, 403 U.S. at 439. Indeed, the

   Supreme Court has already acknowledged the link between associational rights and the functioning

   of the democratic process. See Elrod, 427 U.S. at 356–57 (1976) (plurality) (“It is not only belief

   and association which are restricted where political patronage is the practice. The free functioning

   of the electoral process also suffers. . . . Patronage thus tips the electoral process in favor of the

   incumbent party, and where the practice’s scope is substantial relative to the size of the electorate,

   the impact on the process can be significant.”). The Supreme Court extended Elrod’s concerns

   about the right to association and the electoral process in the patronage context to the right to vote

   in Williams v. Rhodes. There, the Court explained that the law at issue “place[d] substantially

   unequal burdens on both the right to vote and the right to associate.” Williams, 393 U.S. at 31; see

   also Tashjian, 479 U.S. at 216 (“The State thus limits the Party’s associational opportunities at the

   crucial juncture at which the appeal to common principles may be translated into concerted action,

   and hence to political power in the community.”) (emphasis added). These same concerns apply

   to partisan gerrymandering. See Ariz. State Legislature, 135 S. Ct. at 2658 (defining partisan

   gerrymandering as “the drawing of legislative district lines to subordinate adherents of one

   political party and entrench a rival party in power.”).




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           The First Amendment and the Anderson-Burdick standard are well suited to address these

   concerns in the partisan-gerrymandering context. This framework sensibly places the focus on a

   law’s alleged “substantially unequal burdens” and effects, see Williams, 393 U.S. at 31, rather than

   partisan intent, see Crawford, 553 U.S. at 203–04 (“[I]f a nondiscriminatory law is supported by

   valid neutral justifications, those justifications should not be disregarded simply because partisan

   interests may have provided one motivation for the votes of individual legislators.”). On the one

   hand, “[a]s long as redistricting is done by a legislature, it should not be very difficult to prove that

   the likely political consequences of the reapportionment were intended.” Bandemer, 478 U.S. at

   129. On the other hand, if courts determine that some plans are unconstitutional partisan

   gerrymanders, then we would expect legislators to act like normal people and, therefore, not

   express their pure partisan intentions; that is, there will be less clear, direct evidence of map

   drawers’ partisan intent. The evidence of effects, then, becomes the most important consideration

   because evidence of sufficiently extreme partisan effects will support the assertion that a state was

   motivated by partisanship, at the expense of all other purported justifications, in drawing a map.

   If such evidence exists, then a reasonable inference would be that partisanship was the controlling

   justification for a map, and any other legitimate purported justifications would not hold up against

   the severe burdens placed on a disfavored party’s voters. Conversely, if the evidence of partisan

   effect is lacking or does not reveal a sufficiently significant burden, then it becomes more likely

   that other legitimate justifications can explain the map, even though “partisan interests may have

   provided one motivation for the votes of individual legislators.” See Crawford, 553 U.S. at 204.

           Of course, to some extent, to the victor of an election go the spoils. But “[t]o the victor

   belong only those spoils that may be constitutionally obtained.” Rutan v. Republican Party of Ill.,

   497 U.S. 62, 64 (1990). “The [First Amendment] analysis allows a pragmatic or functional



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   assessment that accords some latitude to the States,” Vieth, 541 U.S. at 315 (Kennedy, J.,

   concurring in the judgment), and, consequently, latitude for some partisan effects. At the same

   time, a map that “freezes the status quo” for the incumbent party despite fluctuating vote totals,

   Jenness, 403 U.S. at 439, substantially “tips the electoral process in favor of the incumbent party,”

   Elrod, 427 U.S. at 356 (plurality), or “unfairly or unnecessarily burdens the availability of political

   opportunity,” for the disfavored party, Anderson, 460 U.S. at 793 (citations and internal quotation

   marks omitted), should be subject to judicial scrutiny and, depending on the evidence, struck down

   as unconstitutional. In other settings, courts have thus employed the Anderson-Burdick standard

   to pick out the worst of the worst—cases in which legitimate state justifications and the states’

   general power to regulate elections simply do not outweigh the burdens placed on individuals’

   right to associate and right to vote. Likewise, reining in the worst-of-the-worst gerrymanders is

   the courts’ task in this setting.

                                                        ***

           We conclude that the associational-rights framework provides a workable standard to

   evaluate an alleged partisan gerrymander. See Benson, 2019 WL 1856625, at *48–50, 65–66

   (concluding that the plaintiffs could pursue this claim and that the challenged map burdened

   associational rights). First, no matter how relevant partisan intent is to this particular analysis,

   Plaintiffs have proven intent under the predominant-factor standard. See supra Sections V.A.1.a.,

   V.A.2.a. More importantly for purposes of the associational claim, courts must weigh the burden

   imposed on a group of voters’ associational rights against the precise interests put forward by the

   State as justifications for the burden imposed by the challenged map. See Gill, 138 S. Ct. at 1938–

   39 (Kagan, J., concurring); Vieth, 541 U.S. at 314 (Kennedy, J., concurring in the judgment);

   Burdick, 504 U.S. at 434 (quoting Anderson, 460 U.S. at 789).



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           2. Application

           For the following reasons, we find that Plaintiffs have proved their associational-rights

   claim. Many of these facts overlap with our discussion of the vote-dilution claim. See, e.g., supra

   Section V.A.2.b. (discussing statewide evidence of effect). This makes sense given the overlap

   between individuals’ right “to associate for the advancement of political beliefs” and their right

   “to cast their votes effectively.”      See Williams, 393 U.S. at 30.         In this sense, partisan

   gerrymandering is a double-barreled constitutional issue. We will first discuss the burden that the

   redistricting plan imposes on Democratic voters’ and organizations’ right to associate and then

   weigh that burden against the State’s interests that it proffers as justifications.

               a. Burden

           For a group of voters to associate effectively for the advancement of their political beliefs,

   the group must be able to mobilize in the electorate to have a real chance at translating their votes

   into electoral success. If a disfavored party’s voters in the electorate are “deprived of their natural

   political strength by a partisan gerrymander” drawn by the dominant party in government, then the

   disfavored party may be sapped of its ability to mobilize effectively, win elections, and thereby

   accomplish its policy objectives. See Gill, 138 S. Ct. at 1938 (Kagan, J., concurring). Here, several

   pieces of evidence reveal that the redistricting plan enacted in H.B. 369 attempts to “freeze[] the

   status quo” in favor of the incumbent Republican Party, Jenness, 403 U.S. at 439, substantially

   “tips the electoral process in favor of” the Republican Party, Elrod, 427 U.S. at 356 (plurality),

   and “unfairly or unnecessarily burdens the availability of political opportunity,” for the Democratic

   Party and the individuals and organizations that support the Party, Anderson, 460 U.S. at 793

   (citations and internal quotation marks omitted).




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          The partisan-bias metrics employed by Plaintiffs show that the Democratic Party is placed

   “at an enduring electoral disadvantage,” and the simulated maps indicate that Democratic voters

   are indeed “deprived of the[] natural political strength” that they otherwise would have based on

   political geography. See Gill, 138 S. Ct. at 1938 (Kagan, J., concurring). As detailed previously,

   by almost any measure, H.B. 369 is more extremely partisan and more pro-Republican than over

   90% (and under several metrics over 95%) of previous comparable elections throughout the

   country. This was true in 2012, the first election held under the current map, and in the most recent

   2018 election cycle. Indeed, these findings should not be surprising given the fact that, although

   the Republican statewide vote share in congressional elections has fluctuated between 51% and

   59%, Republican candidates have nonetheless won the same twelve seats (75% of the seats) in

   every election. The Democratic vote share in that same time has ranged from 41% to 47%, but

   Democratic candidates have won the same four seats in every election—and by considerably large

   margins (again, in the closest election for the four seats, the Democratic candidate still won 61%

   of the vote). The data support Dr. Warshaw’s conclusion that “Ohio’s 2011 redistricting plan had

   one of the largest pro-Republican biases in history.”887 The simulated maps, which integrate only

   neutral redistricting criteria, reveal what the typical outcomes would be based on the natural

   political geography of the State. Over the course of this decade, by far the most expected outcome

   would be a 9-7 map.888 As a whole, this evidence shows that the current redistricting plan contains

   a substantial amount of bias against Democratic voters as compared to a neutral baseline (or, in

   fact, millions of neutral baselines) based on natural political geography, as well as historical




          887
             Trial Ex. P571 (Warshaw Rep. at 42).
          888
             See Trial Ex. P426 (Cho Suppl. Rep. at 3). An 8-8 map was also rather common, though
   by 2018, an 8-8 map occurred at about an equal rate as a 10-6 map. See id.
                                                   271
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   baselines. Indeed, we can comfortably say that the current redistricting plan is an outlier. But this

   evidence is only part of the story.

          The lack of competitive elections supports the conclusion that Democratic voters’ electoral

   opportunities are unfairly burdened. See Anderson, 460 U.S. at 793. The simulated maps typically

   produced at least a handful of competitive races. Democratic and Republican candidates win

   roughly an equal number of those competitive elections, but Democratic candidates tend to have a

   slight edge in competitive elections under the simulated maps.889 Combined with the data on the

   typical seat shares, this evidence shows that by 2018, a 9-7 map in favor of Republicans was

   common and that Democratic candidates would win three or four of their seats in competitive

   elections.890 These findings stand in stark contrast to the current 12-4 map, in which a winning

   Democratic candidate has never come close to facing a competitive election.              The logical

   conclusion is that the map drawers fenced in Democratic voters in significant numbers into four

   districts and, conversely, fenced out Democratic voters from the other districts in order to “freeze[]

   the status quo” from the 2010 elections, which favored Republicans. Jenness, 403 U.S. at 439.

   The result is a burden on Democratic voters’ overall electoral opportunity.

          Of course, this is not to say that competitive elections must be maximized at the expense

   of other legitimate goals. The point is that the evidence indicates that in a State as competitive as

   Ohio, and considering its natural political geography, one would expect more competitive

   elections—some won by Democratic candidates, and others won by Republican candidates. The

   absence of competitive elections raises concerns that the dominant party in government, through

   partisan manipulation, is seeking to “dictate electoral outcomes” and “disfavor a class of




          889
                See generally id. at 4.
          890
                Id. at 3–4.
                                                    272
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   candidates” and the voters who support them. See Thornton, 514 U.S. at 833–34. In a similar

   vein, as Justice Scalia noted, “[t]he first instinct of power is the retention of power, and, under a

   Constitution that requires periodic elections, that is best achieved by the suppression of election-

   time speech.” See McConnell, 540 U.S. at 263 (Scalia, J., concurring in part and dissenting in

   part). Both restrictions on election-time speech and partisan gerrymandering aim to suppress

   electoral competition, and both are partly rooted in viewpoint discrimination. See Benson, 2019

   WL 1856625, at *66; Rucho, 318 F. Supp. 3d at 841, 924–25. And some degree of competition is

   healthy because it “support[s] in the members [of Congress] an habitual recollection of their

   dependence on the people.” See THE FEDERALIST NO. 57, at 511 (James Madison), reprinted in

   THE CONSTITUTION      OF THE   UNITED STATES    OF    AMERICA AND SELECTED WRITINGS          OF   THE

   FOUNDING FATHERS (2012).

          The evidence of extreme partisan bias and lack of competitive elections are consistent with

   the intentions of the map drawers. As detailed previously, for a time, the map drawers considered

   splitting Franklin County into four districts, which might have secured a 13-3 map in favor of

   Republicans. See supra Section I.A.4. They abandoned this option because the margins of victory

   would have been tighter and thus exposed Republican incumbents to the risk of losing competitive

   elections. See supra Section I.A.4. Importantly, according to talking points in an email from

   Heather Mann to Michael Lenzo, the 12-4 map “put the most number of seats in the safety zone

   given the political geography of the state, [the] media markets, and how to best allocate caucus

   resources.”891 By the Republicans’ own admission, then, the number of safe seats, and thus the

   number of competitive elections, influence how the parties and campaigns expend their resources.

   In other words, how district lines are drawn affects “the ability of citizens to band together in



          891
                Trial Ex. P385 (Congressional Redistricting Talking Points at LWVOH_0052438).
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   promoting among the electorate candidates who espouse their political views.” Calif. Democratic

   Party, 530 U.S. at 574.

          When a partisan gerrymander maximizes the number of safe seats for the dominant party

   in government and, relatedly, packs as many of the disfavored party’s voters into an optimal

   number of districts so that the dominant party’s overall advantage is not at risk, there are

   consequences beyond entrenchment. An efficient partisan gerrymander can reduce campaign

   activity and expenditures and thereby inhibit “the constitutional interest of like-minded voters to

   gather in pursuit of common political ends . . . .” See Norman, 502 U.S. at 288. The evidence

   surveyed thus far supports the conclusion that H.B. 369 is, in fact, an efficient partisan

   gerrymander that exhibits substantial and extreme bias against Democratic voters, while

   optimizing the advantage in favor of the party in power.

          Other evidence further demonstrates that the current redistricting plan limits Democratic

   voters’ and organizations’ “associational opportunities at the crucial juncture at which the appeal

   to common principles may be translated into concerted action, and hence to political power in the

   community.” See Tashjian, 479 U.S. at 216. Here, that critical juncture is the general election. In

   his report and trial testimony, Dr. Niven spoke to the political science literature that shows how

   the splitting of neighborhoods, cities, and counties makes campaigning more difficult in those

   areas and therefore results in a demobilizing effect. See supra Section II.C.3. As we explained

   previously, he found that splits of localities affected Democratic voters more than Republican

   voters. Dr. Niven also elaborated on how Democratic voters were shuffled between districts and

   how that shuffling would have altered the political makeup of districts and the outcomes of prior

   elections in those districts. Supra Section II.C.3. Of course, the lines must be drawn somewhere,

   but it is suspect when considering the findings that the divisions affected Democratic voters more



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   than Republicans alongside the findings of the extreme partisan effects exhibited in this map. Dr.

   Niven’s analysis focused on Hamilton County, District 9, Franklin County, and Summit County,

   which all together covers ten of the sixteen congressional districts. Cf. Benson, 2019 WL 1856625,

   at *57 n.39 (“One cannot fully grasp the partisan implications of the design of an individual district

   in each group without simultaneously evaluating the partisanship of the other districts in that

   group.”).

          The evidence presented by the individual and organizational Plaintiffs is consistent with

   the notion that a partisan gerrymander can have a demobilizing effect. A core concern with

   gerrymandering is that the party in power manipulates district lines to choose their preferred

   partisans and thereby render election results a foregone conclusion. Plaintiffs testified that they

   themselves have felt like election results were indeed preordained, that their candidate recruitment

   efforts have been hindered, and that they have experienced fundraising difficulties. See supra

   Sections II.A.1.–2. In Hamilton County and on The Ohio State University’s campus in particular,

   the HCYD’s and OSU College Democrats’ representatives testified that they have seen campaign

   signs for certain candidates in the wrong district and that people have been mistaken as to which

   district they should be voting in. See supra Section II.A.2. Dr. Niven also found that in Franklin

   County, the lines even caused problems for the professional election administrators keeping track

   of which voters should be assigned to which districts. See supra Section II.C.3.c. These

   mobilization difficulties are consistent with the social-science data outlined above that demonstrate

   an asymmetric burden in translating votes into seats. The actual election results compared to the

   statewide congressional vote share, the partisan-bias metrics, and the simulated maps all support a

   reasonable inference that Democratic voters and organizations, such as Plaintiffs in this case,

   would feel that they do not have a real chance at similar electoral success, even if their Party



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   received a higher percentage of the vote. Even when the Democratic Party as a whole did better,

   the Republican advantage remained.892 The current redistricting plan distributes voters in such a

   way that, even though the Democratic and Republican Parties are running in the same races,

   Democratic candidates must run a significantly longer distance to get to the same finish line. Thus,

   Democratic voters and supporters are burdened by this demobilizing effect and are limited in their

   opportunities to translate their efforts in the electorate into “political power in the community.”

   See Tashjian, 479 U.S. at 216.

          The remaining question is how much more successful the Democratic Party would need to

   be to turn the electoral tides in their favor. Again, Dr. Warshaw’s initial findings were that, even

   with 55% of the statewide vote, Democratic candidates would win only 6 out of 16 seats.893

   Updating his analysis with the 2018 data slightly modified this finding; Democratic candidates

   would win half the seats with 55% of the vote.894 The asymmetry is stark. Republican candidates

   comfortably won twelve seats with a similar percentage of the vote, and at 51% of the vote, they

   still comfortably won twelve seats. Again, this bears out what the map drawers themselves

   recognized: the way that they drew the map allowed for the best allocation of Republican

   resources.895 On the other hand, Democratic campaigners and organizations need to expend more

   resources to garner more votes, but even if they were successful in that effort, Democratic

   candidates still win fewer elections. Such use of State “power to starve political opposition” is

   generally disfavored in First Amendment jurisprudence. See Elrod, 427 U.S. at 356 (plurality);

   see also Kang, supra at 376–83.



          892
            See, e.g., Trial Ex. P426 (Cho Suppl. Rep. at 6) (comparing the fundraising numbers of
   Democratic candidates in Districts 1 and 12 in the 2018 elections to the Republican incumbents).
        893
            Trial Ex. P571 (Warshaw Rep. at 15).
        894
            Trial Ex. P476 (Warshaw 2018 Update at 12–13).
        895
            Trial Ex. P385 (Congressional Redistricting Talking Points at LWVOH_0052438).
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          The ultimate result of this substantial asymmetry is that Plaintiffs are hindered in their

   ability to mobilize effectively, win elections, and accomplish their policy objectives. These results

   come with representational costs. Dr. Warshaw’s analysis demonstrates the growing polarization

   among Ohio’s Republican and Democratic Members of Congress.896 Accordingly, given the large

   asymmetry in elections and polarization in Congress, it is less likely that the Ohio congressional

   delegation fairly reflects voters in congressional elections across the State. As Dr. Warshaw

   concludes, “[t]he pro-Republican advantage in congressional elections in Ohio causes Democratic

   voters to be effectively shut out of the political process in Congress.”897 Partisan gerrymandering,

   therefore, cuts against “the basic aim of legislative reapportionment” to “achiev[e] fair and

   effective representation for all citizens . . . .” See Reynolds, 377 U.S. at 565–66.

          In sum, the redistricting plan enacted in H.B. 369 burdens Plaintiffs’ ability “to associate

   for the advancement of [their] political beliefs . . . [and] to cast their votes effectively,” Williams,

   393 U.S. at 30, such that Plaintiffs’ associational and representational rights are burdened. All the

   evidence points to the same conclusion that Democratic voters and organizations are significantly




          896
               Trial Ex. P571 (Warshaw Rep. at 36–37). This finding is consistent with what scholars
   and commentators started observing decades ago. See, e.g., Elena Kagan, Presidential
   Administration, 114 HARV. L. REV. 2245, 2311–12 & n.262 (2001) (observing that although
   bipartisan cooperation remains possible, “the difficulty of the task has increased because
   congressional parties have grown more ideologically coherent and partisan as legislative districts
   have become more homogeneous and primaries have become the dominant means of candidate
   selection.”) (collecting sources). To be clear, we do not find or conclude that partisan
   gerrymandering causes this polarization.
           897
               Trial Ex. P571 (Warshaw Rep. at 43); see also id. at 39–41; cf. 41 CONG. GLOBE, 41st
   Cong., 2d Sess., 4737 (June 23, 1870) (statement of Rep. James A. Garfield) (then-Representative
   Garfield speaking out against malapportionment in Ohio, stating, “There are about ten thousand
   Democratic voters in my district, and they have been voting there . . . without any more hope of
   having a Representative on this floor than of having one in the Commons of Great Britain. . . . The
   Democratic voters in the nineteenth district of Ohio ought not by any system to be absolutely and
   permanently disenfranchised.”); supra Section IV.C.
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   disadvantaged, and we can comfortably call H.B. 369 an outlier. We therefore conclude that this

   burden is of a substantial magnitude.

              b. State interests and justifications

          To be sure, every redistricting law will have some effect on “the individual’s right to vote

   and his right to associate with others for political ends.” See Anderson, 460 U.S. at 788. As we

   have explained, “[t]he [First Amendment] analysis allows a pragmatic or functional assessment

   that accords some latitude to the States,” Vieth, 541 U.S. at 315 (Kennedy, J., concurring in the

   judgment), and thus some latitude for partisan effects. We now turn to weighing the substantial

   burden on Plaintiffs’ associational rights against “the precise interests put forward by the State as

   justifications for the burden imposed” by the redistricting plan. See Burdick, 504 U.S. at 434

   (quoting Anderson, 460 U.S. at 789).

          Because the burden on Plaintiffs’ First and Fourteenth Amendment rights is substantial,

   the corresponding justifications must be “sufficiently weighty” to explain the burden. See Norman,

   502 U.S. at 288–89. A court “must not only determine the legitimacy and strength of each

   [justification]; it also must consider the extent to which those interests make it necessary to burden

   the plaintiff’s rights.” Anderson, 460 U.S. at 789. If the burden on Plaintiffs’ rights were not so

   severe, or if the partisan effects did not indicate that a challenged map was an outlier, we would

   not “require elaborate, empirical verification of the weightiness of the State’s asserted

   justifications.” See Timmons, 520 U.S. at 364. In this case, however, Plaintiffs have put forward

   a substantial amount of evidence demonstrating an extreme degree of partisan bias. Consequently,

   we will not accept Defendants’ justifications at face value. Instead, we will seriously test the

   “legitimacy and strength” of the proffered justifications, Anderson, 460 U.S. 789, and decide




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   whether they are “narrowly tailored to serve a compelling state interest.” See Calif. Democratic

   Party, 530 U.S. at 582.

           We addressed Defendants’ justifications above and explained that they simply do not hold

   water in the case before us. See supra Section V.A.2.d. We will nonetheless review these asserted

   State interests briefly.

               i.      Incumbent protection and bipartisanship

           There is a line between “avoiding contests between incumbent Representatives,” Karcher,

   462 U.S. at 740 (emphasis added), and drawing district lines to insulate incumbents from

   competition. See also Burns, 384 U.S. at 89 n.16 (framing incumbent protection as “minimiz[ing]

   the number of contests between present incumbents”) (emphasis added). The former is a legitimate

   interest, and the latter is not. The insulation of incumbents from political competition raises

   entrenchment concerns. As detailed above, we find that the current map’s purpose and effect was

   to entrench the 12-4 Republican majority and subordinate disfavored Democratic voters. For

   example, the decisions to split Franklin County three ways instead of four (thus creating the

   “Franklin County Sinkhole”) and the general checking of political indices when various changes

   were proposed were all done with an eye toward putting as many Republican incumbents in the

   safety zone as possible. See supra Sections I.A.4, V.A.2.a.ii. This manipulation of the lines, in

   turn, allowed for a more efficient use of Republican Caucus resources. H.B. 369 falls on the

   incumbent-insulation and entrenchment side of the line.

           Neither Article I nor Gaffney v. Cummings can save Defendants’ arguments. First, the

   Elections Clause “act[s] as a safeguard against manipulation of electoral rules by politicians and

   factions in the States to entrench themselves or place their interests over those of the electorate.”

   Ariz. State Legislature, 135 S. Ct. at 2672. As explained, the Supreme Court has also expressed



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   skepticism about attempts to insulate incumbents from political competition in other areas of First

   Amendment law. See, e.g., Randall, 548 U.S. at 248; McConnell, 540 U.S. at 263 (Scalia, J.,

   concurring in part and dissenting in part); id. at 306 (Kennedy, J., concurring in part and dissenting

   in part); Elrod, 427 U.S. at 356; see also Jenness, 403 U.S. at 439. Second, for the reasons we

   articulated before, Gaffney is entirely distinguishable, mainly because there is no serious argument

   that H.B. 369 fairly “allocate[s] political power to the parties in accordance with their voting

   strength . . . .” Gaffney, 412 U.S. at 754.

          Even if we viewed this incumbent-protection argument in the light most favorable to the

   State—that the State truly needed to draw the map the way it did to avoid contests between existing

   incumbents—we would not conclude that this justification holds up to scrutiny. Again, the sponsor

   of the initial H.B. 319 (to which H.B. 369 is materially identical) clearly described incumbent

   protection as “subservient” to other redistricting goals.898 And the instance in which incumbent

   protection was not pursued, i.e., the pairing of Representative Renacci with Representative Sutton,

   the map drawers drew the district to advantage the incumbent Republican over the Democratic

   incumbent.      Lastly, if incumbent protection, properly understood, is meant to maintain

   Representative-constituent relationships and seniority in Congress, it makes little sense to pair the

   most senior member of the State’s congressional delegation against another incumbent, as was

   done in H.B. 369.       As one of Mr. Cooper’s hypothetical alternative maps demonstrates,

   Representative Kaptur did not need to be paired; instead, Representatives Sutton and Kucinich

   (who were each paired anyway) could have been drawn against one another.899




          898
                Trial Ex. J01 (Ohio House Session, Sept. 15, 2011 at 19) (statement of Rep. Huffman).
          899
                See Trial Ex. P093 (Cooper Second Suppl. Decl. at 12–18).
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          The argument that the current map resulted from bipartisan input and negotiations, which

   at times blends with Defendants’ arguments about incumbent protection and Gaffney, is also

   unpersuasive. See supra Section V.A.2.d.ii. The partisan outcomes of this map were locked in

   once the General Assembly passed H.B. 319, which was the work product of only Republicans.

   The General Assembly incorporated some minor Democratic requests into H.B. 369; however,

   Speaker Batchelder himself acknowledged that the partisan balance of the map was non-

   negotiable. See supra Section V.A.2.d.ii. Although Democratic legislators secured some small

   geographic concessions, the Republicans also secured their large 12-4 partisan advantage in H.B.

   369. The material terms of negotiation were ultimately dictated by the fact that the Republican

   Party controlled both the General Assembly and the governorship.             See, e.g., Dkt. 230-3

   (Batchelder Dep. at 25) (stating that the Republicans “could have simply done what [they] wanted

   to” in the redistricting process). As a practical matter, Democratic legislators could not alter the

   expected partisan outcomes of this map, and, therefore, this justification does not cure the

   substantial burdens on Plaintiffs’ rights.

              ii.     Voting Rights Act compliance and advancing representation

          We accept that compliance with the VRA is a compelling State interest. See Bethune-Hill,

   137 S. Ct. at 801. If the State properly considered the VRA, then this interest may well justify the

   drawing of District 11. A proper consideration of the VRA would involve having some basis in

   evidence or good reasons to believe that § 2 requires a particular district. Statements from

   legislators that the VRA was an important consideration, without more, will not suffice—

   especially when the State is mistaken on the law.

          The problem with this justification in this case is that the State had no basis in evidence to

   believe that District 11 needed to be drawn as it was. See supra Section V.A.2.d.iii. Instead,



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   Ohio’s belief that it was compelled to draw District 11 as a majority-minority district rested “on a

   pure error of law.” See Cooper, 137 S. Ct. at 1472. Furthermore, the State’s argument that it can

   draw a majority-minority district, even if it mistakenly interpreted the VRA, could be problematic.

   See Strickland, 556 U.S. at 23–24. Again, no evidence suggests that the State conducted any

   analysis that the VRA required the current District 11 to have a nearly identical BVAP as the prior

   District 11. We therefore cannot say that the State had “good reason to believe that § 2 requires

   drawing a majority-minority district.” See Cooper, 137 S. Ct. at 1470. In fact, based on the prior

   success of African-American candidates in District 11 (none of whom faced a competitive election

   in the prior decade), nothing supports this belief. See supra Section V.A.2.d.iii. Moreover, even

   if the State wanted to advance minority electoral opportunities in District 11, we nonetheless find

   that such a goal was secondary to the predominant and controlling partisan intent.

          Again, Defendants’ asserted interest for District 3 is slightly distinct. For the sake of

   argument, we accept that the State may, as a matter of legislative discretion, rely on creating

   minority-opportunity or crossover districts as a legitimate justification. As explained previously,

   however, based on the evidence in this case, we credit the competing narrative for District 3: map

   drawers carefully packed Franklin County Democrats into District 3, facilitating the creation of

   two solidly Republican seats in Districts 12 and 15. This constellation of districts was key in their

   efforts to lock in a 12-4 map.

              iii.    Natural political geography

          Finally, we also accept that a state’s natural political geography could potentially explain

   partisan effects, but again, this justification does not hold up against the evidence in this case. See

   supra Section V.A.2.d.iv.        Although Plaintiffs’ experts acknowledge that Ohio’s political

   geography provides a slight advantage to Republicans, the advantage is far from 12-4. First, the



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   same geography did not cause such extreme bias under the prior redistricting plan, and under that

   plan, the State’s congressional delegation majority shifted between Democrats and Republicans.

   See supra Section V.A.2.d.iv. Second, as mentioned above, the simulated maps provide a baseline

   to compare maps that incorporate only neutral districting criteria to H.B. 369. Dr. Cho’s seat-share

   analysis demonstrates that a 9-7 map in favor of Republicans is the most common outcome, and

   one would expect at least a handful of competitive races. The current map has produced a

   combined total of only four competitive races across all four election cycles. When Dr. Cho

   incorporated 2018 data into her analysis, only 0.046% of over 3-million simulated maps produced

   a 12-4 outcome. If someone stated that they were flipping a fair coin but then that coin turned up

   tails in only 0.046% of 100,000 coin tosses, one would start to suspect that the coin was not, in

   fact, fair—here we have over 3 million coin tosses. Either the Republicans were exceedingly

   lucky, or their map drawers made exceedingly expert use of political data to manipulate district

   lines to secure the most seats and the least amount of competition possible. The evidence in this

   case points to the latter conclusion. Third, Mr. Cooper’s hypothetical alternative maps pair the

   same number of incumbents as the current map, score higher on compactness, are equal to the

   current map on core retention, split fewer municipalities and counties, and produce more

   responsive and competitive elections.900 As we outlined previously, these maps also satisfy the

   equal-population requirement, and they advance minority electoral opportunities more than H.B.

   369. See supra Section V.A.2.d.iv. The upshot is that natural political geography cannot explain




          900
              See generally Trial Ex. P093 (Cooper Second Suppl. Decl. at 4–18); Trial Ex. P598
   (Cooper Third Suppl. Decl. at 5–6). For example, the second hypothetical alternative map
   produces the following outcomes for 2012-2018, respectively: 10-6, 11-5, 11-5, and 8-8, and the
   number of competitive races range from three to five. See Trial Ex. P093 (Cooper Second Suppl.
   Decl. at 18); Trial Ex. P598 (Cooper Third Suppl. Decl. at 6).
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   away the extreme partisan effects of the current redistricting plan, even when other factors that

   were supposedly important to the State are also considered.

                                                      ***

           We conclude that the burdens H.B. 369 imposes on Plaintiffs’ associational rights are not

   outweighed by any of the asserted justifications. This redistricting plan substantially burdens the

   overlapping “right of individuals to associate for the advancement of their political beliefs[] and

   the right of qualified voters . . . to cast their votes effectively.” Williams, 393 U.S. at 30. Critically,

   our primary concern is not the interests of Democratic candidates, but rather, the interests of the

   voters and organizations who choose to associate together, express their support for, and cast their

   votes for those candidates. See Anderson, 460 U.S. at 806. In this case, the bottom line is that the

   dominant party in State government manipulated district lines in an attempt to control electoral

   outcomes and thus direct the political ideology of the State’s congressional delegation. “In a free

   society the State is directed by political doctrine, not the other way around.” Calif. Democratic

   Party, 530 U.S. at 590 (Kennedy, J., concurring).

           For these reasons, H.B. 369 is an unconstitutional partisan gerrymander.

       D. Article I Claim

           Two provisions of Article I of the United States Constitution are relevant to this case—

   Article I, § 4 and Article I, § 2. As explained by the three-judge panel in Rucho, “the two

   provisions are closely intertwined.” 318 F. Supp. 3d at 936; see also id. at 935–41. Plaintiffs

   claim that the State has exceeded its powers under Article I because the alleged partisan

   gerrymander is a non-neutral regulation that constrains the free choice of the people to elect their

   representatives.




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           Again, under Article I, § 4, states generally have the authority to draw district lines. U.S.

   CONST. art. I, § 4 (“The Times, Places and Manner of holding Elections . . . shall be prescribed in

   each State by the Legislature thereof; but the Congress may at any time by Law make or alter such

   Regulations . . . .”). And again, Defendants place too much weight on their argument that this

   clause immunizes the State’s redistricting law from judicial scrutiny. “The power to regulate the

   time, place, and manner of elections does not justify, without more, the abridgment of fundamental

   rights, such as the right to vote, or . . . the freedom of political association.” Tashjian, 479 U.S. at

   217 (citing Wesberry, 376 U.S. at 6–7); see also Thornton, 514 U.S. at 834. In Thornton, the

   Supreme Court further explained that, at the Founding, “proponents of the Constitution noted:

   ‘[T]he power over the manner only enables them to determine how these electors shall

   elect . . . .’” and that “[t]he constitution expressly provides that the choice shall be by the people,

   which cuts off both from the general and state Legislatures the power of so regulating the mode of

   election, as to deprive the people of a fair choice.” Thornton, 514 U.S. at 833 & n.47 (citations

   omitted) (first alteration in original). The Elections Clause in Article I, § 4, therefore, does not

   hinder the people’s ability to ensure that they “choose their representatives, not the other way

   around,” Ariz. State Legislature, 135 S. Ct. at 2677 (citation omitted), and neither does it hinder

   the courts’ ability to police the states’ power to regulate elections under Article I, see, e.g.,

   Thornton, 514 U.S. at 828–29.

           Article I, § 2 provides: “The House of Representatives shall be composed of Members

   chosen every second Year by the People of the several States . . . .” In the original text of the

   Constitution, Article I, § 2 provided the people’s sole right to choose directly their elected

   representatives; the electoral college elects the president, U.S. CONST. art. II, § 1, and, at that time,

   the state legislatures chose senators, U.S. CONST. art. I, § 3, amended by U.S. CONST. amend. XVII



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   (providing the people with the right directly to elect their senators, as the people do today).

   Accordingly, in the original text of the Constitution, the members of the House of Representatives

   were the only elected federal officials directly responsive to the people. As James Madison

   emphasized, “the House of Representatives is so constituted as to support in the members an

   habitual recollection of their dependence on the people.” THE FEDERALIST NO. 57, at 511 (James

   Madison), reprinted in THE CONSTITUTION OF THE UNITED STATES OF AMERICA AND SELECTED

   WRITINGS OF THE FOUNDING FATHERS (2012).

          This provision is referred to as “the Great Compromise,” and the Supreme Court has held

   that “principle solemnly embodied in” that compromise—the one-person, one-vote equal-

   population requirement—would be defeated if “within the States, legislatures may draw the lines

   of congressional districts in such a way as to give some voters a greater voice in choosing a

   Congressman [or Congresswoman] than others.” Wesberry, 376 U.S. at 14. As the Supreme Court

   has recognized, “[a] fundamental principle of our representative democracy is, in Hamilton’s

   words, ‘that the people should choose whom they please to govern them.’” Powell, 395 U.S. at

   547 (citation omitted). In the partisan-gerrymandering cases, “[t]he problem . . . is that the will of

   the cartographers rather than the will of the people will govern.” Vieth, 541 U.S. at 331 (Stevens,

   J., dissenting). More specifically, the map drawers “give [the dominant party’s] voters a greater

   voice in choosing a Congressman [or Congresswoman] than [the disfavored party’s voters].” See

   Wesberry, 376 U.S. at 14.

          “To be sure, the Elections Clause grants to the States ‘broad power’ to prescribe the

   procedural mechanisms for holding congressional elections.” Cook v. Gralike, 531 U.S. 510, 523

   (2001) (citation omitted). But the Supreme Court “made clear” in Thornton that “the Framers

   understood the Elections Clause as a grant of authority to issue procedural regulations, and not as



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   a source of power to dictate electoral outcomes, to favor or disfavor a class of candidates, or to

   evade important constitutional restraints.” Id. (quoting Thornton, 514 U.S. at 833–34). Using this

   line of reasoning, the three-judge panel in Rucho concluded that the redistricting plan at issue

   exceeded the State’s authority under the Elections Clause for three reasons: “(1) the Elections

   Clause did not empower State legislatures to disfavor the interests of supporters of a particular

   candidate or party in drawing congressional districts”; (2) the plan violated the First Amendment,

   the Fourteenth Amendment Equal Protection Clause, and Article I, § 2; and (3) the plan “represents

   an impermissible effort to ‘dictate electoral outcomes’ and ‘disfavor a class of candidates.’”

   Rucho, 318 F. Supp. 3d at 937 (quoting Thornton, 514 U.S. at 833–34).

          We conclude that a state necessarily exceeds its authority under the Elections Clause if the

   State violates the First and/or Fourteenth Amendments, see Tashjian, 479 U.S. at 217, and we find

   that the State did so here, see supra Sections V.A.–C. Simply put, the Elections Clause does not

   give the states a license to engage in unconstitutional partisan gerrymandering. The Elections

   Clause and Article I, § 2, taken together, “act as a safeguard against manipulation of electoral rules

   by politicians and factions in the States to entrench themselves or place their interests over those

   of the electorate.” See Ariz. State Legislature, 135 S. Ct. at 2672. Article I § 2 contains the

   principle that representatives should be dependent on and responsive to the will of the voters—

   rather than dependent on and responsive to state legislators and their map drawers (some of whom

   may even include agents of the representatives themselves). We further agree that a redistricting

   law may, in certain circumstances, be so extreme that it “amounts to a successful effort by the

   [State] to ‘disfavor a class of candidates’ and ‘dictate electoral outcomes.’” See Rucho, 318 F.

   Supp. 3d at 940 (quoting Thornton, 514 U.S. at 833–34).




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           As a general matter, then, Article I provides useful background principles for evaluating

   the problem of partisan gerrymandering. As a functional matter, however, the analysis under this

   claim is the same as the analysis under the First and Fourteenth Amendments. If a redistricting

   plan violates Article I, it does so because the plan unconstitutionally dilutes votes because of

   partisan affiliation or because the plan impermissibly infringes on the associational rights of voters.

   The one key caveat is that Article I, § 2 applies only to congressional elections. See U.S. CONST.

   art. I, § 2 (“The House of Representatives shall be composed of Members chosen every second

   Year by the People of the several States . . . .”) (emphasis added). That specific section, therefore,

   would be inapplicable if a challenge to state legislative districts were before us (and there is no

   such challenge here).

           For the reasons we have already articulated, see supra Sections V.A.–C., we find that H.B.

   369 exceeds the State’s powers under Article I.

                                               VI.      LACHES

           The doctrine of laches “is rooted in the notion that those who sleep on their rights lose

   them.” Libertarian Party of Ohio v. Husted, No. 2:13-cv-953, 2014 WL 12647018, at *1 (S.D.

   Ohio Sept. 24, 2014) (citations and internal quotation marks omitted). “Where a plaintiff seeks

   solely equitable relief, his action may be barred by the equitable defense of laches if (1) the plaintiff

   delayed unreasonably in asserting his rights and (2) the defendant was prejudiced by this delay.”

   ACLU of Ohio, Inc. v. Taft, 385 F.3d 641, 647 (6th Cir. 2004). Defendants argue that laches bars

   Plaintiffs’ claims because Plaintiffs’ seven-year delay in bringing this action is unjustified and has

   prejudiced Defendants. Dkt. 252 (Defs.’ & Intervenors’ Post-Trial Br. at 72–75). We disagree.901



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              Our analysis largely tracks that of the three-judge district court in League of Women
   Voters of Michigan v. Benson, --- F. Supp. 3d ---, 2019 WL 1856625, at *24–26 (E.D Mich. Apr.
   25, 2019). See also id. at *24 (holding that “that laches does not apply to Plaintiffs’ partisan
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          As a preliminary point, we note that the nature of Plaintiffs’ rights has been uncertain since

   the Vieth case. See Gill, 138 S. Ct. at 1933–34 (declining to follow the normal procedure of

   dismissing the plaintiffs’ claim for lack of standing, explaining that “[t]his is not the usual case,”

   and that partisan gerrymandering “concerns an unsettled kind of claim this Court has not agreed

   upon, the contours and justiciability of which are unresolved.”). Indeed, whether Plaintiffs’ case

   remained viable was an open question prior to Gill, and Plaintiffs filed their initial complaint in

   this case before the Supreme Court decided that case. As we explain further below, rather than

   “sleeping on their rights,” Plaintiffs’ course of action was not unjustified given the state of the law

   and the high bar for proving partisan effect.

          Defendants contend that Plaintiffs’ claims were ripe “shortly after” the State enacted the

   current plan. Dkt. 252 (Defs.’ & Intervenors’ Post-Trial Br. at 72). In Bandemer, however, the

   plurality found that “the plaintiffs had failed to make a sufficient showing on [partisan effect]

   because their evidence of unfavorable election results for Democrats was limited to a single

   election cycle.” See Gill, 138 S. Ct. at 1927 (citing Bandemer, 478 U.S. at 135). At the very least,

   then, it would have been unwise for Plaintiffs to bring this action prior to the 2014 elections.

   Plaintiffs filed this lawsuit after three elections, and a fourth (the 2018 elections) occurred during

   the litigation, and evidence related to the 2018 elections is in this record. The Supreme Court has

   not set “clear landmarks,” Gill, 138 S. Ct. at 1926, but there is a high bar for proving partisan

   effects, and actual election results are preferred over hypotheticals, id. at 1928 (citing LULAC, 548

   U.S. at 419–20 (opinion of Kennedy, J.). Consequently, we conclude that Plaintiffs were

   reasonable in waiting three election cycles before bringing this action.



   gerrymandering claims as a matter of law,” and alternatively holding “that even if laches applies
   to these types of claims, Intervenors have failed to establish that laches bars Plaintiffs claims in
   this case.”).
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           Further, one clear concern in these cases is that judges should not undertake the

   “unwelcome obligation” of overseeing the redrawing of district lines unless it is necessary. See

   Connor, 431 U.S. at 415. When confronted with an extreme partisan gerrymander, it becomes

   necessary. As we have explained, factors such as whether the plan is an outlier, whether the plan

   is a durable gerrymander that persists across election cycles, and whether districts have frozen the

   status quo despite fluctuating vote totals between the parties help us to make this determination.

   If we had to make this determination after just one election, then we would essentially be “adopting

   a constitutional standard that invalidates a map based on unfair results that would occur in a

   hypothetical state of affairs.” See LULAC, 548 U.S. at 420 (opinion of Kennedy, J.). In this case,

   more data, which reveals durability and entrenchment despite fluctuating vote totals across election

   cycles, give us greater confidence in our findings. We are not suggesting a bright-line rule for how

   many elections are necessary; the point is that allowing for a few elections could reveal that a plan

   does not, in fact, place significant burdens on a supposedly disfavored party. In a similar vein, we

   cannot say that there has been an unreasonable delay.

           Defendants also rely on Benisek v. Lamone, 138 S. Ct. 1942 (2018), which does not address

   laches. Although Benisek v. Lamone may be instructive, it ultimately does not militate in favor of

   Defendants. The Supreme Court first noted that the plaintiffs filed their complaint in 2013 but

   “fail[ed] to plead the claims giving rise to their request for preliminary injunctive relief until 2016.”

   Id. at 1944. In contrast, Plaintiffs before us sought injunctive relief with the filing of their initial

   complaint. Dkt. 1 (First Compl. at 41–42). Moreover, as in many election-law cases, “a due regard

   for the public interest in orderly elections” may counsel against granting relief. Benisek v. Lamone,

   138 S. Ct. at 1944–45; see also Purcell v. Gonzalez, 549 U.S. 1, 4–5 (2006) (“Court orders

   affecting elections . . . can themselves result in voter confusion and consequent incentive to remain



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   away from the polls. As an election draws closer, that risk will increase.”). In Benisek v. Lamone,

   the plaintiffs “represented to the District Court that any injunctive relief would have to be granted

   by August 18, 2017, to ensure the timely completion of a new districting scheme in advance of the

   2018 election season,” but “that date had ‘already come and gone’ by the time the court ruled on

   plaintiffs’ motion.” Benisek v. Lamone, 138 S. Ct. at 1945 (citation omitted). That is not this case.

   In their motion to stay the trial in this case, Defendants represented to this Court that a new

   congressional map would need to be submitted by September 20, 2019 “to fulfill the administrative

   duties and obligations associated with preparing for the 2020 congressional election.” See Dkt.

   185-1 (Wolfe Decl. at 2). That deadline is over four months away. Accordingly, there is enough

   time to implement a remedy on Defendants’ own timetable, hence negating the risk of voter

   confusion.

          In sum, we conclude that Plaintiffs’ delay in this case was not unjustified or unreasonable.

   This alone disposes of Defendants’ laches defense. Also important, the concerns present in

   Benisek v. Lamone are not present here.

          We will nonetheless address Defendants’ remaining arguments on prejudice, none of which

   we find persuasive. First, the “[u]navailability of important witnesses, dulling of memories of

   witnesses, and loss or destruction of relevant evidence all constitute prejudice.” See Nartron Corp.

   v. STMicroelectronics, Inc., 305 F.3d 397, 412 (6th Cir. 2002). Defendants point to several

   potential fact witnesses who have since died, and these witnesses primarily go to the purported

   “bipartisan negotiations” that Defendants say justify the map. See Dkt. 252 (Defs.’ & Intervenors’

   Post-Trial Br. at 73). We have already explained the problems with this justification; in brief, even

   if there were negotiations, the desire to achieve a 12-4 map was not negotiable. Additionally, none




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   of the deceased individuals were members of the Ohio General Assembly at the time the current

   plan was enacted and many of the main map drawers were still witnesses in this case.

           Second, Defendants argue that “[v]oters are acclimated to the 2011 plan, and members of

   Congress have invested deeply in their districts.” Id. at 74. The first point is unpersuasive because

   the map also imposes serious burdens on individuals’ rights to vote and to associate. Similarly,

   for the second point, congressional representatives may have invested deeply in their districts, but

   they have no right to choose their voters, and representatives’ interests are not implicated in this

   case—representatives answer to the voters, whose interests are implicated in this case. Thus, the

   fact that they have invested deeply in their districts is not a reason to find that laches applies.

           Third, Defendants argue that the State has been forced “to litigate on an accelerated basis

   near the end of a redistricting cycle,” which runs afoul of the “heavy presumption against last-

   minute changes to the electoral system.” Id. Defendants again cite Benisek v. Lamone, which we

   addressed above, as well as Service Employees International Union Local 1 v. Husted (“SEIU

   Local 1”), 698 F.3d 341 (6th Cir. 2012). To be sure, “last-minute injunctions changing election

   procedures are strongly disfavored.” Id. at 345. In SEIU Local 1, however, the Sixth Circuit

   addressed a motion for preliminary injunction filed in the district court on October 17, 2012, just

   three weeks out from the November 6, 2012 election. Id. at 343. Here, again, the deadline for

   new maps is over four months away, and the 2020 election will not be held for over one year after

   that.

           Lastly, even if a prima facie case for laches could be established, Plaintiffs can rebut a

   presumption that laches bars their claims by “establish[ing] that there was a good excuse for [the]

   delay . . . .” Nartron, 305 F.3d at 409. We observe, as in Gill, that “[t]his is not the usual case.”

   138 S. Ct. at 1933–34. As stated, the unsettled nature of partisan-gerrymandering claims and the



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   high bar for proving partisan effect provides good cause for any delay. Cf. Benson, 2019 WL

   1856625, at *26 (reasoning that “it was not unreasonable for Plaintiffs to wait to sue until the law

   in this area had developed sufficiently to allow Plaintiffs to articulate and support their partisan

   gerrymandering claims.”).

          For these reasons, we reject Defendants’ laches defense.902

                                      VII.    REMEDY AND ORDER

          In their complaint, Plaintiffs request that we declare H.B. 369 unconstitutional, enjoin any

   future elections under the plan enacted in H.B. 369, and “[e]stablish a congressional districting

   plan that complies with the United States Constitution and all federal and state legal requirements,

   if the Ohio Legislature and/or Governor fail to enact a new and constitutional plan in a timely

   manner.” See Dkt. 37 (Second Am. Compl. at 51–52). We have concluded that H.B. 369 is

   unconstitutional. Now we turn to the remedy.

          Unless “an impending election is imminent and a State’s election machinery is already in

   progress,” a court should “tak[e] appropriate action to insure that no further elections are conducted



          902
               Whether laches even applies to injunctive relief, which Plaintiffs seek, seems to be an
   open question. In Kay v. Austin, an election-law case, the Sixth Circuit held that the plaintiff was
   “not entitled to equitable relief in this instance as a result of laches.” 621 F.2d 809, 813 (6th Cir.
   1980). In a more recent election-law case, the Sixth Circuit also considered, though ultimately
   rejected, a laches defense to a plaintiff’s claims for declaratory and injunctive relief. See Taft, 385
   F.3d at 647. Conversely, the Sixth Circuit has also held that “[l]aches only bars damages that
   occurred before the filing date of the lawsuit. It does not prevent [a] plaintiff from obtaining
   injunctive relief or post-filing damages.” Nartron, 305 F.3d at 412 (internal citations omitted); see
   also Kellogg Co. v. Exxon Corp., 209 F.3d 562, 568 (6th Cir. 2000) (same); TWM Mfg. Co. v.
   Dura Corp., 592 F.2d 346, 349–50 (6th Cir. 1979) (same). In this latter set of cases, the Sixth
   Circuit has reasoned that “[o]nly by proving the elements of estoppel may a defendant defeat such
   prospective relief.” TWM Mfg., 592 F.2d at 350; see also, e.g., Nartron, 305 F.3d at 412–13 (also
   noting that estoppel “requires more than a showing of mere silence on the part of a plaintiff”).
   (Defendants have not asserted an estoppel defense here.) Of course, the TWM Manufacturing,
   Kellogg, and Nartron line of cases, if applicable, would render Defendants’ laches defense
   completely inapplicable. See Benson, 2019 WL 1856625, at *25 (holding “that laches does not
   bar [partisan-gerrymandering] claims as a matter of law” and citing Nartron and Kellogg).
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   under the invalid plan.” See Reynolds, 377 U.S. at 585. No impending election is imminent in

   this case. Furthermore, Defendants have represented to this Court that a new congressional

   districting plan would need to be adopted by September 20, 2019 “to fulfill the administrative

   duties and obligations associated with preparing for the 2020 congressional election.” See Dkt.

   185-1 (Wolfe Decl. at 2). We are committed to working with that timeline for establishing a

   remedial plan. We also observe that former Governor Kasich signed H.B. 319 into law on

   September 26, 2011, and then he signed H.B. 369, the actual plan that was used in the 2012

   elections, into law on December 15, 2011. See Dkt. 234 (Final Pretrial Order at App. A., 2–4).

   Even though the current plan was enacted in December, the State still prepared adequately for the

   2012 congressional elections on that slightly shorter timeline. Accordingly, we hereby enjoin the

   State from conducting any elections using the plan enacted in H.B. 369 in any future congressional

   elections.

          The parties have not yet fully briefed the issue of a remedial plan. As a general rule,

   however, when a federal court declares a redistricting plan unconstitutional, “it is . . . appropriate,

   whenever practicable, to afford a reasonable opportunity for the legislature to meet constitutional

   requirements by adopting a substitute measure rather than for the federal court to devise and order

   into effect its own plan.” See Wise v. Lipscomb, 437 U.S. 535, 540 (1978). At this time, we see

   no reason to deviate from this general rule. Plaintiffs’ requested relief also seems to assume this

   general rule, as their complaint asks this Court to establish a new plan, “if the Ohio Legislature

   and/or Governor fail to enact a new and constitutional plan in a timely manner.” See Dkt. 37

   (Second Am. Compl. at 51–52). We therefore hope that the Ohio General Assembly “will perform

   that duty and enact a constitutionally acceptable plan.” Chapman v. Meier, 420 U.S. 1, 27 (1975).




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          We advise that Defendants and Plaintiffs must be prepared to move forward on a remedial

   plan pursuant to the following timeline and conditions:

          1. The State should enact forthwith its own remedial plan consistent with this opinion no

          later than June 14, 2019. No continuances will be granted. The date of enactment shall be

          the date on which the Governor signs the proposed remedial plan into law; or, if the

          Governor vetoes the proposed remedial plan, the date of enactment shall be the date on

          which the General Assembly overrides the Governor’s veto.

          2. On the same day that the State enacts its own remedial plan, Defendants shall provide

          notice of the plan’s enactment to this Court and to Plaintiffs. No later than seven days from

          the date on which the State enacts its own remedial plan (assuming it enacts such a plan by

          the June 14 deadline), Defendants shall file the enacted remedial plan with this Court.

          3. When Defendants file the State-enacted remedial plan with this Court, they shall also

          include:

          (A) All transcripts of committee hearings and floor debates related to the State-enacted

          remedial plan;

          (B) A description of the process that the General Assembly, and any constituent

          committees or members thereof, followed in drawing the State-enacted remedial plan, and

          Defendants shall disclose the identity of all participants involved in the process and map

          drawing;

          (C) Data on the remedial plan’s population deviation, compactness, municipality and

          county splits, and any incumbent pairings;

          (D) Any alternative plans considered by the General Assembly or any constituent

          committee;



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          (E) All criteria, formal or informal, that were applied in drawing the State-enacted remedial

          plan, including, without limitation, any criteria related to race, partisanship, the use of

          political data, or the protection of incumbents, and a description of how the map drawers

          used any such criteria. If any of the criteria just listed were not used, Defendants shall so

          state.

          4. If Plaintiffs believe that the State-enacted remedial map that the Defendants file is still

          unconstitutional, they must file their specific objections to it no later than seven days from

          the date on which Defendants file the State-enacted remedial plan with this Court.

   We will then assess whether the State-enacted remedial plan is constitutionally permissible.

          If the State fails in its task to enact a remedial plan, we have our “own duty to cure illegally

   gerrymandered districts through an orderly process in advance of elections.” See Covington, 138

   S. Ct. at 2553–54 (citing Purcell, 549 U.S. at 4–5). In the appropriate circumstance, we may in

   our discretion not give the State “a second bite at the apple.” See id. at 2554 (citation omitted)

   (holding that the District Court did not abuse its discretion in appointing a Special Master when

   the State failed to enact a permissible remedial plan). This situation may arise if the State does not

   enact its own remedial plan by the June 14 deadline or if the State-enacted remedial plan is not “a

   constitutionally acceptable plan.” Chapman, 420 U.S. at 27. If this Court must step into the role

   of putting in place a new plan, several options are available. We will address each.

          First, we may appoint a Special Master pursuant to Federal Rule of Civil Procedure 53 to

   assist the Court in drawing a remedial plan. To that end, we hereby order the parties to confer and

   file no later than June 3, 2019 at 5 P.M., a list of no more than three qualified and mutually

   acceptable candidates to serve as a Special Master. We may then select a Special Master from that

   list and issue an order outlining the timeline and requirements that apply to the Special Master’s



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   submission of a proposed remedial plan. The parties would be allowed to comment on any

   proposal from a Special Master. In the event that the parties cannot agree on any candidates for

   Special Master, we may identify a Special Master without input from the parties.

            Second, a situation could arise in which the State enacts a remedial plan, but we nonetheless

   find it constitutionally unacceptable.     In this situation, the same procedures regarding the

   appointment of a Special Master would apply. If the State enacts a remedial plan that we reject,

   we will include in our opinion and order on that plan a timeline for the Special Master’s submission

   of a remedial plan.

            Finally, Mr. Cooper has submitted a Proposed Remedial Plan (and a corrected version

   thereof), as well as two hypothetical alternative plans that addressed the pairing of incumbents.

   Whether or not the State enacts a remedial plan that we consider, we hereby order the parties to

   brief whether one of Mr. Cooper’s plans could or should be adopted as a remedial plan. The parties

   shall file these briefs simultaneously on June 3, 2019 at 5 P.M., along with the parties’ list of

   mutually acceptable candidates for Special Master (if the parties have not yet filed that list by that

   date).

                                                    ***

            In conclusion, we GRANT Plaintiffs’ request to declare the redistricting plan enacted in

   H.B. 369 unconstitutional. Moreover, we GRANT Plaintiffs’ request for injunctive relief, and we

   hereby enjoin the State from conducting any elections using the plan enacted in H.B. 369 in any

   future congressional elections. Finally, we ORDER that the parties proceed according to the

   remedial schedule outlined above.

   IT IS SO ORDERED.




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   ENTERED: May 3, 2019

                                    s/ Karen Nelson Moore
                                    HONORABLE KAREN NELSON MOORE
                                    United States Circuit Judge

                                    s/ Timothy S. Black
                                    HONORABLE TIMOTHY S. BLACK
                                    United States District Judge

                                    s/ Michael H. Watson
                                    HONORABLE MICHAEL H. WATSON
                                    United States District Judge




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                                    APPENDIX A




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                                    APPENDIX B




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                                    APPENDIX C




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